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                     7    BOEHRINGER INGELHEIM
                          PHARMACEUTICALS, INC. (erroneously
                     8    sued as “BOEHRINGER-INGELHEIM
                          PHARMACEUTICAL”)
                     9
                    10                                   UNITED STATES DISTRICT COURT

                    11                                NORTHERN DISTRICT OF CALIFORNIA

                    12
                          BRENDA PERRY, an Individual,                  Case No:
                    13
                                                  Plaintiff,            EXHIBIT T TO NOTICE OF REMOVAL
                    14                                                  BY DEFENDANT BOEHRINGER
                                            vs.                         INGELHEIM PHARMACEUTICALS,
                    15                                                  INC.
                          ASHFIELD HEALTHCARE, LLC, a business
                    16    entity; BOEHRINGER-INGELHEIM
                          PHARMACEUTICAL, a business entity;
                    17    NATE STYLES, an individual; and DOES 1-       [28 U.S.C. §§ 1332, 1441, and 1446]
                          25, inclusive,
                    18
                                                  Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                        DEF’S NOTICE OF REMOVAL
  SAN FRANCISCO
                         DB1/ 110418312.1
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                    Exhibit T
                           Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 3 of 274



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                          “BOEHRINGER-INGELHEIM
                          PHARMACEUTICAL”)

                    10                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    11                                              COUNTY OF SAN MATEO
                    12

                    13    BRENDA PERRY, and Individual,                            Case No. 18CIV057 1 7

                    14                                Plaintiff,                   DEFENDANT BOEHRINGER
                                                                                   INGELHEIM PHARMACEUTICALS,
                    15                      vs.                                    INC.’S NOTICE OF MOTION AND
                                                                                   MOTION TO COMPEL:
                    16    ASHFIELD HEALTHCARE, LLC, a business
                          entity; BOEHRINGER-INGELHEIM                               FURTHER VERIFIED RESPONSE
                                                                                   (1)
                    17    PHARMACEUTICAL, a business entity;                       TO RFP NO. 55 AND PRODUCTION
                          NATE STYLES,            an individual; and   DOES   1-   OF DOCUMENTS;
                    18    25, inclusive,
                                                                                   (2)PRODUCTION 0F DOCUMENTS
                    19                                Defendants.                  IN COMPLIANCE WITH
                                                                                   PLAINTIFF’S RESPONSE To RFP
                    20                                                             Nos. 11, 14, AND 54; AND

                    21                                                             (3)   A PRIVILEGE LOG
                    22                                                             Date:           January 14, 2020
                                                                                   Time:           9:00 am.
                    23                                                             Dept:            1

                                                                                   Courtroom:      4C
                    24
                                                                                   Complaint Filed: October 22, 2018
                    25                                                             Trial Date:   None    set


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                    28
MORGAN, LEWIS 8:                                                                                                     Case No. 18CIV057 1 7
  BOCKIUS LLP                    DEFENDANT’S NOTICE OF MOTION TO COMPEL FURTHER RESPONSES TO REQUESTS FOR
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                       PRODUCTION OF DOCUMENTS, FURTHER DOCUMENTS & PRIVILEGE LOG
                         DBl/ 108322829.1
                           Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 4 of 274



                                                   NOTICE 0F MOTION AND MOTION TO COMPEL
                                    PLEASE TAKE NOTICE                  that   on January      14,   2020,   at   9:00 a.m., or as soon thereafter as

                          counsel and the parties       may be heard in Department             1,    Courtroom 4C, of the Honorable Leland

                          Davis    III,   located at 400 County Center,        Redwood       City,    CA 94063, Defendant Boehringer
                          Ingelheim Pharmaceuticals,           Inc.   (“Defendant” or “BIPI”          )   will   and hereby does move the Court

                          pursuant to California Code of Civil Procedure Sections 2030.010, 2031.3 10, and 2031.320 for an

                          Order to Compelz       (1) Plaintiff to provide a further          veriﬁed response to            RFP N0.   55 and

                          production 0f documents responsive thereto; (2) Plaintiff t0 produce documents in compliance

                          with Plaintiff’s responses t0        RFP Nos.    11, 14,   and 54, and          (3) Plaintiff t0    provide a privilege log.

                    10              This Motion seeks t0 remedy Plaintiff’s failure to comply With her discovery obligations

                    11    under the Code of Civil Procedure. BIPI bases                 this   motion 0n         this   Notice of Motion, the

                    12    supporting       Memorandum      0f Points and Authorities, the supporting Separate Statement submitted

                    13    by BIPI, the Declaration 0f Ashley A. Baltazar and accompanying                               exhibits, BIPI’s   Request for

                    14    Judicial Notice      and accompanying exhibits, such other evidence and arguments as Defendant                            may
                    15    present on reply and at oral argument before the Court.

                    16

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                    19
                          Dated:    November      14,   2019




                                                                           By
                                                                                 Eric   Meckley
                                                                                               W
                                                                           MORGAN, LEWIS & BOCKIUS LLP




                                                                                 Ashley A. Baltazar
                    20
                                                                                 Attorneys for Defendant
                    21                                                           BOEHRINGER INGELHEIM
                                                                                 PHARMACEUTICALS, INC. (erroneously sued as
                    22                                                           “BOEHRINGER—INGELHEIM
                                                                                 PHARMACEUTICAL”)
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MORGAN, LEWIS &                                                                          1                                          Case N0. 18CIV05717
  BOCKIUS LLP              DEFENDANT’S NOTICE OF MOTION AND MOTION TO COMPEL FURTHER RESPONSES TO REQUESTS
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                   FOR PRODUCTION OF DOCUMENTS, FURTHER DOCUMENTS & PRIVILEGE LOG
                         DB1/ 108322829.1
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                        PHARMACEUTICALS, INC. (erroneously sued as
                   8    “BOEHRINGER-INGELHEIM
                        PHARMACEUTICAL”)
                   9

               10                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
               11                                                 COUNTY OF SAN MATEO
               12

               13       BRENDA PERRY, and Individual,                            Case No. 18CIV05717

               14                                   Plaintiff,                   DEFENDANT BOEHRINGER
                                                                                 INGELHEIM PHARMACEUTICALS,
               15                         vs.                                    INC.’S MEMORANDUM OF POINTS
                                                                                 AND AUTHORITIES IN SUPPORT OF
               16       ASHFIELD HEALTHCARE, LLC, a business                     MOTION TO COMPEL:
                        entity; BOEHRINGER-INGELHEIM
               17       PHARMACEUTICAL, a business entity;                         FURTHER VERIFIED RESPONSE
                                                                                 (1)
                        NATE STYLES,            an individual; and   DOES   1-   TO RFP NO. 55 AND PRODUCTION
               18       25, inclusive,                                           OF DOCUMENTS;
               19                                   Defendants.                  (2)PRODUCTION OF DOCUMENTS
                                                                                 INCOMPLIANCE WITH
              20                                                                 PLAINTIFF’S RESPONSE TO RFP
                                                                                 NOS. 11, 14, AND 54; AND
              21
                                                                                 (3)   A PRIVILEGE LOG
              22
                                                                                 Date:                January 14, 2020
              23                                                                 Time:                9:00 am.
                                                                                 Courtroom:           4C
              24
                                                                                 Complaint Filed:          October 22, 2018
              25                                                                 Trial Date:               None   set


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MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                                                      Case No. 18CIV05717
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                                                  MEMORANDUM OF POINTS AND AUTHORITIES
                          I.       INTRODUCTION.
                                   Plaintiff has failed to provide a privilege 10g, failed to provide               complete and compliant

                          substantive discovery responses, and failed to produce documents responsive t0 Defendant

                          Boehringer Ingelheim Pharmaceuticals, Inc.’s (“BIPI” or “Defendant”) Requests for Production

                          of Documents (“RFPs”). Despite BIPI’s repeated good faith efforts to meet and confer, Plaintiff

                          has not responded t0 BIPI’s most recent requests for Plaintiff t0 comply with her discovery

                          obligations under the     Code of Civil Procedure, nor has              Plaintiff agreed t0 extend BIPI’s deadline


                          t0 ﬁle a   motion   t0 compel.   As   a result, BIPI has been forced to proceed with ﬁling the instant


                    10    motion     t0 seek relief from the Court.


                    11             The items of discovery       at issue in this     Motion      are as follows:


                    12             First,   BIPI propounded RFPS seeking records from several lawsuits Plaintiff ﬁled against

                    13    her former employers      (RFP No.     55).    The requested documents, Which include pleadings,

                    14    discovery, and deposition transcripts from these other lawsuits, are directly relevant t0,                      among

                    15    other things, Plaintiff’ s alleged emotional distress             damages and     Plaintiff s credibility, in that she


                    16    made   Virtually identical allegations against these other              employers as she has against BIPI here.

                    17    After initially serving responses With obj ections only, the Parties agreed t0 narrow this request t0


                    18    the pleadings and discovery exchanged in these lawsuits. Yet, Plaintiff did not honor this


                    19    agreement, and served unveriﬁed responses that did not include                    all   responsive documents.


                    20    Plaintiff should    be compelled   to provide a further           veriﬁed response and      all   responsive documents.


                    21               Second, in responding to BIPI’s        RFPs     Plaintiff represented that she         would produce     all



                    22    documents related      to her scheduled       work hours With Defendants (RFP N0.                 11), the   amount 0f

                    23    compensation she received from Defendants (RFP                    No   14),   and documents evidencing any

                    24    subsequent employment she obtained (RFP No. 54). Yet, t0 date, Plaintiff has not produced any

                    25    0f these documents. Plaintiff should be compelled to comply With her stated responses to RFPs

                    26    Nos. 11, 14, and 54 and produce         all   responsive documents.


                    27             Third, Plaintiff asserted the attorney-client privilege and              work product       obj ections in


                    28    response t0 certain 0f BIPI’s RFPs.           Plaintiff,   however, has not produced a privilege             log. Plaintiff

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  BOCKIUS LLP                                                                           1                                       Case No. 18CIV05717
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   SAN FRANCISCO
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                          should be compelled t0 produce a privilege log identifying                   all   documents Withheld on the basis of

                          privilege along With sufﬁcient information for BIPI to evaluate the legitimacy and applicability of


                          any asserted      privilege(s).1


                          II.       PERTINENT FACTS AND LEGAL HISTORY.

                                    A.        Background.

                                    Plaintiff Brenda Perry           was employed by Defendant Ashﬁeld Healthcare, LLC

                          (“Ashﬁeld”). Pursuant t0 a Master Services Agreement, Ashﬁeld contracted With BIPI t0 provide

                          services, including, but not limited t0 providing sales personnel.


                                    Paintiff was    employed by Ashﬁeld          t0   provided services on behalf of BIPI as a

                    10    pharmaceutical sales representative in BIPI’s San Francisco                   territory.   In 0r around July 2017,


                    11    BIPI ceased using Ashﬁeld as a provider of contracted sales representative services in the San

                    12    Francisco region.       As     a result,   Ashﬁeld ended    Plaintiff” s   employment.

                    13              Plaintiff ﬁled the instant lawsuit against both           Ashﬁeld and BIPI and BIPI supervisor Nate

                    14    Styles alleging causes of action for sexual harassment, age discrimination,                    and   retaliation in


                    15    Violation 0f the Fair      Employment and Housing Act, wrongful termination                   in Violation   0f public

                    16    policy,   and intentional inﬂiction 0f emotional            distress.


                    17              B.        Prior t0 Employment With Ashﬁeld, Plaintiff Filed Lawsuits Against Three
                                              Former Emplovers Alleging Virtually Identical Causes 0f Action.
                    18

                    19              On 0r about December             10, 2010, Plaintiff ﬁled a      Complaint in the Superior Court 0f the

                    20    State of California in         and for the County 0f San Francisco against King Pharmaceuticals, Mark

                    21    Martin, and     Mike    Schilk (the “King Action”). Defendant’s Request for Judicial Notice (“RJN”) ﬂ

                    22    1,    EXh. A.   Plaintiff” s   complaint in the King Action alleged that she was employed by King

                    23    Pharmaceuticals and asserted causes 0f action for gender harassment, race discrimination, sexual

                    24    harassment, age discrimination, retaliation, and failure t0 prevent harassment retaliation and

                    25    discrimination in Violation 0f the Fair           Employment and Housing Act, wrongﬁJI termination                    in


                    26    Violation of public policy, and failure t0          promote and pay equal pay           to females in Violation   of the

                    27

                          1
                    28        The speciﬁc discovery items  at issue are also set forth in the Separate Statement that Defendant

MORGAN, LEWIS 8:
                          is   concurrently ﬁling in accord with California Rule 0f Court 3.1345.
  BOCKIUS LLP                                                                            2                                     Case No. 18CIV05717
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   SAN FRANCISCO
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                          California Labor Code. Id. Plaintiff ﬁthher alleged that she suffered severe emotional distress

                          and sought emotional             distress   damages.       Id. at   1W 22, 28, 37, 43, 49, 56, 64, and Prayer for Relief.

                                   On 0r about October 23,              2014, Plaintiff ﬁled a Complaint in the Superior Court of the

                          State 0f California in           and for the County of San Francisco against Vitas Innovative Hospice Care,

                          Vitas Solutions, Inc., Vitas Health Services 0f California, Inc., Vitas Healthcare Corporation 0f

                          California,    Chemed        Corporation, and Lisa Cooper (the “Vitas Action”).                          1]   2,   Exh. B. Plaintiff s

                          complaint in the Vitas Action alleged that she was employed by Vitas Innovative Hospice Care

                          and Vitas Solutions,         Inc.   and asserted causes 0f action for age and race discrimination,                                failure t0


                          prevent discrimination, and retaliation in Violation of the Fair                            Employment and Housing                    Act,

                    10    wrongﬁJI termination in Violation of public policy and defamation.                                 Id.   She ﬁthher alleged                that


                    11    she suffered,       among    other things, severe mental anguish and emotional distress and sought

                    12    general damages. Id. at            W 22, 28, 33, 39, 44,
                    13             On 0r about April 28,              2017, Plaintiff ﬁled a Complaint in the Superior Court of the State

                    14    0f California in and for the County 0f San Francisco against Atria Senior Living,                                         Inc. (the “Atria


                    15    Action”).     11   3,   Exh. C.   Plaintiff” s operative       complaint in the Atria Action asserted causes of

                    16    action for wrongﬁll termination in Violation 0f public policy and intentional inﬂiction of

                    17    emotional distress.         Id.   She further alleged         that she suffered emotional distress                  and sought

                    18    damages     for the same. Id. at        ﬂ    13,   and Prayer for Relief.

                    19             C.             BIPI’s    RFPs and      Plaintiff’s     Responses.

                    20             On March          13,   2019, BIPI served Plaintiff with Requests for Production 0f Documents

                    21    (Set One), Special Interrogatories (Set One),                   and Form Interrogatories — Employment (Set One).

                    22    Declaration of Ashley A. Baltazar In Support of Motion t0                              Compel      (“Baltazar Decl.”)            11   2,   Exh.   1.



                    23    On or about April          17,   2019, Plaintiff served unveriﬁed responses t0 Defendant’s Requests for

                    24    Production of Documents (Set One). Baltazar Decl.                          1]   3,   EXh.   2.   Plaintiff did not,           however,

                    25    provide any response t0 Defendant’s Special Interrogatories (Set One) 0r                                  Form           Interrogatories      —

                    26    Employment          (Set   One) 0r produce any responsive documents. Baltazar Decl.                                 1]
                                                                                                                                                   3.


                    27             D.             BIPI’s Repeated Efforts t0 Meet and Confer Over the Past Eight Months.

                    28             On April         30, 2019,   BIPI sent      its   ﬁrst detailed   meet and confer            letter   and requested a
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                                   3                                              Case No. 18CIV05717
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   SAN FRANCISCO
                                DEFENDANT’S MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO COMPEL
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                          response by       May 7,         2019. Baltazar Decl.              11   4,   EXh.       3.   On May 7,             2019, Plaintiff’s counsel,

                          Michael Welch, emailed BIPI’s counsel Ashley Baltazar requesting a few more days                                                                     to provide


                          updated discovery responses. Baltazar Decl.                                  1]   5,   EXh.       4.    Ms. Baltazar granted              this request. Id.


                          On May      16,     2019, Plaintiff served unveriﬁed responses t0 BIPI’S                                            Form Interrogatories—

                          Employment, unveriﬁed responses                        to BIPI’S Special Interrogatories,                               and produced documents

                          bates stamped 1-50. Baltazar Decl.                      1]
                                                                                       6.   Plaintiff did not,                   however, provide amended responses to

                          BIPI’s Requests for Production of Documents 0r respond t0 BIPI’s April 30, 2019 meet and

                          confer    letter,   Which detailed the deﬁciencies with Plaintiff s unveriﬁed responses.                                                       Id.


                                    On June          17, 2019,    BIPI sent Plaintiff its second detailed meet and confer                                               letter   and

                    10    requested a response by June 21, 2019. Baltazar Decl.                                             11   7,   EXh.   5.   On June       26, 2019, Mr.          Welch

                    11    emailed Ms. Baltazar and claimed that he was “out 0n family vacation                                                      last   week until yesterday”

                    12    and would respond                to the letter   and provide any documents and information                                            still   owed by Friday,

                    13    June 28, 2019. Baltazar Decl.                1]   8,   EXh.       6.    On Friday,            June 28, 2019, Ms. Baltazar inquired as t0

                    14    the status 0f the pending responses. Id.                          On June              28, 2019, Mr.           Welch      sent an email that


                    15    purported t0 attach,             among    other things, revised veriﬁed responses t0 BIPI’s Special

                    16    Interrogatories       and Form Interrogatories — Employment. Baltazar Decl.                                                1]    8,   Exh.     7.    Mr. Welch’s

                    17    email further indicated that he was                    still      awaiting a veriﬁcation from his client as t0 BIPI’S

                    18    Requests for Production of Documents.                             Id.    On July             1,   2019, Ms. Baltazar informed Mr. Welch

                    19    that she could not              open the ﬁles because they were corrupted and requested                                           that        Mr. Welch      re-


                    20    send them.     Id.     On July 2,       2019, Mr. Welch responded, but did not re-attach the documents,

                    21    instead informing           Ms. Baltazar         that    he sent the documents by FedEx that day.                                        Id.


                    22              On 0r about July 8,            2019, BIPI received amended responses t0 BIPI’S Requests for

                    23    Production 0f Documents, and amended responses to BIPI’s                                                     Form Interrogatories—Employment

                    24    and amended responses                 to BIPI’s Special Interrogatories. Baltazar Decl.                                     1]   9,   Exh.     8.    The proof of

                    25    service   accompanying these documents inaccurately indicated                                                 that a veriﬁcation              accompanied

                    26    Plaintiff s responses to BIPI’s              Form Interrogatories—Employment and                                           Special Interrogatories.

                    27    Baltazar Decl.        1]
                                                     9.


                    28              Plaintiff did not substantively                    respond t0 BIPI’S June                          17,   2019 meet and confer                letter. Id.

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                                       On July     15, 2019,   BIPI sent       its   third detailed   meet and confer          letter      addressing the

                          continued deﬁcient aspects 0f and errors in Plaintiff s discovery responses and requested a

                          response by July 22, 2019. Baltazar Decl. ﬂ 10, EXh.                        9.    On July 24,       2019, after receiving no

                          response, Ms. Baltazar emailed Mr. Welch, asking                          him t0 advise          as t0 the status 0f the items


                          requested in her July 15, 2019                letter.   Baltazar Decl. ﬂ 11, Exh. 10.              On July 25,       2019, Mr. Welch

                          responded, claiming that he had depositions the remainder of the week, and indicated that he

                          would respond to           the letter   by Monday, July 29, 2019.                Id.


                                       On July 30,     2019, Mr.        Welch emailed Ms.           Baltazar and purported to attach                amended

                          veriﬁcations t0 BIPI’s Special Interrogatories and                        Form Interrogatories—Employment and an

                    10    additional        document production, bates stamped                 5 1-93. Baltazar Decl.           1]   12,   EXh.    11.    On July 3 1    ,




                    11    2019, Ms. Baltazar informed Mr. Welch that his email                             still   did not include veriﬁcations to

                    12    Plaintiff s       amended responses           to BIPI’s     Form Interrogatories—Employment.                       Id.   BIPI requested

                    13    that Plaintiff provide the veriﬁcation t0 Plaintiff” s                    amended responses           t0 BIPI’s Special


                    14    Interrogatories          and provide veriﬁcations            t0 Plaintiff s responses t0 BIPI’S             Requests for

                    15    Production of Documents.                Id.    Mr. Welch acknowledged receiving Ms. Baltazar’s email and

                    16    indicated that he had left the ofﬁce for a settlement conference, but                              would address          it.   Baltazar Id.

                    17    On August          14,   2019, after receiving no response, Ms. Baltazar again followed up With Mr. Welch

                    18    by email again asking             for the aforementioned items             and a substantive response               to her      meet and

                    19    confer letter       by Friday, August          16,   2019. Id. She ﬁthher requested an extension on BIPI’S

                    20    motion       to   compel deadline.       Id.


                    21                 On August      19,   2019, Mr. Welch responded to Ms. Baltazar’s email and purported t0

                    22    attach      amended responses        t0 Special Interrogatories             and Form Interrogatories—Employment, a

                    23    response t0 Ms. Baltazar’s meet and confer                      letter,   and further document responses. Baltazar Decl.

                    24    11   13,   Exh.   12.    Ms. Baltazar immediately responded                 t0   Mr. Welch’s email, informed him                    that his


                    25    attached      amended responses          still   did not contain any veriﬁcation and requested a veriﬁcation                            by

                    26    the close 0f business. Id.              Mr. Welch responded, claiming                    that   he was “puzzled” as to Ms.

                    27    Baltazar’s statement that he             had not provided veriﬁcations                   t0 prior responses, but ignored the fact


                    28    that his email inaccurately described                   What was attached 0r her request              for the missing

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                          veriﬁcations. Id.           Ms. Baltazar responded and outlined the deﬁciencies With Plaintiff s discovery

                          responses and veriﬁcations including (1) the veriﬁcation was not properly served; (2) the                                    PDF

                          contained a veriﬁcation only to Plaintiff’s Special Interrogatories, but did not contain

                          veriﬁcations t0 any of Plaintiff’ s other responses; and (3) BIPI had not received any veriﬁcation

                          (Via email 0r otherwise) for Plaintiff s                 Amended responses        to BIPI’s   Form    Interrogatories. Id.


                          On August 20,        2019, Ms. Baltazar asked Mr. Welch for his availability for a phone                         call to


                          discuss. Id.      He      did not respond t0 her request. Id. Instead, he responded to the prior email and

                          said he Will “review [her email regarding the missing veriﬁcations] later today after                             I   get


                          something ﬁled.”           Id.


                    10               On August 22,           2019, after receiving n0 further communication from Mr. Welch, Ms.

                    11    Baltazar emailed and invited Mr.                    Welch t0 meet in—person t0      discuss the various issues with

                    12    Plaintiff’s discovery responses.                    Baltazar Decl. ﬂ 14, EXh. 13.     On August 28,       2019, Mr. Welch

                    13    and Ms. Baltazar met in-person                  t0 discuss Plaintiff” s discovery responses       and lack of veriﬁcation.

                    14    Baltazar Decl.       1]
                                                    15.    During      this   meeting, Mr.   Welch handed Ms.     Baltazar Plaintiff s veriﬁed

                    15    second amended responses to BIPI’S Special Interrogatories, Which did not include a proof 0f

                    16    service. Id.    He     also     handed Ms. Baltazar a document              that purported to   be Plaintiff s Second

                    17    Amended responses                t0 BIPI’s Requests for Production            0f Documents, but after Ms. Baltazar

                    18    pointed out that the document was missing several pages (and a veriﬁcation) he took                                   it   back. Id.

                    19    Mr. also indicated          that   he forgot t0 bring       Plaintiff’ s   amended responses    t0 Defendant’s             Form

                    20    Interrogatories—Employment.                     Id.   Thereafter, Mr.      Welch agreed to provide       (1)   veriﬁed Second

                    21    Amended Responses                to BIPI’s Requests for Production            of Documents;     (2)   veriﬁed Second

                    22    Amended Responses                t0 BIPI’s     Form     Interrogatories; (3) a   proof of service that indicates service

                    23    of Plaintiff’s veriﬁed second amended responses t0 BIPI’S Special Interrogatories; (4) a proof of

                    24    service for    all   of Plaintiff’s documents produced; (5) a privilege 10g that                 lists   any document

                    25    Withheld 0n the basis 0f privilege; and (6) certain attachments missing from documents produced.

                    26    Id.   On   September        3,   2019, Ms. Baltazar sent an email memorializing these agreements and asked

                    27    Plaintiff to   commit           to providing the aforementioned            documents by Friday, September              6,   2019.

                    28    Baltazar Decl.       1]   15,   Exh.   14.

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                                   On        September          5,   2019, BIPI received Plaintiff’ s veriﬁed Second                  Amended Responses                   t0


                          BIPI’s Requests for Production 0f Documents, veriﬁed Second                                      Amended Responses            to BIPI’s


                          Form    Interrogatories              — Employment, veriﬁed Second Amended Reponses                            to BIPI’s Special


                          Interrogatories,           and proofs 0f service for documents produced P01-70. Baltazar Decl. ﬂ                                    16,   EXh.

                          15.   However, Plaintiff s Second Amended Responses                                   t0 BIPI’S Requests for Production              of

                          Documents were               still   deﬁcient. Id.

                                   On        September          6,   2019, Ms. Baltazar inquired as to the remaining documents that Plaintiff

                          agreed to provide, but that BIPI had not yet received; speciﬁcally: missing proofs 0f service, a

                          privilege 10g, and additional responsive                     documents          to   be produced. Baltazar Decl. ﬂ            17,   EXh. 16.

                    10    On    September            10, 2019, after receiving        n0 response from Mr. Welch, Ms. Baltazar again emailed

                    11    Mr. Welch          to follow         up and asked him       to   commit       to providing the outstanding


                    12    information/documents by the end of the week.                             Id.    On   September     16,   2019, Mr. Welch

                    13    responded and attached some additional responsive documents, but did not address the remaining

                    14    issues raised        by Ms.      Baltazar’s September 6,               2019 email. Baltazar Decl. ﬂ            17,   EXh.     17.


                    15             On        September 26, 2019, Ms. Baltazar informed Mr. Welch                              that Plaintiff    still   needed       t0


                    16    provide certain proofs 0f service,                 still   missing documents, and a privilege 10g. Baltazar Decl. ﬂ

                    17    18,   EXh.    18.    On October 9,            2019, after receiving n0 response, Ms. Baltazar again sent an email to

                    18    request these documents and requested a response                                by October   10, 2019. Id.      On October           11,


                    19    2019, after        still   receiving n0 response, she sent another follow-up email. Id. Mr.                            Welch ﬁnally

                    20    responded and indicated that he was leaving for his father’s funeral and would not be able to

                    21    address the matter until he returned. Id. Ms. Baltazar expressed her condolences and asked that

                    22    the parties extend the deadline for BIPI’s motion t0                             compel    for   two-weeks t0 accommodate the

                    23    delay, to     Which Mr. Welch agreed.                Id.    On October 21,             2019, Ms. Baltazar followed up With Mr.

                    24    Welch.       Id.    On October 23,            2019, Mr. Welch emailed and, with respect to Request for Production

                    25    N0. 55, proposed producing pleadings and discovery documents.                                      Id.    On October 23,       2019, Ms.

                    26    Baltazar indicated that she agreed With his proposal provided Mr.                                  Welch provide such responses

                    27    and responsive documents by November                             1,   2019. Id.      On October 25,       2019, Ms. Baltazar again

                    28    followed up.         Id.     On October 29,        2019, Mr. Welch agreed t0 provide amended responses and
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                          documents by Friday, November                      1,   2019 and agreed          to extend BIPI’s deadline another ten days,


                          t0   November     14,    2019   t0 ﬁle a         motion    t0 compel. Id.


                                   On November 5,           2019, after receiving n0 amended responses, documents, or privilege 10g

                          from   Plaintiff,   Ms. Baltazar sent Mr. Welch another email checking on the                                        status    0f the

                          documents.          Baltazar Decl.          1]   18,   EXh.    18.    On November        8,    2019, Ms. Baltazar sent another

                          email requesting a status update.                  Id.    Mr. Welch did not respond                  t0    Ms. Baltazar’s emails.             Id.


                          That afternoon, however, Ms. Baltazar received Via mail                              Plaintiff’ s Further               Amended Response t0

                          RFP N0.    55 and further documents produced. Baltazar Decl.                                   1]   18,   EXh.    19.    This further

                          amended response, once            again,         was not accompanied by the               requisite veriﬁcation                under penalty

                    10    0f perjury and the response and documents did not comply With the parties’ agreement.                                                   Id.


                    11             On November            11,   2019, Ms. Baltazar sent another email to Mr. Welch pointing out the

                    12    lack of veriﬁcation and that the response and documents did not comport with the parties’

                    13    agreement. Baltazar Decl.              11   19,   EXh.    18.    BIPI requested a two-week extension of the motion                                  t0


                    14    compel deadline and requested a response no                            later   than noon 0n          November           12, 2019. Id.     Mr.

                    15    Welch did not respond t0              this email. Id.           On November         12, 2019,            Ms. Baltazar      tried to reach       Mr.

                    16    Welch by phone, but was               told that he        was    unavailable,     was not answering                 his cell   phone When           his


                    17    assistant called him,      and his work voicemail box was                        full.   Id.        To    date,   Mr. Welch has not

                    18    returned Ms. Baltazar’s phone calls or emails, necessitating the ﬁling of this Motion due the

                    19    current deadline. Id.


                    20    III.     ARGUMENT
                    21             A.         The Court Should Compel                          Plaintiff t0 Provide            A Further Response t0 RFP
                                              N0. 55.
                    22
                                              1.          The Court Has              the Authority t0          Compel              Plaintiff to Provide       Further
                    23                                    Responses.

                    24             California      Code 0f Civil Procedure (“C.C.P.”)                       section 2030.010 permits a party t0 serve


                    25    upon any other party a demand                    for production         0f documents relevant to the subj ect matter 0f the

                    26    lawsuit. C.C.P. section          203 1 .3 10 provides                in relevant part:


                    27
                                   On receipt of a response t0 an inspection demand, the party demanding the
                                   inspection may move for an order compelling a further response t0 the demand if
                    28
                                   the   demanding party deems                    that   any of the following apply:
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                                   (1) A statement of compliance with the demand is incomplete.
                                   (2) A representation of inability to comply is inadequate, incomplete, 0r evasive.
                                   (3)   An obj ection in the response is Without merit or too general.                ..




                                   Thus, the Court has the authority t0 compel Plaintiff t0 provide further responses.

                                             2.         Plaintiff   Has Not Provided          Statutorily    Compliant Responses.

                                   C.C.P. section 203 1 .210 provides:


                                   (a)   The party t0    whom a demand for inspection,               copying, testing, or sampling has been

                          directed shall respond separately t0 each item 0r category 0f item                   by any of the       following:


                                   (1)   A statement that the party Will comply with the particular demand for
                                   inspection, copying, testing, 0r sampling             by the     date set for the inspection,
                                   copying, testing, or sampling pursuant t0 paragraph (2) of subdivision (c) of
                    10             Section 203 1 .030 and any related activities.
                                   (2)   A representation that the party lacks the ability t0 comply with the demand for
                    11
                                   inspection, copying, testing, or sampling 0f a particular item 0r category 0f item.

                    12             (3)   An obj ection to the particular demand for inspection,               copying, testing, or
                                   sampling.
                    13
                                   Here, as explained more fully below, Plaintiff’ s responses t0 BIPI’S                     RFPs       are incomplete

                    14
                          and evasive and     fail to   comply With      the C.C.P.’s requirements.

                    15
                                             3.                   Response t0 RFP N0. 55 Does Not Contain a Representation
                                                        Plaintiff’s
                    16                                  That She Will Comply With the Request 0r a Statement 0f Inability t0
                                                        Comply and Plaintiff’s Objections Are Without Merit.
                    17
                                   Request for Production N0. 55 seeks “A11                  DOCUMENTS that RELATE TO any lawsuits,
                    18
                          complaints, charges, grievances, 0r other legal 0r equitable claims                   made by YOU,            or   made by
                    19
                          others   on   YOUR behalf, against any employer, other than this ACTION.”                          Plaintiff s latest

                    20
                          veriﬁed response t0     this    RFP   does not contain a statement that Plaintiff will comply with the
                    21
                          Request or a statement that he         is   unable to comply. Baltazar Decl.          1]   16,   Exh.   15.

                    22
                                   Rather than agree to comply With           this   RFP,     Plaintiff asserts meritless obj ectionsz:

                    23
                          “Plaintiff herein incorporates        by reference each and every one of the General Obj ections                      set forth

                    24
                          above, and plaintiff’s response        is   precisely subj ect to, and without waiver 0f, the foregoing

                    25
                          obj actions. Plaintiff ﬁthher obj ects that this request             is   overbroad, unduly burdensome, and
                    26
                          oppressive, and seeks documents that are protected                  by    attorney-client privilege, and/or not

                    27
                          2
                            After a timely motion t0 compel has been ﬁled, the burden is 0n the responding party t0 justify
                    28    any objection or failure t0 answer fully. Weil             &
                                                                            Brown, Civil Procedure Before Trial, § 8:1 179
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                          (citing Coy  v. Super. Ct. ofContra Costa  County, 58 Cal.2d 210, 220-221 (1962)).
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                          reasonably calculated t0 lead t0 the discovery 0f admissible evidence, and which are protected by

                          plaintiff s rights 0f privacy        and confidentiality.” Baltazar Decl.                 1]   16,   EXh.   15.


                                    Despite the fact that these obj ections are without merit, BIPI agreed to narrow                                   its   request

                          t0 include only the pleadings            and discovery requests and responses of the parties                        in the    King

                          Action, Vitas Action, and Atria Action. Baltazar Decl.                       11   18,   Exh.   18. Plaintiff,     however, served

                          further   amended responses, Which were unverified and did not comport with                                   the Parties’


                          agreement. See C.C.P. § 203 1 .250 (requiring a party to “sign the response under 0ath.”); see also

                          Appleton    v.   Sup.Ct.,   206 Ca1.App.3d 632, 636 (1998) (acknowledging                            that   an unveriﬁed response

                          is   equivalent t0 no response at         all).      Speciﬁcally, Plaintiff s response indicated that she                     would

                    10    only produce the pleadings and discovery requests in the King Action, Vitas Action, and Atria

                    11    Action. Baltazar Decl. ﬂ 18.             It   did not indicate a Willingness to produce the discovery responses

                    12    as the Parties    had agreed.      Id.   Indeed,       it is   the responses (not requests) that Will contain the


                    13    information relevant t0 BIPI’s defense of this matter, such as information about the emotional

                    14    distress Plaintiff suffered        and her treatment for such             distress.     The document production                that


                    15    accompanied these unveriﬁed responses was similarly noncompliant.                                    Id.    While   Plaintiff


                    16    produced the Complaints in the King Action, Vitas Action, and Atria Action, and a                                       PDF

                    17    purporting to be         Form   Interrogatories, Plaintiff did not          produce any other discovery requests and

                    18    did not produce a single discovery response 0r accompanying veriﬁcation.                                    Id. It is   imperative

                    19    that   When Plaintiff produces        these discovery responses, she also provide the accompanying

                    20    veriﬁcation,      which shows      that she validated the information provided in the response                            under

                    21    penalty of perjury. The veriﬁcations Plaintiff ignored BIPI’s repeated efforts to meet and confer

                    22    regarding this response, necessitating this motion. Baltazar Decl. 1N 18-19.

                    23                        4.          The Documents Requested Are Directly Relevant To Plaintiff’s
                                                          Claims, Defendant’s Defenses, and Plaintiff’s Claimed Damages.
                    24

                    25              The scope of discovery              is   very broad.     A party may obtain discovery 0n any matter
                    26    reasonably calculated t0 lead to the discovery of admissible evidence. See generally Darbee                                           v.



                    27    Super. CL, 208 Ca1.App.2d 680, 688 (1962).                       The Courts have gone 0n             t0 explain that information


                    28    is   relevant if it might reasonably assist a party in evaluating a case, preparing for                             trial,   0r
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                          facilitating settlement.     Stewart    v.   Colonial Western Agency, Inc. 87 Ca1.App.4th 1006, 1013

                          (2001); Gonzalez     v.   Super CL, 33 Ca1.App.4th 1539, 1546 (1995). As explained more fully

                          below, the documents requested by BIPI are relevant                  t0,   among   other things, Plaintiff s emotional

                          distress   damages and the        ability for   BIPI t0 assess and challenge        Plaintiff’ s credibility.


                                                       a.        The Records Sought Are      Directly Relevant               t0 the Issue 0f
                                                                 Plaintiff’s   Emotional Distress Damages.


                                     In the instant case, Plaintiff claims t0 have suffered from “severe emotional distress” and

                          seeks damages for such distress. See First            Amended Complaint, 1W 27,              32, 41.   RFP No.    55 seeks

                          documents related        to other lawsuits Plaintiff ﬁled against other employers. Baltazar Decl.                     11   15,


                    10    EXh.   16. In   response t0 Special Interrogatory No.             8, Plaintiff   identiﬁed that she ﬁled three other

                    11    lawsuits prior to her      employment with Ashﬁeld. Baltazar Decl.                 1]   20, EXh. 20; see also   RJN 1W           1-


                    12    3,   EXh. A-C. Documents responsive t0             RFP No.    55,   which include the pleadings, discovery

                    13    requests and responses, and deposition transcripts from the                  King Action, Vitas Action and Atria

                    14    Action, Will contain information about (a) the alleged emotional injury and suffering Plaintiff

                    15    claims to have experienced as a result 0f her prior employers’ conduct, and (b) any treatment she

                    16    sought and/or received for such alleged emotional injury and suffering. Such information                              is


                    17    directly relevant, especially        where    Plaintiff claims t0    have suffered severe emotional          distress       due

                    18    to Defendants’ actions in this case           and seeks   to recover   monetary damages for such            injuries.       See

                    19    Wallis   v.   Superior CL, 160 Ca1.App.3d 1109, 1119-20 (1984)                   (t0 establish   aprimafacie case           for


                    20    intentional inﬂiction 0f emotional distress, a plaintiff must show,                     among   other things “actual and

                    21    proximate causation of emotional distress by the defendant’s outrageous conduct”). Here,                               if


                    22    Plaintiff experienced emotional distress resulting            from conduct         attributable t0 her prior


                    23    employers, then     it   calls into question     Whether Defendants in the present action proximately

                    24    caused her current emotional distress (or whether she had pre-existing emotional                         distress).    The

                    25    requested documents are directly relevant t0 issues of causation and apportionment in regard t0

                    26    Plaintiff s alleged emotional distress           damages   in this case.


                    27

                    28
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                                                           b.           The Records Sought Are Also Directly Relevant                    t0 Assessing
                                                                        and Challenging Plaintiff’s Credibility.


                                    Information regarding the credibility 0f a witness, particularly a party,                      is    directly relevant


                          and discoverable         for   impeachment purposes.            Cal. EVid.   Code §§780(c),     780(t), 1101(0).


                          Documents responsive                 to this request will contain information relevant to Plaintiff’ s credibility.


                          Defendant contends that Plaintiff represents the quintessential                      “serial litigant” -- as        evidenced by

                          the   King Action, the Vitas Action, the Atria Action and her present lawsuit                       --   she has sued four


                          (4)   employers over the span 0f 8 years for identical causes of action and alleging identical types

                          of damages.        RJN 1N       1-3,   EXh. A-C. Information from these prior lawsuits             is    necessary to support


                    10    BIPI’S defense that Whenever Plaintiff loses any job she responds by ﬁling a meritless “shake


                    11    down”    lawsuit in which she alleges that her former employer and supervisors harassed,


                    12    discriminated, and retaliated against her.                  Her pattern of suing anytime her employment

                    13    involuntary ends constitutes evidence that BIPI should be entitled t0 present t0 a jury t0 argue that


                    14    Plaintiff’ s   most recent accusations against BIPI are not                  credible.   BIPI needs     this   discovery t0


                    15    more    clearly understand the speciﬁc claims                  and evidence presented       in discovery       by   Plaintiff in


                    16    those actions and t0 build              its   defense in this action.


                    17              B.        The Court Should Compel Plaintiff t0 Comply with Her Agreement                                      to
                                              Produce Documents Responsive t0 RFPs Nos 11, 14, and 54.
                    18
                                              1.           The Court Has Authority to Compel                  Plaintiff’s   Compliance With Her
                    19                                     Written Discovery Responses.

                    20              If the   responding party agrees to comply With a C.C.P.                   §   203 1 .010 demand but          fails t0   d0

                    21    so,   compliance     may be compelled on appropriate                motion. C.C.P. § 2031.320. Accordingly, the


                    22    Court has the authority to compel Plaintiff to comply with her written discovery responses

                    23    agreeing to produce            all   documents.

                    24                        2.           Plaintiff Agreed to          Produce All Documents Responsive                 t0   RFPs     Nos.
                                                           11, 14,      and   54,   But Has Not Done So.
                    25

                    26             A11 that need to be            shown     t0 prevail   on a motion   t0   compel compliance       is   the responding


                    27    party’s failure to       comply        as agreed. C.C.P. § 2031.320(a); see          Standon C0.,     Inc.     v.   Sup. Ct.


                    28    (Kim), 225 Ca1.App.3d 898, 903 (1990). Here, Plaintiffs responses to                           RFP Nos.         11, 14,   and 54
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                               12                                      Case No. 18CIV05717
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                 DEFENDANT’S MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO COMPEL
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                          claim that Plaintiff Will provide           all   responsive documents:

                                                                                        RFP N0.     11

                                       Request: “A11            DOCUMENTS that RELATE TO YOUR scheduled work hours during
                                       YOUR employment with the CORPORATE DEFENDANTS.”
                                       Response:       “.   .   .Subject to and Without waiving the foregoing obj ections, plaintiff will

                                       produce any documents in her possession, custody, or control that are responsive t0

                                       her understanding of this request.”

                                                                                        RFP N0.     14

                                       Request: “A11            DOCUMENTS that RELATE TO the COMPENSATION that YOU
                    10                 received from the            CORPORATE DEFENDANTS,                     including but not limited     t0,   pay

                    11                 statements, time sheets,             COMPENSATION policies, W-2               forms, income tax returns

                    12                 and other records, Whether ﬁled individually or jointly with any other                      PERSON during
                    13                 YOUR alleged employment with the CORPORATE DEFENDANTS.”
                    14                 Response:       “.   .   .Subject to and without waiving these objections, plaintiff will produce

                    15                 any documents (other than privileged income tax returns and schedules)                        in her


                    16                 possession, custody, 0r control that are responsive t0 this request.”

                    17                                                                  RFP N0.     54

                    18                 Request: “A11            DOCUMENTS that RELATE TO any employment YOU obtained
                    19                 from September 2017              t0 the present including, but not limited t0,        any offer     letters,   and

                    20                 DOCUMENTS                  evidencing the        COMPENSATION and beneﬁts YOU received from
                    21                 any employer.”

                    22                 Response:       “.   .   .Subj ect to and Without waiver 0f the foregoing obj actions, plaintiff will


                    23                 produce any documents in her possession, custody, 0r control that are responsive t0

                    24                 this request.”


                    25             Despite agreeing to provide              all   responsive documents, Plaintiff has, to date, failed t0 do

                    26    so.   With respect   t0   documents regarding the amount of the compensation she received from

                    27    Ashﬁeld (RFP No.          14),   she produced a single printout from              ADP’S website   that   shows   certain


                    28    payments she received. Baltazar Decl.                   11
                                                                                       16.   But, Plaintiff has not produced copies 0f the actual
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                                  13                              Case No. 18CIV05717
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                          wage    statements or her W-2.         Id.   Plaintiff has not        produced any documents regarding her

                          scheduled work hours with Defendants (RFP No.                     11). Id.    Nor has       she produced a single

                          document      that evidences the subsequent         employment she obtained, including                  offer letters,    wage

                          statements, W-ZS, 0r documents reﬂecting the end of such                      employment (RFP No.              54). Id.   The

                          Court should compel Plaintiff t0 produce             all      documents responsive          t0 these requests.


                                   C.       The Court Should Compel                 Plaintiff t0     Produce a Privilege          L02    Identifving
                                            Anv Document Withheld 0n the Basis                       0f Privilege.


                                   When asserting      claims 0f privilege 0r attorney             work product protection,         the obj ecting


                          party must provide “sufﬁcient factual information” t0 enable other parties t0 evaluate the merits

                    10    0f the claim, “including, ifnecessary, a privilege 10g.” C.C.P. § 2031.240(C)(1)(emphasis added);

                    11    Lopez   v.   Watchtower Bible      &   Tract Soc.   OfNew         York, Ina,    246 Ca1.App.4th 566, 596-97 (2016)

                    12    (burden t0 show preliminary facts supporting application of privilege not met where party failed

                    13    t0   produce privilege 10g or identify any speciﬁc conﬁdential communications.)                           A privilege 10g
                    14    must   identify each   document        for   which a privilege or work product protection                is   claimed,    its



                    15    author, recipients, date or preparation,          and the speciﬁc privilege or work product protection

                    16    claimed. Hernandez      v.   Sup. Ct. (Acheson Indus., Ina), 112 Ca1.App.4th 285, 291-292 (2003).

                    17    The purpose 0f requiring a privilege 10g            is   t0   make     a record 0f the documents Withheld and the

                    18    privilege claim asserted t0 each.            Wellpoint Health Networks, Inc.           v.    Sup. Ct. (McCombS), 59

                    19    Ca1.App.4th 110, 130 (1997).

                    20             Here, Plaintiff asserted the attorney—client privilege throughout her responses to BIPI’S

                    21    RFPs. Baltazar Decl.    1]   16,   EXh. 15 (general objections and response t0 RFPs 14, 18, 55). Yet,

                    22    despite BIPI’s repeated requests, Plaintiff has failed t0 produce a privilege 10g. Baltazar Decl. ﬂ


                    23    16.   Without such a   10g,   BIPI cannot adequately evaluate                Plaintiff’ s   claim of privilege and/or

                    24    work product. As a result,         the Court should order Plaintiff t0 provide a privilege 10g that


                    25    identiﬁes each    document     for   Which privilege 0r work product protection                  is   claimed,   its   author,


                    26    recipients, date, 0r preparation,        and the speciﬁc privilege 0r work product protection claimed.

                    27    IV.      CONCLUSION
                    28             For the foregoing reasons, BIPI respectfully requests that the Court order Plaintiff t0 serve
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                              14                                      Case No. 18CIV05717
 ATTORNEYS AT LAw
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                          veriﬁed responses, produce       all   documents responsive       to BIPI’s   RFPs   as set forth in the


                          accompanying Separate Statement, and          to   produce a privilege     log;   and for   all   other relief in favor

                          of BIPI that the Court ﬁnds appropriate.

                          Dated:   November   14,   2019




                                                                                       By
                                                                                            Eric
                                                                                                         W
                                                                                       MORGAN, LEWIS & BOCKIUS LLP



                                                                                                   Meckley
                                                                                            Ashley A. Baltazar

                                                                                            Attorneys for Defendant
                                                                                            BOEHRINGER INGELHEIM
                                                                                            PHARMACEUTICALS, INC.
                                                                                            (erroneously sued as
                    10                                                                      “BOEHRINGER-INGELHEIM
                                                                                            PHARMACEUTICAL”)
                    11


                    12

                    13

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MORGAN, LEWIS &
  BOCKIUS LLP                                                                     15                                         Case N0. 18CIV05717
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                DEFENDANT’S    MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO COMPEL
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                                                                                                 E’”
                                                                                                             11/14/2019
                                                                                                 Bf
                          MORGAN, LEWIS & BOCKIUS LLP                                                               Demand:
                          Eric Meckley, Bar No. 168 1 81
                          Ashley A. Baltazar, Bar N0. 284921
                          One Market
                          Spear Street Tower
                          San Francisco, CA 94105-1596
                          Tel:   +1 .415.442. 1000
                          Fax:     +1.415.442. 1001
                          eric.meckley@morganlewis.com
                          ashley.baltazar@morganlews.com

                          Attorneys for Defendant
                          BOEHRINGER INGELHEIM
                          PHARMACEUTICALS, INC. (erroneously sued as
                          “BOEHRINGER-INGELHEIM
                          PHARMACEUTICAL”)

                    10                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    11                                              COUNTY OF SAN MATEO
                    12

                    13    BRENDA PERRY, and Individual,                            Case No. 18CIV057 1 7

                    14                                Plaintiff,                   DECLARATION OF ASHLEY A.
                                                                                   BALTAZAR IN SUPPORT OF
                    15                      vs.                                    DEFENDANT BOEHRINGER
                                                                                   INGELHEIM PHARMACEUTICALS,
                    16    ASHFIELD HEALTHCARE, LLC, a business                     INC.’S MOTION TO COMPEL:
                          entity; BOEHRINGER-INGELHEIM
                    17    PHARMACEUTICAL, a business entity;                       (1)   FURTHER RESPONSE TO RFP
                          NATE STYLES,            an individual; and   DOES   1-   NO.     55;
                    18    25, inclusive,
                                                                                   (2)   COMPLIANCE WITH
                    19                                Defendants.                  PLAINTIFF’S RESPONSE                        T0 RFP
                                                                                   Nos. 11, 14, AND 54; AND
                    20
                                                                                   (3)   A PRIVILEGE LOG.
                    21
                                                                                   Date:                 January 14, 2020
                    22                                                             Time:                 9:00 a.m.
                                                                                   Dept:                 1

                    23                                                             Courtroom:            4C

                    24                                                             Complaint Filed: October 22, 2018
                                                                                   Trial Date:   None         set
                    25

                    26

                    27

                    28
MORGAN, LEWIS 8:                                                                                                         Case No. 18CIV057 1 7
  BOCKIUS LLP                                     DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAw
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                                    I,   Ashley A. Baltazar, declare as follows:

                                    1.        I   am an Associate       at the      law ﬁrm of Morgan, Lewis          & Bockius LLP, counsel for
                          Defendant Boehringer-Ingelheim Pharmaceuticals                           Inc. (“BIPI”) in the   above—captioned matter.            I



                          submit    this Declaration in support            0f BIPI’S Motion to Compel. Ihave personal knowledge of the

                          facts set forth    below, and       if called as a Witness, I        could and would competently testify thereto.

                                    2.        On 0r about March            13, 2019,       my ofﬁce served Plaintiff with Requests for
                          Production of Documents (Set One), Special Interrogatories (Set One), and                               Form     Interrogatories

                          — Employment        (Set One). Attached hereto as Exhibit 1                   is   a true and correct copy 0f BIPI’s

                          Requests for Production of Documents (Set One), which are                            at issue in this   Motion.

                    10              3.        On 0r about April         17,   2019,    my ofﬁce received unverified responses t0
                    11    Defendant’s Requests for Production 0f Documents (Set One). Plaintiff did not, however, serve

                    12    any response       t0 Defendant’s Special Interrogatories (Set                 One) or Form Interrogatories — General

                    13    (Set   One) or produce any responsive documents. Attached hereto                           as Exhibit 2     is   a true and

                    14    correct   copy 0f Plaintiff s unveriﬁed responses                   t0 BIPI’s Requests for Production            0f Documents

                    15    (Set One).

                    16              4.        On 0r about April         30, 2019,      I   sent Plaintiff” s counsel, Michael Welch, a detailed


                    17    meet and confer         letter   and requested a response by             May 7,    2019 by both email and mail.

                    18    Attached hereto as Exhibit 3            is   a true and correct copy 0f this meet and confer                letter.


                    19              5.        On 0r about May 7,           2019, Mr. Welch emailed              me requesting a few more         days to

                    20    provide updated discovery responses.                  I   granted his request. Attached hereto as Exhibit 4               is   a

                    21    true   and correct copy of this email chain.

                    22              6.        On 0r about May           16, 2019,     my ofﬁce received unveriﬁed responses to BIPI’S
                    23    Form Interrogatories—Employment                     (Set One), unveriﬁed responses to BIPI’s Special

                    24    Interrogatories (Set One),          and Plaintiff s ﬁrst document production.                 Plaintiff did not,      however,

                    25    provide a veriﬁcation t0 her           initial   responses t0 BIPI’S Requests for Production 0f Documents

                    26    (Set   One) 0r amended responses             to BIPI’s      Requests for Production 0f Documents (Set One). Nor

                    27    did Mr.   Welch provide           a response to     my April 30,         2019 meet and confer     letter.


                    28              7.        On 0r about June          17,   2019,   I    sent Mr.   Welch another    detailed    meet and confer
MORGAN, LEWIS 8:                                                                               1                                      Case No. 18CIV05717
  BOCKIUS LLP                                      DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAw
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                          letter   addressing the multitude 0f issues With Plaintiff s discovery responses and requested a

                          response by June 21, 2019. Attached hereto as Exhibit 5                                 is   a true and correct copy of this meet

                          and confer       letter.


                                    8.           On 0r about June 26,             2019, Mr. Welch emailed me, claimed to have been 0n a

                          family vacation, and indicated that he would respond to                                my letter and provide the outstanding
                          items    by Friday, June         28, 2019. In the afternoon                0n Friday, June 28, 2019,                I   inquired as t0 the

                          status   of Mr. Welch’s response t0                my letter, Plaintiff’ s veriﬁcations,                   and amended responses.

                          Attached hereto as Exhibit 6                is   a true and correct copy of this email chain. Later that day, Mr.

                          Welch     sent   me     an email, which purported to attach, among other things, revised veriﬁed

                    10    responses t0 BIPI’s Special Interrogatories and                          Form Interrogatories—Employment. His email

                    11    further indicated that he            was   still   awaiting a veriﬁcation from his client as to BIPI’s Requests for

                    12    Production of Documents.                On or about July            1,   2019, after not receiving these documents in hard

                    13    copy form       in the mail 0r otherwise,              I   emailed Mr. Welch and informed him that the ﬁles were

                    14    corrupted and that          I   could not open them. Irequested that Mr. Welch re-send the documents t0

                    15    me.   On or about July 2,            2019, Mr.         Welch responded and informed me                       that   he sent the documents

                    16    by FedEx       t0    my ofﬁce.       Attached hereto as Exhibit 7                 is   a true and correct copy 0f this email

                    17    chain.


                    18              9.           On 0r about July 8,          2019,     my ofﬁce received Plaintiff” s veriﬁed amended
                    19    responses t0 BIPI’s Requests for Production 0f Documents.                                    I   also received Plaintiff’ s        amended

                    20    responses t0 BIPI’S             Form Interrogatories—Employment and amended                                 responses to BIPI’S Special

                    21    Interrogatories,        Which were not properly veriﬁed. Speciﬁcally, the veriﬁcations                                     that


                    22    accompanied           Plaintiff’ s   responses represented that they were in                       fact,   veriﬁcations t0 Plaintiff’ s

                    23    original responses to BIPI’s               Form Interrogatories—Employment and                             Special Interrogatories.

                    24    Accordingly, Plaintiff” s amended responses t0 these discovery requests remained unveriﬁed. Idid

                    25    not receive a substantive response t0                      my June   17,      2019 meet and confer            letter.     Attached hereto as

                    26    Exhibit 8       is   a true and correct copy 0f Plaintiff’ s               Amended Responses                 t0 BIPI’s Requests for


                    27    Production of Documents that                 I   received on July          8,   2019.

                    28              10.          On 0r about July          15,   2019,   I   sent a third detailed          meet and confer           letter t0   Mr.
MORGAN, LEWIS 8:                                                                                    2                                               Case No. 18CIV05717
  BOCKIUS LLP                                        DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
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                          Welch and requested           a response                by July   22, 2019. Attached hereto as Exhibit 9                      is   a true and

                          correct   copy 0f the July             15,    2019 meet and confer              letter.


                                    11.       On 0r about July 24,                   2019, after receiving no response to                  my July      15,    2019 meet

                          and confer      letter, I   emailed Mr. Welch, asking him t0 advise as t0 the status of the items requested

                          in   my letter. On July 25,              2019, Mr. Welch responded, claiming to have depositions the remainder

                          0f the week and indicated that he would respond to the                                    letter   by Monday, July          29, 2019. Attached

                          hereto as Exhibit 10          is       a true and correct copy of this email correspondence.

                                    12.       On or about July 30,                   2019, .Mr. Welch emailed                 me   and purported        to attach


                          veriﬁcations t0 Plaintiff” s             amended responses             to BIPI’s Special Interrogatories                    and Form

                    10    Interrogatories—Employment.                         On July 31,     2019,       I   emailed Mr. Welch and informed him that his

                    11    email did not include veriﬁcations to Plaintiff s amended responses t0 BIPI’s                                            Form

                    12    Interrogatories—Employment as his email indicated.                                    I   further requested that he appropriately


                    13    serve the veriﬁcations and provide veriﬁcations t0 Plaintiff’ s responses to BIPI’s Requests for

                    14    Production 0f Documents. That same day, Mr. Welch acknowledged receiving                                                     my email and
                    15    indicated that he had left the ofﬁce for a settlement conference, but                                     would address            it later.   On

                    16    August    14,   2019, after receiving n0 further communication from Mr. Welch,                                          I   again sent an email

                    17    to   Mr. Welch asking for the aforementioned items and a response                                        t0   my meet and confer letter by
                    18    Friday,   August     16,    2019.        I   also requested an extension to BIPI’s                    motion     t0   compel deadline.

                    19    Attached hereto as Exhibit 11                      is   a true and correct copy 0f this email correspondence.

                    20              13.       On August                19,   2109, Mr. Welch emailed                 me   and purported         t0 attach     amended

                    21    responses to Special Interrogatories and                          Form Interrogatories—Employment,                       a response t0         my
                    22    meet and confer       letter,      and further documents.               I   immediately responded to Mr. Welch’s email and

                    23    informed him that his attached amended responses once again did not include a veriﬁcation and

                    24    requested a veriﬁcation by the close 0f business. Mr.                                 Welch responded claiming that he was

                    25    “puzzled” as t0      my statement that he had not provided veriﬁcations t0 prior responses, but
                    26    ignored the fact that his email inaccurately described what was attached and                                            my request for
                    27    missing veriﬁcations.              I   responded and again outlined the issues with Plaintiff s discovery

                    28    requests and veriﬁcations.                   On August 20,         2019,    I   emailed Mr. Welch t0 ask him for his
MORGAN, LEWIS 8:                                                                                      3                                               Case No. 18CIV05717
  BOCKIUS LLP                                     DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
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                          availability for a           phone         call t0 discuss,   but he did not respond to             my request.            Instead,   he

                          responded and stated that he would “review [my email]                                   later    today after [he] got something ﬁled.

                          Attached hereto as Exhibit 12                       is   a true and correct copy 0f this email correspondence.

                                      14.         On August 22,              2019, after receiving n0 further communication from Mr. Welch,                               I



                          emailed him and invited him to come to                          my ofﬁce for an in person meeting to discuss the issues
                          with Plaintiff’s discovery responses.                       We agreed t0 meet on August 28, 2019. Attached hereto as
                          Exhibit 13        is    a true and correct copy 0f this email correspondence.

                                      15.         On August 28,              2019, Mr. Welch and           I   met    in   person   at   my ofﬁce to discuss the
                          various issues With Plaintiff’s discovery responses. During this meeting, Mr.                                              Welch brought with

                    10    him   Plaintiff s veriﬁed                  Second Amended Responses                  to BIPI’S Special Interrogatories.                These

                    11    responses did not include a proof of service. Mr.                              Welch     indicated during this meeting that he

                    12    forgot t0 bring Plaintiff’ s                   amended responses       to Defendant’s            Form Interrogatories—Employment.

                    13    He   also   handed           me   a   document       that purported t0      be   Plaintiff’ s      Second Amended Responses                t0


                    14    BIPI’s Requests for Production of Documents, but after                                  I   pointed out that the document was

                    15    missing several pages, he took                      it   back. Mr.   Welch agreed t0 provide                (1)   veriﬁed Second

                    16    Amended Responses                     t0 BIPI’s Requests for Production                 of Documents;           (2)   veriﬁed Second

                    17    Amended Responses                     t0 BIPI’s     Form     Interrogatories; (3) a         proof of service that indicates service

                    18    0f Plaintiff’s veriﬁed second amended responses to BIPI’s Special Interrogatories; (4) a proof 0f

                    19    service for       all   of Plaintiff’ s documents produced; (5) a privilege 10g that                              lists    any document

                    20    withheld on the basis of privilege; and (6) certain attachments missing from documents produced.

                    21    On   September          3,   2019,         I   sent Mr.   Welch an email memorializing               this      agreement and asked him t0

                    22    commit      to providing the aforementioned                        documents by Friday, September                     6,   2019. Attached

                    23    hereto as Exhibit 14                  is   a true and correct copy 0f this email correspondence.

                    24                16.         On 0r about              September    5,   2019,   my ofﬁce received Plaintiff” s veriﬁed                     Second

                    25    Amended Responses                     t0 BIPI’s     Form     Interrogatories     — Employment, veriﬁed Second Amended

                    26    Reponses      to BIPI’S Special Interrogatories, without a                           proof 0f service attached. Attached hereto

                    27    as Exhibit 15           is   a true and correct copy of Plaintiff s veriﬁed Second                             Amended Responses           to


                    28    BIPI’s Requests for Production of Documents (Set One). Plaintiff’ s Second                                             Amended Responses
MORGAN, LEWIS 8:                                                                                     4                                                Case No. 18CIV05717
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                          t0 BIPI’S Requests for Production                  0f Documents were                   still   not code compliant. Additionally,

                          Plaintiff has not        produced        all   documents responsive                t0 certain     0f BIPI’s Requests for Production

                          0f Documents. For example, Plaintiff has not produced any documents regarding her scheduled

                          work hours With Defendants. Nor has she produced                                   all   documents      that evidence the        amount 0f

                          the compensation she received from Ashﬁeld. For example, BIPI has not received copies 0f

                          Plaintiff” s actual       wage     statements 0r her W—2s.                The only document she produced                      in this regard is


                          a printout from an         ADP portal regarding her pay.                         She also has not produced a single document

                          evidencing the subsequent employment she obtained including offer                                        letters,    wage     statements,       W-

                          25, or   documents evidencing the reasons for the end 0f such employment. Furthermore,                                                Plaintiff


                    10    has failed t0 produce a privilege log despite                      my repeated requests for one.
                    11               17.       On or about          September      6,      2019,   I    inquired as to the remaining documents that

                    12    Plaintiff agreed to provide, but that               BIPI had not yet received. Speciﬁcally, missing proofs 0f

                    13    service, a privilege 10g,          and certain documents                 t0      be produced.      On   September       10,   2019, after

                    14    receiving n0 response from Mr. Welch,                        I   again emailed           him to follow up and asked him               t0


                    15    commit     to providing the outstanding information/documents                                   by the end of the week. Attached

                    16    hereto as Exhibit 16          is   a true and correct copy of this email chain.                         On   September        16,   2019, Mr.

                    17    Welch responded and            attached additional documents, but did not address the remaining issues

                    18    raised    by my September           6,    2019 email. Attached hereto                    as Exhibit 17       is   a true and correct copy

                    19    0f this email chain.

                    20               18.       On    September 26, 2019,               I   again emailed Mr.              Welch and informed him              that   I   was

                    21    still   waiting for certain proofs of service, missing documents, and a privilege 10g.                                        On    October      9,


                    22    2019, after      still   receiving n0 response,          I   sent another follow                up email. Mr. Welch ﬁnally

                    23    responded and indicated that he was leaving for his father’s funeral and would not be able to

                    24    address the matter until he returned.                I   expressed            my condolences and my understanding and
                    25    asked him t0 extend the deadline for BIPI’S motion t0 compel for two weeks to accommodate the

                    26    delay and Mr.        Welch    agreed.          On October 21,        2019,         I   emailed Mr. Welch t0 follow up, but did

                    27    not receive a response.            On October 23,        2019,       I   again emailed           him and     outlined the issues With

                    28    respect t0 Plaintiff” s response to Request for Production N0. 55,                                  which sought documents related
MORGAN, LEWIS 8:                                                                                       5                                          Case No. 18CIV05717
  BOCKIUS LLP                                       DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
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                          t0 lawsuits Plaintiff ﬁled against her prior employers. In                 an attempt t0 reach a compromise With

                          Plaintiff, I   suggested that the request be narrowed to the pleadings, discovery documents, and

                          settlement agreements in those actions. Mr.                 Welch responded and agreed to produce pleadings

                          and discovery documents, but not settlement agreements.                     On October 23,      2019, Iindicated that

                          we   agreed With his proposal, provided he provide such responses and documents by November                                  1,


                          2019.   On October 25,         2019, after not receiving any further communication from Mr. Welch,                       I



                          followed up.      On October 29,      2019, Mr. Welch agreed to provide amended responses and

                          documents by Friday, November                1,   2019 and agreed     to extend BIPI’s deadline to ﬁle a         motion      to


                          compel another ten days         to   November       14, 2019.      On November 5,     2019, after receiving no

                    10    amended responses, documents,               0r privilege 10g from Plaintiff,     I   sent Mr.   Welch another email

                    11    checking 0n the status 0f the documents.                   On November 8,     2019, after receiving not response,             I


                    12    sent another email requesting a status update.                  Mr. Welch did not respond       t0   my emails.   Attached

                    13    hereto as Exhibit 18      is   a true and correct copy of this email communication. That afternoon,

                    14    however,   my ofﬁce received Plaintiff s Further Amended Response t0 RFP N0.                            55 and further

                    15    documents produced        in the mail. This further             amended response, however, was, once            again, not


                    16    accompanied by a veriﬁcation and the response and documents produced did not comply With the

                    17    our agreement. Speciﬁcally, the response limited the agreement t0 produce responsive

                    18    documents      t0 pleadings     and discovery requests, but did not indicate an agreement                 to   produce

                    19    discovery responses. Additionally, the document production that accompanied these unveriﬁed

                    20    responses,     was   similarly noncompliant.             While   Plaintiff produced the   Complaints in the King

                    21    Action, Vitas Action, and Atria Action, and a                   PDF purporting t0 be Form Interrogatories,         Plaintiff


                    22    did not produce any other discovery requests and did not produce a single discovery response.

                    23    Attached hereto as Exhibit 19 are Plaintiff s Further                 Amended Response to Defendant BIPI’s

                    24    Request for Production 0f Documents, Set One, N0. 55.

                    25             19.         On November      11,   2019,    I   sent another email t0 Mr.    Welch pointing out the        lack of

                    26    veriﬁcation and that the response and documents did not comport With the parties’ agreement.

                    27    Given   that BIPI’S deadline t0 ﬁle a             motion   t0   compel, Which was November 14, 2019, was

                    28    quickly approaching, Irequested a two-week extension t0 BIPI’s motion t0 compel deadline and
MORGAN, LEWIS 8:                                                                            6                                    Case No. 18CIV05717
  BOCKIUS LLP                                    DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAw
   SAN FRANCISCO         DBl/ 108332818.1                          MOTION TO COMPEL
                          Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 31 of 274



                          requested a response to this request n0 later than noon on                           November          12,   2019. See Exhibit 18.

                          Mr. Welch did not respond                 to this email.       On November          12,   2019,   I   tried to reach    Mr. Welch by

                          phone, but was told that he was unavailable. The receptionist informed                                       me that   she tried to reach

                          Mr. Welch 0n his          cell   phone, but that         it   went   straight t0 voicemail.        She also informed         me that his

                          voicemail box        at   was    full,   s0   I   could not leave a voicemail.            To   date,   Mr. Welch has not returned

                          my phone calls 0r emails,                forcing BIPI to ﬁle this Motion.

                                   20.         Attached hereto as Exhibit 20 are Plaintiffs Second                              Amended Responses          to


                          BIPI’s Special Interrogatories, Which indicate that Plaintiff has ﬁled at least three other lawsuits

                          against her former employers.

                    10             Executed         this 14th      day 0f November 2019               in   San Francisco,        California.


                    11             I   declare under penalty 0f perjury under the laws of the State of California that the

                    12    foregoing     is   true   and   correct.


                    13

                    14

                    15

                    16
                                                                                                                         W
                    17                                                                                               Ashley A. Baltazar

                    18

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MORGAN, LEWIS &                                                                                   7                                            Case N0. 18CIV05717
  BOCKIUS LLP                                       DECLARATION OF A. BALTAZAR IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAW
  SAN FRANCISCO          DBl/ 108332818.1                             MOTION TO COMPEL
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 32 of 274




                     Exhibit 1
                             Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 33 of 274



                         1   MORGAN, LEWIS & BOCKIUS LLP
                             Eric Meckley, BarNo. 168181
                         2   Ashley A. Baltazar, Bar No. 284921
                             One Market
                         3   Spear Street Tower
                             San Francisco, CA 94105-1596
                         4   Tel:     +1.415.442.1000
                             Fax: +1.415.442.1001
                         5   eric.meckley@morganlewis.com
                             ashley. baltazar@morganlews.com
                         6
                             Attorneys for Defendant
                         7   BOEHRINGER INGELHEIM
                             PHARMACEUTICALS, INC. (erroneously sued as
                         8   "BOEHRINGER-INGELHEIM
                             PHARMACEUTICAL")
                         9

                        10
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        11
                                                                  COUNTY OF SAN MATEO
                        12

                        13   BRENDA PERRY, and Individual,                 Case No. 18CIV05717

                        14                         Plaintiff,               EFENDANT BOEHRINGER-INGELHEIM
                                                                            HARMACEUTICAL'S    REQUEST FOR
                        15                  vs.                             RODUCTION OF DOCUMENTS TO
                                                                            LAINTIFF (SET ONE)
                        16   ASHFIELD HEAL THCARE, LLC, a
                             business entity; BOEHRINGER-                  Complaint Filed:        October 22, 2018
                        17   INGELHEIM PHARMACEUTICAL, a                   Trial Date:             None Set
                             business entity; NATE STYLES, an
                        18   individual; and DOES 1-25, inclusive,

                        19                           Defendants.
                        20

                        21

                        22
                             PROPOUNDING PARTY:             Defendant BOEHRINGER INGELHEIM PHARMACEUTICALS,
                        23
                                                           INC.
                        24
                             RESPONDING PARTY:             Plaintiff BRENDA PERRY
                        25
                             SETNO.:                        One
                        26
                                    Pursuant to Section 2031.010, et seq. of the Code of Civil Procedure, Defendant
                        27
                             Boehringer Ingelheim Pharmaceuticals, Inc. ("Defendant") requests that Plaintiff Brenda Perry
                        28
MORGAN, LEWIS &
                             ("Plaintiff') respond in writing to this Request for Production of Documents, Set One
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 AlTORNEYS     AT LAW

  SILICON    VALLieI'             DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
                             Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 34 of 274



                         1   ("Document Requests") as required by Section 2031.210 - 2031.250, and produce at the offices of

                         2   Morgan, Lewis & Bockius LLP, located at One Market, Spear Street Tower, San Francisco,

                         3   CA 94105, within the time prescribed by Section 2031.260, and permit the inspection and

                         4   copying of all of the documents and tangible things that are described below in these Document

                         5   Requests.

                         6                                DEFINITIONS AND INSTRUCTIONS
                         7           The following definitions apply to all document requests:

                         8           1.      The terms "YOU," "YOUR," and "PLAINTIFF" shall mean and refer to Plaintiff

                         9   Brenda Perry and her agents and representatives.

                        10           2.      The term "CORPORATE DEFENDANTS" means and refers to Boehringer

                        11   Ingelheim Pharmaceuticals, Inc. and Ashfield Healthcare, LLC.

                        12           3.      The term "DEFENDANTS"        means and collectively refers to the CORPORATE

                        13   DEFENDANTS and individual defendant "Nate Styles".

                        14           4.      The term "COMPLAINT" means the operative First Amended Complaint filed by

                        15   Plaintiff attorneys on or about January 7, 2019, in the United States District Court, Northern

                        16   District of California.

                        17           5.      The term "PERSON(S)" means all natural persons or entities, governmental units,

                        18   partnerships, firms, corporations, associations, joint ventures, or any other form of business,

                        19   organization, arrangement or other form of public private or legal entity.
                        20           6.      The terms "COMMUNICATION"           and "COMMUNICA nONS"           mean and include

                        21   any meeting, conference, face-to-face conversation, telephone conversation, computer message or

                        22   conference or COMMUNICATION           used by any media, as well as any written, typed, taped, or

                        23   recorded COMMUNICATION           of any kind whatsoever.

                        24           7.      The term "DOCUMENT" means the "original" and each "duplicate" of every

                        25   "writing" and "recording," as those terms are defined by California Evidence Code § 250, and

                        26   includes all printed, typed, recorded, photographic, written and graphic matter (including audio or

                        27   video tape recordings), however printed, coded, stored, produced or reproduced, of any kind or
                        28   description, whether sent or received or not, and all copies, drafts, or versions thereof which are
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  BOCKI US LLP
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                                                                             -2 -
   SILICON   VALLEY                DEFENDANT 81'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                            1   different in any way from the original (whether by interlineations, date-stamp, handwritten notes,

                            2   highlighting, indication of copies sent or received, or otherwise), including but not limited to:

                            3   any paper, book, account, photograph, blueprint, drawing, sketch, schematic, agreement, contract,

                            4   memorandum, press release, circular, advertising material, correspondence, letter, computer file,

                            5   electronic mail message (e-mail), telegram, telex, object, report, opinion, investigation, record,

                            6   transcript, study, note or notation, working paper, summary, intra-office COMMUNICATION,

                            7   diary or calendar, electronic calendar, planner, chart, minute, index sheet, computer software,

                            8   check, check stub, delivery ticket, bill of lading, invoice, records or recording or summary of any

                            9   hearing, meeting, telephone or other conversation, or of any interview or of any conference, or

                        10      any other written, computerized, recorded, transcribed, punched, taped, filmed or graphic matter

                        11      of which YOU have or have had possession, custody or control, or of which YOU have

                        12      knowledge.

                        l3               8.      The term "COMPENSATION"           includes damages, wages, penalties, interest, and

                        14      restitution.

                        15               9.      The terms "RELATE TO," "RELATING TO," and "RELATED TO" shall mean

                        16      to refer, relate, constitute, evidence, or reference.

                        17               1O.     The term "HEAL THCARE PROVIDER" shall mean any doctor or other

                        18      practitioner of medical science or healing arts, including but not limited to counselors, nurses,

                        19      chiropractors, psychologists, psychiatrists, social workers, physical therapists, and hospitals,
                        20      clinics, hospices, and other institutions providing health care.

                        21                     REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

                        22      REQUEST FOR PRODUCTION NO.1:

                        23              All DOCUMENTS that RELATE TO the First Cause of Action in YOUR COMPLAINT

                        24      for "Sexual Harassment" in violation of the Fair Employment and Housing Act ("FEHA").

                        25      REQUEST FOR PRODUCTION NO.2:

                        26              All DOCUMENTS that RELATE TO the Second Cause of Action in YOUR

                        27      COMPLAINT for "Age Discrimination" in Violation of the FEHA.
                        28
MORGAN,       LEWIS     &
  BOCKlusLLP                                                                       -3-
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   SILICON   VALLEY                   DEFENDANT Bl'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                           1   REQUEST FOR PRODUCTION NO.3:

                           2              All DOCUMENTS that RELATE TO the Third Cause of Action in YOUR COMPLAINT

                           3   for "Retaliation."

                           4   REQUEST FOR PRODUCTION NO.4:

                           5              All DOCUMENTS that RELATE TO the Fourth Cause of Action in YOUR

                           6   COMPLAINT for "Wrongful Termination in Violation of Public Policy."

                           7   REQUEST FOR PRODUCTION NO.5:

                           8              All DOCUMENTS that RELATE TO the Fifth Cause of Action in YOUR COMPLAINT

                           9   for "Intentional Infliction of Emotional Distress."

                       10      REQUEST FOR PRODUCTION NO.6:

                       11              All DOCUMENTS which YOU obtained from the CORPORATE DEFENDANTS during

                       12      YOUR employment with the CORPORATE DEFENDANTS.

                       13      REQUEST FOR PRODUCTION NO.7:

                       14              All DOCUMENTS that RELATE TO YOUR alleged employment with the

                       15      CORPORATE DEFENDANTS, including but not limited to ALL offer letters, employment

                       16      agreements, job descriptions, compensation, benefits, personnel policies or statements, employee

                       17      handbooks, formal or informal evaluations or performance reviews, comment, criticism,

                       18      discipline, reprimand, complaints, or praise.

                       19      REQUEST FOR PRODUCTION NO.8:
                       20              All DOCUMENTS, regardless of source, that RELATE TO the CORPORATE

                       21      DEFENDANTS'          employees, job descriptions, policies, procedures, practices, and employee

                       22      handbooks, with the exception of any privileged communications between YOU and YOUR

                       23      counsel.

                       24      REQUEST FOR PRODUCTION NO.9:

                       25              All DOCUMENTS that RELATE TO YOUR qualifications for any position with the

                       26      CORPORATE DEFENDANTS, including your position as field sales representative assigned to

                       27      the Diabetes Overlay team as alleged in Paragraph 8 of YOUR COMPLAINT.

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  BOCKIUsLLP                                                                     -4-
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  SILICON   VALLEY                   DEFENDANT 81'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                              REQUEST FOR PRODUCTION NO. 10:

                          2          All DOCUMENTS that YOU received from the CORPORATE DEFENDANTS during

                          3   YOUR employment with the CORPORATE DEFENDANTS.

                          4   REQUEST FOR PRODUCTION NO. 11:

                          5          All DOCUMENTS that RELATE TO YOUR scheduled work hours during YOUR

                          6   employment with the CORPORATE DEFENDANTS.

                          7   REQUEST FOR PRODUCTION NO. 12:

                          8          All DOCUMENTS that RELATE TO YOUR absence from work for any reason during

                          9   YOUR employment with the CORPORATE DEFENDANTS.

                         10   REQUEST FOR PRODUCTION                NO. 13:

                         11          All DOCUMENTS that RELATE TO YOUR applications for positions with the

                         12   CORPORATE DEFENDANTS, including but not limited to resumes, cover letters, methods of

                         13   application, responses, rules, guidelines, or procedures.

                         14   REQUEST FOR PRODUCTION NO. 14:

                         15          All DOCUMENTS that RELATE TO the COMPENSATION (including wages,

                         16   reimbursements, and deductions) that YOU received from the CORPORATE DEFENDANTS,

                         17   including but not limited to, pay statements, time sheets, COMPENSATION policies, W-2 forms,

                         18   income tax returns and other records, whether filed individually or jointly with any other

                         19   PERSON (federal, state, and local) during YOUR alleged employment with the CORPORATE
                         20   DEFENDANTS.

                         21   REQUEST FOR PRODUCTION NO. 15:

                         22          All DOCUMENTS that RELATE TO any feedback YOU received about YOUR work

                         23   performance during YOUR alleged employment with the CORPORATE DEFENDANTS,

                         24   whether verbal or written, and whether positive, negative, or otherwise.

                         25   REQUEST FOR PRODUCTION NO. 16:

                         26          All DOCUMENTS that RELATE TO any written warnings, counselings, or other

                         27   disciplinary action that YOU received from the CORPORATE DEFENDANTS during YOUR

                         28   alleged employment with the CORPORATE DEFENDANTS.
MORGAN,       LEWIS&
  BOCKIUsLLP                                                                   -5-
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   SILICON   VALLf..:V              DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                             1   REQUEST        FOR PRODUCTION        NO. 17:

                             2           All internet pages or postings (including on Facebook, Twitter, or other social media sites)

                             3   that YOU have created or published RELATED TO this lawsuit, YOUR employment with the

                             4   CORPORATE DEFENDANTS, or the claims set forth in YOUR COMPLAINT.

                             5   REQUEST FOR PRODUCTION               NO. 18:

                             6           All journals, diaries, or other DOCUMENTS that RELATE TO this lawsuit, YOUR

                             7   alleged employment with the CORPORATE DEFENDANTS, or any of the claims set forth in

                             8   YOUR COMPLAINT.

                             9   REQUEST FOR PRODUCTION               NO. 19:

                         10              All DOCUMENTS that RELATE TO any oral or written complaint YOU made to anyone

                         11      regarding YOUR alleged employment with CORPORATE DEFENDANTS.

                         12      REQUEST        FOR PRODUCTION        NO. 20:

                         13             All COMMUNICATIONS           that RELATE TO any oral or written complaints YOU made

                         14      regarding YOUR alleged employment with the CORPORATE DEFENDANTS.

                         15      REQUEST        FOR PRODUCTION        NO. 21:

                         16             All DOCUMENTS that RELATE to any oral or written complaint YOU made regarding

                         17      Nate Styles.

                         18      REQUEST        FOR PRODUCTION        NO. 22:

                         19             All COMMUNICATIONS           that RELATE TO any oral or written complaints YOU made
                         20      regarding Nate Stiles.

                         21      REQUEST        FOR PRODUCTION        NO. 23:

                         22             All DOCUMENTS that RELATE to any oral or written complaint YOU made regarding

                         23      alleged "off label marketing."

                         24      REQUEST        FOR PRODUCTION        NO. 24:

                         25             All COMMUNICATIONS           that RELATE TO any oral or written complaints YOU made

                         26      regarding alleged "off label marketing."

                         27      REQUEST FOR PRODUCTION               NO. 25:

                         28             All DOCUMENTS that constitute, evidence, or reference correspondence or other
MORGAN, LEWIS            &
  BOCKIUsLLP                                                                     -6-
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  SILICON   VALLEY                     DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                          1   COMMUNICATIONS          with any individual from whom YOU or any PERSON acting on YOUR

                          2   behalf has obtained or has sought to obtain a written or oral statement concerning the relevant

                          3   facts and circumstances, or the allegations and claims involved in the litigation initiated by the

                          4   COMPLAINT, including a copy of any statement(s) received.

                          5   REQUEST FOR PRODUCTION NO. 26:

                          6          All DOCUMENTS that constitute, evidence, or reference any meeting, conversations, or

                          7   other COMMUNICATIONS          YOU had at any time with any PERSON (other than YOUR

                          8   attorneys) concerning any of the facts, events, or allegations involved in this lawsuit, including

                          9   but not limited to correspondence (including any electronic form of communication such as e-

                      10      mail or text messaging), memoranda, notes, any writing reflecting telephone communications

                      11      (including any telephone records, voicemail recordings, and/or notes of messages), or any writing

                      12      reflecting other COMMUNICA nONS,          such as entries in any calendar, date book, journal,

                      13      appointment book, or log.

                      14      REQUEST      FOR PRODUCTION NO. 27:

                      15             All DOCUMENTS created by YOU or any other person (other than YOUR counsel in this

                      16      case) RELATED TO any of the allegations in YOUR COMPLAINT.

                      17      REQUEST FOR PRODUCTION NO. 28:

                      18             All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 of YOUR

                      19      COMPLAINT that "defendant BIP exercised control over the means and manner of [YOUR]
                      20      performance as a sales representative."

                      21      REQUEST      FOR PRODUCTION NO. 29:

                      22             All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 of YOUR

                      23      COMPLAINT that "BIP controlled the location and assignment of [YOUR] territory as a

                      24      pharmaceutical representative; BIP had the power to manage and controle [YOUR] job

                      25      performance, and BIP directly managed and supervised [YOUR] job performance, (including

                      26      through defendant Stiles, a manager ofBIP); BIP instructed [YOU] as to how to perform

                      27      [YOUR] job duties and make sales calls; and BIP had the power to terminate [YOUR]

                      28      performance, and did so, as alleged further below."
MORGAN,       LEWIS   &
  BOCKIUsLLP                                                                  -7 -
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   SILICON   VALLEY                 DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                           1   REQUEST         FOR PRODUCTION       NO. 30:

                           2           All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 10 of YOUR

                           3   COMPLAINT that "defendants interfered with [YOUR] job performance and engaged in

                           4   unlawful conduct at several levels during the summer of 20 17, in which plaintiff was

                           5   accompanied in her physician sales calls by her direct manager, defendant Styles [sic]."

                           6   REQUEST         FOR PRODUCTION       NO. 31:

                           7           All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 11 of YOUR

                           8   COMPLAINT that "Mr. Styles confronted [YOU] with lewd and harassing sexual behavior while

                           9   [YOU were] attempting to do a routine inventory of [YOUR] pharmaceutical sample storage

                       10      locker in Mr. Style'S presence, while bent down in a confined space ... "

                       11      REQUEST         FOR PRODUCTION       NO. 32:

                       12              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 12 of YOUR

                       13      COMPLAINT that "Mr. Styles also engaged in illegal business practices, and instructed [YOU]

                       14      to do so also, on behalf of defendants in their efforts to increase sales of BIP products to

                       15      physicians. "

                       16      REQUEST         FOR PRODUCTION       NO. 33:

                       17              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 12 of YOUR

                       18      COMPLAINT that "Mr. Styles engaged in direct and explicit statements, actions and efforts to

                       19      market and sell the BI lardiance Combination products to medical providers for 'offlabel'      uses
                       20      and purposes - in other words, for uses and purposes not indicated or approved by United States

                       21      regulatory authorities, and in violation of the laws and regulations promulgated to prohibit the

                       22      marketing and sales of drugs for non-approved and non-indicated uses and purposes."

                       23      REQUEST         FOR PRODUCTION       NO. 34:

                       24              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 13 of YOUR

                       25      COMPLAINT that "Mr. Styles also ordered [YOU] to adopt and use the same unlawful 'off

                       26      label' sales actions and practices that he had engaged in with the physician accounts assigned to

                       27      her, to increase sales of the BI lardiance Combination products."

                       28
MORGAN,      LEWIS     &
  BOCK IUS LLP                                                                  -8-
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   SILICON VALLtl'                   DEFENDANT     BI'S REQUEST FOR PRODUCTION        OF DOCUMENTS    TO PLAINTIFF (SET ONE)
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                         1   REQUEST FOR PRODUCTION NO. 35:

                         2           All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 14 of YOUR

                         3   COMPLAINT that "BIP was already facing severe government scrutiny and claims for engaging

                         4   in widespread, illegal, 'off label' marketing practices with respect to several BIP pharmaceutical

                         5   products."

                         6   REQUEST FOR PRODUCTION NO. 36:

                         7           All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 14 of YOUR

                         8   COMPLAINT that "as a result of having been 'busted' already for its unlawful 'off label'

                         9   marketing practices caused by a sales employee's report of those unlawful practices to

                     10      government agencies, and with specific knowledge from plaintiffs own personnel records and

                     11      statements that she had prior experience with pharmaceutical firms, and prior knowledge of the

                     12      illegality of' off label' practices, after plaintiff called out defendant Styles for instructing her to

                     13      engage in those practices, defendant BIP was acutely fearful that plaintiff would also report those

                     14      'off label' practices to the DO] or other government agencies, and that once she did so BIP would

                     15      potentially be liable for additional multiple millions of dollars in fines and levies by the DO] or

                     16      other government agencies."

                     17      REQUEST FOR PRODUCTION NO. 37:

                     18              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 15 of YOUR

                     19      COMPLAINT that "BIP and its manager, defendant Styles, had the power to terminate [YOUR]
                     20      employment, and use that power to cause the termination of [YOUR] employment as a BIP sales

                     21      representative. "

                     22      REQUEST FOR PRODUCTION NO. 38:

                     23              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 15 of YOUR

                     24      COMPLAINT that the CORPORATE DEFENDANTS'                     "stated reason for [the] termination of

                     25      [YOUR] employment was false and contrived ... "

                     26      REQUEST FOR PRODUCTION NO. 39:

                     27              All DOCUMENTS that RELATE to YOUR allegation in Paragraph 17 of YOUR

                     28      COMPLAINT that "[YOU] were subjected to unwelcome sexually motivated physical actions
MORGAN, LEWIS        &
  BocKIUsLLP                                                                    -9 -
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  511JCON   VALLEY                 DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                        1   and advances, including impeding and blocking movement and physical interference with her

                        2   work and movement based on [YOUR] sex, by managers of defendants."

                        3   REQUEST FOR PRODUCTION NO. 40:

                        4          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 25 of YOUR

                        5   COMPLAINT that "[YOUR] age was a substantial motivating factor in such discriminatory

                        6   treatment and adverse employment actions taken against [YOU], including termination of

                        7   [YOUR] employment."

                        8   REQUEST FOR PRODUCTION NO. 41:

                        9          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 30 of YOUR

                    10      COMPLAINT that "[YOU] engaged in one or more protected activities by, among other things,

                    11      complaining of and objecting to defendants' sexually harassing and discriminatory statements

                    12      toward her by managers, employees, and/or agents of defendants."

                    13      REQUEST FOR PRODUCTION NO. 42:

                    14             All DOCUMENTS that RELATE TO YOUR allegation in Paragraphs 22, 28, 33, and 38

                    15      of YOUR COMPLAINT that "The foregoing acts of defendants were fraudulent, malicious,

                    16      intentional, oppressive, and plaintiff is therefore entitled to an award of punitive damages against

                    17      defendants. "

                    18      REQUEST FOR PRODUCTION NO. 43:

                    19             All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 40 of YOUR
                    20      COMPLAINT that "defendant Styles had actual or apparent authority over plaintiff, as plaintiffs

                    21      direct supervisor, including the power to discipline plaintiff, the power to limit or diminish her

                    22      earnings, and the power to terminate her employment and threaten or take away her livelihood."

                    23      REQUEST FOR PRODUCTION NO. 44:

                    24             All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 41 of YOUR

                    25      COMPLAINT that "Defendant Styles then engaged in the outrageous acts described in paragraph

                    26      11 of the First Amended Complaint, and did so with the intention to cause severe emotional

                    27      distress to [YOU] or with reckless disregard that he would cause such severe emotional distress to

                    28      [YOU]."
MORGAN, LEWIS       &
  BOCKIUsLLP                                                                - 10-
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  SIUCON   VALLEY                 DEFENDANT Bl'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                          1   REQUEST FOR PRODUCTION NO. 45:

                          2          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 42 of YOUR

                          3   COMPLAINT that "the foregoing wrongful acts did in fact cause severe emotional distress to

                          4   [YOU] and [YOU] have suffered damages from such distress, in an amount to be proven at trial."

                          5   REQUEST FOR PRODUCTION NO. 46:

                          6          All DOCUMENTS that constitute, evidence, or reference any COMMUNICATIONS

                          7   between YOU (or any PERSON acting on YOUR behalf) and any government agency including,

                          8   but not limited to, the California Department of Fair Employment and Housing, the United States

                          9   Equal Employment Opportunity Commission, or the California Labor Commissioner concerning

                         10   the subject matter of this lawsuit or any claims concerning YOUR alleged employment with

                         11   DEFENDANT, including but not limited to complaints, charges, questionnaires, worksheets,

                         12   completed forms, correspondence (including any electronic form of COMMUNICATION),

                         13   memoranda, or notes.

                         14   REQUEST FOR PRODUCTION NO. 47:

                         15          All DOCUMENTS RELATED TO any type or amount of damages YOU allegedly

                         16   sustained as a result of any conduct attributed to DEFENDANTS, including all DOCUMENTS

                         17   stating, referencing, evidencing, or concerning any calculations of said damages.

                         18   REQUEST FOR PRODUCTION NO. 48:

                         19          All DOCUMENTS that RELATE TO any treatment YOU received from any
                         20   HEAL THCARE PROVIDER for any physical or emotional injury that YOU attribute to the

                         21   conduct of DEFENDANTS.

                         22   REQUEST FOR PRODUCTION NO. 49:

                         23          All COMMUNICA nON with any HEAL THCARE PROVIDER from whom YOU

                         24   sought treatment for any physical or emotional injury that YOU attribute to the conduct of

                         25   DEFENDANTS.

                         26   REQUEST FOR PRODUCTION NO. 50:

                         27          All DOCUMENTS that RELATE TO any treatment YOU received from any

                         28   HEALTHCARE PROVIDER for any emotional injury from January 1,2016 to the present date.
MORGAN,       LEWIS&
  BOCKI US LLP                                                               - 11 -
 ATIORNnSATLAW
   SILICON   VALU,-"'Y             DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
                              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 44 of 274



                          1   REQUEST     FOR PRODUCTION NO. 51:

                          2          All COMMUNICATIONS           with any HEAL THCARE PROVIDER from whom YOU

                          3   sought treatment for any emotional injury from January 1,2016 to the present.

                          4   REQUEST     FOR PRODUCTION NO. 52:

                          5          All DOCUMENTS that RELATE TO YOUR efforts to mitigate YOUR damages from

                          6   September 2017 to the present, including, but not limited to any job application, resume,

                          7   curriculum vitae, or cover letter YOU submitted to any potential employer.

                          8   REQUEST FOR PRODUCTION NO. 53:

                          9          All COMMUNICATIONS           with any potential employer, recruiter, or placement agency

                      10      that RELATE TO YOUR efforts to find employment from September 2017 to the present.

                      11      REQUEST FOR PRODUCTION NO. 54:

                      12             All DOCUMENTS that RELATE TO any employment YOU obtained from September

                      13      2017 to the present including, but not limited to, any offer letters, and DOCUMENTS evidencing

                      14      the COMPENSATION and benefits YOU received from any employer.

                      15      REQUEST FOR PRODUCTION NO. 55:

                      16             All DOCUMENTS that RELATE TO any lawsuits, complaints, charges, grievances, or

                      17      other legal or equitable claims made by YOU, or made by others on YOUR behalf, against any

                      18      employer, other than this ACTION.

                      19      Dated: March 13,2019                               MORGAN, LEWIS & BOCKIUS LLP
                      20

                      21                                                         By:
                                                                                       ------------------------------
                                                                                       Eric Meckley
                      22                                                               Ashley A. Baltazar
                                                                                       Attorneys for Defendant
                      23                                                               BOEHRINGER INGELHEIM
                                                                                       PHARMACEUTICALS, INC.
                      24

                      25

                      26

                      27

                      28
MORGAN,       LEWIS   &
  BOCKI US LLP                                                               - 12 -
 AlTORNtl'SATLAW
   SILICON   VALLEY                DEFENDANT BI'S REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)
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                            1                                          PROOF OF SERVICE

                            2             I, Evy M. Leiva, declare:

                            3          I am a citizen of the United States and employed in San Francisco County, California. I
                                am over the age of eighteen years and not a party to the within entitled action. My business
                            4   address is One Market, Spear Street Tower, San Francisco, Ca 94105. On March 13,2019, I
                                served a copy of the within document(s):
                            5
                                  DEFENDANT BOEHRINGER-INGELHEIM PHARMACEUTICAL'S REQUEST FOR
                            6             PRODUCTION OF DOCUMENTS TO PLAINTIFF (SET ONE)

                            7
                                      D          by transmitting via facsimile the document(s) listed above to the fax number(s) set
                                                 forth below on this date before 5:00 p.m.
                            8

                            9
                                      D          by placing the document(s) listed above in a sealed envelope with postage thereon
                                                 fully prepaid, the United States mail at San Francisco, California addressed as set
                           10                    forth below.

                           11         ~          by placing the document(s) listed above in a sealed FedEx envelope and affixing a
                                                 pre-paid air bill, and causing the envelope to be delivered to a FedEx agent for
                           12                    delivery.
                           13         D          by personally delivering the document(s) listed above to the person(s) at the
                                                 addressees) set forth below.
                           14

                           15         D          by transmitting via e-mail or electronic transmission the document(s) listed above
                                                 to the person(s) at the e-mail addressees) set forth below.
                           16
                                Michael T. Welch                                   Attorney for Plaintiff Brenda Perry
                           17   Law Offices of Michael T. Welch
                                Four Embarcadero Center, 14th FI
                           18
                                San Francisco, Ca 94111
                           19   Tel: 415.426.5691
                                Fax: 415.399.0445
                           20
                                        I am readily familiar with the firm's practice of collection and processing correspondence
                           21   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                           22   motion of the party served, service is presumed invalid if postal cancellation date or postage
                                meter date is more than one day after date of deposit for mailing in affidavit.
                           23
                                          Executed on March 13,2019, at San Francisco, California.
                           24
                                          [ declareunderpenaltyof perjuryunderthe laMe                 of Californiathatthe above
                           25   is true and correct.                                                    cU,
                           26                                                                          ,Z~~
                           27                                                                     Evy M. Leiva

                           28
MORGAN, LEWIS&                                                                     1
  BOCKIUsLLP
 AlTORNI:."YS     AT LAW                                                 PROOF OF SERVICE
   SILICON      VALLEY
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                     Exhibit 2
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          Michael T. Welch (#122630)
          LA W OFFICES OF MICHAEL T. WELCH
     2    Four Embarcadero Center, 14thFloor
          San Francisco, Califomia 94111
     3    Telephone:     (415)426-5691
          Facsimile:     (415)399-0445
     4
         Attorneys for Plaintiff BRENDA PERRY
     5

     6

     7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

     8                                        COUNTY OF SAN MATEO
     9

 10
         BRENDA PERRY, an Individual,                           )   CASE NO. 18CV05717
 11                                                             )
                                         Plaintiff,             )   PLAINTIFF'S RESPONSES TO
12                                                              )   DEFENDANT BOEHRINGER-
                 v.                                             )   INGELHEIM PHARMACEUTICAL'S
13                                                              )   REQUEST FOR PRODUCTION OF
         ASHFIELD HEALTH CARE, LLC, a business                  )   DOCUMENTS, SET ONE
14       entity; BOEHRINGER-INGELHEIM                           )
         PHARMACEUTICAL,      a business entity;                )
15       NA TE STYLES, an individual; and DOES I-               )
         SO, inclusive,                                         )
16                                                              )
                                         Defendants.            )
17

18

19       ROPOUNDING        PARTY:        Defendant BOEHRINGER-INGELHEIM             PHARMACEUTICAL

20       RESPONDING       PARTY:         Plaintiff BRENDA PERRY

21       SET NUMBER:                     ONE

22               Plaintiff JASON MILES ("MILES") hereby responds to the Request for Production of

23       Documents of defendant PROGRESS              INVESTMENT     MANAGEMENT      COMPANY

24       ("PROGRESS")      as follows:

25                                           GENERAL        OBJECTIONS

26               1. Plaintiff objects to the Document Requests and to each and every request contained

27       therein to the extent that they purport to impose burdens or duties on plaintiff that exceed the

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                                                          -1-

           PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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         requirements   and permissible scope of discovery under the California Code of Civil Procedure.

     2           2. Plaintiff objects to the Document Requests and to each and every request contained

 3       therein to the extent that they purport to request documents that are subject to any privilege or

 4       immunity from discovery, including, without limitation, the attorney-client privilege, the work-

 S       product privilege, the right to privacy guaranteed by the California Constitution,     and any other

 6       privilege or restriction on discovery recognized by California law.

 7               3. Plaintiff objects to the Document Requests and to each and cvery request contained

 8       therein on the grounds that, to the extent that they seek documents that arc alrcady in

 9       respondent's   custody, control or possession, they are unduly burdensome and duplicative.

10               4. Plaintiff objects to the Document Requests and to each and every request contained

11       therein to the extent that they purport to require plaintiff to produce documents from any source

12       other than the personal files and records of plaintiff.

13               5. Plaintiff reserves the right to amend her responses to the extent that new or additional

14       relevant documents may come to his attention.

15               6. Plaintiff responds to the Document Requests without waivcr and with preservation of:

16                       a) The right to object to the use of any responses or documents on any ground in

17                       any proceedings in this or any other action (including any trials);

18                       b) The right to object on any ground at any time to a demand or request for a

19                       further response to this discovery request or other discovery proceedings

20                       involving or relating to the subject matter of the discovelY requests hercin

21                       responded to; and,

22                       c) The right at any time to revise or supplement any of the responses to the

23                       specific requests.

24               7. Plaintiff has not yet completed his investigation   of the facts pertaining to this action,

25       her discovery, or her preparation for trial. Plaintiff reserves the right to rely on documcnts or

26       other evidence which may develop or come to his attention at a later time.

27               8. The foregoing general objections and limitations (the "General Objections")        are

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           PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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          incorporated by reference into each and every specific response as if fully stated therein.

     2                                RESPONSES TO DOCUMENT REQUESTS
     3               RESPONSE TO REQUEST NO.1.

     4               Plaintiff herein incorporates by reference each and everyone of the Gencral Objections

     5    set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

     6    of, each of those General Objections.

     7               Subject to and without waiver of the foregoing objections, plaintiff will produce any

     8    documents in her possession, custody or control that are responsive to this request.

     9              RESPONSE TO REQUEST NO.2.

 10                 Plaintiff herein incorporates by reference each and everyone of the General Objections

 11       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

 12       of, each of those General Objections.

13                  Subject to and without waiving these objections, plaintiff will produce any non-privileged

 14      documents in her possession, custody or control that are responsive to this rcqucst.

15                  RESPONSE TO REQUEST NO.3

16                  Plaintiff herein incorporates by reference each and everyone of the General Objections

17       set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

18       of, each of those General Objections.

19                  Subject to and without waiving the foregoing objections, plaintiff wi II produce any non-

20       privileged documents in her possession, custody or control that are responsive to this rcquest.

21                  RESPONSE TO REQUEST NO.4.

22                  Plaintiff herein incorporates by reference each and everyone of the General Objections

23       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

24       of, each ofthose    General Objections.

25                  Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

26       privileged documents within her possession, custody or control that are responsive to this

27       request.

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                                                           -3-

           PLAINTIFF'S      RESPONSES      TO DEFENDANT'S        REQUEST   FOR PRODUCTION    OF DOCUMENTS
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             RESPONSE TO REQUEST NO.5.

 2           Plaintiff herein incorporates by reference each and everyone of the General Objections

 3   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

 4   of, each of those General Objections.

 5           Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

 6   privileged documents in her possession, custody or control that are responsive to this request.

 7           RESPONSE TO REQUEST NO.6.

 8           Plaintiff herein incorporates by reference each and everyone of the General Objections

 9   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

10   of, each of those General Objections.

11           Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

12   privileged documents in her possession, custody or control that are responsive to this request.

13           RESPONSE TO REQUEST NO.7

14           Plaintiff incorporates by reference each and every one of the General Objections set forth

15   above, and plaintiffs   response to this request is expressly subject to, and without waiver of, each

16   of those General Objections.

17            Subject to and without waiver of the foregoing objections, plaintiff does not have

18   documents in her custody, possession or control that are responsive to this request.

19           RESPONSE TO REQUEST NO.8

20           Plaintiff incorporates by reference each and everyone    of the General Objections set fOith

21   above, and plaintiffs   response to this request is expressly subject to, and without waiver of, each

22   of those General Objections.

23           Claimant further objects that this request is overbroad and unduly burdensome.      Subject to

24   and without waiver of the foregoing objections, plaintiff will produce any non-privileged

25   documents in her possession, custody or control that are responsive to this request.

26          RESPONSE TO REQUEST NO.9

27          Plaintiff herein incorporates by reference each and everyone of the General Objections

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                                                     -4-

       PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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          set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

 2       of, each of those General Objections.

     3              Plaintiff further objects that this request is overbroad, unduly burdensome, and

 4       oppressive.     Subject to and without waiving the foregoing objections, plaintiff will produce any

 5       non-privileged     documents in her custody, possession or control that are responsive to this

 6       request.

 7                  RESPONSE TO REQUEST NO. 10

 8                  Plaintiff herein incorporates by reference each and everyone of the General Objcctions

 9       set forth above, and plaintiffs      response to this request is expressly subject to, and without waiver

10       of, each of those General Objections.

11                  Subject to and without waiving the foregoing objections, plaintiff will produce any non-

12       privileged documents in her possession, custody or control that are responsive to this request.

13                  RESPONSE TO REQUEST NO. 11

14                  Plaintiff herein incorporates by reference each and everyone of the General Objections set

15       forth above, and plaintiffs    response to this request is expressly subject to, and without waiver of,

16       each of those General Objections.

17                  Plaintiff further objects that this request is unduly vague and amibuous. Subject to and

18       without waiving the foregoing objections, plaintiff will produce any non-privileged            documents in

19       her possession, custody or control that are responsive to her understanding          of this request.

20                  RESPONSE TO REQUEST NO. 12

21                  Plaintiff herein incorporates by reference each and everyone of the General Objections

22       set forth above, and plaintifft's    response to this request is expressly subject to, and without

23       waiver of, each of those General Objections.

24               Plaintiff further objects that this request is overbroad and unduly vague, and that it

25       violates plaintiffs   rights of privacy and confidentiality.       Subject to and without waiver of these

26       objections, plaintiff has no non-privileged     documents in her possession, custody or control that

27       are responsive to this request.

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                                                            -5-

           PLAINTIFF'S     RESPONSES        TO DEFENDANT'S        REQUEST    FOR PRODUCTION      OF DOCUMENTS
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                  RESPONSE TO REQUEST NO. 13

     2            Plaintiff herein incorporates by reference each and every onc of thc Gencral Objections

     3    set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

     4    of, each of those General Objections.

     5            Subject to and without waiving these objections, plaintiff will produce any non-privileged

     6    and/or non-confidential    documents in her possession, custody or control that are responsive to

     7   this request.

     8            RESPONSE        TO REQUEST NO. 14

 9                Plaintiff herein incorporates by reference each and everyone of the General Objections

10       set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

11       of, each of those General Objections.

12                Plaintiff further objects that this request violates plaintiffs   rights of privacy and

13       confidentiality,   and the taxpaer privilege.    Subject to and without waiving these objections,

14       plaintiff will produce any non-privileged       documents in her possession, cLlstody or control that are

15       responsive to this request.

16               RESPONSE        TO REQUEST NO. 15

17               Plaintiff herein incorporates by reference each and everyone of the General Objections

18       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

19       of, each ofthose    General Objections.

20               Subject to and without waiver of these objections, plaintiff will produce any non-

21       privileged and non-confidential     documents in her possession, custody or control that are

22       responsive to this request.

23               RESPONSE        TO REQUEST NO. 16

24               Plaintiff herein incorporates by reference each and everyone        of the General Objections

25       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

26       of, each of those General Objections.

27               Subject to and without waiver of these objections, plaintiff has no documents in his
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                                                            -6-

           PLAINTIFF'S      RESPONSES      TO DEFENDANT'S         REQUEST   FOR PRODUCTION    OF DOCUMENTS
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          possession, custody or control that are responsive to this request.

     2            RESPONSE TO REQUEST NO. 17

     3            Plaintiff herein incorporates by reference each and everyone of the General Objections

     4    set forth above, and plaintiffs    response to this request is expressly subjcct to, and without waiver

     5    of, each of those General Objections.

     6            Subject to and without waiver of these objections, plaintiff has no documents in her

     7    possession, custody or control that are responsive to this request.

     8            RESPONSE TO REQUEST NO. 18

     9            Plaintiff herein incorporates by reference each and everyone of the General Objections

 10       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

 11       of, each of those General Objections.

 12               Plaintiff further objects that this request is overbroad, unduly burdensome, and

 13      oppressive.     Subject to and without waiver of these objections, plaintiffwill   produce any non-

 14      privileged documents in her possession, custody or control, that are responsive to this request.

15                RESPONSE TO REQUEST NO. 19

16                Plaintiff herein incorporates by reference each and everyone of the General Objections

17       set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

18       of, each of those General Objections.

19               Subject to and without waiver of these objections, plaintiff will produce any non-

20       privileged documents in her possession, custody or control that are responsive to this request.

21               RESPONSE        TO REQUEST NO. 20

22               Plaintiff! herein incorporates by reference each and everyone of the General Objections

23       set forth above, and plaintifft's   response to this request is expressly subject to, and without

24       waiver of, each of those General Objections.

25               Subject to and without waiver of these objections, plaintiff will produce any non-

26       privileged documents in her possession, custody or control that are responsive to this request.
27

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                                                           -7-

           PLAINTIFF'S     RESPONSES       TO DEFENDANT'S        REQUEST   FOR PRODUCTION    OF DOCUMENTS
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                    RESPONSE TO REQUEST NO. 21

     2              Plaintiff herein incorporates by reference each and every on of the General Objections set

     3    forth above, and plaintiffs   response to this reque_st is expressly subject to, and without waiver of,

     4    each of those General Objections.

     5              Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

     6   privileged documents in her possession, custody or control that are responsive to this request.

     7              RESPONSE TO REQUEST NO. 22

 8                  Plaintiff herein incorporates by reference each and everyone of the General Objections

 9       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

10       of, each of those General Objections.

11                  Subject to and without waiver of the foregoing objections, plaintitIwil1   produce any non-

12       privileged documents in her possession, custody or control that are responsive to this request.

13                  RESPONSE TO REQUEST NO. 23

14                  Plaintiff herein incorporates by reference each and everyone of the General Objections

15       set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

16       of, each of those General Objections.

17                  Subject to and without waiver of the foregoing objections, plaintiff will produce non-

18       privileged and non-confidential     documents in her possession, custody or control that arc

19       responsive to this request.

20                  RESPONSE TO REQUEST NO. 24

21                  Plaintiff herein incorporates by reference each and everyone of the General Objections

22       set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

23       of, each of those General Objections.

24                  Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

25       privileged documents within her possession, custody or control that are responsive to this

26       request.

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           PLAINTIFF'S      RESPONSES TO DEFENDANT'S            REQUEST FOR PRODUCTION OF DOCUMENTS
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              RESPONSE TO REQUEST NO. 25

 2            Plaintiff herein incorporates by reference each and everyone of the General Objcctions

 3   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

 4   of, each of those General Objections.

 5            Subject to and without waiver of the foregoing objections, plaintiff has no non-privileged

 6   documents in her custody, possession or control that are responsive to this request.

 7           RESPONSE TO REQUEST NO. 26

 8           Plaintiff herein incorporates   by reference each and every onc of the General Objcctions

 9   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

10   of, each of those General Objections.

11           Plaintiff further objects that this request is overbroad, unduly burdensomc and

12   oppressive. Subject to and without waiver of these objections, plaintiff has no non-privileged

13   documents in her possession, custody or control that are responsive to this request.

14           RESPONSE TO REQUEST NO. 27

15           Plaintiff herein incorporates   by reference each and everyone of the General Objections

16   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

17   of, each of those General Objections.

18           Plaintiff further objects that this request is overbroad, unduly burdensome, and

19   oppressive, and calls for documents that are confidential.    Subject to and without waiver of the

20   foregoing objections, plaintiff will produce any non-privileged,    non-confidential   documents

21   within her possession, custody or control that are responsive to this request.

22           RESPONSE       TO REQUEST NO. 28

23           Plaintiff herein incorporates by reference each and everyone of the General Objections

24   set forth above, and plaintiffs   response to this request is expressly subject to, and without waiver

25   of, each of those General Objections.

26           Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

27   privileged documents in her possession, custody or control that are responsive to this request.

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                                                     -9-

       PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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                     RESPONSE TO REQUEST NO. 29

     2               Plaintiff herein incorporates by reference each and everyone of the Gcneral Objections

     3    set forth above, and plaintifft's    response to this request is expressly subject to, and without

     4    waiver of, each of those General Objections.

     5               Subject to and without waiver of the foregoing objections, plaintiff has no documents

     6    within her possession, custody or control that are responsive to this rcquest.

     7               RESPONSE TO REQUEST NO. 30

     8              Plaintiff herein incorporates by reference each and cvery one of the General Objections,

     9    set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

 lOot:       each of those General Objections.

 II                 Subject to and without waiving this objection, plaintiff has no documents in her

 12      possession, custody or control that are responsive to this request.

 13                 RESPONSE TO REQUEST NO. 31

14                  Plaintiff herein incorporates by reference each and everyone of the General Objections

15       set forth above, and plaintiffs      response to this request is expressly subject to, and without waiver

16       of, each of those General Objections.

17                  Plaintiff further objects that this request is overbroad, unduly burdensome,   and

18       oppressive.     Subject to and without waiver of the foregoing objections, plaintiff will produce any

19       non-privileged     documents in her possession, custody or control that are responsive to this

20       request.

21                  RESPONSE TO REQUEST NO. 32

22                  Plaintiff herein incorporates by reference each and everyone of the General Objcctions

23       set forth above, and plaintiffs      response to this request is expressly subject to, and without waiver

24       of, each of those General Objections.

25                  Subject to and without waiver of the foregoing objections, plaintiff will produce any nOI1-

26       privileged documents in her possession, custody or control that are responsive to this request.
27

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                                                            -10-

           PLAINTIFF'S     RESPONSES       TO DEFENDANT'S      REQUEST    FOR PRODUCTION      OF DOCUMENTS
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                      RESPONSE TO REQUEST NO. 33

     2               Plaintiff herein incorporates by reference each and everyone of the General Objections

     3    set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

     4    of, each of those General Objections.

     5               Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

     6    privileged documents within her possession, custody or control that are responsive to this

     7    request.

     8               RESPONSE TO REQUEST NO. 34

     9               Plaintiff herein incorporates by reference each and everyone of the General Objections

 10       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

 11       of, each of those General Objections.

 12                  Subject to and without waiver of the foregoing objections, plaintiff wi 11 produce any nOI1-

 13      privileged documents within her possession, custody or control that are responsive to this

14       request.

15                   RESPONSE      TO REQUEST NO. 35

16                   Plaintiff herein incorporates by reference each and everyone of the General Objections

17       set forth above, and plaintiffs     response to this request is expressly subject to, and without waiver

18       of, each of those General Objections.

19                   Subject to and without waiver of the foregoing objections, plaintiff has no documents

20       within her possession, custody or control that are responsive to this request.

21                  RESPONSE      TO REQUEST NO. 36

22                  Plaintiff herein incorporates by reference each and everyone of the General Objections

23       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

24       of, each of those General Objections.

25                  Subject to and without waiving these objections, plaintiff will produce non-privileged

26       and non-confidential     documents in her custody, possession or control that are responsive to this
27       request.

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                                                            -11-

           PLAINTIFF'S      RESPONSES      TO DEFENDANT'S     REQUEST    FOR PRODUCTION      OF DOCUMENTS
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                   RESPONSE TO REQUEST NO. 37

     2             Plaintiff herein incorporates by reference each and everyone of the General Objections

     3    set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

     4    of, each of those General Objections.

     5            Subject to and without waiver of the foregoing objections, plaintiff will produce any

     6    documents in her possession, custody or control that are responsive to this request.

     7            RESPONSE TO REQUEST NO. 38

     8            Plaintiff herein incorporates by reference each and everyone of the Gencral Objections

     9    set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

 10       of, each of those General Objections.

 11               Subject to and without waiver of the foregoing objections, plaintiff will produce any

 12       documents in her possession, custody or control that are responsive to this rcquest.

 13               RESPONSE TO REQUEST NO. 39

 14               Plaintiff herein incorporates by reference each and every onc of the Gencral Objcetions

 15      set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

16       of, each of those General Objections.

17                Subject to and without waiving the foregoing objections, plaintiff will produce any non-

18       privileged documents in her possession, custody or control that are responsivc to this rcquest.

19               RESPONSE TO REQUEST NO. 40

20               Plaintiff herein incorporates    by reference each and everyone of the General Objections

21       set forth above, and plaintiffs    response to this request is expressly subject to, and without waiver

22       of, each of those General Objections.

23               Subject to and without waiver of the foregoing objections, plaintiff will produce any 11on-

24       privileged documents in her possession, custody or control that are responsive to this request.

25               RESPONSE TO REQUEST NO. 41

26               Plaintiff herein incorporates by reference each and everyone of thc General Objections

27       set forth above, and plaintiffs    response to this request is expressly subject to, and without waivcr
28
                                                          -12-

           PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
           Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 59 of 274



          of, each of those General Objections.

     2            Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

     3    privileged documents in her possession, custody or control that are responsive to this rcquest.

     4            RESPONSE TO REQUEST NO. 42

     5            Plaintiff herein incorporates by reference each and everyone of the General Objections

     6   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

     7   of, each of those General Objections.

     8            Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

  9      privileged documents in her possession, custody or control that are responsive to this request.

10                RESPONSE TO REQUEST NO. 43

 11               Plaintiff herein incorporates by reference each and everyone of the General Objections

12       set forth above, and plaintiff's   response to this request is expressly subject to, and without waiver

13       of, each of those General Objections.

14                Subject to and without waiver of the foregoing objections, plaintiff wi II produce any non-

15       privileged documents in her possession, custody or control that are responsive to this rcquest.

16               RESPONSE TO REQUEST NO. 44

17               Plaintiff herein incorporates by reference each and everyone of the General Objections

18       set forth above, and plaintiff's   response to this request is expressly subject to, and without waiver

19       of, each of those General Objections.

20               Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

21       privileged documents in her possession, custody or control that are responsive to this request.

22               RESPONSE TO REQUEST NO. 45

23               Plaintiff herein incorporates by reference each and everyone of the General Objections

24       set forth above, and plaintiff's   response to this request is expressly subject to, and without waiver

25       of, each of those General Objections.

26               Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

27       privileged documents in her possession, custody or control that are responsive to this request.

28
                                                          -13-

           PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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                    RESPONSE TO REQUEST NO. 46

      2             Plaintiff herein incorporates by reference each and everyone of the General Objections

      3    set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

     4     of, the foregoing objections.

     5             Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

     6     privileged documents in her possession, custody or control that are responsive to this requet.

     7             RESPONSE       TO REQUEST NO. 47

     8             Plaintiff herein incorporates by reference each and everyone of the General Objections

     9     set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

 10        ot~the foregoing obj ections.

 11                Subject to and without waiver of the foregoing objections, plaintitTwill     produce any non-

 12       privileged documents in her possession, custody or control that are rcsponsive to this request.

 13                RESPONSE TO REQUEST NO. 48

 14                Plaintiff herein incorporates by reference each and everyone of the General Objections

 15       set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

 16       of, the foregoing objections.

17                Plaintiff further objects that this request seeks documents that are protcctcd by plaintiff's

18        rights of privacy and confidentiality.    Subject to and without waiver of the foregoing objections,

19        plaintiff will produce any non-privileged     and non-confidential   documents in her possession,

20        custody or control that are responsive to this request.

21                RESPONSE       TO REQUEST NO. 49

22                Plaintiff herein incorporates by reference each and everyone of the General Objections

23        set forth above, and plaintiff's   response to this request is expressly subject to, and without waiver

24        ot~the foregoing objections.

25                Plaintiff further objects that this request seeks documents that arc protected by plaintiff's

26        rights of privacy and confidentiality.

27

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                                                           -14-

            PLAINTIFF'S    RESPONSES TO DEFENDANT'S           REQUEST FOR PRODUCTION         OF DOCUMENTS
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                   RESPONSE TO REQUEST NO. 50

     2             Plaintiff herein incorporates by reference each and cvery one of thc General Objections

     3    set forth above, and plaintiffs    response is expressly subject to, and without waiver of, the

     4    foregoing objections.

     5             Plaintiff further objects that this request seeks documents that arc protected by plaintiff's

     6    rights of privacy and confidentiality.

     7            RESPONSE TO REQUEST NO. 51

     8            Plaintiff herein incorporates by reference each and cvery one of the Gcneral Objcctions

     9    set forth above, and plaintiffs    responsc is expressly subject to, and without waiver of, the

 10       foregoing objections.

 11               Plaintiff further objects that this request seeks documents that are protected by plaintiff's

 12       rights of privacy and confidentiality.

 13               RESPONSE        TO REQUEST NO. 52

 14               Plaintiff herein incorporates by reference each and everyone of the General Objections

 15      set forth above, and plaintiffs    response is expressly subject to, and without waiver ot~ the

16       foregoing objections.

17                Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

18       privileged documents in her possession, custody or control that are responsive to this request.

19                RESPONSE TO REQUEST NO. 53

20               Plaintiff herein incorporates by reference each and everyone      of the General Objections

21       set forth above, and plaintiff's response is expressly subject to, and without waivcr of thc

22       foregoing objections.

23               Subject to and without waiver of the foregoing objections, plaintiff will produce any non-

24       privileged documents in her possession, custody or control that are responsive to this rcquest.

25               RESPONSE         TO REQUEST NO. 54

26               Plaintiff herein incorporates by reference each and every onc of the Gcneral Objections

27       set forth above, and plaintiff's   response is expressly subject to, and without waiver of, the
28
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           PLAINTIFF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
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     foregoing objections.

 2            Plaintiff further objects that this request seeks documents that are protected by plaintiff's

 3   rights of privacy and confidentiality.     Subject to and without waivcr of the forcgoing objcctions,

 4   plaintiff will produce any non-privileged      and non-confidential      documents in her possession,

 5   custody or control that are responsive to this request.

 6            RESPONSE TO REQUEST NO. 55

 7            Plaintiff herein incorporates by reference each and everyone of the General Objections

 8   set forth above, and plaintiff's response is expressly subject to, and without waiver of, the

 9   foregoing objections.

10            Plaintiff further objects that this request is overbroad, undurly burdensome, and

11   oppressive, and seeks documents that are protected by attorney-client             privilege, and/or not

12   reasonably calculated to lead to the discovery of admissible evidence, and which are protected by

13   plaintiffs   rights of privacy and confidentiality.

14

15

16   DATED: April 17, 2019                             By:_--=_,.,_---,-----"'~-,---,,----------
                                                          Mi hael T. Welch
17                                                        Attorney for Plaintiff
                                                          BRENDA PERRY
18

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                                                       -16-

       PLAINTIFF'S     RESPONSES      TO DEFENDANT'S       REQUEST      FOR PRODUCTION             OF DOCUMENTS
                 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 63 of 274
·   '




        PROOF OF SERVICE

        STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

        Case Name:                 Brenda Perry v. Ashfield Healthcare, LLC, et al.
        Court No.:                 San Mateo County Superior Court Case No. 18CIV05717

                 I am employed in the City & County of San Francisco, State of California. I am over the age of 18 and not
        a party to the within action. My business address is Four Embarcadero Center, 14th Floor, San Francisco, CA
        94111.


                  On April 17, 2019 I caused to be served the following document(s) on the interested parties as indicated
        below:

        DOCUMENT(S)       SERVED:

                 Plaintiff's Response to Plaintiff's Request for Production of Documents

        PARTY(IES)     SERVED:

                 Ashley Baltazar, Esq.
                 Morgan, Lewis & Bockius LLP
                 One Market
                 Spear Street Tower
                 San Francisco, CA 94105

         /cBY        Regular Mail) I am readily familiar with the firm's practice for collection and process of
                 correspondence for mailing. Under that practice it would be deposited with the United States Postal
                 Service on that same day with postage thereon fully prepaid, in the ordinary course of business.

                 (By Federal Express) I personally delivered the above document(s) to the Federal Express Station to be
                 delivered on a priority basis on the next business day to the law offices listed above.

                 (By Personal    Service)   I caused such document(s) to be delivered by hand to the office(s) of the
                 addressee(s).

                 (By Facsimile and U.S. Mail) I sent a true copy of such document(s) via telephone facsimile
                 transmission to the fax numbers listed above, and By Regular Mail as noted above.

                 (State) I declare under penalty of perjury under the laws of the State of California that the foregoing is
                 true and correct.

                 (Federal) I declare that I am employed in the office of a member of the Bar of this Court, at whose
                 direction the service was made.

                 Executed on April 17, 2019 at Monterey, California.




                                                                    MichJeiVV€iCh
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                     Exhibit 3
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 Morgan Lewis

 Ashley Baltazar



 April 3o,        2019


 VIA E-MAIL PDF AND US MAIL

 Michael T. Welch
 Law Ofﬁces             of Michael T. Welch
 Four Embarcadero Center, 14th Floor
 San Francisco, CA 94111
 mwelchlaw@gmail.com

 Re:             Perrv       v.   Boehrinqer Inqelheim Pharmaceuticals, Inc.


 Dear Mr. Welch:

 Iam writing to meet and confer regarding Defendant Boehringer Ingelheim Pharmaceuticals, Inc.’s
 (“BIPI" or “Defendant") Requests for Production of Documents, Special Interrogatories, and Form
 Interrogatories—Employment, which were served on                                   Plaintiff   Brenda Perry,   via overnight mail,   on
 March 13, 2019.

      I.         Defendant’s Special Interroqatories and Form Interroqatories—Emplovment.

 Plaintiff’s          responses to Defendant’s Special Interrogatories and Form Interrogatories were clue on
 April 16, 2019. To date, Defendant has not received a response to either of these sets of
 interrogatories.  Plaintiff’s failure to respond within the time limit waives her objections to these

 interrogatories, including claims of privilege and “work product" protection. See C.C.P. §
 2030.290(a); see also Leach                        v.   Sup.   Ct.   (Markum), 111 Cal.App.3d 902, 905-906 (1980).
 Accordingly, please provide written responses to Defendant’s Special Interrogatories and                                      Form
 Interrogatories—Employment, without objection, no                                  later   than Tuesday, May    7,    2019.


     II.         Plaintiff's          Resgonses to Defendant’s Reguests for Production of Document;

 We        are   in   receipt of Plaintiff’s responses to Defendant’s Requests for Production of                          Documents. As
 a preliminary matter,          responses were served without an accompanying verification. As
                                        Plaintiff’s

 you are aware, serving an unverified response is akin to no response at all. See Appleton v. Sup.
 Ct. (Cook), 206 Cal.App.3d 632, 636 (1988). Accordingly, please provide a signed veriﬁcation no

 later      than Tuesday, May               7,    2019.


                        a.        Plaintiff’s   Responses to Request         for Production Nos. 1-6, 8-15, 18-22, 24, 28, 31-
                                  34, 37-47, and 52-53.


 In response to Requests for Production Nos. 1-6, 8-15, 18-22, 24, 28, 31-34, 37-47,                                and 52-53,
 Plaintiff       responds that she               will    produce documents     in    her “possession, custody, and control” that




                                                                               Morgan, Lewis        & Bockius    LLP

                                                                               One Market
                                                                               Spear Street Tower
                                                                               San Francisco, CA 94105-1596             a +1.415.442.1000
                                                                               United States                            0 +1.415.442.1oo1
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 Michael T. Welch
 April 30,    2019
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 are responsive to these requests.             To   date, Defendant has not received             any document production
 from     Plaintiff.    As such, please produce      all   responsive documents no later than Tuesday,                May   7,
 2019.


                   b.     Plaintiff’s   Responses to Request     for Production Nos. 7, 16-17, 25-26, 29-30,                and
                          L
 In response to Request for Production Nos. 7, 16-17, 25-26, 29-30, and 35, Plaintiff states that she
 “has no documents within her possession, custody, or control that are responsive to this request."
 These responses fail to comply with the California Code of Civil Procedure. Specifically, where a
 response includes a representation of an inability to comply, it must state (1) that a diligent search
 and reasonable inquiry has been made in an effort to locate the item demanded; and (2) the
 reason the party is unable to comply with the demand (e.g., the document never existed, has been
 lost or stolen, has been destroyed, or is not in the possession, custody or control of the responding

 party, in which case the response must state the name and address of anyone believed to have
 the document). Cal. Code. Civ. Proc. § 2031.230. Because Plaintiff’s responses do not include any
 of this information, Plaintiff must amend her responses to the aforementioned requests to indicate
 that she has conducted a diligent search and reasonable inquiry and to state the reason(s) why
 she is unable to comply with the demand.

                   c.     Plaintiff’s   Responses to Request     for Production Nos. 23, 27, 36, 48,              and 54.

 In response to          Request for Production Nos. 23, 27, 36, 48, and 54,                 Plaintiff limits   the documents
 that she   agreeing to produce to only those document that are “non-privileged and non-
              is
              ”
 conﬁdential.   First, to the extent that Plaintiff is withholding any documents on the basis of

 privilege,    such documents must be identified on a privilege              log. Hernandez v. Sup. Ct. (Acheson

 Indus., Ina), 112 Cal.App.4th 285, 291-292 (2003).                    Defendant hereby requests that you provide
 that privilege log as soon as possible.             Second,    Plaintiff   may   not refuse to     limit   the production to
 documents that are “non-confidential.” As a preliminary matter,                     it is   unclear what Plaintiff    means
 by the term “non-conﬁdential" as it appears to be used somewhat randomly in her responses. It
 also appears unlikely that documents responsive to many of the aforementioned requests could
 qualify for any “confidential" designation. For example, Request for Production No. 23 seeks
 documents that relate to oral or written complaints Plaintiff made regarding alleged “off label
 marketing."    Plaintiff’s complaints about “off label marketing," which are the subject of this lawsuit,

 likely would not be “confidential.” As another example, Request for Production No. 27 seeks all
 documents created by Plaintiff or another person related to the allegations in her complaint.
 Defendant does not understand how documents responsive to this request could be considered
 “confidential.” In any event, to the extent that Plaintiff has a genuine concern that documents
 responsive to the aforementioned requests are “confidential,” Defendant proposes that the Parties
 enter into a protective order governing the production of confidential documents and information.
 Plaintiff’s responses to the aforementioned requests therefore should be amended so that all

 responsive documents are produced, regardless of whether Plaintiff believes are “confidential.”
 Enclosed is a draft stipulated protective order for Plaintiff’s review and approval.


                   d.     Plaintiff’s   Responses to Request     for Production Nos. 49-51,           and 55.

 In response to          Request for Production Nos. 49-51, and 55,           Plaintiff asserts meritless         objections and
 refuses to provide substantive responses.




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 Page 3

 Requests for Production Nos. 49-51 seek documents related to Plaintiff’s treatment with any
 healthcare provider for any physical or emotional injury that she attributes to the conduct of
 Defendant. Plaintiff objects to these requests on the grounds that they violate Plaintiff’s “rights of
 privacy and confidentiality.” Plaintiff’s privacy objection does not obviate her obligation to produce
 the requested documents. The privacy interest in one’s medical records is conditional and
 dependent upon balancing the need for discovery against the need for confidentiality. Ordinarily,
 discovery of relevant medical history is allowed because defendants have no other means by which
 to obtain this information. Pa/ay v. Sup. Ct. (County 0f Los Angeles), 18 Cal.App.4th 919, 933-934.
 Furthermore,           has waived the physician-patient privilege by placing her medical condition at
                      Plaintiff

 issue                        Code § 996(a). “The whole purpose of the [physician-patient] privilege
         in this litigation. Evid.

 is to preclude the humiliation of the patient that might follow disclosure of his ailments. When the

 patient himself discloses those ailments by bringing an action in which they are in issue, there is no
 longer any reason for the privilege. The patient—Iitigant exception precludes one who has placed
 his physical condition from invoking the privilege..." San Francisco v. Sup. Ct. (San Francisco), 37
 Cal.2d 227, 231 (1951).


 Here, Plaintiff specifically seeks emotional distress damages in conjunction with each of her causes
 of action.  See First Amended Complaint (“FAC”), 111] 21, 27, 32, 37, 42. Additionally, Plaintiff
 brings a standalone cause of action for alleged intentional infliction of emotional distress.                            FAC   1H]
 39-42. As a result,          has placed her medical condition directly at issue in this case ancl there
                             Plaintiff

 exists a serious dispute regarding the existence, nature, extent and cause of her alleged emotional
 distress. A|| medical records regarding her seeking and/or receiving treatment for any alleged
 emotional issues are discoverable. As such, Plaintiff must amend her responses and produce all
 documents responsive to these requests.

 Request for Production No. 55 seeks                 all   documents that      relate to   any   lawsuits, complaints,
 charges, or grievances           Plaintiff   made   against any employer, other than this action.               Plaintiff   again
 objects to this request on the grounds that                  it   violates Plaintiff’s “rights of privacy   and
 confidentiality."       However,     Plaintiff   has no right to privacy        in   complaints she   made    against other
 employers. Indeed, any civil complaints filed are public documents. As a result,                            Plaintiff   must
 amend this response and produce all documents responsive to this request.

                                                           Meetan—dConfer

 As requested above, Please provide                (1) verified responses to Defendant’s Special Interrogatories;
 (2) verified responses to Defendant’sForm Interrogatories—Employment; (3) a veriﬁcation to
           responses to Defendant’s Requests for Production of Documents; (4) amended responses
 Plaintiff’s

 to the aforementioned Requests for Production of Documents; and (5) a privilege log no later than
 Tuesday, May 7, 2019.

 We   are happy to schedule a telephone    call to the extent you would like to discuss any of the issues

 identified    above or have any questions regarding Defendant’s position.




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 Michael T. Welch
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   W
 Sincerely,




 Ashley Baltazar

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                         MORGAN, LEWIS & BOCKIUS LLP
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                         eric.meckley@m0rganlewis.com
                         ashleybaltazar@morganlews.com


                         Attorneys for Defendant
                         BOEHRINGER INGELHEIM
                         PHARMACEUTICALS, INC. (erroneously sued as
                         “BOEHRINGER-INGELHEIM
                         PHARMACEUTICAL”)
                    10

                    11                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    12                      COUNTY OF SAN MATEO — UNLIMITED CIVIL JURISDICTION
                    13

                    14   BRENDA PERRY, an individual,                                    Case No. 18CIV057 1 7

                    15                                Plaintiff,                         STIPULATION AND [PROPOSED]
                                                                                         PROTECTIVE ORDER REGARDING
                    16                      VS.                                          CONFIDENTIAL INFORMATION
                                                                                         (Single Level of Conﬁdentiality)
                    17   ASHFIELD HEALTHCARE, LLC, a business
                         entity; BOEHRINGER-INGELHEIM
                    18   PHARMACEUTICAL, a business entity;
                         NATE STYLES,             an individual; and   DOES   1-
                    19   25, inclusive,

                    20                                Defendants.

                    21

                    22            In order to protect conﬁdential information obtained           by the   Parties in connection With this

                    23   case, the Parties,   by and through       their respective   undersigned counsel and subj ect to the approval

                    24   0f the Court, hereby stipulate and agree as follows:

                    25                              Part One: Use      Of Conﬁdential Materials In Discoverv

                    26            1.        Any party 0r non—party may designate          as “Conﬁdential Information” (by stamping

                    27   the relevant page 0r as otherwise set forth herein) any           document 0r response    t0 discovery that the


                    28   party or non-party considers in good faith t0 contain information involving trade secrets, 0r
MORGAN, LEWIS 8:
  BOCKIUS LLP
 ATTORNEYS AT LAw                                                                                                           18CIV05717
   SAN FRANCISCO
                         DB1/ 103757967.1         STIPULATION AND PROTECTIVE ORDER RE CONFIDENTIALITY
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                         conﬁdential business 0r ﬁnancial information, including personal ﬁnancial information about any

                         party t0 this lawsuit, 0r employee 0f any party t0 this lawsuit, information regarding any

                         individual’s banking relationship With               any banking           institution, including      information regarding

                         the individual’s ﬁnancial transactions or ﬁnancial accounts, and any personal information


                         regarding any party (including but not limited t0 medical information and records) not otherwise

                         available to the public, subject t0 protection under Rules 2.550, 2.551, 2.580, 2.585, 8.160, and


                         8.490 0f the California Rules of Court 0r under other provisions of California law.                             Where   a

                         document 0r response        consists 0f more than one page, the ﬁrst                      page and each page on Which

                         conﬁdential information appears shall be so designated.

                    10             2.        A party 0r non-party may designate information disclosed during a deposition 0r in
                    11   response t0 written discovery as “Conﬁdential” by s0 indicating in said responses or on the record

                    12   at the   deposition and requesting the preparation of a separate transcript 0f such material. In

                    13   addition, a party or non-party        may designate          in writing, within thirty (3 0) days after receipt             of

                    14   said responses 0r of the deposition transcript for                 Which the designation          is   proposed, that speciﬁc

                    15   pages 0f the transcript and/or speciﬁc responses be treated as “Conﬁdential Information.”                               Any

                    16   other party      may obj ect t0   such proposal, in writing 0r 0n the record.                  Upon such     objection, the


                    17   Parties shall follow the procedures described in Paragraph 8 below. After                              any designation made

                    18   according to the procedure set forth in this paragraph, the designated documents 0r information

                    19   shall   be treated according t0 the designation              until the matter is resolved according to the


                    20   procedures described in Paragraph 8 below, and counsel for                          all   Parties shall   be responsible for

                    21   marking    all   previously unmarked copies of the designated material in their possession 0r control

                    22   With the speciﬁed designation.         A party that makes original documents 0r materials available for
                    23   inspection need not designate         them    as Conﬁdential Information until after the inspecting party has


                    24   indicated the speciﬁc materials         it   would    like   copied and produced. During the inspection and

                    25   before the designation and copying,            all   0f the material made available for inspection shall be

                    26   considered Conﬁdential Information.

                    27             3.        A11 Conﬁdential Information produced or exchanged in the course 0f this case

                    28   shall   be used by the party 0r parties t0       Whom the information is produced solely for the purpose
MORGAN, LEWIS 8:
  BOCKIUS LLP
 ATTORNEYS AT LAw
                                                                                        -   2   -                                           18CIV05717
   SAN FRANCISCO
                         DB1/ 103757967.1        STIPULATION AND PROTECTIVE ORDER RE CONFIDENTIALITY
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                         0f this case. Conﬁdential Information shall not be used for any commercial competitive, personal,

                         or other purpose.

                                   4.       Except with the prior written consent of the other              Parties, or   upon prior order 0f

                         this   Court obtained upon notice t0 opposing counsel, Conﬁdential Information shall not be

                         disclosed t0 any person other than:


                                            (a)      counsel for the respective Parties t0 this litigation, including in-house

                         counsel and co-counsel retained for this litigation;

                                            (b)      employees of such counsel;

                                            (c)      individual directors, ofﬁcers 0r employees of a party, t0 the extent                deemed

                    10   necessary by counsel for the prosecution 0r defense of this                  litigation;


                    11                      (d)      consultants 0r expert Witnesses retained for the prosecution 0r defense 0f

                    12   this litigation,   provided that each such person shall execute a copy of the Certiﬁcation annexed t0

                    13   this   Order (Which shall be retained by counsel t0 the party so disclosing the Conﬁdential

                    14   Information and      made   available for inspection   by opposing counsel during                the   pendency 0r   after


                    15   the termination 0f the action only        upon good cause shown and upon order of the Court) before

                    16   being shown 0r given any Conﬁdential Information, and provided that                        if the   party chooses a

                    17   consultant 0r expert employed        by the defendant      0r one of its competitors, the party shall notify

                    18   the opposing party, or designating non-party, before disclosing any Conﬁdential Information t0


                    19   that individual    and   shall give the   opposing party an opportunity t0           move    for a protective order


                    20   preventing or limiting such disclosure;

                    21                      (e)      any identiﬁed authors or recipients of the Conﬁdential Information;

                    22                      (f)      the Court, court personnel, and court reporters; and


                    23                      (g)      Witnesses (other than persons described in Paragraph 4(6)).                  A witness shall
                    24   sign the Certiﬁcation before being         shown   a conﬁdential document. Conﬁdential Information                    may

                    25   be disclosed to a Witness      Who   Will not sign the Certiﬁcation only in a deposition at               Which the

                    26   party   Who    designated the Conﬁdential Information              is   represented 0r has been given notice that

                    27   Conﬁdential Information produced by the party              may be used. At the request of any party,            the


                    28   portion of the deposition transcript involving the Conﬁdential Information shall be designated
MORGAN, LEWIS 8:
  BOCKIUS LLP
 ATTORNEYS AT LAw
                                                                                -   3   -                                            18CIV05717
   SAN FRANCISCO
                         DB1/ 103757967.1         STIPULATION AND PROTECTIVE ORDER RE CONFIDENTIALITY
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                         “Conﬁdential” pursuant t0 Paragraph 2 above. Witnesses shown Conﬁdential Information shall

                         not be allowed t0 retain copies 0f the Conﬁdential Information.

                                  5.          Any persons      receiving Conﬁdential Information shall not reveal or discuss such

                         information t0 0r With any person           Who   is   not entitled t0 receive such information, except as set

                         forth herein. If a party or      any 0f its representatives, including counsel, inadvertently discloses any

                         Conﬁdential Information t0 persons            who      are not authorized t0 use or possess such material, the


                         party shall provide immediate written notice 0f the disclosure t0 the party                      Whose material was

                         inadvertently disclosed. If a party has actual            knowledge         that   Conﬁdential Information         is   being

                         used or possessed by a person not authorized t0 use 0r possess that material, regardless of how the

                    10   material   was disclosed 0r obtained by such person,                    the party shall provide immediate written


                    11   notice 0f the unauthorized use 0r possession to the party                    Whose   material   is   being used or

                    12   possessed.    N0 party shall have        an afﬁrmative obligation t0 inform             itself regarding    such possible

                    13   use or possession.

                    14            6.          In connection With discovery proceedings as t0                 which a party submits Conﬁdential

                    15   Information,       all   documents and chamber copies containing Conﬁdential Information                       that are


                    16   submitted t0 the Court shall be ﬁled With the Court in sealed envelopes or other appropriate

                    17   sealed containers, pursuant to then applicable California Rules 0f Court and local rules.                               On the

                    18   outside of the envelopes, a copy of the ﬁrst page 0f the                    document   shall   be attached.   If


                    19   Conﬁdential Information          is   included in the ﬁrst page attached t0 the outside 0f the envelopes,                       it



                    20   may be    deleted from the outside copy.          The word “CONFIDENTIAL”                  shall     be stamped on the

                    21   envelope and a statement substantially in the following form shall also be printed 0n the

                    22   envelope:

                    23                        “This envelope is sealed pursuant t0 Order 0f the Court, contains
                                              Conﬁdential Information and is not t0 be opened or the contents
                    24                        revealed, except by Order of the Court 0r agreement by the parties.”

                    25   If another court or administrative         agency subpoenas 0r orders production 0f Conﬁdential

                    26   Information, such party shall promptly notify counsel for the party                     who produced the       material 0f

                    27   the   pendency of such subpoena 0r order and              shall furnish counsel        With a copy 0f said subpoena 0r

                    28   order.

MORGAN, LEWIS 8:
  BOCKIUS LLP
 ATTORNEYS AT LAw
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                                   7.         A party may designate as “Conﬁdential Information” documents 0r discovery
                         materials produced            by a non-party by providing           written notice t0             all   Parties of the relevant


                         document numbers or other identiﬁcation within                      thirty (30)            days after receiving such documents

                         0r discovery materials.          Any party 0r non-party may voluntarily disclose                            to others Without


                         restriction     any information designated by              that party or non-party as               Conﬁdential Information,

                         although a document            may   lose   its   conﬁdential status if it            is   made   public. If a party produces


                         materials designated Conﬁdential Information in compliance with this Order, that production

                         shall   be deemed t0 have been made consistent with any conﬁdentiality or privacy requirements

                         mandated by         local, state or federal laws.


                    10             8.         If a party contends that           any material        is   not entitled t0 conﬁdential treatment, such

                    11   party   may at any time         give written notice t0 the party or non—party                      Who     designated the material.

                    12   The party 0r non—party who designated the material                          shall     have   thirty (3 0)    days from the receipt of

                    13   such written notice t0 apply t0 the Court for an order designating the material as conﬁdential. The

                    14   party 0r non-party seeking the order from the Court will have the burden 0f establishing that the

                    15   material   is   entitled to protection.


                    16             9.         Notwithstanding any challenge t0 the designation of material as Conﬁdential

                    17   Information,       all   documents    shall   be treated as such and              shall     be subj ect t0 the provisions hereof

                    18   unless and until one 0f the following occurs:

                    19                        (a)        the party or non-party        who       claims that the material             is   Conﬁdential

                    20   Information Withdraws such designation in writing; or

                    21                        (b)        the party or non-party        who       claims that the material             is   Conﬁdential

                    22   Information        fails to   apply t0 the Court for an order designating the material conﬁdential Within

                    23   the time period speciﬁed above after receipt 0f a written challenge to such designation; 0r

                    24                        (c)        the Court rules that the material                is   not Conﬁdential Information.

                    25             10.        A11 provisions of this Order restricting the communication or use of Conﬁdential

                    26   Information shall continue t0 be binding after the conclusion 0f this action, unless otherwise

                    27   agreed or ordered.         Upon    conclusion of the litigation, a party in the possession of Conﬁdential

                    28   Information, other than that which                is   contained in pleadings, correspondence, and deposition
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 ATTORNEYS AT LAw
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                         transcripts, shall either (a) return          such documents n0         later   than thirty (3 0) days after conclusion 0f

                         this action to      counsel for the party 0r non-party          who provided          such information, 0r (b) destroy

                         such documents Within the time period upon consent of the party                          who   provided the information

                         and   certify in writing Within thirty (3 0) days that the              documents have been destroyed.

                                       11.    Nothing herein      shall   be deemed to waive any applicable privilege 0r work product

                         protection, or t0 affect the ability of a party t0 seek relief for an inadvertent disclosure 0f material


                         protected       by privilege or work product protection. Any Witness or other person, ﬁrm                       01'   entity


                         from Which discovery           is   sought   may be   informed 0f and         may obtain the protection       0f this Order

                         by written advice          to the parties’ respective counsel 0r         by   oral advice at the time 0f any deposition


                    10   0r similar proceeding.

                    11                                   Part Two: Use of Conﬁdential Materials in Court

                    12                 The following provisions govern         the treatment of Conﬁdential Information used at                   trial     0r

                    13   submitted as a basis for adjudication 0f matters other than discovery motions 0r proceedings.

                    14   These provisions are subject t0 Rules 2.550, 2.551, 2.580, 2.585, 8.160, and 8.490 0fthe

                    15   California Rules of Court and the Court’s local rules                   must be construed       in light   of those   sets    of

                    16   rules.


                    17                 12.    A party that ﬁles with the Court, or seeks t0 use at trial, materials designated as
                    18   Conﬁdential Information, and             who     seeks to have the record containing such information sealed,

                    19   shall     submit t0 the Court a motion 0r an application t0              seal,   pursuant to California Rule of Court

                    20   2.5 5 1   .




                    21                 13.    A party that ﬁles with the Court, or seeks to use at trial, materials designated as
                    22   Conﬁdential Information by anyone other than                itself,     and     Who   does not seek to have the record

                    23   containing such information sealed, shall comply with either 0f the following requirements:

                    24                        (a)       At   least ten (10) business     days prior t0 the ﬁling 0r use 0f the Conﬁdential

                    25   Information, the submitting party shall give notice t0                  all   other parties, and to any non-party that

                    26   designated the materials as Conﬁdential Information pursuant t0 this Order, of the submitting

                    27   party’s intention t0 ﬁle or use the Conﬁdential Information, including speciﬁc identiﬁcation 0f


                    28   the Conﬁdential Information.            Any affected party or non-party may then                ﬁle a motion t0       seal,

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                         pursuant to California Rule of Court 2.55 1(b); 0r

                                             (b)      At   the time 0f ﬁling 0r desiring t0 use the Conﬁdential Information, the


                         submitting party shall submit the materials pursuant to the lodging-underseal provision 0f

                         California Rule of Court 2.55 1 (d).       Any affected party 0r non-party may then ﬁle          a motion t0 seal,

                         pursuant t0 the California Rule 0f Court 2.551(b), Within ten (10) business days after such

                         lodging.   Documents lodged pursuant          to California    Rule 0f Court 2.551(d)     shall bear a   legend

                         stating that such materials shall       be unsealed upon expiration of ten (10) business days, absent the

                         ﬁling of a motion to seal pursuant t0 Rule 2.551(b) 0r Court order.

                                  14.        In connection with a request to have materials sealed pursuant to Paragraph 12 0r

                    10   Paragraph 13, the requesting party’s declaration pursuant t0 California Rule of Court 2.551(b)(1)

                    11   shall contain sufﬁcient particularity       with respect t0 the particular Conﬁdential Information and

                    12   the basis for sealing to enable the Court to       make    the ﬁndings required    by   California Rule of Court

                    13   2.550(d).

                    14            IT IS     SO STIPULATED.

                    15                                                                      MORGAN, LEWIS & BOCKIUS, LLP
                    16

                    17   Dated:                                                             By:
                                                                                                  Eric   Meckley
                    18                                                                            Ashley Baltazar
                                                                                                  Attorneys for Defendant
                    19                                                                            BOEHRINGER INGELHEIM
                                                                                                  PHARMACEUTICALS, INC.
                    20

                    21                                                                      THE LAW OFFICE OF MICHAEL T.
                                                                                            WELCH
                    22

                    23
                         Dated:                                                             By:
                    24                                                                            Michael T. Welch
                                                                                                  Attorney for Plaintiff
                    25                                                                            BRENDA PERRY
                    26

                    27

                    28
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                                  1T Is     so ORDERED.
                                                                    M
                         Dated:
                                                                            JUDGE OF THE SUPERIOR COURT




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                   1                                                           CERTIFICATION
                   2            Ihereby        certify   my understanding that Conﬁdential Information is being provided t0 me
                   3   pursuant to the terms and restrictions of the Stipulation and Protective Order Regarding

                   4   Conﬁdential Information ﬁled 0n                                                 ,
                                                                                                           20   ,
                                                                                                                    in   San Mateo County Superior Court

                   5   Case N0. 18CIV05717 (“Order”). Ihave been given a copy of that Order and read                                              it.




                   6            I   agree t0 be bound          by the Order. Iwill not             reveal the Conﬁdential Information to anyone,

                   7   except as allowed by the Order. Iwill maintain                      all     such Conﬁdential Information, including

                   8   copies, notes, 0r other transcriptions             made      therefrom, in a secure                  manner to prevent unauthorized

                   9   access to    it.   N0   later   than thirty (3 0) days after the conclusion 0f this action, Iwill return the

                 10    Conﬁdential Information, including copies, notes, 0r other transcriptions made therefrom, t0 the

                 11    counsel   Who provided me               With the Conﬁdential Information.                     I   hereby consent to the jurisdiction

                 12    0f the San Mateo County Superior Court for the purpose of enforcing the Order.

                 13             I   declare under penalty 0f perjury that the foregoing                             is   true   and correct and   that this


                 14    certiﬁcate    is   executed      this   _   day   of,   20     ,
                                                                                          at


                 15                                                                   By:

                 16                                                                   Address:

                 17

                 18

                 19                                                                   Phone:

                 20

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                     Exhibit 4
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Baltazar, Ashley A.


From:                                                     Baltazar, Ashley A.
Sent:                                                     Tuesday,      May     7,   2019 5:26   PM
To:                                                       Michael Welch
Cc:                                                       Meckley,      Eric

Subject:                                                  RE: Perry v. Boehringer Ingelheim Pharmaceuticals, Inc.           —
                                                                                                                                Meet and Confer



Hi   Mike,


We will    accommodate the request. Our hope is that whatever you plan to provide on Friday addresses                                       all   of the issues
raised in our  meet and confer letter so that we don’t have to resort to judicial intervention.

Thank you,


Ashley


Ashley A. Baltazar
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower San               |
                                                           Francisco,   CA 94105
Direct:   +1.415.442.1172             |
                                          Main: +1.415.442.1000           |
                                                                               Fax: +1.415.442.1001

ashley.baltazar@morgan|ewis.com                      |
                                                         www.morganlewis.com
Assistant: Yvette Pruitt          [
                                      +1.415.442.1542          |
                                                                   yvette.pruitt@morganlewis.com


From: Michael Welch <mwe|chlaw@gmail.com>
Sent: Tuesday,          May      7,   2019 4:31          PM
To: Baltazar, Ashley A. <ash|ey.ba|tazar@morganlewis.com>
Subject: Re: Perry          v.   Boehringer Ingelheim Pharmaceuticals,                           Inc. -   Meet and Confer

[EXTERNAL EMAIL]
Ashley       -   I wanted t0 follow up on this, and update you. Ihave been working 0n the discovery responses
                     just
owed to    you,  and they are about 75% complete. Iwill need a few more days, and request your accommodation
t0   the end of the week t0 get those t0 you. Thank you very much. - Mike Welch




LAW OFFICES OF MICHAEL WELCH
Employment  Litigation and Counseling
Four Embarcadero Center
14th Floor
San Francisco, CA 94111
Tel:  (415)426-5691
Cell: (415)235-3839
Email: mwelchlaw@gmail.com

On Tue, Apr 30, 2019                      at   1:29      PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
 Mr. Welch,
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Please see the attached meet and confer correspondence regarding Plaintiff’s responses to Defendant’s
discovery requests.        A hard copy will follow in the mail.


Thank you,



Ashley




Ashley A. Baltazar

Morgan, Lewis     & Bockius LLP

One   Market, Spear Street          Tower   |
                                                San Francisco, CA 94105


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                     Exhibit 5
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 Morgan Lewis

 Ashley Baltazar



 June 17, 2019


 VIA E-MAIL PDF AND US MAIL

 Michael T. Welch
 Law Ofﬁces         of Michael T. Welch
 Four Embarcadero Center, 14th Floor
 San Francisco, CA 94111
 mwelchlaw@gmail.com

 Re:           Perrv     v.   Boehrinqer Inqelheim Pharmaceuticals, Inc.


 Dear Mr. Welch:

 I   am    writing to         meet and confer   further regarding Plaintiff’s responses to Defendant Boehringer
 Ingelheim        Pharmaceuticals, Inc.’s (“BIPI" or
                                            “DefendantU Requests for Production of Documents,
 Special Interrogatories, and Form Interrogatories—Employment, which were served on your office,
 via overnight mail, on March 13, 2019.


      I.       Plaintiff’s       Discoverv Responses              Were Served Without a              Verification.


 Despite raising this issue            in   with you   in   my April      30,   2019 meet and confer
                                                                                              has yet      letter, Plaintiff

 to provide a veriﬁcation to her responses to Defendant’s Requests for Production of   Documents.
 Similarly, Plaintiff’s recently served responses to Defendant’s Form Interrogatories—Employment
 and Special Interrogatories that did not include any verifications and thus were not verified as
 required by the Code of Civil Procedure. As you are aware, serving an unverified response is akin
 to serving no response at all. See Appleton v. Sup. Ct. (Cook), 206 Cal.App.3d 632, 636 (1988).
 Accordingly, please provide a signed veriﬁcation under penalty of perjury by Plaintiff for each of
 these sets of discovery responses no later than Friday, June 21, 2019.


     II.       Plaintiff’s       Responses to Defendant’s Reguests for Production of Document;

 On            2019, Defendant sent Plaintiff a lengthy meet and confer letter raising various issues
       April 30,
 with            responses (or lack thereof) to Defendant’s Requests for Production of Documents.
           Plaintiff’s

 To date, Plaintiff has failed to substantively respond to Defendant’s meet and confer efforts and
 has failed to provide compliant, amended responses to these requests. As a result, Defendant
 again raises these issues and requests                     Plaintiff’s   immediate attention and response.




                                                                            Morgan, Lewis        & Bockius   LLP

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 Michael T. Welch
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                   a.    Plaintiff’s   Responses to Request     for Production Nos. 7, 16-17, 25-26, 29-30,                  and
                        L
 In response to Request for Production Nos. 7, 16-17, 25-26, 29-30, and 35, Plaintiff states that she
 “has no documents within her possession, custody, or control that are responsive to this request.”
 Such responses fail to comply with the California Code of Civil Procedure. Specifically, where a
 response includes a representation of an              inability to   comply, the response also must state (1) that
 a diligent search and reasonable inquiry has been                   made in an effort to locate the item demanded;

 and   (2) the     reason the party      is   unable to comply with the demand (e.g., the document never
 existed, has      been    lost or stolen,     has been destroyed, or is not in the possession, custody or control
 of the responding party,          in   which case the response must state the name and address of anyone
 believed to have the document). Cal. Code. Civ. Proc. § 2031.230. Because Plaintiff’s responses do
 not include any of this information they are non-compliant, and Plaintiff must amend her responses
 to the aforementioned requests to indicate that she has conducted a diligent search                              and
 reasonable inquiry and also to state the speciﬁc reason(s)                   why she   is   unable to comply with the
 demand.

                   b.    Plaintiff’s   Responses to Request     for Production Nos. 23, 27, 36, 48,               and 54.

 In response to         Request for Production Nos. 23, 27, 36, 48, and 54,             Plaintiff limits    the documents
 that she    agreeing to produce to only those document that are “non-privileged and non-
              is
               ”
 confidential.   First, to the extent that Plaintiff is withholding any documents on the basis of

 privilege,    such documents must be identified on a privilege              log. Hernandez v. Sup. Ct. (Acheson

 Indus., Ina), 112 Cal.App.4th 285, 291-292 (2003).                    Defendant hereby requests that you provide a
 privilege log as       soon as possible. Second,        Plaintiff   may    not unilaterally   limit   the production to
 documents that          Plaintiff believes    are “non-confidential." As a preliminary matter,             it   is   unclear what
 Plaintiff   means by the term                         appears to be used somewhat randomly in her
                                        “non-confidential," as   it

 responses. It also appears unlikely that the documents responsive to many of the aforementioned
 requests could qualify for any “confidential” designation. For example, Request for Production No.
 23 seeks documents that relate to oral or written complaints Plaintiff made regarding alleged “off
 label marketing." Plaintiff’s complaints about “off label marketing," which are the subject of this
 lawsuit, likely would not be “confidential.” As another example, Request for Production No. 27
 seeks all documents created by Plaintiff or another person related to the allegations in her
 complaint. Defendant does not understand how documents responsive to this request could be
 considered “confidential.” In any event, to the extent that Plaintiff has a genuine concern that
 documents responsive to the aforementioned requests are “confidential,” Defendant proposes that
 the Parties enter into a protective order governing the production of any “confidential” documents
 and information. Plaintiff’s responses to the aforementioned requests therefore should be
 amended so that all responsive documents are produced, regardless of whether Plaintiff believes
 are “confidential.” I have enclosed a draft stipulated protective order for Plaintiff’s review and
 approval. Please provide any             comments     or questions regarding the stipulated protective order or,                  if

 none, a signed version of the protective order by the end of this week, June 21, 2019.


                   c.    Plaintiff’s   Responses to Request     for Production Nos. 49-51,             and 55.

 In response to         Request for Production Nos. 49-51, and 55,             Plaintiff asserts meritless            objections and
 refuses to provide substantive responses.




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 Requests for Production Nos. 49-51 seek documents related to Plaintiff’s treatment with any
 healthcare provider for any physical or emotional injury that she in any way attributes to the
 conduct of Defendant. Plaintiff objects to these requests on the grounds that they violate
 Plaintiff’s “rights of privacy and confidentiality.” Plaintiff’s privacy objection does not obviate her
 obligation to produce the requested documents. The privacy interest in one’s medical records is
 conditional and dependent upon balancing the need for discovery against the need for
 confidentiality. Ordinarily, discovery of relevant medical history is allowed because defendants
 have no other means by which to obtain this information. Palay v. Sup. Ct. (County of Los
 Angeles), 18 Cal.App.4th 919, 933-934. Furthermore, in the present case Plaintiff has waived the
 physician-patient privilege by placing her medical condition at issue in this litigation. Evid. Code §
 996(a). “The whole purpose of the [physician-patient] privilege is to preclude the humiliation of
 the patient that might follow disclosure of his ailments. When the patient himself discloses those
 ailments by bringing an action in which they are in issue, there is no longer any reason for the
 privilege. The patient-litigant exception precludes one who has placed his physical condition from
 invoking the privilege…” San Francisco v. Sup. Ct. (San Francisco), 37 Cal.2d 227, 231 (1951).

 Here, Plaintiff expressly seeks emotional distress damages in conjunction with each of her causes
 of action. See First Amended Complaint (“FAC”), ¶¶ 21, 27, 32, 37, 42. In addition, Plaintiff has
 asserted a standalone cause of action for alleged intentional infliction of emotional distress. FAC
 ¶¶ 39-42. As a result, it is undisputed that Plaintiff has placed her medical condition directly at
 issue in this case and there exists a serious dispute regarding the existence, nature, extent and
 cause of her alleged emotional distress. All medical records regarding her seeking and/or receiving
 treatment for any alleged emotional issues are discoverable. As a result, Plaintiff must amend her
 responses and produce all documents responsive to these requests. To the extent Plaintiff
 believes such records contain confidential/private information, then she can designate such
 documents as confidential pursuant to the stipulated protective order that I have attached for your
 review and signature.

 Request for Production No. 55 seeks all documents that relate to any lawsuits, complaints,
 charges, or grievances Plaintiff made against any employer, other than this action. Plaintiff again
 objects to this request on the grounds that it violates Plaintiff’s “rights of privacy and
 confidentiality.” However, Plaintiff has no right to privacy in complaints she made against other
 employers. Indeed, any civil complaints filed are public documents. As a result, Plaintiff must
 amend this response and produce all documents responsive to this request.

 III.     Plaintiff’s Document Production.

 Plaintiff’s document production is incomplete in several respects. First, Plaintiff produced a partial
 employment agreement. See e.g., P007. Please produce the entirety of this document.

 Second, Plaintiff produced an email with a missing attachment. See e.g., P008. Please re-produce
 this email, with the corresponding attachment, so that your production is complete.

 Third, Plaintiff purports to have applied for positions with “ZipRecruter; Indeed; Insys
 Therapeutics; Modern Recruitment Solutions; LS Recruiting; Gecko Hospitality; Lilly
 Pharmaceutical; Biopharma Health; Aging 2.0, LLC; Medtronic; Surgical Recruiting, LLC; Critique by
 Kids; Sino Biological US, Inc.; Amgen; Crobo, Inc.; Hamilton Co.; Cybercoders; PV Pharma;
 Siemens; Cardinal Health; Z&L Properties; Amtee; Ambry Genetics; Gilead Astra Zeneca; Portola
 Pharmaceuticals; Promoves Health; Novartis; BioMarin; Teva; DepoMed; Abbott; Excela Pharma



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 Sciences; Osmota Pharamaceuticals; [and] Avion.” See Plaintiff’s response to Special Interrogatory
 No. 7.

 However, Plaintiff has not produced a copy of her resume or copies of any of the job applications
 she claims to have submitted to these entities. Please produce these responsive documents as
 soon as possible. While Plaintiff has produced some emails from ZipRecruiter about job
 applications to Insys Therapeutics, Gecko Hospitality, Surgical Recruiting, LLC, Lily
 Pharmaceuticals, BioPharma, Aging 2.0, and Surgical Recruiting, she has failed to produce copies
 of the job applications submitted to these entities or any of the emails from ZipRecruiter
 confirming receipt of these job applications.

 Plaintiff has not produced any communication with or about her job applications to Indeed;
 Medtronic; Critique by Kids; Sino Biological US, Inc.; Amgen; Crobo, Inc.; Hamilton Co.;
 Cybercoders; PV Pharma; Siemens; Cardinal Health; Z&L Properties; Amtee; Ambry Genetics;
 Gilead Astra Zeneca; Portola Pharmaceuticals; Promoves Health; Novartis; BioMarin; Teva;
 DepoMed; Abbott; Excela Pharma Sciences; Osmota Pharamaceuticals; or Avion. As I am sure
 you are aware, any and all documents, information and communications regarding her efforts to
 mitigate her alleged damages, including but not limited to the actual job applications submitted,
 her resume(s), and email communications confirming receipt of such applications, are directly
 responsive to Request for Production of Documents No. 52-53 and must be produced as soon as
 possible.

 Fourth, Plaintiff has not provided copies of her IRS W-2 forms, 1099 forms or other documents
 reflecting wages, compensation or other income that she received during her employment with
 Defendants, which are directly responsive to Request for Production No. 14.

  IV.     Plaintiff’s Responses to Defendant’s Special Interrogatories.

              a. Special Interrogatory No. 2.

 Special Interrogatory No. 2 requires Plaintiff to state the substance of the communication(s) she
 had with individuals identified in response to Special Interrogatory No. 1. It further requires
 Plaintiff to provide the date(s) each communication occurred. In response, Plaintiff generally
 describes the communication she had with Tracy Scott, Nate Styles, and Lori Elwood, but fails to
 provide the dates of each communication. As a result, the response is non-compliant. Please
 provided amended, fully responsive and compliant answers that include the date(s) of each
 communication.

              b. Special Interrogatory Nos. 3 and 6.

 Special Interrogatory No. 3 requires Plaintiff to identify all documents related to the
 communication(s) with each individual identified in response to Special Interrogatory No. 1.
 Special Interrogatory No. 6 requires Plaintiff to identify all documents related to the individuals
 identified in response to Interrogatory No. 4. In response to each of these interrogatories, Plaintiff
 generally identified P0019-P0022. However, Plaintiff is required to specify which documents relate
 to which individual -- Defendant should not have to guess at this information. As a result, please
 provided amended, fully responsive and compliant answers to these responses.




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 Page 5

                c.   Special Interrogatory No. 9.

 Special Interrogatory No. 9 requires Plaintiff to identify each cellular telephone                number she has
 maintained and identify the service provider associated with such number. In response,                       Plaintiff

 identified a cellulartelephone number, but did not identify the service provider associated with the
 cell   phone number. As a result, Plaintiff failed to answer the interrogatory completely and must
 amend     her response ancl fully and completely answer this interrogatory.


   V.       Plaintiff’s   Responses to Defendant’s Form Interrogatories—Employment.

                a.   Form Interrogatories Nos. 200.1 and 200.2.

 Form Interrogatories Nos. 200.1 and 200.2 require Plaintiff to state whether she contends that her
 employment was “at will” or not “at will.” In response, Plaintiff provides an evasive answer,
 claiming that Plaintiff does not make and has not made any contention in this lawsuit one way or
 another. As such, Plaintiff’s substantive response to both questions was “no.” However, the
 answers to these questions are necessarily mutually exclusive -- Plaintiff’s employment was either
 “at will" or not “at will,"   it   cannot be both.   Plaintiff   cannot avoid answering the interrogatory by
 claiming she does not have a contention. Please provide an               amended response to both Form
 Interrogatory No. 200.1 and 200.2 and state clearly whether her position                  is   that her   employment
 was “at will” or not “at will.”


                b.   Form Interrogatory No. 200.3.

 Form Interrogatory No. 200.3 requires Plaintiff to state whether her employment was governed by
 any written rules, guidelines, policies, or procedures established by the employer. If the answer is
 yes, then Plaintiff must answer a series of follow up questions. Plaintiff has provided an improper
 and evasive answer, which neither affirms nor denies that her employment was governed by such
 rules, policies, or procedures. Plaintiff claims she has no documents in her possession, custody, or
 control, and does not recall any specific documents. Regardless of whether Plaintiff recalls any
 speciﬁc documents, she nonetheless still must answer the general question as to whether her
 employment was governed by any such rules, guidelines, policies, or procedures and then
 generally describe the applicable documents, even if she cannot recall them specifically. Please
 provide a responsive, compliant         amended response         to this interrogatory.


                                                 Meetan—dConfer

 As requested above, please provide (1) verifications to Plaintiff’s responses to Defendant’s Special
 Interrogatories, Form Interrogatories—Employment, and Requests for Production of Documents;
 amended responses to the aforementioned discovery requests; a privilege log;
 questions/comments to the stipulated protective order or your signature on such document; and a
 further document production no later than Friday, June 21, 2019.


 We     are happy to schedule a telephone call to the extent you would like to discuss any of the issues
 identified   above in more detail or have any questions regarding Defendant’s position. We are
 hopeful that through this further        meet and confer we can avoid the need            to involve the Court     in

 resolution of these issues.




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 June 17, 2019
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   W
 Sincerely,




 Ashley Baltazar

 AB




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                         MORGAN, LEWIS & BOCKIUS LLP
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                         eric.meckley@m0rganlewis.com
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                         Attorneys for Defendant
                         BOEHRINGER INGELHEIM
                         PHARMACEUTICALS, INC. (erroneously sued as
                         “BOEHRINGER-INGELHEIM
                         PHARMACEUTICAL”)
                    10

                    11                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    12                      COUNTY OF SAN MATEO — UNLIMITED CIVIL JURISDICTION
                    13

                    14   BRENDA PERRY, an individual,                                    Case No. 18CIV057 1 7

                    15                                Plaintiff,                         STIPULATION AND [PROPOSED]
                                                                                         PROTECTIVE ORDER REGARDING
                    16                      VS.                                          CONFIDENTIAL INFORMATION
                                                                                         (Single Level of Conﬁdentiality)
                    17   ASHFIELD HEALTHCARE, LLC, a business
                         entity; BOEHRINGER-INGELHEIM
                    18   PHARMACEUTICAL, a business entity;
                         NATE STYLES,             an individual; and   DOES   1-
                    19   25, inclusive,

                    20                                Defendants.

                    21

                    22            In order to protect conﬁdential information obtained           by the   Parties in connection With this

                    23   case, the Parties,   by and through       their respective   undersigned counsel and subj ect to the approval

                    24   0f the Court, hereby stipulate and agree as follows:

                    25                              Part One: Use      Of Conﬁdential Materials In Discoverv

                    26            1.        Any party 0r non—party may designate          as “Conﬁdential Information” (by stamping

                    27   the relevant page 0r as otherwise set forth herein) any           document 0r response    t0 discovery that the


                    28   party or non-party considers in good faith t0 contain information involving trade secrets, 0r
MORGAN, LEWIS 8:
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 ATTORNEYS AT LAw                                                                                                           18CIV05717
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                         conﬁdential business 0r ﬁnancial information, including personal ﬁnancial information about any

                         party t0 this lawsuit, 0r employee 0f any party t0 this lawsuit, information regarding any

                         individual’s banking relationship With               any banking           institution, including      information regarding

                         the individual’s ﬁnancial transactions or ﬁnancial accounts, and any personal information


                         regarding any party (including but not limited t0 medical information and records) not otherwise

                         available to the public, subject t0 protection under Rules 2.550, 2.551, 2.580, 2.585, 8.160, and


                         8.490 0f the California Rules of Court 0r under other provisions of California law.                             Where   a

                         document 0r response        consists 0f more than one page, the ﬁrst                      page and each page on Which

                         conﬁdential information appears shall be so designated.

                    10             2.        A party 0r non-party may designate information disclosed during a deposition 0r in
                    11   response t0 written discovery as “Conﬁdential” by s0 indicating in said responses or on the record

                    12   at the   deposition and requesting the preparation of a separate transcript 0f such material. In

                    13   addition, a party or non-party        may designate          in writing, within thirty (3 0) days after receipt             of

                    14   said responses 0r of the deposition transcript for                 Which the designation          is   proposed, that speciﬁc

                    15   pages 0f the transcript and/or speciﬁc responses be treated as “Conﬁdential Information.”                               Any

                    16   other party      may obj ect t0   such proposal, in writing 0r 0n the record.                  Upon such     objection, the


                    17   Parties shall follow the procedures described in Paragraph 8 below. After                              any designation made

                    18   according to the procedure set forth in this paragraph, the designated documents 0r information

                    19   shall   be treated according t0 the designation              until the matter is resolved according to the


                    20   procedures described in Paragraph 8 below, and counsel for                          all   Parties shall   be responsible for

                    21   marking    all   previously unmarked copies of the designated material in their possession 0r control

                    22   With the speciﬁed designation.         A party that makes original documents 0r materials available for
                    23   inspection need not designate         them    as Conﬁdential Information until after the inspecting party has


                    24   indicated the speciﬁc materials         it   would    like   copied and produced. During the inspection and

                    25   before the designation and copying,            all   0f the material made available for inspection shall be

                    26   considered Conﬁdential Information.

                    27             3.        A11 Conﬁdential Information produced or exchanged in the course 0f this case

                    28   shall   be used by the party 0r parties t0       Whom the information is produced solely for the purpose
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                         0f this case. Conﬁdential Information shall not be used for any commercial competitive, personal,

                         or other purpose.

                                   4.       Except with the prior written consent of the other              Parties, or   upon prior order 0f

                         this   Court obtained upon notice t0 opposing counsel, Conﬁdential Information shall not be

                         disclosed t0 any person other than:


                                            (a)      counsel for the respective Parties t0 this litigation, including in-house

                         counsel and co-counsel retained for this litigation;

                                            (b)      employees of such counsel;

                                            (c)      individual directors, ofﬁcers 0r employees of a party, t0 the extent                deemed

                    10   necessary by counsel for the prosecution 0r defense of this                  litigation;


                    11                      (d)      consultants 0r expert Witnesses retained for the prosecution 0r defense 0f

                    12   this litigation,   provided that each such person shall execute a copy of the Certiﬁcation annexed t0

                    13   this   Order (Which shall be retained by counsel t0 the party so disclosing the Conﬁdential

                    14   Information and      made   available for inspection   by opposing counsel during                the   pendency 0r   after


                    15   the termination 0f the action only        upon good cause shown and upon order of the Court) before

                    16   being shown 0r given any Conﬁdential Information, and provided that                        if the   party chooses a

                    17   consultant 0r expert employed        by the defendant      0r one of its competitors, the party shall notify

                    18   the opposing party, or designating non-party, before disclosing any Conﬁdential Information t0


                    19   that individual    and   shall give the   opposing party an opportunity t0           move    for a protective order


                    20   preventing or limiting such disclosure;

                    21                      (e)      any identiﬁed authors or recipients of the Conﬁdential Information;

                    22                      (f)      the Court, court personnel, and court reporters; and


                    23                      (g)      Witnesses (other than persons described in Paragraph 4(6)).                  A witness shall
                    24   sign the Certiﬁcation before being         shown   a conﬁdential document. Conﬁdential Information                    may

                    25   be disclosed to a Witness      Who   Will not sign the Certiﬁcation only in a deposition at               Which the

                    26   party   Who    designated the Conﬁdential Information              is   represented 0r has been given notice that

                    27   Conﬁdential Information produced by the party              may be used. At the request of any party,            the


                    28   portion of the deposition transcript involving the Conﬁdential Information shall be designated
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                         “Conﬁdential” pursuant t0 Paragraph 2 above. Witnesses shown Conﬁdential Information shall

                         not be allowed t0 retain copies 0f the Conﬁdential Information.

                                  5.          Any persons      receiving Conﬁdential Information shall not reveal or discuss such

                         information t0 0r With any person           Who   is   not entitled t0 receive such information, except as set

                         forth herein. If a party or      any 0f its representatives, including counsel, inadvertently discloses any

                         Conﬁdential Information t0 persons            who      are not authorized t0 use or possess such material, the


                         party shall provide immediate written notice 0f the disclosure t0 the party                      Whose material was

                         inadvertently disclosed. If a party has actual            knowledge         that   Conﬁdential Information         is   being

                         used or possessed by a person not authorized t0 use 0r possess that material, regardless of how the

                    10   material   was disclosed 0r obtained by such person,                    the party shall provide immediate written


                    11   notice 0f the unauthorized use 0r possession to the party                    Whose   material   is   being used or

                    12   possessed.    N0 party shall have        an afﬁrmative obligation t0 inform             itself regarding    such possible

                    13   use or possession.

                    14            6.          In connection With discovery proceedings as t0                 which a party submits Conﬁdential

                    15   Information,       all   documents and chamber copies containing Conﬁdential Information                       that are


                    16   submitted t0 the Court shall be ﬁled With the Court in sealed envelopes or other appropriate

                    17   sealed containers, pursuant to then applicable California Rules 0f Court and local rules.                               On the

                    18   outside of the envelopes, a copy of the ﬁrst page 0f the                    document   shall   be attached.   If


                    19   Conﬁdential Information          is   included in the ﬁrst page attached t0 the outside 0f the envelopes,                       it



                    20   may be    deleted from the outside copy.          The word “CONFIDENTIAL”                  shall     be stamped on the

                    21   envelope and a statement substantially in the following form shall also be printed 0n the

                    22   envelope:

                    23                        “This envelope is sealed pursuant t0 Order 0f the Court, contains
                                              Conﬁdential Information and is not t0 be opened or the contents
                    24                        revealed, except by Order of the Court 0r agreement by the parties.”

                    25   If another court or administrative         agency subpoenas 0r orders production 0f Conﬁdential

                    26   Information, such party shall promptly notify counsel for the party                     who produced the       material 0f

                    27   the   pendency of such subpoena 0r order and              shall furnish counsel        With a copy 0f said subpoena 0r

                    28   order.

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                                   7.         A party may designate as “Conﬁdential Information” documents 0r discovery
                         materials produced            by a non-party by providing           written notice t0             all   Parties of the relevant


                         document numbers or other identiﬁcation within                      thirty (30)            days after receiving such documents

                         0r discovery materials.          Any party 0r non-party may voluntarily disclose                            to others Without


                         restriction     any information designated by              that party or non-party as               Conﬁdential Information,

                         although a document            may   lose   its   conﬁdential status if it            is   made   public. If a party produces


                         materials designated Conﬁdential Information in compliance with this Order, that production

                         shall   be deemed t0 have been made consistent with any conﬁdentiality or privacy requirements

                         mandated by         local, state or federal laws.


                    10             8.         If a party contends that           any material        is   not entitled t0 conﬁdential treatment, such

                    11   party   may at any time         give written notice t0 the party or non—party                      Who     designated the material.

                    12   The party 0r non—party who designated the material                          shall     have   thirty (3 0)    days from the receipt of

                    13   such written notice t0 apply t0 the Court for an order designating the material as conﬁdential. The

                    14   party 0r non-party seeking the order from the Court will have the burden 0f establishing that the

                    15   material   is   entitled to protection.


                    16             9.         Notwithstanding any challenge t0 the designation of material as Conﬁdential

                    17   Information,       all   documents    shall   be treated as such and              shall     be subj ect t0 the provisions hereof

                    18   unless and until one 0f the following occurs:

                    19                        (a)        the party or non-party        who       claims that the material             is   Conﬁdential

                    20   Information Withdraws such designation in writing; or

                    21                        (b)        the party or non-party        who       claims that the material             is   Conﬁdential

                    22   Information        fails to   apply t0 the Court for an order designating the material conﬁdential Within

                    23   the time period speciﬁed above after receipt 0f a written challenge to such designation; 0r

                    24                        (c)        the Court rules that the material                is   not Conﬁdential Information.

                    25             10.        A11 provisions of this Order restricting the communication or use of Conﬁdential

                    26   Information shall continue t0 be binding after the conclusion 0f this action, unless otherwise

                    27   agreed or ordered.         Upon    conclusion of the litigation, a party in the possession of Conﬁdential

                    28   Information, other than that which                is   contained in pleadings, correspondence, and deposition
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                         transcripts, shall either (a) return          such documents n0         later   than thirty (3 0) days after conclusion 0f

                         this action to      counsel for the party 0r non-party          who provided          such information, 0r (b) destroy

                         such documents Within the time period upon consent of the party                          who   provided the information

                         and   certify in writing Within thirty (3 0) days that the              documents have been destroyed.

                                       11.    Nothing herein      shall   be deemed to waive any applicable privilege 0r work product

                         protection, or t0 affect the ability of a party t0 seek relief for an inadvertent disclosure 0f material


                         protected       by privilege or work product protection. Any Witness or other person, ﬁrm                       01'   entity


                         from Which discovery           is   sought   may be   informed 0f and         may obtain the protection       0f this Order

                         by written advice          to the parties’ respective counsel 0r         by   oral advice at the time 0f any deposition


                    10   0r similar proceeding.

                    11                                   Part Two: Use of Conﬁdential Materials in Court

                    12                 The following provisions govern         the treatment of Conﬁdential Information used at                   trial     0r

                    13   submitted as a basis for adjudication 0f matters other than discovery motions 0r proceedings.

                    14   These provisions are subject t0 Rules 2.550, 2.551, 2.580, 2.585, 8.160, and 8.490 0fthe

                    15   California Rules of Court and the Court’s local rules                   must be construed       in light   of those   sets    of

                    16   rules.


                    17                 12.    A party that ﬁles with the Court, or seeks t0 use at trial, materials designated as
                    18   Conﬁdential Information, and             who     seeks to have the record containing such information sealed,

                    19   shall     submit t0 the Court a motion 0r an application t0              seal,   pursuant to California Rule of Court

                    20   2.5 5 1   .




                    21                 13.    A party that ﬁles with the Court, or seeks to use at trial, materials designated as
                    22   Conﬁdential Information by anyone other than                itself,     and     Who   does not seek to have the record

                    23   containing such information sealed, shall comply with either 0f the following requirements:

                    24                        (a)       At   least ten (10) business     days prior t0 the ﬁling 0r use 0f the Conﬁdential

                    25   Information, the submitting party shall give notice t0                  all   other parties, and to any non-party that

                    26   designated the materials as Conﬁdential Information pursuant t0 this Order, of the submitting

                    27   party’s intention t0 ﬁle or use the Conﬁdential Information, including speciﬁc identiﬁcation 0f


                    28   the Conﬁdential Information.            Any affected party or non-party may then                ﬁle a motion t0       seal,

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                         pursuant to California Rule of Court 2.55 1(b); 0r

                                             (b)      At   the time 0f ﬁling 0r desiring t0 use the Conﬁdential Information, the


                         submitting party shall submit the materials pursuant to the lodging-underseal provision 0f

                         California Rule of Court 2.55 1 (d).       Any affected party 0r non-party may then ﬁle          a motion t0 seal,

                         pursuant t0 the California Rule 0f Court 2.551(b), Within ten (10) business days after such

                         lodging.   Documents lodged pursuant          to California    Rule 0f Court 2.551(d)     shall bear a   legend

                         stating that such materials shall       be unsealed upon expiration of ten (10) business days, absent the

                         ﬁling of a motion to seal pursuant t0 Rule 2.551(b) 0r Court order.

                                  14.        In connection with a request to have materials sealed pursuant to Paragraph 12 0r

                    10   Paragraph 13, the requesting party’s declaration pursuant t0 California Rule of Court 2.551(b)(1)

                    11   shall contain sufﬁcient particularity       with respect t0 the particular Conﬁdential Information and

                    12   the basis for sealing to enable the Court to       make    the ﬁndings required    by   California Rule of Court

                    13   2.550(d).

                    14            IT IS     SO STIPULATED.

                    15                                                                      MORGAN, LEWIS & BOCKIUS, LLP
                    16

                    17   Dated:                                                             By:
                                                                                                  Eric   Meckley
                    18                                                                            Ashley Baltazar
                                                                                                  Attorneys for Defendant
                    19                                                                            BOEHRINGER INGELHEIM
                                                                                                  PHARMACEUTICALS, INC.
                    20

                    21                                                                      THE LAW OFFICE OF MICHAEL T.
                                                                                            WELCH
                    22

                    23
                         Dated:                                                             By:
                    24                                                                            Michael T. Welch
                                                                                                  Attorney for Plaintiff
                    25                                                                            BRENDA PERRY
                    26

                    27

                    28
MORGAN, LEWIS 8:
  BOCKIUS LLP
 ATTORNEYS AT LAw
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                                  1T Is     so ORDERED.
                                                                    M
                         Dated:
                                                                            JUDGE OF THE SUPERIOR COURT




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  BOCKIUS LLP
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                   1                                                           CERTIFICATION
                   2            Ihereby        certify   my understanding that Conﬁdential Information is being provided t0 me
                   3   pursuant to the terms and restrictions of the Stipulation and Protective Order Regarding

                   4   Conﬁdential Information ﬁled 0n                                                 ,
                                                                                                           20   ,
                                                                                                                    in   San Mateo County Superior Court

                   5   Case N0. 18CIV05717 (“Order”). Ihave been given a copy of that Order and read                                              it.




                   6            I   agree t0 be bound          by the Order. Iwill not             reveal the Conﬁdential Information to anyone,

                   7   except as allowed by the Order. Iwill maintain                      all     such Conﬁdential Information, including

                   8   copies, notes, 0r other transcriptions             made      therefrom, in a secure                  manner to prevent unauthorized

                   9   access to    it.   N0   later   than thirty (3 0) days after the conclusion 0f this action, Iwill return the

                 10    Conﬁdential Information, including copies, notes, 0r other transcriptions made therefrom, t0 the

                 11    counsel   Who provided me               With the Conﬁdential Information.                     I   hereby consent to the jurisdiction

                 12    0f the San Mateo County Superior Court for the purpose of enforcing the Order.

                 13             I   declare under penalty 0f perjury that the foregoing                             is   true   and correct and   that this


                 14    certiﬁcate    is   executed      this   _   day   of,   20     ,
                                                                                          at


                 15                                                                   By:

                 16                                                                   Address:

                 17

                 18

                 19                                                                   Phone:

                 20

                 21

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MORGAN, LEWIS 8:

 fﬁiﬁfﬂ                                                                                   -    9   -                                                    18C1V05717
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                     Exhibit 6
                  Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 98 of 274


Baltazar, Ashley A.


From:                                              Baltazar,   Ashley A.
Sent:                                              Friday,   June        28,   2019 3:06   PM
To:                                                Michael Welch
Cc:                                                Meckley,     Eric

Subject:                                           RE: Perry    v.   Ashfield Healthcare, LLC et        al.
                                                                                                              —
                                                                                                                  Meet and Confer



Hi Michael,


I’m writing to check       on status of the protective order,                      verifications,   and amended discovery responses. You stated that
we would     receive either a signed or revised protective order yesterday, but                                   we   have not received anything. And, with
only a few hours    left in        the day have not received a response to our meet and confer letter or                             amended responses and
verifications.



Ashley


Ashley A. Baltazar
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                                                   Francisco,    CA 94105
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                                   Main: +1.415.442.1000             |
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                               +1.415.442.1542         |
                                                           yvette.pruitt@morganlewis.com



From: Baltazar, Ashley A.
Sent:     Wednesday, June 26, 2019 8:53 AM
To: 'Michael Welch'   <mwe|ch|aw@gmai|.com>
Cc: Meckley, Eric   <eric.meckley@morganlewis.com>
Subject: RE: Perry   v.    Ashfield Healthcare, LLC et                    al. —   Meet and Confer

Hi Michael,



Thank you     for the update.


Ashley


Ashley A. Baltazar
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                                                   Francisco,    CA 94105
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                                   Main: +1.415.442.1000             |
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ashley.baltazar@morgan|ewis.com               |
                                                  www.morganlewis.com
Assistant: Yvette Pruitt   |
                               +1.415.442.1542         |
                                                           yvette.pruitt@morganlewis.com


From: Michael Welch <mwe|ch|aw@gmail.com>
Sent:     Wednesday, June          26,   2019 8:26     AM
To: Baltazar, Ashley A. <ash|ev.ba|tazar@morganlewis.com>
Subject: Re: Perry   v.    Ashfield Healthcare, LLC et                    al. -   Meet and Confer

[EXTERNAL EMAIL]
                       Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 99 of 274

Ashley       -
                 Sorry for     my delayed response t0 your email With letter.                     Iwas out on family vacation    last   week until
yesterday, with only limited email acess. Iwill get the stipulated protective order (either as                              is, 0r With changes)

back   you by tomorrow. Iwill respond further to the main points of your
        to                                                                                               letter,   and provide anything I still
owe you on discovery, by Friday. Thank you. Regards - Mike Welch




LAW OFFICES OF MICHAEL WELCH
Employment  Litigation and Counseling
Four Embarcadero Center
14th Floor
San Francisco,               CA 94111
Tel: (415)426-5691
Cell:(415)235-3839
Email: mwelchlaw@gmai1.com




On Mon,          Jun   17,   2019       at   12:42      PM Baltazar, Ashley A. <ash1ev.baltazar@morganlewis.com> wrote:
 Mr. Welch,




 Please see the attached meet and confer correspondence regarding Plaintiff’s responses to Boehringer
 Ingelheim’s written discovery requests.



 Thank you,




 Ashley




 Ashley A. Baltazar

 Morgan, Lewis          & Bockius LLP

 One    Market, Spear Street            Tower   |
                                                    San Francisco, CA 94105


 Direct:     +1.415.442.1172        |
                                        Main: +1.415.442.1000          |
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                     Exhibit 7
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    Baltazar, Ashley A.


    From:                                                      Michael Welch <mwe|ch|aw@gmai|.com>
    Sent:                                                      Tuesday, July         2,   2019 5:57        PM
    To:                                                        Baltazar,   Ashley         A.

    Subject:                                                   Re: Perry   v.   Ashfield, et         al.




    [EXTERNAL EMAIL]
    Ashley     -   Don't      know how that happened,                           sorry. I sent              you   those, along With   RFP revised responses, and
    veriﬁcation for them, today                       by FedEx. Regards                        -   Mike


    LAW OFFICES OF MICHAEL WELCH
    Employment Litigation and Counseling
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    Tel:  (415)426-5691
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    Email: mwelchlaw@2mail.com

    On Mon,        Jul   1,   2019       at 3:41          PM Baltazar, Ashley A. <ash1ev.baltazar@morganlewis.com> wrote:
     Michael,




\




     lam unable      to       open the        files   you attached as they were corrupted. Can you please re-send?




    Thank you,


     Ashley




    Ashley A. Baltazar

     Morgan, Lewis            & Bockius LLP

     One    Market, Spear Street             Tower    |
                                                          San Francisco, CA 94105


     Direct:   +1.415.442.1172           |
                                             Main: +1.415.442.1000               |
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                                                               www.morganlewis.com


    Assistant: Yvette Pruitt         |
                                         +1.415.442.1542             |
                                                                         yvette.pruitt@morganlewis.corn
              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 103 of 274

From: Michael Welch <mwe|ch|aw@gmail.com>
Sent: Friday, June 28, 2019 4:49             PM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Perry   v.   Ashfield, et     al.




[EXTERNAL EMAIL]

Ashley    Ihave attached the signed conﬁdentiality stipulation. Ihave also attached revised plaintiffs
          -

responses t0 special interrogatories, and form interrogatories (employment), which I believe contain the
information you requested in your meet and confer letter, along with my client's signed veriﬁcations. I am just
awaiting her veriﬁcation back as to the responses t0 requests for production. I also am sending each 0f these t0
you by mail. Regards - Mike Welch




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                     Exhibit 8
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 1   Michael T. Welch (#122630)
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 2   Four Embarcadero Center, 14' Floor
     San Francisco, California 94111
 3   Telephone:     (415)426-5691
     Facsimile:     (415)399-0445
 4
     Attorneys for Plaintiff BRENDA PERRY
 5
 6

 7                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                                      COUNTY OF SAN MATEO
 9

10
     BRENDA PERRY, an Individual,                          CASE NO. 18CV05717
11
                                    Plaintiff,             PLAINTIFF'S AMENDED RESPONSES
12                                                         TO DEFENDANT BOEHRINGER-
            V.                                             INGELHEIM PHARMACEUTICAL'S
13                                                         REQUEST FOR PRODUCTION OF
     ASHFIELD HEALTHCARE, LLC, a business                  DOCUMENTS, SET ONE
14   entity; BOEHRINGER-1NGELHEIM
     PHARMACEUTICAL, a business entity;
15   NATE STYLES, an individual; and DOES 1-
     50, inclusive,
16
                                    Defendants.
17

18

19   PROPOUNDING PARTY:             Defendant BOEHRINGER-INGELHEIM PHARMACEUTICAL
20   RESPONDING PARTY:              Plaintiff BRENDA PERRY
21   SET NUMBER:                    ONE
22          Plaintiff BRENDA PERRY ("PERRY") hereby responds to the Request for Production
23   of Documents of defendant BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.

24   ("BIP") as follows:

25                                      GENERAL OBJECTIONS
26           1. Plaintiff objects to the Document Requests and to each and every request contained

27   therein to the extent that they purport to impose burdens or duties on plaintiff that exceed the

28
                                                   -1-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
                                       DOCUMENTS
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 1   requirements and permissible scope of discovery under the California Code of Civil Procedure.

 2           2. Plaintiff objects to the Document Requests and to each and every request contained
 3   therein to the extent that they purport to request documents that are subject to any privilege or

 4   immunity from discovery, including, without limitation, the attorney-client privilege, the work-
 5   product privilege, the right to privacy guaranteed by the California Constitution, and any other
 6   privilege or restriction on discovery recognized by California law.
 7           3. Plaintiff objects to the Document Requests and to each and every request contained

 8   therein on the grounds that, to the extent that they seek documents that are already in

 9   respondent's custody, control or possession, they are unduly burdensome and duplicative.

10           4. Plaintiff objects to the Document Requests and to each and every request contained
11   therein to the extent that they purport to require plaintiff to produce documents from any source

12   other than the personal files and records of plaintiff
13           5. Plaintiff reserves the right to amend her responses to the extent that new or additional
14   relevant documents may come to his attention.

15          6. Plaintiff responds to the Document Requests without waiver and with preservation of:

16                  a) The right to object to the use of any responses or documents on any ground in

17                  any proceedings in this or any other action (including any trials);

18                  b) The right to object on any ground at any time to a demand or request for a

19                  further response to this discovery request or other discovery proceedings

20                  involving or relating to the subject matter of the discovery requests herein

21                  responded to; and,

22                  e) The right at any time to revise or supplement any of the responses to the

23                  specific requests.

24          7. Plaintiff has not yet completed his investigation of the facts pertaining to this action,

25   her discovery, or her preparation for trial. Plaintiff reserves the right to rely on documents or

26   other evidence which may develop or come to his attention at a later time.

27          8. The foregoing general objections and limitations (the "General Objections") are

28                                                  -2-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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incorporated by reference into each and every specific response as if fully stated therein.

                         RESPONSES TO DOCUMENT REQUESTS
       REQUEST NO. 1

       All DOCUMENTS that RELATE TO the First Cause of Action in YOUR COMPLAINT

for "Sexual Harassment" in violation of the Fair Employment and Housing Act ("FERA").

        RESPONSE TO REQUEST NO. 1.

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

        Subject to and without waiver of the foregoing objections, plaintiff will produce any

documents in her possession, custody or control that are responsive to this request.

       REQUEST NO. 2

       All DOCUMENTS that RELATE to the Second Cause of Action in YOUR

COMPLAINT for "Age Discrimination" in Violation of the FEHA.

       RESPONSE TO REQUEST NO. 2.

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

       Subject to and without waiving these objections, plaintiff will produce any documents in

her possession, custody or control that are responsive to this request.

       REQUEST NO. 3

       All DOCUMENTS that RELATE TO the Third Cause of Action in YOUR

COMPLAINT for "Retaliation."

       RESPONSE TO REQUEST NO. 3

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

                                              -3-

    PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1          Subject to and without waiving the foregoing objections, plaintiff will produce any
 2   documents in her possession, custody or control that are responsive to this request.
 3          REQUEST NO. 4

 4          All DOCUMENTS that RELATE TO the Fourth Cause of Action in YOUR
 5   COMPLAINT for "Wrongful Termination in Violation of Public Policy."

 6          RESPONSE TO REQUEST NO. 4.

 7          Plaintiff herein incorporates by reference each and every one of the General Objections

 8   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

 9   of, each of those General Objections.
10          Subject to and without waiver of the foregoing objections, plaintiff will produce any

11   documents within her possession, custody or control that are responsive to this request.

12          REQUEST NO. 5

13          All DOCUMENTS that RELATE TO the Fifth Cause of Action in YOUR COMPLAINT

14   for "Intentional Infliction of Emotional Distress."

15          RESPONSE TO REQUEST NO. 5.

16          Plaintiff herein incorporates by reference each and every one of the General Objections
17   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

18   of, each of those General Objections.

19          Subject to and without waiver of the foregoing objections, plaintiff will produce any

20   documents in her possession, custody or control that are responsive to this request.

21          REQUEST NO. 6

22          All DOCUMENTS which YOU obtained from the CORPORATE DEFENDANTS

23   during YOUR employment with the CORPORATE DEFENDANTS.

24          RESPONSE TO REQUEST NO. 6.

25          Plaintiff herein incorporates by reference each and every one of the General Objections

26   set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

27   of, each of those General Objections.

28                                                 -4-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1           Subject to and without waiver of the foregoing objections, plaintiff will produce any
 2   documents in her possession, custody or control that are responsive to this request.

 3           REQUEST NO. 7
 4           All DOCUMENTS that RELATE TO YOUR alleged employment with the
 5   CORPORATE DEFENDANTS, including but not limited to ALL offer letters, employment
 6   agreements, job descriptions, compensation, benefits, personnel policies or statements, employee
 7   handbooks, formal or informal evaluations or performance reviews, comment, criticism,

 8   discipline, reprimand, complaints, or praise.
 9           RESPONSE TO REQUEST NO. 7
10           Plaintiff incorporates by reference each and every one of the General Objections set forth
11   above, and plaintiff's response to this request is expressly subject to, and without waiver of, each
12   of those General Objections.

13              Subject to and without waiver of the foregoing objections, plaintiff will produce any

14   documents in her custody, possession or control that are responsive to this request.

15           REQUEST NO. 8
16           All DOCUMENTS, regardless of source, that RELATE TO the CORPORATE
17   DEFENDANTS' employees, job descriptions, policies, procedures, practices, and employee
18   handbooks, with the exception of any privileged communications between YOU and YOUR

19   counsel.

20          RESPONSE TO REQUEST NO. 8

21          Plaintiff incorporates by reference each and every one of the General Objections set forth

22   above, and plaintiff's response to this request is expressly subject to, and without waiver of, each

23   of those General Objections.

24          Claimant farther objects that this request is overbroad and unduly burdensome. Subject to

25   and without waiver of the foregoing objections, plaintiff will produce any documents in her

26   possession, custody or control that are responsive to this request.

27

28
                                                     -5-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1           REQUEST NO. 9
 2           All DOCUMENTS that RELATE TO YOUR qualifications for any position with the

 3   CORPORATE DEFENDANT, including your position as field sales representative assigned to
 4   the Diabetes Overlay team as alleged in Paragraph 8 of YOUR COMPLAINT.

 5           RESPONSE TO REQUEST NO. 9
 6           Plaintiff herein incorporates by reference each and every one of the General Objections
 7   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

 8   of, each of those General Objections.
 9           Plaintiff further objects that this request is overbroad, unduly burdensome, and
10   oppressive. Subject to and without waiving the foregoing objections, plaintiff will produce any
11   documents in her custody, possession or control that are responsive to this request.

12           REQUEST NO. 10
13           All DOCUMENTS that YOU received from the CORPORATE DEFENDANTS during
14   YOUR employment with the CORPORATE DEFENDANTS.
15           RESPONSE TO REQUEST NO. 10

16           Plaintiff herein incorporates by reference each and every one of the General Objections
17   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
18   of, each of those General Objections.

19           Subject to and without waiving the foregoing objections, plaintiff will produce any

20   documents in her possession, custody or control that are responsive to this request.

21          REQUEST NO. 11

22          All DOCUMENTS that RELATE TO YOUR scheduled work hours during YOUR

23   employment with the CORPORATE DEFENDANTS.

24          RESPONSE TO REQUEST NO. 11

25          Plaintiff herein incorporates by reference each and everyone of the General Objections set

26   forth above, and plaintiff's response to this request is expressly subject to, and without waiver of,

27   each of those General Objections.

28                                                 -6-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1          Plaintiff further objects that this request is unduly vague and ambiguous. Subject to and
 2   without waiving the foregoing objections, plaintiff will produce any documents in her
 3   possession, custody or control that are responsive to her understanding of this request.
 4           REQUEST NO. 12
 5          All DOCUMENTS that RELATE TO YOUR absence from work for any reason during

 6   YOUR employment with the CORPORATE DEFENDANTS.
 7          RESPONSE TO REQUEST NO. 12

 8          Plaintiff herein incorporates by reference each and every one of the General Objections

 9   set forth above, and plaintifft's response to this request is expressly subject to, and without

10   waiver of, each of those General Objections.

11          Plaintiff further objects that this request is overbroad and unduly vague, and that it

12   violates plaintiffs rights of privacy and confidentiality. Subject to and without waiver of these

13   objections, plaintiff has made a reasonable inquiry and conducted a diligent search, and she has
14   no documents in her possession, custody or control that are responsive to this request. Plaintiff

15   does not recall or know if such documents existed, but if they did, plaintiff believes they would

16   be in the possession of defendant BIP.

17          REQUEST NO. 13

18          Ali DOCUMENTS that RELATE TO YOUR applications for positions with the

19   CORPORATE DEFENDANTS, including but not limited to resumes, cover letters, methods of

20   application, responses, rules, guidelines, or procedures.

21          RESPONSE TO REQUEST NO. 13

22          Plaintiff herein incorporates by reference each and every one of the General Objections

23   set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

24   of, each of those General Objections.

25          Subject to and without waiving these objections, plaintiff will produce any documents in

26   her possession, custody or control that are responsive to this request.

27

28                                                  -7-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1          REQUEST NO. 14
 2          All DOCUMENTS that RELATE TO the COMPENSATION that YOU received from
 3   the CORPORATE DEFENDANTS, including but not limited to, pay statements, time sheets,

 4   COMPENSATION policies, W-2 forms, income tax returns and other records, whether filed
 5   individually or jointly with any other PERSON during YOUR alleged employment with the

 6   CORPORATE DEFENDANTS.

 7          RESPONSE TO REQUEST NO. 14

 8          Plaintiff herein incorporates by reference each and every one of the General Objections
 9   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

10   of, each of those General Objections.

11          Plaintiff further objects that this request violates plaintiff's rights of privacy and

12   confidentiality, and the taxpayer privilege. Subject to and without waiving these objections,
13   plaintiff will produce any documents (other than privileged income tax returns and schedules) in

14   her possession, custody or control that are responsive to this request.

15          REQUEST NO. 15

16          All DOCUMENTS that RELATE TO any feedback YOU received about YOUR work

17   performance during YOUR alleged employment with the CORPORATE DEFENDANTS,

18   whether verbal or written, and whether positive, negative, or otherwise.

19          RESPONSE TO REQUEST NO. 15

20          Plaintiff herein incorporates by reference each and every one of the General Objections

21   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

22   of, each of those General Objections.

23          Subject to and without waiver of these objections, plaintiff will produce any documents

24   in her possession, custody or control that are responsive to this request.

25          REQUEST NO. 16

26          All DOCUMENTS that RELATE TO any written warnings, counselings, or other

27   disciplinary action that YOU received from the CORPORATE DEFENDANTS during YOUR

28                                                  -8-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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alleged employment with the CORPORATE DEFENDANTS.

        RESPONSE TO REQUEST NO. 16

        Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
of, each of those General Objections.

        Subject to and without waiver of these objections, plaintiff has no documents in her

possession, custody or control that are' responsive to this request. To the best of plaintiff's
knowledge, no such documents exist.

       REQUEST NO. 17

        All internet pages or postings (including Facebook, Twitter, or other social media sites)

that YOU have created or published RELATED TO this lawsuit, YOUR employment with the

CORPORATE DEFENDANTS, or the claims set forth in YOUR COMPLAINT.

        RESPONSE TO REQUEST NO. 17

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

        Subject to and without waiver of these objections, plaintiff has no documents in her

possession, custody or control that are responsive to this request. No such documents exist.

        REQUEST NO. 18

       All journals, diaries, or other DOCUMENTS that RELATE TO this lawsuit, YOUR

alleged employment with the CORPORATE DEFENDANTS, or any of the claims set forth in

YOUR COMPLAINT.

        RESPONSE TO REQUEST NO. 18

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

       Plaintiff further objects that this request is overbroad, unduly burdensome, and



    PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1   oppressive. Subject to and without waiver of these objections, plaintiff will produce any non-
 2   privileged documents in her possession, custody or control, that are responsive to this request.

 3           REQUEST NO. 19
 4           All DOCUMENTS that RELATE TO any oral or written complaint YOU made to

 5   anyone regarding YOUR alleged employment with CORPORATE DEFENDANTS.
 6           RESPONSE TO REQUEST NO. 19
 7           Plaintiff herein incorporates by reference each and every one of the General Objections
 8   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
 9   of, each of those General Objections.
10           Subject to and without waiver of these objections, plaintiff will produce any documents

11   in her possession, custody or control that are responsive to this request.

12           REQUEST NO. 20

13          All COMMUNICATIONS that RELATE TO any oral or written complaints YOU made
14   regarding YOUR alleged employment with the CORPORATE DEFENDANTS.

15          RESPONSE TO REQUEST NO. 20
16          Plaintifft herein incorporates by reference each and every one of the General Objections

17   set forth above, and plaintiff s response to this request is expressly subject to, and without

18   waiver of, each of those General Objections.

19          Subject to and without waiver of these objections, plaintiff will produce any documents

20   in her possession, custody or control that are responsive to this request.

21          REQUEST NO. 21

22          All DOCUMENTS that RELATE TO any oral or written complaint YOU made regarding

23   Nate Styles.

24          RESPONSE TO REQUEST NO. 21

25          Plaintiff herein incorporates by reference each and every on of the General Objections set

26   forth above, and plaintiff's response to this request is expressly subject to, and without waiver of,

27   each of those General Objections.

28
                                                    -10-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
                                       DOCUMENTS
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 1           Subject to and without waiver of the foregoing objections, plaintiff will produce any
 2   documents in her possession, custody or control that are responsive to this request.
 3          REQUEST NO. 22
 4          All COMMUNICATIONS that RELATE TO any oral or written complaints YOU made
 5   regarding Nate Stiles.

 6          RESPONSE TO REQUEST NO. 22

 7          Plaintiff herein incorporates by reference each and every one of the General Objections
 8   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
 9   of, each of those General Objections.
10          Subject to and without waiver of the foregoing objections, plaintiff will produce any
11   documents in her possession, custody or control that are responsive to this request.
12          REQUEST NO. 23
13          All DOCUMENTS that RELATE to any oral or written complaint YOU made regarding
14   alleged "off label marketing."

15          RESPONSE TO REQUEST NO. 23

16          Plaintiff herein incorporates by reference each and every one of the General Objections
17   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

18   of, each of those General Objections.

19          Subject to and without waiver of the foregoing objections, plaintiff will produce any

20   documents in her possession, custody or control that are responsive to this request.

21          REQUEST NO. 24

22          All COMMUNICATIONS that RELATE TO any oral or written complaints YOU made

23   regarding alleged "off label marketing."

24          RESPONSE TO REQUEST NO. 24

25          Plaintiff herein incorporates by reference each and every one of the General Objections

26   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

27   of, each of those General Objections.

28                                                 -11-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
                                       DOCUMENTS
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 1           Subject to and without waiver of the foregoing objections, plaintiff will produce any
 2   documents in her possession, custody or control that are responsive to this request.
 3           REQUEST NO. 25
 4           All DOCUMENTS that constitute, evidence, or reference correspondence or other
 5   COMMUNICATIONS with any individual from whom YOU or any PERSON acting on YOUR
 6   behalf has obtained or has sought to obtain a written or oral statement concering the relevant
 7   facts and circumstance, or the allegations and claims involved in the litigation initiated by the
 8   COMPLAINT, including a copy of any statement(s) received.

 9           RESPONSE TO REQUEST NO. 25

10          Plaintiff herein incorporates by reference each and every one of the General Objections
11   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

12   of, each of those General Objections.

13           Subject to and without waiver of the foregoing objections, plaintiff has no documents in

14   her custody, possession or control that are responsive to this request. No such documents exist.

15          REQUEST NO. 26

16          All DOCUMENTS that constitute, evidence, or reference any meeting, conversations, or
17   other COMMUNICATIONS YOU had at any time with any PERSON (other than YOUR

18   attorneys) concerning any of the facts, events, or allegations involved in this lawsuit, including

19   but not limited to correspondence (including any electronic form of communications such as e-

20   mail or text messaging), memoranda, notes, any writing reflecting telephone communications, or

21   any writing reflecting other COMMUNICATIONS, such as entries in any calendar, date book,

22   journal, appointment book, or log.

23          RESPONSE TO REQUEST NO. 26

24          Plaintiff herein incorporates by reference each and every one of the General Objections

25   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

26   of, each of those General Objections.

27          Plaintiff further objects that this request is overbroad, unduly burdensome and

28                                                 -12-

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oppressive. Subject to and without waiver of these objections, plaintiff will produce any

documents in her possession, custody or control that are responsive to this request.

        REQUEST NO. 27

        All DOCUMENTS created by YOU or any other person (other than YOUR counsel in

this case) RELATED TO any of the allegations in YOUR COMPLAINT.

        RESPONSE TO REQUEST NO. 27

        Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

        Plaintiff further objects that this request is overbroad, unduly burdensome, and

oppressive, and calls for documents that are confidential. Subject to and without waiver of the

foregoing objections, plaintiff will produce any documents in her possession, custody or control
that are responsive to this request.

        REQUEST NO. 28

        All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 of YOUR

COJMPLAINT that "defendant BIP exercised control over the means and manner of [YOUR]

performance as a sales representative."

        RESPONSE TO REQUEST NO. 28

        Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

of, each of those General Objections.

        Subject to and without waiver of the foregoing objections, plaintiff will produce any

documents in her possession, custody or control that are responsive to this request.

        REQUEST NO. 29

        All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 of YOUR

COMPLAINT that "BIP controlled the location and assignment of [YOUR] territory as a

pharmaceutical representative; BIP had the power to manage and control [YOUR] job

                                              -13-

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 1   performance, (including through defendant Stiles, a manager of BIP); BIP instructed [YOU] as to

 2   how to perform [YOUR] job duties and make sales calls; and BIP had the power to terminate
 3   [YOUR] performance, and did so, as alleged further below."

 4          RESPONSE TO REQUEST NO. 29

 5          Plaintiff herein incorporates by reference each and every one of the General Objections

 6   set forth above, and plaintiff s response to this request is expressly subject to, and without

 7   waiver of, each of those General Objections.

 8          Subject to and without waiver of the foregoing objections, plaintiff will produce any

 9   documents in her possession, custody or control that are responsive to this request.

10          REQUEST NO. 30

11          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 10 of YOUR
12   COMPLAINT that "defendants interfered with [YOUR] job performance and engaged in
13   unlawful conduct at several levels during the summer of 2017, in which plaintiff was

14   accompanied in her physician sales calls by her direct manager, defendant Styles [sic]."

15          RESPONSE TO REQUEST NO. 30

16          Plaintiff herein incorporates by reference each and every one of the General Objections,

17   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
18   of, each of those General Objections.

19          Subject to and without waiving this objection, plaintiff will produce any documents in

20   her possession, custody or control that are responsive to this request.

21          REQUEST NO. 31

22          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 11 of YOUR

23   COMPLAINT that "Mr. Styles confronted [YOU] with lewd and harassing sexual behavior

24   while [YOU were] attempting to do a routine inventory of [YOUR] pharmaceutical sample

25   storage locker in Mr. Style's presence, while bent down in a confined space..."

26          RESPONSE TO REQUEST NO. 31

27          Plaintiff herein incorporates by reference each and every one of the General Objections

28                                                  -14-

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set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

       Plaintiff further objects that this request is overbroad, unduly burdensome, and

oppressive. Subject to and without waiver of the foregoing objections, plaintiff will produce any

documents in her possession, custody or control that are responsive to this request.
       REQUEST NO. 32

       All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 12 of YOUR
COMPLAINT that "Mr. Styles also engaged in illegal business practices, and instructed [YOU]

to do so also, on behalf of defendants in their efforts to increase sales of BIP products to

physicians."

       RESPONSE TO REQUEST NO. 32

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

of, each of those General Objections.

       Subject to and without waiver of the foregoing objections, plaintiff will produce any

documents in her possession, custody or control that are responsive to this request.

       REQUEST NO. 33

       All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 12 of YOUR

COMPLAINT that "Mr. Styles engaged in direct and explicit statements, actions and efforts to

market and sell the BI Jardiance Combination products to medical providers for 'off label' uses

and purposes - in other words, for uses and purposes not indicated or approved by United States

regulatory authorities, and in violation of the laws and regulatory authorities, and in violation of

the laws and regulations promulgated to prohibit the marketing and sales of drugs for non-

approved and non-indicated uses and purposes."

       RESPONSE TO REQUEST NO. 33

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

                                               -15-

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 1   of, each of those General Objections.
 2          Subject to and without waiver of the foregoing objections, plaintiff will produce any
 3   documents in her possession, custody or control that are responsive to this request.

 4          REQUEST NO. 34

 5          All DOCUMENTS that RELATE TO YOUR allegations in Paragraph 13 of YOUR
 6   COMPLAINT that "Mr. Styles also ordered [YOU] to adopt and use the same unlawful 'off

 7   label' sales actions and practices that he had engaged in with physician accounts assigned to her,

 8   to increase sales of the BI Jardiance Combination products."
 9          RESPONSE TO REQUEST NO. 34

10          Plaintiff herein incorporates by reference each and every one of the General Objections

11   set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

12   of, each of those General Objections.

13          Subject to and without waiver of the foregoing objections, plaintiff will produce any

14   documents within her possession, custody or control that are responsive to this request.

15          REQUEST NO. 35

16          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 14 of YOUR

17   COMPLAINT that "BIP was already facing severe government scrutiny and claims for engaging

18   in widespread, illegal, 'off label' marketing practices with respect to several BIP pharmaceutical

19   products."

20          RESPONSE TO REQUEST NO. 35

21          Plaintiff herein incorporates by reference each and every one of the General Objections

22   set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

23   of, each of those General Objections.

24          Subject to and without waiver of the foregoing objections, plaintiff has conducted a

25   diligent search, and she has no documents in her possession, custody or control that are

26   responsive to this request. Such documents are in the possession of defendant BIP, and plaintiff

27   is informed and believes are in the possession of the U.S. FDA, and the U.S. Department of

28                                                 -16-

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 1   Justice. (Plaintiff does not know their addresses).
 2              REQUEST NO. 36

 3              All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 14 of YOUR
 4   COMPLAINT that "as a result of having been 'busted' already for its unlawful 'off label'
 5   marketing practices caused by a sales employee's report of those unlawful practices to

 6   government agencies, and with specific knowledge from plaintiffs own personnel records and

 7   statements that she has prior experience with pharmaceutical firms, and prior knowledge of the
 8   illegality of 'off label' practices, after plaintiff called out defendant Styles for instructing her to

 9   engage in those practices, defendant BIP was acutely fearful that plaintiff would also report those
10   'off label' practices to the DOJ or other government agencies."

11           RESPONSE TO REQUEST NO. 36
12           Plaintiff herein incorporates by reference each and every one of the General Objections

13   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

14   of, each of those General Objections.
15              Subject to and without waiving these objections, plaintiff will produce non-privileged
16   and non-confidential documents in her custody, possession or control that are responsive to this

17   request.

18           REQUEST NO. 37

19          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 15 of YOUR

20   COMPLAINT that "BIP and its manager, defendant Styles, had the power to terminate [YOUR]

21   employment, and use that power to cause the termination of [YOUR] employment as a BIP sales
22   representative."

23          RESPONSE TO REQUEST NO. 37

24          Plaintiff herein incorporates by reference each and every one of the General Objections

25   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

26   of, each of those General Objections.

27           Subject to and without waiver of the foregoing objections, plaintiff will produce any

28                                                   -17-

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 1   documents in her possession, custody or control that are responsive to this request.
 2          REQUEST NO. 38
 3          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 15 of YOUR
 4   COMPLAINT that the CORPORATE DEFENDANTS' "stated reason for [the] termination of

 5   [YOUR] employment was false and contrived..."

 6          RESPONSE TO REQUEST NO. 38

 7          Plaintiff herein incorporates by reference each and every one of the General Objections

 8   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver
 9   of, each of those General Objections.

10          Subject to and without waiver of the foregoing objections, plaintiff will produce any
11   documents in her possession, custody or control that are responsive to this request.

12          REQUEST NO. 39

13          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 17 of YOUR

14   COMPLAINT that "[YOU] were subjected to unwelcome sexually motivated physical actions

15   and advances, including impeding and blocking movement and physical interference with her

16   work and movement based on [YOUR] sex, by managers of defendants."

17          RESPONSE TO REQUEST NO. 39

18          Plaintiff herein incorporates by reference each and every one of the General Objections

19   set forth above, and plaintiff s response to this request is expressly subject to, and without waiver

20   of, each of those General Objections.

21          Subject to and without waiving the foregoing objections, plaintiff will produce any
22   documents in her possession, custody or control that are responsive to this request.

23          REQUEST NO. 40

24          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 25 of YOUR

25   COMPLAINT that "[YOUR] age was a substantial motivating factor in such discriminatory

26   treatment and adverse employment actions taken against [YOU], including termination of

27   [YOUR] employment."

28                                                 -18-

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 1          RESPONSE TO REQUEST NO. 40
 2           Plaintiff herein incorporates by reference each and every one of the General Objections
 3   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

 4   of, each of those General Objections.

 5           Subject to and without waiver of the foregoing objections, plaintiff will produce any
 6   documents in her possession, custody or control that are responsive to this request.

 7          REQUEST NO. 41
 8          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 30 of YOUR

 9   COMPLAINT that "[YOU] engaged in one or more protected activities by, among other things,

10   complaining of and objecting to defendants' sexually harassing and discriminatory statements

11   toward her by managers, employees, and/or agents of defendants."

12          RESPONSE TO REQUEST NO. 41
13          Plaintiff herein incorporates by reference each and every one of the General Objections

14   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

15   of, each of those General Objections.

16          Subject to and without waiver of the foregoing objections, plaintiff will produce any

17   documents in her possession, custody or control that are responsive to this request.

18          REQUEST NO. 42

19          All DOCUMENTS that RELATE TO YOUR allegation in Paragraphs 22, 28, 33 and 38

20   of YOUR comPLAJNT that "The foregoing acts of defendants were fraudulent, malicious,

21   intentional, oppressive, and plaintiff is therefore entitled to an award of punitive damages agaisnt

22   defendants."

23          RESPONSE TO REQUEST NO. 42

24          Plaintiff herein incorporates by reference each and every one of the General Objections

25   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

26   of, each of those General Objections.

27          Subject to and without waiver of the foregoing objections, plaintiff will produce any

28                                                  -19-

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 1   documents in her possession, custody or control that are responsive to this request.
 2           REQUEST NO. 43
 3           All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 40 of YOUR
 4   COMPLAINT that "defendant Styles had actual or apparent authority over plaintiff, as plaintiff's
 5   direct supervisor, including the power to discipline plaintiff, the power to limit or diminish her
 6   earnings, and the power to terminate her employment and threaten or take away her livelihood."
 7          RESPONSE TO REQUEST NO. 43
 8          Plaintiff herein incorporates by reference each and every one of the General Objections
 9   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
10   of, each of those General Objections.
11           Subject to and without waiver of the foregoing objections, plaintiff will produce any
12   documents in her possession, custody or control that are responsive to this request.
13          REQUEST NO. 44
14          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 41 of YOUR

15   COMPLAINT that "Defendant Styles engaged in the outrageous acts described in paragraph 11

16   of the First Amended Complaint, and did so with the intention to cause severe emotional distress
17   to [YOU] or with reckless disregard that he would cause such severe emotional distress to

18   [YOU]."

19          RESPONSE TO REQUEST NO. 44
20          Plaintiff herein incorporates by reference each and every one of the General Objections
21   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

22   of, each of those General Objections.

23          Subject to and without waiver of the foregoing objections, plaintiff will produce any

24   documents in her possession, custody or control that are responsive to this request.

25          REQUEST NO. 45

26          All DOCUMENTS that RELATE TO YOUR allegation in Paragraph 42 of YOUR

27   COMPLAINT that "the foregoing wrongful acts did in fact cause severe emotional distress to

28                                                 -20-

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 1   [YOU] and [YOU] have suffered damages from such distress, in an amount to be proven at

 2   trial."

 3             RESPONSE TO REQUEST NO. 45
 4             Plaintiff herein incorporates by reference each and every one of the General Objections
 5   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

 6   of, each of those General Objections.
 7             Subject to and without waiver of the foregoing objections, plaintiff will produce any
 8   documents in her possession, custody or control that are responsive to this request.
 9             REQUEST NO. 46
10             All DOCUMENTS that constitute, evidence, or reference any COMMUNICATIONS

11   between YOU and any PERSON acting on YOUR BEHALF) and any government agency

12   including, but not limited to, the California Department of Fair Employment and Housing, the

13   United States Equal Employment Opportunity Commission, or the California Labor

14   Commissioner concerning the subject matter of this lawsuit or any claims concerning YOUR

15   alleged employment with DEFENDANT, including but not limited to complaints, charges,

16   questionnaires, worksheets, completed forms, correspondence, memoranda, or notes.

17             RESPONSE TO REQUEST NO. 46
18             Plaintiff herein incorporates by reference each and every one of the General Objections
19   set forth above, and plaintiffs response to this request is expressly subject to, and without waiver

20   of, the foregoing objections.

21             Subject to and without waiver of the foregoing objections, plaintiff will produce any

22   documents in her possession, custody or control that are responsive to this requet.

23             REQUEST NO. 47

24             All DOCUMENTS RELATED TO any type or amount of damages YOU allegedly

25   sustained as a result of any conduct attributed to DEFENDANTS, including all DOCUMENTS

26   stating, referencing, evidencing, or concerning any calculations of said damages.

27             RESPONSE TO REQUEST NO. 47

28                                                  -21-

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 1           Plaintiff herein incorporates by reference each and every one of the General Objections
 2   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

 3   of, the foregoing objections.

 4           Subject to and without waiver of the foregoing objections, plaintiff will produce any
 5   documents in her possession, custody or control that are responsive to this request.
 6          REQUEST NO. 48
 7          All DOCUMENTS that RELATE TO any treatment YOU received from any
 8   HEALTHCARE PROVIDER for any physical or emotional injury that YOU attribute to the

 9   conduct of DEFENDANTS.

10          RESPONSE TO REQUEST NO. 48
11          Plaintiff herein incorporates by reference each and every one of the General Objections

12   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver
13   of, the foregoing objections.

14          Plaintiff further objects that this request seeks documents that are protected by plaintiff's

15   rights of privacy and confidentiality. Subject to and without waiver of the foregoing objections,

16   plaintiff has made a reasonable inquiry, and has no documents in her possession, custody or

17   control that are responsive to this request. (Plaintiff did not receive such treatment, so no

18   responsive documents ever existed).

19          REQUEST NO. 49

20          All COMMUNICATIONS with any HEALTHCARE PROVIDER from whom YOU

21   sought treatment for any physical or emotional injury that YOU attribute to the conduct of

22   DEFENDANTS.

23          RESPONSE TO REQUEST NO. 49

24          Plaintiff herein incorporates by reference each and every one of the General Objections

25   set forth above, and plaintiff's response to this request is expressly subject to, and without waiver

     of, the foregoing objections.

27          Subject to and without waiver of the foregoing objections, plaintiff has made a reasonable

28                                                  -22-

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 I   inquiry, and has no documents that are responsive to this request. Such documents never
 2   existed.

 3          REQUEST NO. 50
 4          All DOCUMENTS that RELATE TO any treatment YOU received from any

 5   HEALTHCARE PROVIDER for any emotional injury from January 1, 2016 to the present date.
 6          RESPONSE TO REQUEST NO. 50

 7          Plaintiff herein incorporates by reference each and every one of the General Objections

 8   set forth above, and plaintiffs response is expressly subject to, and without waiver of, the

 9   foregoing objections.
10          Plaintiff further objects that this request seeks documents that are protected by plaintiff s

11   rights of privacy and confidentiality. Subject to and without waiver of the foregoing objections,
12   plaintiff has made a reasonable inquiry, and has no documents in her possession, custody or
13   control that are responsive to this request. Such documents never existed.
14          REQUEST NO. 51

15          All COMMUNICATIONS with any HEALTHCARE PROVIDER from whom YOU

16   sought treatment for any emotional injury from January 1, 2016 to the present.

17          RESPONSE TO REQUEST NO. 51

18          Plaintiff herein incorporates by reference each and every one of the General Objections

19   set forth above, and plaintiffs response is expressly subject to, and without waiver of, the

20   foregoing objections.

21          Plaintiff further objects that this request seeks documents that are protected by plaintiff's

22   rights of privacy and confidentiality. Subject to and without waiver of the foregoing objections,

23   plaintiff has no documents in her possession, custody or control that are responsive to this
24   request. Such documents never existed.

25          REQUEST NO. 52

26          All DOCUMENTS that RELATE TO YOUR efforts to mitigate YOUR damages from

27   September 2017 to the present, including, but not limited to any job application, resume,

28
                                                   -23-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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 1   curriculum vitae, or cover letter YOU submitted to any potential employer.
 2          RESPONSE TO REQUEST NO. 52

 3          Plaintiff herein incorporates by reference each and every one of the General Objections
 4   set forth above, and plaintiff's response is expressly subject to, and without waiver of, the
 5   foregoing objections.

 6          Subject to and without waiver of the foregoing objections, plaintiff will produce any

 7   documents in her possession, custody or control that are responsive to this request.

 8          REQUEST NO. 53

 9          All COMMUNICATIONS with any potential employer, recruiter, or placement agency
10   that RELATE TO YOUR efforts to find employment from September 2017 to the present.

11          RESPONSE TO REQUEST NO. 53

12          Plaintiff herein incorporates by reference each and every one of the General Objections

13   set forth above, and plaintiff's response is expressly subject to, and without waiver of the

14   foregoing objections.

15          Subject to and without waiver of the foregoing objections, plaintiff will produce any

16   documents in her possession, custody or control that are responsive to this request.

17          REQUEST NO. 54

18          All DOCUMENTS that RELATE TO any employment YOU obtained from September

19   2017 to the present including, but not limited to, any offer letters, and DOCUMENTS evidencing

20   the COMPENSATION and benefits YOU received from any employer.

21          RESPONSE TO REQUEST NO. 54

22          Plaintiff herein incorporates by reference each and every one of the General Objections

23   set forth above, and plaintiff's response is expressly subject to, and without waiver of, the

24   foregoing objections.

25          Plaintiff further objects that this request seeks documents that are protected by plaintiff's

26   rights of privacy and confidentiality. Subject to and without waiver of the foregoing objections,

27   plaintiff will produce any documents in her possession, custody or control that are responsive to

28                                                 -24-

         PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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this request.

        REQUEST NO. 55

        All DOCUMENTS that RELATE TO any lawsuits, complaints, charges, grievances, or

other legal or equitable claims made by YOU, or made by others on YOUR behalf, against any

employer, other than this ACTION.

        RESPONSE TO REQUEST NO. 55

        Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response is expressly subject to, and without waiver of, the

foregoing objections.

        Plaintiff further objects that this request is overbroad, undurly burdensome, and

oppressive, and seeks documents that are protected by attorney-client privilege, and/or not

reasonably calculated to lead to the discovery of admissible evidence, and which are protected by

plaintiff's rights of privacy and confidentiality.



                                                LAW OFFICES OF MICHAEL T. WELCH



DATED: June 28, 2019                            By:      /
                                                   Michael T. Welch
                                                   Attorney for Plaintiff
                                                   BRENDA PERRY




                                                -25-

    PLAINTIFF'S AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF
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       I, Brenda Perry, have read the foregoing Pk intifrs Amended Responses to Defendant

Boehringer-Ingelheim Pharm.aceuticar s Request for Production of Documents, Set One, and

know the contents thereof, and. certifv •underpenalty of perjury that the same are true of my

knowledge, except as to those matters which. are stated on. information and belief', and as to those

matters I believe them to be true.



Dated: June 27. 20i9
                                                              Brenda Perry
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PROOF OF SERVECE

STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

Case Name:                            Brenda Perry v. Ashﬁeld Healthcare, LLC, et al.
Court No.1                            San Mateo County Superior Court Case No. 18CIV05717

              am employed            in   the City          & County        of   San    Francisco, State of California. am over the age of 18 and not
                                                                                                                        I




                                                                                         Four Embarcadero Center, 14‘“ Floor, San Francisco, CA
         I




a partyto the within action.                IViy   business address                is

941 1 1.

                                                                                                                               as indicated
         On      July 2,       2019   l   caused        to       be served the following document(s) on the interested parties
below:


DOCUMENTS) SERVED:
                                                                            Form   Interrogatories     -   Employment Law   (with Verification); Plaintiff’s
             Plaintiff’s       Amended Responses                       to

Amended Responses    to Special                         Interrogatories (with Verification); Plaintiff’s            Amended Responses to Defendant
Boehringer~|ngelheim Pharmaceutical’s Request for Production of                                             Documents, Set One (with Verification)


PARTYHESQ SERVED:

             Ashley Baltazar, Esq.
             Morgan, Lewis & Bockius LLP
             One Market
             Spear Street Tower
             San Francisco,           CA 94105
                                                            firm’s practice for collection and process of
             (By Regular Mail) am readily familiar with the
                                            l




                                         Under  that practice it would be deposited with
                                                                                           the United States Postal
             correspondence for mailing.
                                                                             the ordinary course of business.
             Service on that same day with postage thereon fully prepaid, in

                                                                                     to the Federal Express Station                                       to   be
_’:”/(By         Federal Express) personally delivered the above document(s)
                                                    I




                                                  next business day to the law offices listed above.
             delivered on a priority basis on the

                                                                                                       be delivered by hand   to the office(s) of the
             (By Personal Service)                      l       caused such document(s)           to

             addressee(s).

                                                              of such document(s) via telephone facsimile
             (By Facsimile and U.S. Mail) sent a true copy             l




                                                                               as noted above.
             transmission to the fax numbers listed above, and By Regular Mail

                                                                                               California that the foregoing                              is
_;           (State)       l   deciare under penalty of perjury under the laws of the State of
             true   and        correct.

                                                                                                           member ofthe Bar   0f this Court, at   whose
             (Federal)    declare that am employed
                                 l
                                                            l                      in   the office of a
             direction the service was made.


              Executed on July             2,   2019            at   Monterey, California.




                                                                                                Michael Welsh
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                     Exhibit 9
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 Morgan Lewis

 Ashley Baltazar



 July 15,        2019


 VIA E-MAIL PDF AND US MAIL

 Michael T. Welch
 Law Ofﬁces            of Michael T. Welch
 Four Embarcadero Center, 14th Floor
 San Francisco, CA 94111
 mwelchlaw@gmail.com

 Re:             Perrv   v.   Boehrinqer Inqelheim Pharmaceuticals, Inc.


 Dear Mr. Welch:

 I   am     writing to        meet and confer    further regarding Plaintiff’s responses to Defendant Boehringer
 Ingelheim            Pharmaceuticals, Inc.’s (“BIPI" or
                                            “DefendantU Requests for Production of Documents,
 Special Interrogatories, and Form Interrogatories—Employment, which were served on your office,
 via overnight mail, on March 13, 2019.


      I.         Plaintiff’s     Discoverv Responses             Were Served Without a          Verification.


                          in with you in my April 30, 2019 and June 17, 2019 meet and confer
 Despite raising this issue
                has yet to provide appropriate verifications to her responses to Defendant’s
 letters, Plaintiff
 Requests for Production of Documents. Similarly, Plaintiff’s recently served amended responses to
 Defendant’s Form Interrogatories—Employment and Special Interrogatories that did not include
 appropriate verifications. The verifications provided by Plaintiff indicated that they were for
 responses to Defendant’s Form Interrogatories—Employment and Special Interrogatories (as
 opposed to            Plaintiff’s verifications   to the Requests for Production of         Documents, which indicated
 that      it   was   for Plaintiff’s   Amended responses         to Defendant’s Requests for Production of
 Documents.              Accordingly,     Plaintiff’s initial   responses to Defendant’s Requests for Production of
 Documents and her amended responses to Defendant’s Form Interrogatories—Employment and
 Special Interrogatories were not verified as required by the Code of Civil Procedure. As you are
 aware, serving an unverified response is akin to serving no response at all. See Appleton v. Sup.
 Ct. (Cook), 206 Cal.App.3d 632, 636 (1988). Accordingly, please provide a signed veriﬁcation

 under penalty of perjury by               Plaintiff for   each of these sets of discovery responses no          later   than
 Monday, July 22, 2019.

     II.         Plaintiff’s     Responses to Defendant’s Requests for Production of Documents.

 On           2019, Defendant sent Plaintiff a lengthy meet and confer letter raising various issues
       April 30,
 with            responses (or lack thereof) to Defendant’s Requests for Production of Documents.
           Plaintiff’s

 To date, Plaintiff has failed to substantively respond to Defendant’s meet and confer efforts and




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                                                                       United States                          0 +1.415.442.1oo1
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 has   failed to provide compliant,            amended responses        to these requests. As a result, Defendant
 again raises these issues and requests               Plaintiff’s   immediate attention and response.

                a.        Plaintiff’s   Responses to Request        for Production Nos. 7, 26,             and 29-30.

 In response to       Request for Production Nos.            7, 26,   and 29-30,           Plaintiff initially   stated that she “has
 no documents within her possession, custody, or control that are responsive to this request."
 Plaintiff’s amended responses, however, now state that Plaintiff will produce “any documents in

 her custody, possession, or control that are responsive to this request." To date, however, Plaintiff
 has not produced any documents responsive to these requests. Accordingly, Plaintiff must produce
 all documents in her possession, custody, or control, that are responsive to these requests or must

 amend her response to state that she has conducted a diligent search and reasonable inquiry and
 is unable to locate any documents in her possession, custody, or control.



                b.        Plaintiff’s   Responses to Request        for Production Nos. 16-17, 25, 49-51.


 In response to       Request for Production Nos. 16-17, 25, 49-51                        Plaintiff states that        she “has no
 documents     in    her possession, custody or control that are responsive to this request." Such
 responses    fail   to   comply with the       California   Code of      Civil   Procedure. Specifically, where a response
 includes a representation of an inability to comply, the response also                             must state that a        diligent
 search and reasonable inquiry has been made in an effort to locate the item demanded. Cal. Code.
 Civ. Proc. § 2031.230. Because Plaintiff’s responses do not include this information they are non-
 compliant, and Plaintiff must amend her responses to the aforementioned requests to indicate that
 she has conducted a diligent search and reasonable inquiry.

                c.        Plaintiff’s   Responses to Request        for Production No. 36.


 In response to  Request for Production No. 36, Plaintiff limits the documents that she is agreeing to
                                                                                  ”
 produce to only those document that are “non-privileged and non-confidential. First, to the
 extent that Plaintiff is withholding any documents on the basis of privilege, such documents must
 be identified on a privilege log. Hernandez v. Sup. Ct. (Acheson Indus, Inc), 112 Cal.App.4th
 285, 291-292 (2003). Defendant hereby requests that you provide a privilege log as soon as
 possible.    Second,        Plaintiff   may   not unilaterally   limit   the production to documents that                  Plaintiff

 believes are “non-confidential."              As a preliminary matter,           it is   unclear what Plaintiff        means by the
 term “non-conﬁdential," as it appears to be used somewhat randomly in her responses. It also
 appears unlikely that the documents responsive to many of the aforementioned requests could
 qualify for any “confidential” designation. In any event, to the extent that Plaintiff has a genuine
 concern that documents responsive to the aforementioned requests are “confidential,” Defendant
 has proposed that the Parties enter into a protective order governing the production of any
 “confidential” documents and information. Plaintiff’s responses to the aforementioned request
 therefore should be amended so that all responsive documents are produced, regardless of
 whether Plaintiff believes they are “confidential.”

                d.        Plaintiff’s   Responses to Request        for Production Nos.            48 and    54.


 In response to       Request for Production Nos. 48 and 54,                  Plaintiff initially limited         the documents that
                                                                                                                                          ”
 she   isagreeing to produce to only those document that are “non-privileged and non-conﬁdential.
 Plaintiff’s amended responses no longer contain that limitation. Yet, Plaintiff has not produced any

 documents responsive             to these requests.      Accordingly, Plaintiff            must produce         all   documents   in   her




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 possession, custody, or control that are responsive to these requests or must                               amend         her response
 to state that she has conducted a diligent search                        and reasonable inquiry and         is   unable to locate
 any documents           in   her possession, custody, or control.


                 e.       Plaintiff’s   Responses to Request             for Production No. 55.


 In response to          Request for Production No. 55,                Plaintiff asserts meritless      objections and refuses to
 provide substantive responses.


 Request for Production No. 55 seeks                    all   documents that      relate to    any   lawsuits, complaints,
 charges, or grievances           Plaintiff   made      against any employer, other than this action.                     Plaintiff   again
 objects to this request on the grounds that                     it   violates Plaintiff’s “rights of privacy       and
 confidentiality."        However,       Plaintiff   has no right to privacy        in   complaints she     made      against other
 employers. Indeed, any civil complaints filed are public documents. As a result, Plaintiff must
 amend this response and produce all documents responsive to this request. To the extent Plaintiff
 is   withholding any documents based on attorney-client privilege, they should be listed                                    in   a privilege
 log.


 III.        Plaintiff's       Document Production.

 As explained       in   Defendant’s prior meet and confer correspondence,                          Plaintiff’s document production

 is   incomplete    in    several respects.          First, Plaintiff   produced a       partial   employment agreement. See
 e.g.,   P007. Please produce the entirety of this                     document.

 Second,     Plaintiff    produced an email with a missing attachment. See e.g., P008. Please re-produce
 this email, with the        corresponding attachment, so that your production is complete.


 Third, Plaintiff purports to           have applied          for positions with “ZipRecruter; Indeed; Insys
 Therapeutics; Modern Recruitment Solutions; LS Recruiting; Gecko Hospitality;                                    Lilly

 Pharmaceutical; Biopharma Health; Aging 2.0, LLC; Medtronic; Surgical Recruiting, LLC; Critique by
 Kids; Sino Biological US, Inc.; Amgen; Crobo, Inc.; Hamilton Co.; Cybercoders; PV Pharma;
 Siemens; Cardinal Health; Z&L Properties; Amtee; Ambry Genetics; Gilead Astra Zeneca; Portola
 Pharmaceuticals; Promoves Health; Novartis; BioMarin; Teva; DepoMed; Abbott; Excela Pharma
 Sciences; Osmota Pharamaceuticals; [and] Avion.” See Plaintiff’s response to Special Interrogatory
 No.    7.



 However, Plaintiff has not produced a copy of her resume or copies of any of the job applications
 she claims to have submitted to these entities. Please produce these responsive documents as
 soon as possible. While Plaintiff has produced some emails from ZipRecruiter about job
 applications to Insys Therapeutics,                 Gecko      Hospitality, Surgical Recruiting, LLC, Lily
 Pharmaceuticals, BioPharma, Aging 2.0, and Surgical Recruiting, she has failed to produce copies
 of the job applications submitted to these entities or any of the emails from ZipRecruiter
 confirming receipt of these job applications.


 Plaintiff   has not produced any communication with or about her job applications to Indeed;
 Medtronic; Critique by Kids; Sino Biological US, Inc.;Amgen; Crobo, Inc.; Hamilton Co.;
                                                 Z&L Properties; Amtee; Ambry Genetics;
 Cybercoders; PV Pharma; Siemens; Cardinal Health;
                                            Promoves Health; Novartis; BioMarin; Teva;
 Gilead Astra Zeneca; Portola Pharmaceuticals;
 DepoMed; Abbott; Excela Pharma Sciences; Osmota Pharamaceuticals; or Avion. As I am sure



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 you are aware, any and a/l documents, information and communications regarding her efforts to
 mitigate her alleged damages, including but not limited to the actual job applications submitted,
 her resume(s), and email communications confirming receipt of such applications, are directly
 responsive to Request for Production of Documents No. 52-53 ancl must be produced as soon as
 possible.


 Fourth, Plaintiff has not provided copies of her IRS       W-2
                                                         forms, 1099 forms or other documents
          wages, compensation or other income that she received during her employment with
 reflecting
 Defendants, which are directly responsive to Request for Production No. 14.


  IV.       Plaintiff’s   Responses to Defendant’s Special Interrogatories.

                 a.   Special Interrogatory No. 2.

 Special Interrogatory No. 2 requires Plaintiff to state the substance of the communication(s) she
 had with individuals identiﬁed    in   response to Special Interrogatory No.         1. It   further requires
 Plaintiff to   provide the date(s) each communication occurred. In response, Plaintiff generally
 describes the communication she had with Tracy Scott, Nate Styles, and Lori Elwood, but                    fails   to
 provide the dates of each communication. Instead, Plaintiff claims she does not recall the date of
 these communications. Such a response          is   evasive.   Surely, Plaintiff   knows the dates     of her
 employment with          and thus can estimate at least the month and year in which these
                       Ashfield
 communications occurred. Indeed, she provides general dates of events in her verified First
 Amended Complaint. As a result, the response is non-compliant. Please provide amended, fully
 responsive and compliant answers that include the date(s) of each communication.


                 b.   Special Interrogatory No. 6.

                                                         all documents related to the individuals
 Special Interrogatory No. 6 requires Plaintiff to identify
 identified inresponse to Interrogatory No. 4. In response to each of these interrogatories, Plaintiff
 generally identified P0019—P0022. However, Plaintiff is required to specify which documents relate
 to which individual -- Defendant should not have to guess at this information. As a result, please
 provided amended, fully responsive and compliant answers to these responses.


   V.       Plaintiff's   Responses to Defendant’s Form Interrogatories—Employment.

                 a.   Form Interrogatories Nos. 200.1 and 200.2.

 Form Interrogatories Nos. 200.1 require Plaintiff to state whether she contends that her
 employment was “at will." If so, Plaintiff must answer a series of follow-up questions. In response,
 Plaintiff states “Yes,” but fails to provide any response to subparts (a)-(c). Please provide an
 amended response that fully and completely responds to subparts (a)-(c) of Form Interrogatory
 No. 200.1.


                                               Meet and Confer

 As requested above, please provide  (1) verifications to Plaintiff’s amended responses to
 Defendant’s Special Interrogatories and Form Interrogatories—Employment, and to Plaintiff’s                     initial

 responses to Requests for Production of Documents; amended responses to the aforementioned
 discovery requests; a privilege log; questions/comments to the stipulated protective order or your




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 signature on such document; and a further document production no later than Monday, July 22,
 2019.

 We are happy to schedule a telephone call to the extent you would like to discuss any of the issues
 identified above in more detail or have any questions regarding Defendant’s position. We are
 hopeful that through this further meet and confer we can avoid the need to involve the Court in
 resolution of these issues.

 Sincerely,




 Ashley Baltazar

 AB




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                    Exhibit 10
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Baltazar, Ashley A.


From:                                                  Michael Welch <mwe|ch|aw@gmai|.com>
Sent:                                                 Thursday, July 25, 2019 11:1 5            AM
To:                                                    Baltazar,     Ashley      A.

Subject:                                               Re: Perry      v. BI -   Further   Meet and Confer Re    Plaintiff's   Discovery Responses




[EXTERNAL EMAIL]
Ashley     -
               Yes,   I   agree with      that.          Thanks        -   Mike

On Thu,        Jul 25,    2019    at   9:54       AM Baltazar, Ashley A. <ashlev.baltazar@m0rganlewis.com> wrote:
 Hi   Mike,




Thank you        for the update. Since                it is   taking you two-weeks to respond to our            meet and confer      efforts,   we will need   a
 corresponding two-week extension to our motion to compel deadline. Please confirm that you are granting us                                             this

 extension.




 Ashley




Ashley A. Baltazar

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                                                  San Francisco, CA 94105


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 ashley.baltazar@morgan|ewis.com                  |
                                                      www.morganlewis.com


Assistant: Robin      Onaka   |
                                  +1.415.442.1669               |
                                                                    robin.onaka@morganlewis.com




 From: Michael Welch <mwe|ch|aw@gmai|.com>
 Sent: Thursday, July 25, 2019 8:49                      AM
To: Baltazar, Ashley A. <ash|ev.baItazar@morganlewis.com>
 Subject: Re: Perry        v. BI -     Further        Meet and Confer Re              Plaintiff's   Discovery Responses




 [EXTERNAL EMAIL]

Ashley - Thanks for your follow-up. Ihave depositions the remainder 0f this week (since Tuesday). Iwill
review and respond to your new letter, by end 0f Monday. Thank you again. Regards - Mike Welch

                                                                                            1
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On Wed,     Jul 24,   2019         at   4:07   PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:

Mike,



I   am   following up on our efforts to meet and confer.                      We have been attempting to obtain code-compliant
veriﬁed responses to our discovery requests for months now. In our                             latest    meet and confer letter, we
requested a response and/or                    amended responses by Monday, July            22nd.   To   date, we have not received an
acknowledgement 0f our meet and confer      letter, let alone a response 0r further amended responses. Please

advise as t0 the status of the items requested in our July 15th meet and confer letter.



Thank you,




Ashley




Ashley A. Baltazar

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                                               San Francisco, CA 94105


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                                                   www.morganlewis.com


Assistant: Robin   Onaka   |
                               +1.415.442.1669          |
                                                            robin.onaka@morqanlewis.com




From: Baltazar, Ashley A.
Sent: Monday, July 15, 2019 4:02                       PM
T0: 'Michael Welch’ <mwelchlaw                              mai1.c0m>
Cc: Meckley, Eric <eric.mecklev@morganlewis.com>
Subj ect: Perry V. BI - Further Meet and Confer Re Plaintiffs Discovery Responses




Mike,



Please see the attached meet and confer correspondence regarding Plaintiff s discovery responses.


Thank you,
               Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 141 of 274

Ashley




Ashley A. Baltazar

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Assistant: Yvette Pruitt   |
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                                                             yvette.pruitt@morgan|ewis.com




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                    Exhibit 11
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Baltazar, Ashley A.


From:                                                  Baltazar,      Ashley A.
Sent:                                                  Wednesday, August                14,    2019 12:46            PM
To:                                                    Michael Welch
Cc:                                                    Meckley,         Eric

Subject:                                               RE: Perry        v.   Ashfield, et     al.




Importance:                                            High



Michael,


It   has   now been two weeks               since our last          communication and                   we   still   do not have:

      o     Properly served verifications to                       Plaintiff’s     Amended Responses                  to BIPI’s Special Interrogatories and       Form
            Interrogatories;
      o     Properly served further documents produced (bates stamped 51-93);
      o     Verifications to Plaintiff’s responses to Defendant’s Requests for Production of                                                Documents; or
      o     A   signed protective order from your office or edits to the proposed protective order.


Nor have        we   received a substantive response to our July 15th                                   meet and confer         letter,   despite your assertion that you
would respond to our               letter   by   Monday July             29th.      Given your continued delays, please confirm that                      we have   an
additional three—week extension                      on our motion to compel deadline. Separately, please provide us with the
aforementioned items and                  a substantive             response to our meet and confer                       letter   no   later   than Friday, August 16, 2019.   If


we do      not receive these items from you by close of business on Friday,                                           we will   be forced to seek the Court’s intervention
given that you have not been responsive to our repeated efforts to informally resolve these issues.


Thank you,


Ashley


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                                                           Francisco,    CA 94105
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                                                                   robin.onaka@morgan|ewis.com



From: Baltazar, Ashley A.
Sent: Wednesday, July 31, 2019 2:52 PM
To: Michael Welch <mwelchlaw@gmai|.com>
Cc: Meckley, Eric        <eric.meckley@morganlewis.com>
Subject: RE: Perry        v.   Ashfield, et          al.




Understood. Thanks for                 clarifying.



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                                                                                                    1
                     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 144 of 274
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                                                               robin.onaka@morqanlewis.com


From: Michael Welch <mwe|ch|aw@gmail.com>
Sent:   Wednesday,            July 31,       2019 2:46     PM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Re: Perry            v.   Ashfield, et      al.




[EXTERNAL EMAIL]
Ashley - Just saw your email as I'm leaving ofﬁce. On the amended veriﬁcations, Ithought they were both in
the same pdf, so easy enough t0 ﬁx. My reference to "previously served" re: those was not that the veriﬁcations
were previously served, but that they were t0 responses to interrogs that were previously served. I can see now
that the sentence is ambiguous, but that was the meaning. 1'11 review remainder 0f it after I ﬁnish my settlement
conference. Regards - Mike


On Wed,      Jul 3    1   ,
                              2019      at   2:24    PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
 Michael,




 The PDF    titled    ”perry-bi.interrogs.responses.amended.verifications” only included verifications to Plaintiff’s                       amended
 responses to Defendant’s Special Interrogatories.                        It   did not, as   you claimed, include a verification to Plaintiff’s
 Amended Responses to Form                       Interrogatories. Further, contrary to your assertion, this verification    was never previously
 served. The prior verification                 we     received from you that      was attached to Plaintiff’s Amended Responses to Special
 Interrogatories claimed to be a verification for Plaintiff’s                      original (not amended) responses to Defendant’s Special

 interrogatories. (See Attached). As such, this will                     need to be appropriately served.




 We are    still   awaiting verifications to the following:


 o      Plaintiff’s   Responses to Defendant’s Requests for Production of Documents


 o      Plaintiff’s   Amended Responses to                     Defendant’s Form |nterrogatories—Employment




 Please   let   us   know when we can expect to                   receive the foregoing and       when we can expect     a substantive   response to our
 meet and confer              letter.




 Thank you,




 Ashley
                 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 145 of 274
Ashley A. Baltazar

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                                                      www.morganlewis.com


Assistant: Robin   Onaka    |
                                +1.415.442.1669             |
                                                                robin.onaka@morqanlewis.com




From: Michael Welch <mwelch|aw@gmail.com>
Sent: Tuesday, July 30, 2019 1:33                      PM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Perry     v.   Ashfield, et        al.




[EXTERNAL EMAIL]

Ashley - Ihave attached several items, i.e., amended veriﬁcations t0 amended interrog. responses (special and
form-employment) served previously, and additional document production (nos. 51 - 93). I am awaiting a
couple response items from my client to complete my responses to your letter, as I do not want t0 do that
piecemeal. I should get those shortly, and then will send my full response. Thank you - Michael Welch




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                    Exhibit 12
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 148 of 274


Baltazar, Ashley A.


From:                                                       Baltazar,         Ashley A.
Sent:                                                       Tuesday, August 20, 2019 11:07                      AM
To:                                                         'Michael Welch'
Cc:                                                         Meckley,           Eric

Subject:                                                    RE: Perry          v.   Ashfield, et     al.




Michael,


What       is   your   availability for a            phone        call      today to discuss the below?


Ashley


Ashley A. Baltazar
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                                                                Francisco,      CA 94105
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                                                                                        Fax: +1.415.442.1001

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                                                          www.morganlewis.com
Assistant: Robin         Onaka      |
                                        +1.415.442.1669                |
                                                                           robin.onaka@morgan|ewis.com



From: Baltazar, Ashley A.
Sent:      Monday, August 19, 2019 5:34 PM
To: 'Michael Welch'    <mwe|ch|aw@gmail.com>
Cc: Meckley, Eric             <eric.meckley@morganlewis.com>
Subject: RE: Perry             v.   Ashfield, et          al.




Michael,


As    |   indicated     in   several of       my     prior emails             and meet and confer              letters,    there are several problems regarding
verifications in this case.                  Your    letter       does not appropriately address the issue of the                              lack of verifications    and   in fact

inaccurately states that you have ”provided [me] with the                                             amended      verifications.” First, the verification              you   just

attached was never previously served on our                                 few weeks ago. Despite my repeated requests,
                                                                                    office.   It   was only emailed        a
we have not received it via a proper method of service (e.g., mail, overnight mail, or hand delivery) with a corresponding
proof of service. While we appreciate receiving courtesy copies of these documents via email, we have not and do not
agree to email service in this case. Second, the PDF contains a single verification to Plaintiff’s Amended Responses to
Defendant’s Special Interrogatories.                              It       does not contain any other            verifications. Third,           we have   not received any


please      w
verification (via email or otherwise) for Plaintiff’s


Interrogatories.
                       the attached verification and the verification to
                                                                                          Amended responses
                                                                                                           Plaintiff’s
                                                                                                                         to Defendant’s
                                                                                                                         Amended Responses
                                                                                                                                                Form   lnterrogatories. Accordingly,
                                                                                                                                                       to Defendant’s      Form



Please also confirm that Defendant’s deadline to compel responses to                                                     all   of   its   discovery requests   is   tolled while     we
await proper service of these verifications.


Thank you,


Ashley


Ashley A. Baltazar
Morgan, Lewis            & Bockius LLP
                   Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 149 of 274
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                                                                                            Fax: +1.415.442.1001

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                                                               www.morganlewis.com
Assistant: Robin   Onaka      |
                                      +1.415.442.1669                   |
                                                                            robin.onaka@morganlewis.com


From: Michael Welch <mwelchlaw                                         mai|.com>
Sent:     Monday, August              19,       2019 5:15             PM
To: Baltazar, Ashley A. <ash|ev.baltazar@morgan|ewis.com>
Subject: Re: Perry      v.   Ashfield, et                      aI.




[EXTERNAL EMAIL]
Ashley - As I indicated in my letter, Ms. Perry Will be sending me veriﬁcations, Which Ihave been told                                                         I   will
have by tomorrow. I am puzzled by your statement that you were not provided veriﬁcations t0 prior
responses. I have attached the most recent veriﬁcations that I have provided you to prior discovery
responses. Regards - Mike


On Mon, Aug           19,    2019              at 11:51              AM Baltazar, Ashley A. <ash1ev.baltazar@morganlewis.com> wrote:
 Michael,




 |have not yet reviewed the substance of your response to our meet and confer letter or the discovery responses that
 you sent over. However, once again, these responses do not contain any verifications. Nor has Plaintiff provided
 verifications to the prior responses that she sent. As you are aware, serving responses without a verification is akin to
 no response     at   all.   Please advise as to the status of the verifications to                                 a_II   of the prior and current discovery responses
 Plaintiff   has provided by close of business today.




 Thank you,




 Ashley




 Ashley A. Baltazar

 Morgan, Lewis        & Bockius LLP

 One    Market, Spear Street                  Tower    |
                                                               San Francisco, CA 94105


 Direct:   +1.415.442.1172                |
                                               Main: +1.415.442.1000                    |
                                                                                             Fax: +1.415.442.1001


 ashley.baltazar@morgan|ewis.com                               |
                                                                   www.morganlewis.com


 Assistant: Robin     Onaka       |
                                          +1.415.442.1669                   |
                                                                                robin.onaka@morqan|ewis.com
                Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 150 of 274

From: Michael Welch <mwe|ch|aw@gmail.com>
Sent:   Monday, August         19,   2019 10:15      AM
To: Baltazar, Ashley A. <ashlev.baltazar@morgan|ewis.com>
Subject: Perry   v.   Ashfield, et     al.




[EXTERNAL EMAIL]

Ashley    -   Ihave attached          my response to your last meet and confer letter regarding discovery responses.           I   have
also attached several additional iterms referred to in the letter                  (i.e.,   amended responses   to special
interrogatories       and form [employment—               interrogatories;  and further documents). I have also attached the
previously signed stipulation                re:   protective order.    Those and further responses to document requests are
following by mail. Regards               -   Mike Welch




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e-mail and delete the original message.
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 151 of 274




                    Exhibit 13
                   Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 152 of 274


Baltazar, Ashley A.


From:                                                  Michael Welch <mwe|ch|aw@gmai|.com>
Sent:                                                  Monday, August                26,   2019 7:49   AM
To:                                                    Baltazar,       Ashley       A.

Subject:                                               Re: Perry        v.   Ashfield, et    al.




Follow     Up   Flag:                                  Follow up
Flag Status:                                           Flagged




[EXTERNAL EMAIL]
Ashley     -    Ithink that Will work. See you then.                                -    Mike

On Fri, Aug 23, 2019               at    10:47         AM Baltazar, Ashley A. <ashlev.baltazar@m0r2anlewis.com> wrote:
 Hi Michael,




 How     does Wednesday            at    11 a.m. work for you?




 Ashley




Ashley A. Baltazar

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                                                   San Francisco, CA 94105


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                                                                      robin.onaka@morqan|ewis.com




 From: Michael Welch <mwe|ch|aw@gmai|.com>
 Sent: Friday, August 23, 2019 8:27                          AM
To: Baltazar, Ashley A. <ash|ev.baItazar@morganlewis.com>
 Subject: Re: Perry       v.   Ashfield, et            al.




 [EXTERNAL EMAIL]
                      Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 153 of 274

Ashley    -       Things open up for me after Tuesday, so maybe Wednesday? Late morning or early
afternoon? Thanks                -       Mike




On Thu, Aug 22, 2019                         at 10:31        PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
 Michael,




Are you available t0 come to our office next week to meet and confer                                   in   person regarding the various issues with
 Plaintiff's      discovery responses? Please                      let   me know your availability and      |   will clear   my schedule to make   sure   we   can
 bring this to a conclusion.




Thanks,


Ashley




Ashley A. Baltazar

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                                                             www.morganlewis.com


Assistant: Robin        Onaka        |
                                         +1.415.442.1669           |
                                                                       robin.onaka@morqanlewis.com




From: Michael Welch <mwelch|aw@gmail.com>
Sent: Tuesday, August 20, 2019 11:44                               AM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Re: Perry          v.   Ashfield, et                al.




 [EXTERNAL EMAIL]

Ashley        -   I   will review this further later today after                        I   get something ﬁled. Yes,          we will toll any motion
deadline as to your client while getting this squared away. Thanks                                          -   Mike Welch




On Mon, Aug              19,   2019            at   5:34      PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
                                                                                            2
                 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 154 of 274

Michael,




As   |   indicated   in   several of        my       prior emails        and meet and confer           letters,   there are several problems regarding
verifications in this case.                Your      letter     does not appropriately address the issue of the lack of verifications and                           in fact

inaccurately states that you have "provided [me] with the                                     amended      verifications.” First, the verification
                                                                                                           you just
attached was never previously served on our                                 office.   It   was only emailed
                                                                            few weeks ago. Despite my repeated    a

requests, we have not received it via a proper method of service (e.g., mail, overnight mail, or hand delivery) with a
corresponding proof of service. While we appreciate receiving courtesy copies of these documents via email, we
have not and do not agree to email service in this case. Second, the PDF contains a single verification to Plaintiff’s
Amended Responses                to Defendant’s Special Interrogatories.                         It   does not contain any other            verifications. Third,    we
have not received any verification
Interrogatories. Accordingly, please
Responses to Defendant’s Form Interrogatories.
                                                            (via

                                                                w  email or otherwise) for        Plaintiff’s     Amended responses
                                                                        the attached verification and the verification to
                                                                                                                                              to Defendant’s
                                                                                                                                           Plaintiff's     Amended
                                                                                                                                                                   Form




Please also confirm that Defendant’s deadline to compel responses to                                          all     of   its   discovery requests   is   tolled while   we
await proper service of these verifications.




Thank you,



Ashley




Ashley A. Baltazar

Morgan, Lewis         & Bockius LLP

One      Market, Spear Street            Tower   |
                                                     San Francisco, CA 94105


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                                                                       robin.onaka@morganlewis.com




From: Michael Welch <mwe|ch|aw@gmai|.com>
Sent:     Monday, August             19,    2019 5:15           PM
To: Baltazar, Ashley A. <ash|ev.baItazar@morganlewis.com>
Subject: Re: Perry          v.   Ashfield, et             al.




[EXTERNAL EMAIL]
              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 155 of 274

Ashley - As I indicated in my letter, Ms. Perry will be sending me veriﬁcations, which I have been toldI
will have by tomorrow. I am puzzled by your statement that you were not provided veriﬁcations t0 prior
responses. I have attached the most recent veriﬁcations that I have provided you to prior discovery
responses. Regards - Mike




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 verification   is   akin to no response at                all.   Please advise as to the status of the verifications to   a_II   of the prior and
 current discovery responses Plaintiff has provided by close of business today.




Thank you,




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To: Baltazar, Ashley A. <ashlev.baItazar@morganlewis.com>
 Subject: Perry      v.   Ashfield, et        al.




 [EXTERNAL EMAIL]
          Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 156 of 274

Ashley - Ihave attached my response to your last meet and confer letter regarding discovery responses.       I

have also attached several additional iterms referred to in the letter (i.e., amended responses t0 special
interrogatories and form [employment— interrogatories; and further documents). Ihave also attached the
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following by mail. Regards - Mike Welch




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e-mail and delete the original message.
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 157 of 274




                    Exhibit 14
                      Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 158 of 274


Baltazar, Ashley A.


From:                                                 Baltazar,     Ashley A.
Sent:                                                 Tuesday, September                 3,   2019 5:03   PM
To:                                                   'Michael Welch'
Cc:                                                   Meckley,         Eric

Subject:                                              RE: Perry        v.   Ashfield, et      al.




Michael,


Thank you       for   meeting with         me       last   week to meet and confer                  regarding   Plaintiff’s   responses to   Bl’s   written discovery
requests. Per our discussion, you agreed to provide the following:
             Verified   Second Amended Responses to                              Bl’s   Requests for Production of Documents;
             Verified   Second Amended Responses to                              Bl’s   Form    Interrogatories;
             Proof of Service that indicates service of                          Plaintiff’s Verified     Second Amended Responses to               Bl’s Special

             Interrogatories (which you hand delivered on                                Wednesday, August         28th);

             A proof of Service that indicates service of_a|| of Plaintiff’s documents produced;
             A privilege log that lists any documents withheld on the basis of privilege;
             The attachment to P087; and
             P071-078 or       a representation that                no documents bates stamped P071-78 were intended to be produced. (As                                      a

             reminder,   Plaintiff       sent documents bates             tamped P01-70 and 79-106, but Bl is missing documents bates
             stamped P71-78).


My    understanding       is       were going to try to hand deliver the foregoing on Wednesday
                               that you                                                                                                 after   you    left   our   office,   but
we    did   not receive the above. Can you commit to getting it to us by the end of this week?


Thanks,
Ashley


Ashley A. Baltazar
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower San          |
                                                          Francisco,    CA 94105
Direct:     +1.415.442.1172        |
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ashley.baltazar@morganlewis.com                 |
                                                    www.morganlewis.com
Assistant: Robin      Onaka    |
                                   +1.415.442.1669            |
                                                                  robin.onaka@morgan|ewis.com



From: Baltazar, Ashley A.
Sent:     Wednesday, August 28, 2019 9:26 AM
To: 'Michael Welch'   <mwe|ch|aw@gmail.com>
Cc: Meckley, Eric       <eric.meckley@morganlewis.com>
Subject: RE: Perry       V.    Ashfield, et         al.




Yes, that works.


Thanks,
Ashley


Ashley A. Baltazar
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower San          |
                                                          Francisco,    CA 94105
                       Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 159 of 274
Direct:   +1.415.442.1172            |
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                                                                 www.morganlewis.com
Assistant: Robin       Onaka    |
                                     +1.415.442.1669                          |
                                                                                  robin.onaka@morganlewis.com


From: Michael Welch <mwe|ch|aw                                               mai|.com>
Sent: Wednesday, August 28, 2019 9:13 AM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Re: Perry         v.   Ashfield, et                     al.




[EXTERNAL EMAIL]
Ashley      -       I'm running late today due to longer morning hearing than                                            I   expected. Could   we meet a little later,   say
11:45? Sorry, but please                           let   me know. Thank you - Mike Welch

On Mon, Aug 26, 2019                             at   7:49        AM Michael Welch <mwelch1aw                                ail.com> wrote:

 Ashley         -   Ithink that Will work. See you then.                                            -   Mike

 On Fri, Aug 23, 2019                        at       10:47           AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
  Hi   Michael,




  How      does Wednesday                    at 11 a.m.                 work       for   you?




  Ashley




  Ashley A. Baltazar

  Morgan, Lewis           & Bockius LLP

  One     Market, Spear Street                   Tower       |
                                                                 San Francisco, CA 94105


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  From: Michael Welch <mwe|ch|aw                                                  mai|.com>
  Sent: Friday, August 23, 2019 8:27                                         AM
  To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
  Subject: Re: Perry            v.   Ashfield, et                      al.




  [EXTERNAL EMAIL]
                   Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 160 of 274

Ashley    -       Things open up for                   me    after   Tuesday, so maybe Wednesday? Late morning or early
afternoon? Thanks              -       Mike




On Thu, Aug 22, 2019                       at 10:31        PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
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Ashley




Ashley A. Baltazar

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From: Michael Welch <mwelchlaw@gmai|.com>
Sent: Tuesday, August 20, 2019 11:44                             AM
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deadline as to your client while getting this squared away. Thanks                                        -   Mike Welch




On Mon, Aug            19,   2019            at   5:34      PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
                                                                                          3
               Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 161 of 274

Michael,




As   |   indicated   in   several of        my       prior emails        and meet and confer           letters,   there are several problems regarding
verifications in this case.                Your      letter     does not appropriately address the issue of the                       lack of verifications    and   in fact

inaccurately states that you have ”provided [me] with the                                      amended     verifications.” First, the verification
                                                                                                           you just
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Responses to Defendant’s Form Interrogatories.
                                                            (via

                                                                w  email or otherwise) for        Plaintiff’s     Amended responses to
                                                                        the attached verification and the verification to
                                                                                                                                                  Defendant’s Form
                                                                                                                                           Plaintiff’s     Amended




Please also confirm that Defendant’s deadline to compel responses to                                          all     of   its   discovery requests   is   tolled while   we
await proper service of these verifications.




Thank you,



Ashley




Ashley A. Baltazar

Morgan, Lewis         & Bockius LLP

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To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Re: Perry          v.   Ashfield, et             al.




[EXTERNAL EMAIL]
              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 162 of 274

Ashley - As I indicated in my letter, Ms. Perry will be sending me veriﬁcations, Which I have been told I
Will have by tomorrow. I am puzzled by your statement that you were not provided veriﬁcations to prior
responses. I have attached the most recent veriﬁcations that I have provided you to prior discovery
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On Mon, Aug          19,   2019        at 11:51          AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
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Thank you,




 Ashley




Ashley A. Baltazar

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Assistant: Robin     Onaka    |
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                                                                  robin.onaka@morqanlewis.com




 From: Michael Welch <mwelchlaw@gmail.com>
 Sent:     Monday, August         19,    2019 10:15          AM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
 Subject: Perry      v.   Ashfield, et        al.




 [EXTERNAL EMAIL]
         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 163 of 274

Ashley - Ihave attached my response to your last meet and confer letter regarding discovery responses.       I

have also attached several additional iterms referred t0 in the letter (i.e., amended responses t0 special
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following by mail. Regards - Mike Welch




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e-mail and delete the original message.
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 164 of 274




                    Exhibit 15
                                                              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 165 of 274

                                                             Michael T. Welch (#122630)
                                                             LAW OFFICES OF MICHAEL T. WELCH
                                                             Four Embarcadero Center, 14‘“ Floor
                                                             San Francisco, California 941 11
                                                             Telephone:     (415)426-5691
                                                             Facsimile:     (41 5)399-0445


                                    \OOOQONUIAUJRJy—x
                                                             Attorneys for Plaintiff   BRENDA PERRY



                                                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                      COUNTY OF SAN MATEO



                                                             BRENDA PERRY, an Individual,                                               CASE NO. 18CV05717
                                                                                               Plaintiff,                               PLAINTIFF’S SECOND AMENDED
                                                                                                                                        RESPONSES TO DEFENDANT
                                                                     V.                                                                 BOEHRINGER-INGELHEIM
                                                                                                                                        PHARMACEUTICAL’S FIRST
                                                             ASHFIELD HEALTHCARE, LLC, a business                                       REQUEST FOR PRODUCTION OF
                                                             entity; BOEHRINGER—INGELHEIM                             VVVVVVVVVVVVVVV
                                                                                                                                        DOCUMENTS, SET ONE
                                                             PHARMACEUTICAL,             a business entity;
                                                             NATE STYLES, an individual;          and   DOES   1-
                                                             50, inclusive,


                                                                                               Defendants.


NNNNNNNNNr—‘HHHr—xr—ih—Ap—AHH




                                OOQQM-hWNHOOOOQQUi-hWNP—‘O




                                                             PROPOUNDING PARTY:                Defendant     BOEHRINGER—INGELHEIM PHARMACEUTICAL
                                                             RESPONDING PARTY:                 Plaintiff    BRENDA PERRY
                                                             SET NUMBER:                       ONE
                                                                    Plaintiff   BRENDA PERRY (“PERRY”) hereby responds to the Request for Production
                                                             of Documents of defendant       BOEHRINGERJNGELHEIM PHARMACEUTICALS, INC.
                                                             (“BIP”) as follows:

                                                                                                      GENERAL OBJECTIONS
                                                                     1.   Plaintiff obj ects to the   Document Requests and to each and every request contained

                                                             therein t0 the extent that they purport to     impose burdens or duties on plaintiff that exceed the

                                                                                                                _1_




                                                              PLAINTIFF’S     SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
                                                                                                 OF DOCUMENTS
                                                        Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 166 of 274

                                                       requirements and permissible scope of discovery under the California Code of Civil Procedure.

                                                                 2.   Plaintiff objects to the       Document Requests and t0 each and every request contained

                                                       therein to the extent that they purport to request                 documents   that are subj ect to    any privilege 0r

                                                       immunity from discovery, including, without                   limitation, the attorney-client privilege, the       work—

                                                       product privilege, the right t0 privacy guaranteed by the California Constitution, and any other
                                \DOOQQUI-kwNF-d




                                                       privilege or restriction      on discovery recognized by California law.

                                                                 3.   Plaintiff objects t0 the       Document Requests and to each and every request contained

                                                       therein   0n the grounds      that, to the extent that       they seek documents that are already in

                                                       respondent’s custody, control or possession, they are unduly burdensome and duplicative.

                                                                 4. Plaintiff obj ects to the        Document Requests and t0 each and every request contained

                                                       therein to the extent that they purport to require plaintiff to produce documents from any source


                                                       other than the personal ﬁles and records of plaintiff.

                                                                 5.   Plaintiff reserves the right to        amend her responses        t0 the extent that    new or additional

                                                       relevant documents       may come to          his attention.


                                                                 6.   Plaintiff responds t0 the       Document Requests without waiver and with preservation                       0f:


                                                                          a)   The   right t0 obj ect t0 the use          0f any responses or documents on any ground              in


                                                                          any proceedings in          this 0r    any other action (including any        trials);


                                                                          b)   The   right t0 obj ect       on any ground     at   any time   t0 a   demand   or request for a
NNNNNNNNNHr—dr—tr—AHHHHHH




                                                                          further response to this discovery request or other discovery proceedings
                            WQQUI-PUJNHOKOOOQOMLWNHO




                                                                          involving or relating t0 the subj ect matter of the discovery requests herein

                                                                          responded     t0;   and,


                                                                          c)   The   right at   any time to revise or supplement any 0f the responses                 to the   v




                                                                          speciﬁc requests.

                                                                 7.   Plaintiff has not yet     completed his investigation of the            facts pertaining t0 this action,


                                                       her discovery, or her preparation for            trial.    Plaintiff reserves the right to rely      on documents or

                                                       other evidence which       may develop          or   come   t0 his attention at   a   later time.


                                                                 8.   The foregoing general objections and                limitations (the “General Objections”) are


                                                                                                                    -2-


                                                        PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                              incorporated by reference into each and every speciﬁc response as if fully stated therein.

                                                            RESPONSES T0 DOCUMENT REQUESTS
                                        REQUEST NO.          1


                                        A11   DOCUMENTS that RELATE TO the First Cause 0f Action in YOUR COMPLAINT
\OOOQQUI-ALDNa—A




                              for “Sexual Harassment” in Violation 0f the Fair                Employment and Housing Act (“FEHA”).

                                        RESPONSE TO REQUEST N0.                    1.


                                        Plaintiff herein incorporates       by reference each and every one 0f the General Objections

                              set forth above,    and plaintiff s response t0     this request is expressly subj ect to,    and without waiver

                              of,   each 0f those General Obj ections.

                                        Subject t0 and Without waiver of the foregoing objections, plaintiff will produce any

                              documents       in her possession, custody or control that are responsive t0 this request.


                                        REQUEST N0. 2
                                        A11   DOCUMENTS that RELATE to the Second Cause of Action in YOUR
                              COMPLAINT for “Age Discrimination” in Violation 0f the FEHA.
                                        RESPONSE TO REQUEST NO. 2.
                                        Plaintiff herein incorporates       by reference each and every one 0f the General Obj actions

                              set forth above,    and   plaintiff‘s response to this request is expressly subject to,       and without waiver

                              of,   each of those General Objections.

                                        Subject to and without waiving these obj ections, plaintiff will produce any documents in

                              her possession, custody or control that are responsive t0 this request.
OOQQUl-bUJNF—‘OOOOQGUILWNHO




                                        REQUEST NO. 3
                                        A11   DOCUMENTS that RELATE TO the Third Cause 0f Action in YOUR
                              COMPLAINT for “Retaliation.”
                                        RESPONSE T0 REQUEST N0. 3
                                        Plaintiff herein incorporates       by reference each and every one of the General Objections

                              set forth above,    and   plaintiff’ s   response t0 this request    is   expressly subject to, and without waiver


                              of,   each 0f those General Obj actions.

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                               PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                                      Subject to and Without waiving the foregoing objections, plaintiff will produce any

                                                            documents in her possession, custody or control                that are responsive to this request.


                                                                      REQUEST N0. 4
                                                                      A11   DOCUMENTS that RELATE TO the Fourth Cause of Action in YOUR
                                       \OOOQQUI-hU-JNH
                                                            COMPLAINT for “Wrongful Termination in Violation 0f Public Policy.”
                                                                      RESPONSE T0 REQUEST N0. 4.
                                                                      Plaintiff herein incorporates     by reference each and every one of the General Objections

                                                            set forth above,   and   plaintiff’s   response to this request      is   expressly subject   to,   and Without waiver

                                                            0f,   each 0f those General Objections.

                                                                      Subj ect to and without waiver of the foregoing objections, plaintiff will produce any

                                                            documents within her possession, custody 0r control                that are responsive to this request.


                                                                      REQUEST NO. 5
                                                                      All   DOCUMENTS that RELATE TO the Fifth Cause of Action in YOUR COMPLAINT
                                                            for “Intentional Inﬂiction of Emotional Distress.”


                                                                      RESPONSE T0 REQUEST N0.                  5.,




                                                                      Plaintiff herein incorporates     by reference each and every one 0f the General Objections

                                                            set forth above,   and plaintiffs response to      this request is expressly subj ect t0,           and without waiver
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                                                            of,   each 0f those General Objections.

                                                                      Subject t0 and without waiver 0f the foregoing objections, plaintiff will produce any
                                   OOQQUI¥WNHO©OOVQMAWNHO




                                                            documents in her possession, custody or control                that are responsive t0 this request.


                                                                      REQUEST NO. 6
                                                                      A11   DOCUMENTS which YOU obtained from the CORPORATE DEFENDANTS
                                                            during   YOUR employment With the CORPORATE DEFENDANTS.
                                                                      RESPONSE T0 REQUEST NO. 6.
                                                                      Plaintiff herein incorporates     by reference each and every one of the General Objections

                                                            set forth above,   and   plaintiff’s   response t0 this request      is   expressly subject   to,   and without waiver

                                                            of,   each 0f those General Objections.


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                                                             PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                  Subject to and without waiver of the foregoing objections, plaintiff will produce any

          documents     in her possession, custody 0r control that are responsive t0 this request.


                 REQUEST N0. 7
                 All    DOCUMENTS that RELATE TO YOUR alleged employment with the
          CORPORATE DEFENDANTS, including but not limited to ALL offer letters, employment
          agreements, job descriptions, compensation, beneﬁts, personnel policies or statements, employee

          handbooks, formal 0r informal evaluations 0r performance reviews, comment, criticism,

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          discipline, reprimand, complaints, or praise.


                 RESPONSE TO REQUEST NO. 7
10               Plaintiff incorporates   by reference each and every one 0f the General Objections          set forth


11        above, and plaintiff’s response to this request   is   expressly subject    t0,   and without waiver   of,   each

12        0f those General Objections.

13                   Subject to and without waiver of the foregoing objections, plaintiff Will produce any

14        documents     in her custody, possession or control that are responsive t0 this request.


15               REQUEST NO. 8
16               All    DOCUMENTS, regardless of source, that RELATE TO the CORPORATE
17        DEFENDANTS’         employees, job descriptions, policies, procedures, practices, and employee

18        handbooks, with the exception of any privileged communications between                 YOU and YOUR
19        counsel.

20               RESPONSE TO REQUEST N0. 8
21               Plaintiff incorporates   by reference each and every one of the General Objections              set forth


22        above, and plaintiff s response t0 this request   is   expressly subj ect   to,   and without waiver   of,   each

23        of those General Obj ections.

24               Claimant further objects that    this request is   overbroad and unduly burdensome. Subject to

25        and without waiver of the foregoing objections,        plaintiff will   produce any documents in her

26        possession, custody 0r control that are responsive to this request.

27

28                                                         -5-


           PLAINTIFF’S    SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTEON
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                      REQUEST NO. 9
                      A11   DOCUMENTS that RELATE TO YOUR qualiﬁcations for any position with the
 AWN        CORPORATE DEFENDANT, including your position as ﬁeld sales representative assigned to
            the Diabetes Overlay      team   as alleged in Paragraph 8 0f   YOUR COMPLAINT.
                      RESPONSE T0 REQUEST NO. 9
                      Plaintiff herein incorporates   by reference each and every one 0f the General Objections

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            set forth above,    and plaintist response    t0 this request is expressly subject t0,   and without waiver

            of,   each of those General Objections.

                      Plaintiff further objects that this request is overbroad,   unduly burdensome, and

10          oppressive. Subject to and without waiving the foregoing objections, plaintiff will produce any

11          documents       in her custody, possession or control that are responsive to this request.


12                    REQUEST N0.         10

13                    All   DOCUMENTS that YOU received from the CORPORATE DEFENDANTS during
14          YOUR employment with the CORPORATE DEFENDANTS.
15                    RESPONSE TO REQUEST NO.                10

16                    Plaintiff herein incorporates   by reference each and every one of the General Objections

17          set forth above,    and plaintiffs response   to this request is expressly subject to,   and without waiver

18          0f,   each 0f those General Objections.

19                    Subject to and Without waiving the foregoing objections, plaintiff will produce any

20          documents in her possession, custody 0r control          that are responsive to this request.


21                    REQUEST N0.         11

22                    All   DOCUMENTS that RELATE TO YOUR scheduled work hours during YOUR
23          employment with the       CORPORATE DEFENDANTS.
24                    RESPONSE TO REQUEST N0.                11

25                    Plaintiff herein incorporates   by reference each and everyone of the General Objections       set


26          forth above, and plaintiff” s response t0 this request is expressly subj ect to,    and without waiver   0f,


27          each of those General Objections.

28                                                             -6-


             PLAINTIFF’S      SECOND AMENDED RESPONSES T0 DEFENDANT’S REQUEST FOR PRODUCTION
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                        Plaintiff further objects that this request is         unduly vague and ambiguous. Subject t0 and

 N             Without waiving the foregoing objections, plaintiff will produce any documents in her

               possession, custody or control that are responsive to her understanding of this request.

                        REQUEST N0.            12

                        All    DOCUMENTS that RELATE TO YOUR absence from work for any reason during
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               YOUR employment with the CORPORATE DEFENDANTS.
                        RESPONSE TO REQUEST NO.                      12

                         Plaintiff herein incorporates       by reference each and every one of the General Objections

               set forth above,     and   plaintifft’s   response to this request   is   expressly subject   t0,   and without

10             waiver   0f,    each 0f those General Objections.

11                       Plaintiff further obj ects that this request is       overbroad and unduly vague, and that         it



12             violates plaintiff s rights     0f privacy and conﬁdentiality. Subj ect t0 and without waiver 0f these

13             obj actions, plaintiff has     made   a reasonable inquiry and conducted a diligent search, and she has

14             n0 documents       in her possession, custody or control that are responsive t0 this request. Plaintiff


15             does not recall 0r     know if such documents        existed, but if they did, plaintiff believes they       would

16             be in the possession of defendant BIP.

17                       REQUEST NO.           13

18                       A11   DOCUMENTS that RELATE TO YOUR applications for positions with the
19             CORPORATE DEFENDANTS, including but not limited t0 resumes, cover letters, methods 0f
20             application, responses, rules, guidelines, 0r procedures.


21                       RESPONSE TO REQUEST N0.                     13

22                       Plaintiff herein incorporates       by reference each and every one of the General Objections

23             set forth above,     and plaintiff s response      to this request is expressly subject to,         and without waiver

24             0f,   each 0f those General Objections.

25                       Subject to and Without waiving these obj ections, plaintiff will produce any documents in

26             her possession, custody or control that are responsive t0 this request.

27

28                                                                   ‘




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                PLAINTIFF’S       SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                     REQUEST N0.          14

                     A11   DOCUMENTS that RELATE TO the COMPENSATION that YOU received from
           the   CORPORATE DEFENDANTS, including but not limited to, pay statements, time sheets,
           COMPENSATION policies, W-2 forms, income tax returns and other records, whether ﬁled
           individually or jointly with any other        PERSON during YOUR alleged employment with the
           CORPORATE DEFENDANTS.
 QOOQO‘x
                     RESPONSE T0 REQUEST NO.                   14

                     Plaintiff herein incorporates      by reference each and every one 0f the General Objections

           set forth above,    and   plaintiff’s   response to this request   is   expressly subj ect   t0,   and Without waiver

10         of,   each 0f those General Obj ections.

11                   Plaintiff further objects that this request violates plaintiff’s rights       of privacy and

12         conﬁdentiality, and the taxpayer privilege. Subject t0 and Without waiving these obj ections,

13         plaintiff will   produce any documents (other than privileged income tax returns and schedules) in

14         her possession, custody or control that are responsive t0 this request.

15                   REQUEST NO. 15
16                   A11   DOCUMENTS that RELATE TO any feedback YOU received about YOUR work
17         performance during        YOUR alleged employment with the CORPORATE DEFENDANTS,
18         Whether verbal 0r written, and whether positiQe, negative, 0r otherwise.

19                   RESPONSE TO REQUEST N0.                   15

20                   Plaintiff herein incorporates      by reference each and every one-of the General Objections

21         set forth above,    and plaintiffs response      t0 this request is expressly subject to,          and without waiver

22         0f,   each ofthose General Objections.

23                   Subject to and without waiver of these objections, plaintiff Will produce any documents

24         in her possession, custody or control that are responsive to this request.


25                   REQUEST NO.          16

26                  A11    DOCUMENTS that RELATE TO any written warnings, counselings, 0r other
27         disciplinary action that     YOU received from the CORPORATE DEFENDANTS during YOUR
28                                                               -8-


           PLAINTIFF’S       SECOND AMENDED RESPONSES T0 DEFENDANT’S REQUEST FOR PRODUCTION
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               alleged employment with the         CORPORATE DEFENDANTS.
 [\J
                         RESPONSE T0 REQUEST NO.                    16

                         Plaintiff herein incorporates    by reference each and every one 0f the General Objections

               set forth above,   and   plaintiff‘s response to this request is expressly subject to,       and without waiver

               of,   each of those General Objections.

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                         Subj ect to and without waiver 0f these objections, plaintiff has conducted a diligent

               search and   made      a reasonable inquiry, and has n0 documents in her possession, custody 0r

               control that are responsive to this request.         T0    the best 0f plaintiff” s knowledge,   no such

               documents     exist.


10                       REQUEST NO. l7
11                       A11 internet pages 0r postings (including Facebook, Twitter, or other social media sites)

12             that   YOU have created or published RELATED TO this lawsuit, YOUR employment with the
13             CORPORATE DEFENDANTS, or the claims set forth in YOUR COMPLAINT.
14                       RESPONSE TO REQUEST N0.                    17

15                       Plaintiff herein incorporates    by reference each and evely one 0f the General Objections

16             set forth above,   and plaintiff s response       to this request is expressly subject to,   and without waiver

17             0f,   each 0f those General Objections.

18                       Subject t0 and without waiver of these objections, plaintiff has conducted a diligent

19             search and   made reasonable        inquiry,   and she has no documents      in her possession, custody 0r


20             control that are responsive t0 this request.         No such documents exist.
21                       REQUEST N0.          18

22                       A11 journals, diaries, or other      DOCUMENTS that RELATE TO this lawsuit, YOUR
23             alleged   employment with the        CORPORATE DEFENDANTS, 0r any of the claims set forth in
24             YOUR COMPLAINT.
25                       RESPONSE TO REQUEST N0.                     18

26                       Plaintiff herein incorporates        by reference each and every one of the General Objections

27             set forth above,   and plaintiff s response to       this request is expressly subject to,   and Without waiver

28                                                                    -9-


                PLAINTIFF’S     SECOND AMENDED RESPONSES T0 DEFENDANT’S REQUEST FOR PRODUCTION
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                                                             of,   each of those General Objections.

                                                                       Plaintiff further objects that this request is overbroad,          unduly burdensome, and

                                                             oppressive. Subj ect to and Without waiver 0f these obj actions, plaintiff will produce any non-


                                                             privileged documents in her possession, custody or control, that are responsive t0 this request.

                                         \OOOQQU‘I-RUJNp—n



                                                                       REQUEST NO.           19

                                                                       A11   DOCUMENTS that RELATE TO any oral 0r written complaint YOU made t0
                                                             anyone regarding       YOUR alleged employment With CORPORATE DEFENDANTS.
                                                                       RESPONSE TO REQUEST N0.                    19

                                                                       Plaintiff herein incomorates        by reference each and every one 0f the General Objections

                                                             set forth above,     and   plaintiff’s   response t0 this request   is   expressly subject t0, and without waiver

                                                             of,   each of those General Objections.

                                                                       Subject to and without waiver of these objections, plaintiff will produce any documents

                                                             in her possession, custody or control that are responsive t0 this request.


                                                                      REQUEST NO. 20
                                                                      A11    COMMUNICATIONS that RELATE TO any oral or written complaints YOU made
                                                             regarding      YOUR alleged employment with the CORPORATE DEFENDANTS.
                                                                      RESPONSE T0 REQUEST N0. 20
NNNNNNNNNr—tn—Ah—Ar—nwh—th—tp—AHp—l




                                                                      Plaintifft herein incorporates        by reference each and every one 0f the General Obj ections
                                      ®N®M$WN~O©WQQM~DWNHO




                                                             set forth above,     and plaintiffs response       t0 this request is expressly subject to,   and without

                                                             waiver   0f,    each 0f those General Objections.

                                                                       Subject to and without waiver of these objections, plaintiff will produce any documents

                                                             in her possession, custody or control that are responsive to this request.


                                                                      REQUEST NO. 21
                                                                      A11    DOCUMENTS that RELATE TO any oral or written complaint YOU made regarding
                                                             Nate   Styles.


                                                                      RESPONSE T0 REQUEST N0. 21
                                                                      Plaintiff herein incorporates        by reference each and every on of the General Objections        set


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                                                             PLAlNTiFF’S        SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                                    forth above,     and plaintiff s response t0   this request is expressly subj ect t0,    and without waiver   of,


                                                                    each 0f those General Objections.

                                                                              Subject to and without waiver of the foregoing objections, plaintiff will produce any

                                                                    documents in her possession, custody or control          that are responsive to this request.


                                          \OOOQQUI-bUJNH
                                                                              REQUEST NO. 22
                                                                              A11   COMMUNICATIONS that RELATE TO any oral or written complaints YOU made
                                                                    regarding Nate Stiles.

                                                                              RESPONSE TO REQUEST N0. 22
                                                                              Plaintiff herein incorporates   by reference each and every one 0f the General Objections

                                                                    set forth   above, and plaintiff s response t0 this request     is   expressly subject   t0,   and Without waiver

                                                                    0f,   each 0f those General Objections.

                                                                              Subject t0 and without waiver of the foregoing objections, plaintiff will produce any

                                                                    documents in her possession, custody 0r control          that are responsive to this request.


                                                                              REQUEST NO. 23
                                                                              A11   DOCUMENTS that RELATE to any oral or written complaint YOU made regarding
                                                                    alleged “off label marketing.”


                                                                              RESPONSE TO REQUEST NO. 23
NNNNNNNNNb—ih—Iy—ar—lr—IHHv—Ap—Ap—a




                                                                              Plaintiff herein incorporates   by reference each and every one of the General Obj ections
                                      OOQOM-bUJNHOCOOQOUl-BWNF—‘O




                                                                    set forth above,    and plaintiffs response to    this request is expressly subject to,        and without waiver

                                                                    of,   each of those General Objections.

                                                                              Subj ect to and without waiver 0f the foregoing objections, plaintiff Will produce any

                                                                    documents in her possession, custody or control          that are responsive to this request.


                                                                              REQUEST N0. 24
                                                                              All   COMMUNICATIONS that RELATE TO any oral 0r written complaints YOU made
                                                                    regarding alleged “off label marketing.”

                                                                              RESPONSE TO REQUEST N0. 24
                                                                              Plaintiff herein incorporates   by reference each and every one of the General Obj actions

                                                                                                                         -11-


                                                                     PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTEON
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             set forth above,    and plaintiff s response to    this request is expressly subj ect t0,   and Without waiver

             0f,   each of those General Objections.

 QWN                   Subject to and without waiver 0f the foregoing objections, plaintiff will produce any

             documents       in her possession, custody or control that are responsive to this request.


                       REQUEST N0. 25
                       All   DOCUMENTS that constitute, evidence, or reference correspondence 0r other
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             COMMUNICATIONS with any individual from Whom YOU 0r any PERSON acting on YOUR
             behalf has obtained 0r has sought to obtain a written or oral statement concering the relevant

             facts   and circumstance, or the allegations and claims involved          in the litigation initiated   by the

10           COMPLAINT,          including a copy of any statement(s) received.

11                     RESPONSE T0 REQUEST N09 25
12                     Plaintiff herein incorporates     by reference each and every one of the General Objections

13           set forth above,    and   plaintiff’s response to this request is expressly subject t0,     and Without waiver

14           of,   each 0f those General Objections.

15                     Subject t0 and without waiver 0f the foregoing obj actions, plaintiff has          made a diligent

16           search and reasonable inquiry, and has no documents in her custody, possession 0r control that

17           are responsive to this request.      No   such documents      exist.


18                     REQUEST NO. 26
19                     A11   DOCUMENTS that constitute, evidence, 0r reference any meeting, conversations, or
20           other   COMMUNICATIONS YOU had at any time with any PERSON (other than YOUR
21           attorneys) concerning any       0f the   facts, events,   or allegations involved in this lawsuit, including

22           but not limited t0 correspondence (including any electronic form of communications such as e-

23           mail 0r text messaging), memoranda, notes, any writing reﬂecting telephone communications, 0r

24           any writing reﬂecting other       COMMUNICATIONS,               such as entries in any calendar, date book,

25           journal, appointment book, or 10g.


26                     RESPONSE TO REQUEST NO. 26
27                     Plaintiff herein incorporates     by reference each and every one of the General Objections

28                                                                 -1 2-



              PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                                 set forth above,     and   plaintiff’s   response to this request   is   expressly subj ect   to,   and without waiver

                                                                 0f,   each of those General Objections.

                                                                           Plaintiff further objects that this request is overbroad,          unduly burdensome and

                                                                 oppressive. Subject t0 and without waiver of these objections, plaintiff Will produce any

                                                                 documents in her possession, custody or control            that are responsive t0 this request.
                                       \OOONONUl-hWNH




                                                                           REQUEST NO. 27
                                                                           All   DOCUMENTS created by YOU 0r any other person (other than YOUR counsel in
                                                                 this case)   RELATED TO any of the allegations in YOUR COMPLAINT.
                                                                           RESPONSE TO REQUEST NO. 27
                                                                           Plaintiff herein incorporates       by reference each and every one 0f the General Objections

                                                                 set forth above,     and plaintiffs response      to this request is expressly subject to,          and without waiver

                                                                 of,   each 0f those General Objections.

                                                                           Plaintiff further objects that this request is overbroad,          unduly burdensome, and

                                                                 oppressive, and calls for documents that are conﬁdential. Subj ect to and without waiver 0f the

                                                                 foregoing objections, plaintiff will produce any documents in her possession, custody or control

                                                                 that are responsive to this request.


                                                                           REQUEST NO. 28

NNNNNNNNNP—dn—dh—ar—Ar—AHHMHH
                                                                           A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 of YOUR
                                OOQQKII-bWNh-‘OKOWQQUI-bwwr—‘O
                                                                 COJMPLAINT that “defendant BIP exercised control                    over the means and manner of          [YOUR]
                                                                 performance as a sales répresentative.”

                                                                           RESPONSE TO REQUEST NO. 28
                                                                           Plaintiff herein incorporates       by reference each and every one 0f the General Objections

                                                                 set forth above,    and plaintiff s response      to this request is expressly subject to,          and Without waiver

                                                                 of,   each of those General Objections.

                                                                           Subj ect to and without waiver of the foregoing objections, plaintiff will produce any

                                                                 documents       in her possession, custody or control that are responsive to this request.




                                                                                                                        -13-


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                          REQUEST N0. 29
                          A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 8 0f YOUR
                COMPLAINT that “BIP controlled the location and assignment of [YOUR]                          territory as a


                pharmaceutical representative; BIP had the power to manage and control                     [YOUR] job
                performance, (including through defendant           Stiles,    a manager of BIP); BIP instructed          [YOU]   as t0
 \OOOQQUIAUJN




                how to perform [YOUR] job duties and make                sales calls;   and BIP had the power to’terminate

                [YOUR]      performance, and did so, as alleged further below.”

                          RESPONSE T0 REQUEST NO. 29
                          Plaintiff herein incorporates     by reference each and every one of the General Objections

10              set forth above,     and plaintifft’s response   to this request is expressly subject to,       and Without

11              waiver    of,   each 0f those General Objections.

12                        Subject to and without waiver 0f the foregoing objections, plaintiff will produce any

13              documents       in her possession, custody or control that are responsive to this request.


14                        REQUEST NO. 30
15                        A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                          10 of   YOUR
16              COMPLAINT that “defendants interfered with [YOUR] job performance and engaged in
17              unlawful conduct       at several levels   during the   summer 0f 2017,      in   which   plaintiff was


18              accompanied       in her physician sales calls   by her    direct   manager, defendant Styles      [sic].”


19                        RESPONSE TO REQUEST N0. 30
20                        Plaintiff herein incorporates     by reference each and every one 0f the General Objections,

21              set forth above,     and plaintiff’s response   t0 this request is expressly subject to,       and without waiver

22              of,   each 0f those General Objections.

23                        Subj ect t0 and without waiving this objection, plaintiff will produce any documents in

24              her possession, custody or control that are responsive to this request.

25                        REQUEST NO. 31
26                        A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                          11 0f   YOUR
27              COMPLAINT that “Mr.           Styles confronted    [YOU] with lewd and harassing             sexual behavior

28
                                                                        -14-


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               while    [YOU were]           attempting to do a routine inventory of         [YOUR]   pharmaceutical sample

               storage locker in Mr. Style’s presence, while bent               down    in a   conﬁned   space...”


                         RESPONSE T0 REQUEST NO. 31
                         Plaintiff herein incorporates        by reference each and every one 0f the General Objections

               set forth above,          and plaintiffs response to   this request is expressly subject t0,      and Without waiver

               of,   each 0f those General Objections.
 \OOOQONUI-P




                         Plaintiff further objects that this request is overbroad,              unduly burdensome, and

               oppressive. Subject to and without waiver 0f the foregoing objections, plaintiff will produce any

               documents        in her possession, custody or control that are responsive to this request.


10                       REQUEST NO. 32
11                       A11    DOCUMENTS that RELATE TO YOUR allegation in Paragraph                            12 of   YOUR
12             COMPLAINT that “Mr.                Styles also engaged in illegal business practices,         and instructed [YOU]

13             t0    d0 so   also,   on behalf of defendants    in their efforts to increase sales       of BIP products to

14             physicians.”

15                       RESPONSE T0 REQUEST NO. 32
16                       Plaintiff herein incorporates        by reference each and every one 0f the General Objections

17             set forth     above, and plaintiffs response t0 this request            is   expressly subject to, and Without waiver

18             0f,   each 0f those General Objections.

19                       Subject to and Without waiver 0f the foregoing objections, plaintiff will produce any

20             documents in her possession, custody 0r control              that are responsive to this request.


21                       REQUEST N0. 33
22                       A11    DOCUMENTS that RELATE TO YOUR allegation in Paragraph 12 0f YOUR
23             COMPLAINT that “Mr.                Styles engaged in direct      and   explicit statements, actions   and   efforts to


24             market and       sell the     BI Jardiance Combination products to medical providers for ‘off label’ uses

25             and purposes          —   in other words, for uses   and purposes not indicated or approved by United States

26             regulatory authorities, and in Violation of the laws and regulatory authorities, and in Violation of

27             the laws and regulations promulgated to prohibit the marketing and sales of drugs for non—

28                                                                       -15-


                PLAINTIFF’S          SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
                                                        OF DOCUMENTS
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                                                      approved and non—indicated uses and purposes.”

                                                                RESPONSE TO REQUEST NO. 33
                                                                Plaintiff herein incorporates        by reference each and every one of the General Obj ections

                                                      set forth above,    and plaintiffs response         t0 this request is expressly subject to,        and without waiver
                                 OOOVmUl-hWNp-a




                                                      of,   each 0f those General Obj actions.

                                                                Subject to and Without waiver 0f the foregoing objections, plaintiff will produce any

                                                     documents        in her possession, custody or control that are responsive to this request.


                                                                REQUEST NO. 34
                                                                A11   DOCUMENTS that RELATE TO YOUR allegations in Paragraph                               13 of   YOUR
                                                     COMPLAINT that “Mr.              Styles also ordered      [YOU]   t0 adopt    and use the same unlawful ‘off

                                                     label’ sales actions       and practices    that   he had engaged in with physician accounts assigned t0 her,

                                                     t0 increase sales of the       BI Jardiance Combination products.”

                                                                RESPONSE TO REQUEST N0. 34
                                                                Plaintiff herein incorporates       by reference each and every one 0f the General Objections

                                                     set forth above,     and plaintiff s response t0        this request is expressly subject t0,        and without waiver

                                                     0f,    each of those General Obj ections.

                                                                Subj ect to and without waiver of the foregoing objections, plaintiff will produce any
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                                                     documents within her possession, custody 0r control               that are responsive t0 this request.


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                                                                REQUEST N0. 35
                                                                A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                               14 0f   YOUR
                                                     COMPLAINT that “BIP was already facing severe government scrutiny and claims for engaging
                                                     in Widespread, illegal, ‘off label’ marketing practices with respect to several                  BIP pharmaceutical

                                                     products.”


                                                               RESPONSE TO REQUEST NO. 35
                                                               Plaintiff herein incorporates        by reference each and every one of the General Objections

                                                     set forth above,     and   plaintiff” s   response t0 this request   is   expressly subj ect   to,   and without waiver

                                                     of,   each of those General Obj ections.


                                                                                                               -1 5-



                                                      PLAINTIFF’S      SECOND AMENDED RESPONSES T0 DEFENDANT’S REQUEST FOR PRODUCTION
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                       Subj ect t0 and without waiver of the foregoing objections, plaintiff has conducted a

             diligent search,    and she has n0 documents in her possession, custody or control                 that are


 hWN         responsive t0 this request. Such documents are in the possession of defendant BIP, and plaintiff

             is   informed and believes are in the possession of the U.S.          FDA, and       the U.S. Department 0f


             Justice. (Plaintiff   does not   know their    addresses).


                       REQUEST NO. 36
 \OOOVQKII



                       All   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                             14 of   YOUR
             COMPLAINT that “as a result 0f having been              ‘busted’ already for        its   unlawful ‘off label’

             marketing practices caused by a sales employee’s report 0f those unlawful practices t0

10           government agencies, and with speciﬁc knowledge from                  plaintiff’s   own personnel         records and

11           statements that she has prior experience with pharmaceutical ﬁrms, and prior knowledge of the

12           illegality   of ‘off label” practices,   after plaintiff called out   defendant Styles for instructing her to

13           engage in those practices, defendant BIP was acutely fearful that              plaintiff would also report those


14           ‘off label’ practices to the   DOJ or other government agencies.”
15                     RESPONSE T0 REQUEST NO. 36
16                     Plaintiff herein incorporates     by reference each and every one of the General Obj ections

17           set forth above,    and plaintiff s response t0    this request is expressly subject to,          and without waiver

18           of,   each of those General Objections.

19                     Subject to and without waiving these objections, plaintiff will produce any documents in

20           her custody, possession or control that are responsive t0 this request.

21                     REQUEST NO. 37
22                     A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                             15 0f   YOUR
23           COMPLAINT that “BIP and its manager, defendant Styles, had the power to terminate [YOUR]
24           employment, and use that power           to cause the termination      0f [YOUR] employment as a BIP sales

25           representative.”


26                     RESPONSE TO REQUEST NO. 37
27                     Plaintiff herein incorporates     by reference each and every one of the General Objections

28                                                                 -17-


              PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTiGN
                                                  0F DOCUMENTS
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                                                         set forth above,     and plaintiffs response to    this request is expressly subject to,   and Without waiver

                                                         of,   each 0f those General Obj actions.

                                                                   Subject to and without waiver of the foregoing objections, plaintiff will produce any

                                                         documents       in her possession,   custody 0r control that are responsive t0 this request.
                                    ©00QC\U1&le\Jr—n




                                                                   REQUEST NO. 38
                                                                   A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                      15 of   YOUR
                                                         COMPLAINT that the CORPORATE DEFENDANTS’                          “stated reason for [the] termination 0f


                                                         [YOUR] employment was            false   and contrived...”

                                                                   RESPONSE TO REQUEST NO. 38
                                                                   Plaintiff herein incorporates     by reference each and every one 0f the General Objections

                                                         set forth above,     and plaintiff s response   t0 this request is expressly subject to,   and without waiver

                                                         0f,   each of those General Obj actions.

                                                                   Subject to and without waiver of the foregoing objections, plaintiff will produce any

                                                         documents       in her possession,   custody or control that are responsive to this request.

                                                                   REQUEST NO. 39
                                                                   A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph                      17 of   YOUR
                                                         COMPLAINT that “[YOU]             were subjected    to   unwelcome sexually motivated physical       actions

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                                                         and advances, including impeding and blocking movement and physical                interference with her

                              ooﬂam-hWNHOOWNQUl-PWNPdO




                                                         work and movement based 0n [YOUR]               sex,   by managers of defendants.”

                                                                   RESPONSE T0 REQUEST NO. 39
                                                                   Plaintiff herein incorporates     by reference each and every one of the General Objections

                                                         set forth above,    and   plaintiff’s response to this request is expressly subject t0,    and without waiver

                                                         of,   each of those General Objections.

                                                                   Subject to and without waiving the foregoing objections, plaintiff will produce any

                                                         documents       in her possession, custody or control that are responsive t0 this request.


                                                                   REQUEST NO. 40
                                                                   All   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 25                     0f YOUR


                                                                                                                -18-


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          COMPLAINT that “[YOUR]                age was a substantial motivating factor in such discriminatory

          treatment and adverse employment actions taken against [YOU], including termination of

          [YOUR] employment.”

                    RESPONSE T0 REQUEST NO. 40
                    Plaintiff herein incorporates      by reference each and every one 0f the General Objections

          set forth above,     and   plaintiff‘s response t0 this request is expressly subject to,     and without waiver

          of,   each 0f those General Objections.

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                    Subject to and Without waiver of the foregoing objections, plaintiff will produce any

          documents       in her possession, custody or control that are responsive to this request.


10                  REQUEST NO. 41
11                  All   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 30 of YOUR
12        COMPLAINT that “[YOU]               engaged   in   one or more protected   activities by,   among   other things,

13        complaining 0f and obj ecting to defendants’ sexually harassing and discriminatory statements

14        toward her by managers, employees, and/or agents 0f defendants.”

15                  RESPONSE T0 REQUEST NO. 41
16                  Plaintiff herein incorporates      by reference each and every one of the General Objections

17        set forth above,    and    plaintiff’s response t0 this request is expressly subject to,     and without waiver

18        of,   each of those General Objections.

19                  Subject to and without waiver of the foregoing objections, plaintiff will produce any

20        documents       in her possession, custody or control that are responsive to this request.


21                  REQUEST NO. 42
22                  All   DOCUMENTS that RELATE TO YOUR allegation in Paragraphs 22, 28, 33                         and 38

23        0f YOUR     COMPLAINT that “The foregoing acts 0f defendants were fraudulent, malicious,
24        intentional, oppressive,      and   plaintiff is therefore entitled to   an award of punitive damages agaisnt

25        defendants.”

26                 RESPONSE TO REQUEST NO. 42
27                 Plaintiff herein incorporates      by reference each and every one of the General Objections

28
                                                                 -1 9-



          PLAINTIFF’S       SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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               set forth above,    and   plaintiff’s   response to this request   is   expressly subject    to,   and without waiver

               of,   each 0f those General Objections.

                         Subj ect t0 and without waiver 0f the foregoing objections, plaintiff will produce any

               documents       in her possession, custody 0r control that are responsive t0 this request.


                         REQUEST NO. 43
                         A11   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 40 of YOUR
 \OOONQUl-h




              COMPLAINT that “defendant Styles had actual or apparent authority over plaintiff,                         as plaintiff’s

              direct supervisor, including the          power to   discipline plaintiff, the   power to   limit or diminish her

              earnings,     and the power    to terminate her      employment and threaten or take away her            livelihood.”

10                       RESPONSE T0 REQUEST NO. 43
11                       Plaintiff herein incorporates      by reference each and every one 0f the General Objections

12            set forth above,     and   plaintiff’s   response t0 this request   is   expressly subj ect   t0,   and without waiver

13            of,    each of those General Objections.

14                       Subject to and without waiver 0f the foregoing objections, plaintiff Will produce any

15            documents in her possession, custody 0r control             that are responsive to this request.

16                      REQUEST N0. 44
17                      All    DOCUMENTS that RELATE TO YOUR allegation in Paragraph 41                             of YOUR

18            COMPLAINT that “Defendant Styles engaged in the outrageous acts described in paragraph                             11

19            of the   First   Amended    Complaint, and did so with the intention to cause severe emotional distress

20            to    [YOU]   or With reckless disregard that he       would cause such severe emotional             distress t0

21            [YOU].”

22                      RESPONSE TO REQUEST NO. 44
23                      Plaintiff herein incorporates       by reference each and every one of the General Objections

24            set forth above,     and plaintiff s response to      this request is expressly subj ect to,        and without waiver

25            of,   each 0f those General Objections.

26                      Subject t0 and without waiver 0f the foregoing objections, plaintiff will produce any

27            documents in her possession, custody 0r control             that are responsive t0 this request.

28
                                                                      -20-


              PLAlNTlFF’S       SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                    REQUEST N0. 45
                    All   DOCUMENTS that RELATE TO YOUR allegation in Paragraph 42 of YOUR
 bWN      COMPLAINT that “the foregoing wrongful acts did in fact cause                    severe emotional distress to

          [YOU] and [YOU] have            suffered    damages from such     distress, in   an amount to be proven      at


          trial.”


                    RESPONSE T0 REQUEST N0. 45

 Qooﬂmm
                    Plaintiff herein incorporates       by reference each and every one 0f the General Objections

          set forth above,     and   plaintiff’s   response to this request   is   expressly subject   to,   and without waiver

          of,   each of those General Obj actions.

10                  Subject t0 and without waiver 0f the foregoing obj actions, plaintiff will produce any

11        documents in her possession, custody or control              that are responsive t0 this request.


12                  REQUEST NO. 46
13                  All   DOCUMENTS that constitute, evidence, 0r reference any COMMUNICATIONS
14        between     YOU and any PERSON acting 0n YOUR BEHALF) and any government agency
15        including, but not limited to, the California Department of Fair               Employment and Housing,         the


16        United States Equal Employment Opportunity Commission, or the California Labor

17        Commissioner concerning the subject matter of this lawsuit 0r any claims concerning                         YOUR
18        alleged   employment with        DEFENDANT,            including but not limited t0 complaints, charges,

19        questionnaires, worksheets, completed forms, correspondence,                   memoranda, 0r       notes.


20                  RESPONSE TO REQUEST N0. 46
21                  Plaintiff herein incorporates       by reference each and every one of the General Objections

22        set forth above,    and    plaintiff’s   response to   this request is expressly subject t0,       and without waiver

23        of, the   foregoing objections.

24                  Subj ect to and Without waiver of the foregoing objections, plaintiff will produce any

25        documents       in her possession, custody or control that are responsive t0 this requet.


26                  REQUEST NO. 47
27                  A11   DOCUMENTS” RELATED TO any type 0r amount 0f damages YOU allegedly

28                                                                 -21-


           PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                    sustained as a result 0f any conduct attributed to      DEFENDANTS,        including   all   DOCUMENTS
                                                    stating, referencing, evidencing, or      concerning any calculations of said damages.

                                                              RESPONSE TO REQUEST NO. 47
                                                              Plaintiff herein incorporates   by reference each and every one 0f the General Objections

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                                                    set forth above,    and plaintiff s response to   this request is expressly subject to,   and without waiver

                                                    of, the   foregoing obj ections.

                                                              Subject t0 and without waiver of the foregoing objections, plaintiff Will produce any

                                                    documents in her possession, custody or control         that are responsive to this request.


                                                              REQUEST NO. 48
                                                              All   DOCUMENTS that RELATE TO any treatment YOU received from any
                                                    HEALTHCARE PROVIDER for any physical 0r emotional injury that YOU attribute to the
                                                    conduct 0f DEFENDANTS.

                                                              RESPONSE T0 REQUEST NO. 48
                                                              Plaintiff herein incorporates   by reference each and every one of the General Obj ections

                                                    set forth above,   and   plaintiff’s response t0 this request is expressly subject to,    and without waiver

                                                    0f, the   foregoing objections.

                                                              Plaintiff fuﬁher objects that this request seeks   documents    that are protected   by plaintiff’s

                                                    rights   0f privacy and conﬁdentiality. Subject to and without waiver of the foregoing objections,
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                                                    plaintiff has   made   a reasonable inquiry, and has n0 documents in her possession, custody 0r

                       OOQQU‘I-thﬁ-‘OOOQVQUI-thHO


                                                    control that are responsive to this request. (Plaintiff did not receive such treatment, so n0

                                                    responsive documents ever existed).

                                                              REQUEST NO. 49
                                                              A11   COMMUNICATIONS with any HEALTHCARE PROVIDER from whom YOU
                                                    sought treatment for any physical or emotional injury that        YOU attribute to the conduct of
                                                    DEFENDANTS.
                                                              RESPONSE TO REQUEST N0. 49
                                                              Plaintiff herein incorporates   by reference each and every one of the General Objections

                                                                                                        -22-


                                                    PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                               set forth above,    and   plaintiff” s   response t0 this request      is   expressly subject    to,   and without waiver

                                                               of, the   foregoing objections.

                                                                          Subject t0 and without waiver 0f the foregoing objections, plaintiff has                    made a reasonable

                                                               inquiry,   and has no documents that are responsive t0               this request.    Such documents never

                                                               existed.
                                      \OOOQQUIAUJNH




                                                                          REQUEST N0. 50
                                                                         All   DOCUMENTS that RELATE TO any treatment YOU received from any
                                                               HEALTHCARE PROVIDER for any emotional injury from January                                1,   2016   t0 the present date.


                                                                         RESPONSE TO REQUEST NO. 50
                                                                         Plaintiff herein incorporates       by reference each and every one of the General Objections

                                                               set forth above,    and plaintiffs response         is   expressly subject to, and without waiver of, the

                                                               foregoing objections.

                                                                         Plaintiff further obj ects that this request seeks          documents      that are protected    by plaintiffs

                                                               rights 0f privacy    and conﬁdentiality. Subject            to   and Without waiver 0f the foregoing obj ections,

                                                               plaintiff has    made a reasonable       inquiry,   and has no documents in her possession, custody or

                                                               control that are responsive to this request.             Such documents never         existed.


                                                                         REQUEST NO. 51
                                                                               COMMUNICATIONS with any HEALTHCARE PROVIDER from whom YOU
NNNNNNNNNt—lb—‘Hr—Ay—Ar—An—AHHH




                                                                         A11

                                                               sought treatment for any emotional injury from January                  1,   2016   to the present.
                                  OOQQUIhWNh-‘OGOOQQUIAUJNHO




                                                                         RESPONSE TO REQUEST N0. 51
                                                                         Plaintiff herein incorporates       by reference each and every one of the General Objections

                                                               set forth above,    and plaintiff s response        is   expressly subject to, and Without waiver of, the

                                                               foregoing objections.

                                                                         Plaintiff further objects that this request seeks           documents      that are protected     by   plaintiff” S


                                                               rights   0f privacy and conﬁdentiality. Subject t0 and without waiver 0f the foregoing obj ections,

                                                               plaintiff has   made a diligent     search and reasonable inquiry, and has no documents in her

                                                               possession, custody or control that are responsive to this request. Such documents never existed.


                                                                                                                          -23-


                                                                PLAINTIFF’S      SECOND AMENDED RESPONSES T0 DEFENDANT’S REQUEST FOR PRODUCTION
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                           REQUEST NO. 52
     N                     A11   DOCUMENTS that RELATE TO YOUR efforts to mitigate YOUR damages from
                September 2017        t0 the present, including, but not limited t0         any job application, resume,

               curriculum Vitae, or cover       letter   YOU submitted to any potential employer.
                           RESPONSE TO REQUEST NO. 52
 \OOOQQUIAUJ               Plaintiff herein incorporates    by reference each and every one of the General Objections

               set forth    above, and plaintiff s response     is   expressly subject      t0,   and Without waiver     0f, the


               foregoing objections.

                           Subj ect to and Without waiver of the foregoing objections, plaintiff will produce any

10             documents in her possession, custody 0r control             that are responsive t0 this request.

11                      REQUEST NO. 53
12                      A11      COMMUNICATIONS            with any potential employer,            recruiter, or   placement agency

13             that   RELATE TO YOUR efforts to ﬁnd employment from September 201 7 to the present.
14                      RESPONSE T0 REQUEST N0. 53
15                      Plaintiff herein incorporates       by reference each and every one of the General Objections

16             set forth    above, and plaintiff’s response     is   expressly subject      t0,   and Without waiver of the

17             foregoing obj ections.

18                      Subject to and without waiver of the foregoing objections, plaintiff will produce any

19             documents in her possession, custody 0r control             that are responsive to this request.


20                      REQUEST NO. 54
21                      A11      DOCUMENTS that RELATE TO any employment YOU obtained from September
22             2017   to the present including, but not limited to,           any offer   letters,   and   DOCUMENTS evidencing
23             the   COMPENSATION and beneﬁts YOU received from any employer.
24                      RESPONSE TO REQUEST NO. 54
25                      Plaintiff herein incorporates       by reference each and every one of the General Objections

26             set forth   above, and plaintiff’s response     is    expressly subject     t0,    and Without waiver    of, the


27             foregoing obj ections.

28
                                                                       -24-


               PLAINTIFF’S         SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                                                                   Plaintiff further obj ects that this request seeks         documents      that are protected   by plaintiff s

                                                         rights   0f privacy and conﬁdentiality. Subject            t0   and without waiver 0f the foregoing objections,

                                                         plaintiff will   produce any documents in her possession, custody or control that are responsive to

                                                         this request.


                            \OOOQQMAUJNp—a
                                                                   REQUEST NO. 55
                                                                   A11   DOCUMENTS that RELATE TO any lawsuits, complaints, charges, grievances, or
                                                         other legal or equitable claims         made by YOU,        or   made by   others   on   YOUR behalf, against any
                                                         employer, other than this      ACTION.

                                                                   RESPONSE TO REQUEST N0. 55
                                                                   Plaintiff herein incorporates     by reference each and every one of the General Objections

                                                         set forth above,    and   plaintiff’s   response   is   expressly subj ect t0, and without waiver 0f, the

                                                         foregoing objections.

                                                                   Plaintiff further obj ects that this request is overbroad, undurly              burdensome, and

                                                         oppressive, and seeks documents that are protected by attorney-client privilege, and/or not

                                                         reasonably calculated to lead t0 the discovery of admissible evidence, and Which are protected by

                                                         plaintiff s rights 0f privacy     and conﬁdentiality.




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                                                                                                                   LAW OFFICES OF MICHAEL T. WELCH
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                                                         DATED:      August   16,   2019                           By;
                                                                                                                         Michael T.
                                                                                                                                    WWL
                                                                                                                                      Welch
                                                                                                                         Attorney for Plaintiff
                                                                                                                         BRENDA PERRY




                                                                                                                   -25-


                                                          PLAINTIFF’S      SECOND AMENDED RESPONSES TO DEFENDANT’S REQUEST FOR PRODUCTION
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                    Exhibit 16
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Baltazar, Ashley A.


From:                                                  Baltazar,        Ashley A.
Sent:                                                  Friday,      September            6,   2019 12:18      PM
To:                                                    'Michael Welch'
Cc:                                                    Meckley,         Eric

Subject:                                               RE: Perry        v.   Ashfield, et       al.




Michael,


Yesterday      we    received the following documents:
      o    Verified    Second Amended Responses to                                Bl’s   Requests for Production of Documents;
           Verified    Second Amended Responses to                                Bl’s   Form     Interrogatories;
           Verified    Second Amended Responses to                                Bl’s   Special Interrogatories;          and
           Proofs of service for documents produced P01-70.


We are     still   awaiting the following:
      o    A   proof of service for the Verified Second                            Amended Responses you                  sent via Fed Ex, which      we    received yesterday
           (Can you please just send this to                       me    via email?)
      o    A   proof of service for documents produced 79-106 (can you please just send this to                                              me via       email as well?);
      o    A   privilege log that        lists       any documents withheld on the basis of                           privilege;
      o    The attachment to P087; and
      o    PO71-O78 or a representation that no documents bates stamped PO71—78 were intended to be produced. (As                                                             a
           reminder, Plaintiff sent documents bates tamped P01-70 and 79-106, but BI is missing documents bates
           stamped P71-78).

Thank you,


Ashley


Ashley A. Baltazar
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower San           |
                                                           Francisco,    CA 94105
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Assistant: Robin      Onaka   |
                                  +1.415.442.1669              |
                                                                   robin.onaka@morgan|ewis.com



From: Baltazar, Ashley A.
Sent: Tuesday,        September         3,   2019 5:03             PM
To: 'Michael Welch'           <mwe|ch|aw@gmail.com>
Cc: Meckley, Eric       <eric.meckley@morganlewis.com>
Subject: RE: Perry       v.   Ashfield, et           al.




Michael,


Thank you      for   meeting with         me         last   week to meet and confer                       regarding   Plaintiff’s   responses to   Bl’s   written discovery
requests. Per our discussion, you agreed to provide the following:
      o    Verified    Second Amended Responses to                                Bl’s   Requests for Production of Documents;
      o    Verified    Second Amended Responses to                                Bl’s   Form     Interrogatories;


                                                                                                      1
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     o      Proof of Service that indicates service of                               Plaintiff’s Verified   Second Amended Responses to     Bl’s Special

            Interrogatories (which you hand delivered on                                    Wednesday, August        28th);

           A proof of Service that indicates service of_a|l of Plaintiff’s documents produced;
           A privilege log that lists any documents withheld on the basis of privilege;
           The attachment to P087; and
            P071-078 or         a representation that                       no documents bates stamped P071-78 were intended to be produced. (As                        a

            reminder,      Plaintiff          sent documents bates                tamped P01-70 and 79-106, but Bl is missing documents bates
           stamped P71-78).


My   understanding         is   that you               were going to try to hand deliver the foregoing on Wednesday                after   you   left   our   office,   but
we   did not receive the above.                        Can you commit to getting it to us by the end of this week?


Thanks,
Ashley


Ashley A. Baltazar
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                                                                          robin.onaka@morganlewis.com



From: Baltazar, Ashley                  A.
Sent: Wednesday, August 28, 2019 9:26 AM
To: 'Michael Welch' <mwe|ch|aw    mail.com>
Cc: Meckley, Eric         <eric.mecklev@morganlewis.com>
Subject: RE: Perry         v.   Ashfield, et                al.




Yes, that works.


Thanks,
Ashley


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                                                                          robin.onaka@morqan|ewis.com


From: Michael Welch <mwe|ch|aw@gmail.com>
Sent:     Wednesday, August                  28,       2019 9:13          AM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Re: Perry         v.   Ashfield, et                al.




[EXTERNAL EMAIL]
Ashley      -       I'm running late today due to longer morning hearing than                                    I   expected. Could   we meet a little later,          say
11:45? Sorry, but please                      let      me know. Thank you - Mike Welch

On Mon, Aug 26, 2019                         at   7:49       AM Michael Welch <mwelchlaw@gmail.com> wrote:
 Ashley         -   Ithink that will work. See you then.                                -   Mike
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On Fri, Aug 23, 2019             at    10:47         AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
 Hi   Michael,




 How    does Wednesday           at    11 a.m. work for you?




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                                                                    robin.onaka@morganlewis.com




From: Michael Welch <mwe|ch|aw@gmail.com>
Sent: Friday, August 23, 2019 8:27                         AM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Re: Perry      v.   Ashfield, et            al.




 [EXTERNAL EMAIL]

Ashley     -    Things open up for                   me    after     Tuesday, so maybe Wednesday? Late morning 0r early
afternoon? Thanks            -   Mike




On Thu, Aug 22, 2019                  at 10:31         PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
  Michael,




  Are you available to come to our office next week to meet and confer                                 in   person regarding the various issues with
  Plaintiff’s    discovery responses? Please                        let   me know your availability and     |   will clear   my schedule   to   make   sure   we   can
  bring this to a conclusion.
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Thanks,


Ashley




Ashley A. Baltazar

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                                                                          robin.onaka@morganlewis.com




From: Michael Welch <mwe|ch|aw@gmail.com>
Sent: Tuesday, August 20, 2019 11:44                              AM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Re: Perry          v.   Ashfield, et            al.




[EXTERNAL EMAIL]

Ashley       -   IWill review this further later today after                                       I   get something ﬁled. Yes,           we Will toll any motion
deadline as to your client while getting this squared away. Thanks                                                          -   Mike Welch




On Mon, Aug           19,    2019          at   5:34       PM Baltazar, Ashley A. <ash1ev.baltazar@morganlewis.com> wrote:
 Michael,




 As   |   indicated   in   several of           my   prior emails             and meet and confer                letters,   there are several problems regarding
 verifications in this case.                Your         letter   does not appropriately address the issue of the                          lack of verifications   and   in fact

 inaccurately states that you have ”provided [me] with the                                             amended
                                                                                                            you just verifications.” First, the verification

 attached was never previously served on our                                        office.   It   was only emailed
                                                                             few weeks ago. Despite my repeated                 a

 requests, we have not received it via a proper method of service (e.g., mail, overnight mail, or hand delivery) with a
 corresponding proof of service. While we appreciate receiving courtesy copies of these documents via email, we
 have not and do not agree to email service in this case. Second, the PDF contains a single verification to Plaintiff’s
 Amended Responses to                     Defendant’s Special Interrogatories.                             It   does not contain any other       verifications. Third,    we
 have not received any verification                            (via       email or otherwise) for           Plaintiff’s         Amended responses to   Defendant's Form
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Interrogatories. Accordingly, please serve the attached verification                            and the       verification to Plaintiff’s     Amended
Responses to Defendant’s Form Interrogatories.




Please also confirm that Defendant’s deadline to compel responses to                               all   of   its   discovery requests   is   tolled while   we
await proper service of these verifications.




Thank you,



Ashley




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                                                                robin.onaka@morganlewis.com




From: Michael Welch <mwe|ch|aw                             mai|.com>
Sent:     Monday, August       19,    2019 5:15           PM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Re: Perry    v.   Ashfield, et            al.




[EXTERNAL EMAIL]

Ashley - As I indicated in my letter, Ms. Perry will be sending me veriﬁcations, which I have been told I
will have by tomorrow. I am puzzled by your statement that you were not provided veriﬁcations to prior
responses. I have attached the most recent veriﬁcations that I have provided you to prior discovery
responses. Regards - Mike




On Mon, Aug        19,   2019        at 11:51            AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
 Michael,
             Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 197 of 274
|   have not yet reviewed the substance of your response to our meet and confer                           letter or   the discovery responses
that you sent over. However, once again, these responses do not contain any verifications. Nor has Plaintiff
provided verifications to the prior responses that she sent. As you are aware, serving responses without a
verification   is   akin to no response at                all.   Please advise as to the status of the verifications to   a_H   of the prior and
current discovery responses Plaintiff has provided by close of business today.




Thank you,




Ashley




Ashley A. Baltazar

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                                                                 robin.onaka@morganlewis.com




From: Michael Welch <mwelchlaw                              mai|.com>
Sent:     Monday, August         19,    2019 10:15          AM
To: Baltazar, Ashley A. <ash|ev.baItazar@morganlewis.com>
Subject: Perry      v.   Ashfield, et        al.




[EXTERNAL EMAIL]

Ashley - Ihave attached my response t0 your last meet and confer letter regarding discovery responses.                                             I

have also attached several additional iterms referred t0 in the letter (i.e., amended responses to special
interrogatories and form [employment- interrogatories; and further documents). Ihave also attached the
previously signed stipulation re: protective order. Those and further responses t0 document requests are
following by mail. Regards - Mike Welch




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e-mail and delete the original message.
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                    Exhibit 17
               Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 200 of 274


Baltazar, Ashley A.


From:                             Michael Welch <mwelchlaw@gmail.com>
Sent:                             Monday, September             16,   2019 12:20   PM
To:                               Baltazar,     Ashley A.
Subject:                          Perry   v.   Ashfield, et   al.

Attachments:                      perry—bi.doct.prod.1 01 —1 16.pdf; PROOF-perw.BI.091 61 9.signed.pdf




[EXTERNAL EMAIL]
Ashley - Ihave attached additional documents which comprise the attachment to document bate-stamped P
0087 that I previously provided to you (along with a copy of Ms. Perry's current resume). I also am conﬁrming
that there are no missing 0r unproduced documents from plaintiff that were bate stamped P 0071 -
P0078. Rather, the "gap" in sequential bates numbers between those documents was due t0 the arbitrary bates
numbering for the set of documents produced after those that were bate-stamped P 0001 - P 0070.

Iwill review   my last checklist again to      see if there are any other remaining items from our prior meet and
confer discussion and follow up. Best regards           -   Mike Welch
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                    Exhibit 18
                       Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 202 of 274


Baltazar, Ashley A.


From:                                                         Baltazar,     Ashley A.
Sent:                                                         Monday, November                    11,    2019 4:37       PM
To:                                                           'Michael Welch'
Cc:                                                           Meckley,         Eric

Subject:                                                      RE: Perry        v.   Ashfield, et        al.




Michael,


While     we    are   now   in   receipt of Plaintiff’s Further                           Amended Response                 to   RFPD No.      55, there are            still   several issues that
need to be addressed:

      o    No Verification.               Plaintiff         once again has served responses without                               a verification. This            is   akin to no response at
           all.

      o    Substantive Response Does Not Comport With Agreement.                                                           Plaintiff’s     substantive response does not comport
           with our agreement. Specifically,                               we       agreed that         Plaintiff     would produce discovery responses served                                     in   each of
           her lawsuits against her employers.                                   Plaintiff’s      substantive response limits the documents she                                    is   willing to
           produce to only pleadings and discovery requests.
      o    Documents Produced Does Not Comport With Agreement. The documents                                                                       Plaintiffproduced only include the
           Complaints        filed in          the actions, a notice of removal                               in   the Atria Senior Living         Action, and one set of Form
           Interrogatories               in   does not include discovery requests propounded by any of the defendants
                                              the Atria action.             It


           or the discovery responses completed by Plaintiff or Defendant.


Based on the foregoing, please                          let   us     know no            later   than noon tomorrow               if   you   will   extend our deadline to                      file     a   motion
to compel by an additional two-weeks while you these issues are addressed.                                                            If   not,    we   will    be forced to            file   a   motion to
compel.


Ashley


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From: Baltazar, Ashley A.
Sent: Friday,         November 8, 2019 3:08 PM
To: 'Michael Welch'        <mwe|ch|aw@gmail.com>
Cc: Meckley, Eric        <eric.meckley@morganlewis.com>
Subject: RE: Perry          v.   Ashfield, et               al.




Michael,


Following up on this again.                    If   we      don’t hear from you by Monday,                             we will   be forced to           start   working on a motion to
compel.        It   would be appreciated                     if   you could provide us the amended responses then.                                       If   necessary,       |   can send someone
to your office to pick           them          up.


Thanks,
                     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 203 of 274


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From: Baltazar, Ashley                A.

Sent: Tuesday,        November 5, 2019 5:05 PM
To: 'Michael        Welch' <mwe|ch|aw@gmai|.com>
Cc: Meckley, Eric       <eric.mecklev@morgan|ewis.com>
Subject: RE: Perry       v.   Ashfield, et               al.




Michael,


Can you please advise on the status of the amended responses and documents?                             We did   not receive   them yesterday.

Thanks,
Ashley


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From: Michael Welch <mwe|ch|aw                                    mai|.com>
Sent: Tuesday, October 29, 2019 8:14                              AM
To: Baltazar, Ashley A. <ash|ev.baltazar@morganlewis.com>
Subject: Re: Perry       v.   Ashfield, et               al.




[EXTERNAL EMAIL]
Ashley     -   I agree to extend BI's date for a motion by another ten days, as I Will need until                       Monday to          getyou an
amended        response and documents due t0 my involvement in another matter until Friday.                              I   Will try to   do it by
Friday. Best regards                  -   Mike Welch

On Mon,        Oct 21, 2019                at   6:03     PM Michael Welch <mwelchlaw@gmail.com> wrote:
 Ashley - Ibelieve I could provide pleadings and litigation / discovery documents, to the extent we have
 them. But any settlement agreement would be subject to conﬁdentiality obligations to the other party in said
 litigation, and not amenable to the protective order we have (t0 Which they would not be a party). That would
 not be relevant t0 her damages, as it preceded her employment with Ashﬁeld / BI. So that would be my
 compromise. Regards - Mike

 On Mon,           Oct 21, 2019             at   11:28         AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
  Hi   Michael,
                   Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 204 of 274



lam      following up on this. Please                  let   me know    if   you   will   amend the response   to   RFPD 55   as outlined below.




Thank you,




Ashley




Ashley A. Baltazar

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                                                                   robin.onaka@morganlewis.com




From: Michael Welch <mwelch|aw                                mail.com>
Sent: Tuesday, October 15, 2019 7:54                          AM
To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
Subject: Re: Perry        v.   Ashfield, et            al.




[EXTERNAL EMAIL]

Ashley         - Thank you for your kind words and thoughts 0n that. I actually found out Saturday at services that
there     is   another ceremony today, in central CA, for the burial (a military ceremony and cemetery), so I'm out a
little    longer than     I   originally planned.




So I'm ﬁne extending the 10/21 motion deadline by two weeks                                         as   you suggested. Thank you        for   your
courtesy and cooperation. Regards - Mike Welch




On Fri, Oct        11,   2019          at 1:23     PM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
                                                                                           3
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    Mike,




    I’m sorry to hear      about your father.                       My thoughts       are with you and your family during this difficult time. Given that
    our motion to compel deadline                            is   10/21, please    let   us   know   if   you   will   grant us a two-week extension to the deadline
    to   accommodate the delay                 in       resolving these issues.




    Thank you,




    Ashley




    Ashley A. Baltazar

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                                                                          robin.onaka@morqan|ewis.com




    From: Michael Welch <mwelch|aw                                    mai|.com>
    Sent: Friday, October 11, 2019 10:49                             AM
    To: Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com>
    Subject: Re: Perry      v.   Ashfield, et                 al.




    [EXTERNAL EMAIL]

    Ashley - I am leaving in a minute t0 drive up to southern Oregon for my father's funeral tomorrow. I will
    not be able to address this matter or any others until I return on Monday night. Iwill follow up with you on
    Tuesday. Regards - Mike




    On Fri,    Oct   11,   2019          at   9:50       AM Baltazar, Ashley A. <ashlev.baltazar@morganlewis.com> wrote:
I
     Michael,
                 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 206 of 274


lam    following up again on                 this.         If   we do       not hear from you by the end of the day today,                    we will   be forced to        file   a
motion to address these issues next week.




Thanks,


Ashley




Ashley A. Baltazar

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                                                                            robin.onaka@morganlewis.com




From: Baltazar, Ashley A.
Sent: Tuesday, October 8, 2019 2:51                                   PM
To: 'Michael Welch' <mwe|ch|aw                                       mai|.com>
Cc: Meckley, Eric           <eric.mecklev@morgan|ewis.com>
Subject: RE: Perry           v.   Ashfield, et              al.




Michael,




lam    following up on the below as                              |   have not received a response from you.                 In    addition to not receiving the below,
Plaintiff’s      Second Amended Responses to                                 BIPI’s   RFPDs   failed to include a substantive               response to Request for
Production No. 55. Request for Production No. 55 seeks                                          all   documents that            relate to   any lawsuits, complaints,
charges, grievances, or other legal or equitable claims                                       made by     Plaintiff against        any other employer, other than                  this

Action. Plaintiff’s asserts boilerplate objections, including objections based on privilege, privacy, and
confidentiality.          However, not                all       documents responsive to               this request are privileged.           And, there     is   a protective
order      in   place that would address any concerns related to privacy and confidentiality (although Defendant doubts
there are any such legitimate concerns). Nonetheless, Defendant                                              is   willing to limit this request to deposition

transcripts, discovery responses,                               and settlement agreements executed                   in   any lawsuits, complaints, charges,
grievances, or other claims                   made              by    Plaintiff against   any other employer. Such documents would contain,                            at    the
very   least,     information about the damages, including lost wages and emotional distress,                                                  Plaintiff   was seeking       in

these other lawsuits. Accordingly, they are relevant to                                       Plaintiff’s   damages        in   her current action against          BIPI.    Please
let   us   know    if   Plaintiff     is   agreeable to this limitation and                    will    amend      her response accordingly no later than
Thursday, October             10th.
              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 207 of 274



Thank you,




Ashley




Ashley A. Baltazar

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                                                              robin.onaka@morganlewis.com




From: Baltazar, Ashley A.
Sent: Thursday,   September 26, 2019 2:49 PM
To: 'Michael Welch'   <mwelchlaw@gmail.com>
Cc:   Meckley, Eric <eric.meckley@morgan|ewis.com>
Subject: RE: Perry    v.   Ashfield, et             aI.




Michael,




Thanks for sending     this.        Per    my September          6‘“   email,   we   are   still   awaiting the following:


o   A proof of service for the Verified Second Amended Responses you sent                                        via   Fed   Ex,   which   we   received
September 9th (Can you please just send this to me via email?)

o     A proof of service       for    documents produced 79-106 (can you please                           just   send   this to    me via   email as well?);


o     A   privilege log that       lists   any documents withheld on the basis of                      privilege;   and


o     The attachment to P087.




Thank you,
             Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 208 of 274

Ashley




Ashley A. Baltazar

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                                                       www.morganlewis.com


Assistant: Robin   Onaka    |
                                 +1.415.442.1669            |
                                                                robin.onaka@morganlewis.com




From: Michael Welch <mwe|ch|aw                              mail.com>
Sent:     Monday, September             16,       2019 12:20      PM
To: Baltazar, Ashley A. <ash|ev.baItazar@morganlewis.com>
Subject: Perry     v.   Ashfield, et         al.




[EXTERNAL EMAIL]

Ashley - Ihave attached additional documents which comprise the attachment to document bate—stamped P
0087 that Ipreviously provided to you (along with a copy of Ms. Perry's current resume). I also am
conﬁrming that there are n0 missing or unproduced documents ﬁom plaintiff that were bate stamped P 0071
-
  P0078. Rather, the "gap" in sequential bates numbers between those documents was due to the arbitrary
bates numbering for the set 0f documents produced after those that were bate-stamped P 0001 - P 0070.




I   will review    my last checklist again to                     see if there are     any other remaining items from our prior meet and
confer discussion and follow up. Best regards                                 -   Mike Welch

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                    Exhibit 19
 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 210 of 274


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Attorneys for Plaintiff BRENDA PERRY




                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                   COUNTY OF SAN MATEO




BRENDA PERRY, an Individual,                          CASE NO. 18CV05717

                               Plaintiff,             PLAINTIFF'S FURTHER AMENDED
                                                      RESPONSE TO DEFENDANT
       V.                                             BOEHRINGER-INGELHEIM
                                                      PHARMACEUTICAL'S REQUEST
ASHFIELD HEALTHCARE, LLC, a business                  FOR PRODUCTION OF DOCUMENTS,
entity; BOEHRINGER-INGELHEIM                          SET ONE, NO. 55
PHARMACEUTICAL, a business entity;
NATE STYLES, an individual; and DOES 1-
50, inclusive,

                               Defendants.




PROPOUNDING PARTY:             Defendant BOEHRINGER-INGELHEIM PHARMACEUTICAL

RESPONDING PARTY:              Plaintiff BRENDA PERRY

SET NUMBER:                    ONE

       Plaintiff BRENDA PERRY ("PERRY") hereby responds to the Request for Production

of Documents of defendant BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.

("BIP") as follows:

                                   GENERAL OBJECTIONS

        1. Plaintiff objects to the Document Requests and to each and every request contained

therein to the extent that they purport to impose burdens or duties on plaintiff that exceed the

                                              -1-

PLAINTIFF'S FURTHER AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION
                             OF DOCUMENTS - No. 55
  Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 211 of 274


requirements and permissible scope of discovery under the California Code of Civil Procedure.
       2. Plaintiff objects to the Document Requests and to each and every request contained
therein to the extent that they purport to request documents that are subject to any privilege or
immunity from discovery, including, without limitation, the attorney-client privilege, the work-
product privilege, the right to privacy guaranteed by the California Constitution, and any other
privilege or restriction on discovery recognized by California law.
       3. Plaintiff objects to the Document Requests and to each and every request contained
therein on the grounds that, to the extent that they seek documents that are already in
respondent's custody, control or possession, they are unduly burdensome and duplicative.
       4. Plaintiff objects to the Document Requests and to each and every request contained
therein to the extent that they purport to require plaintiff to produce documents from any source
other than the personal files and records of plaintiff.
        5. Plaintiff reserves the right to amend her responses to the extent that new or additional
relevant documents may come to his attention.
        6. Plaintiff responds to the Document Requests without waiver and with preservation of:
               a) The right to object to the use of any responses or documents on any ground in
               any proceedings in this or any other action (including any trials);
               b) The right to object on any ground at any time to a demand or request for a
                further response to this discovery request or other discovery proceedings
                involving or relating to the subject matter of the discovery requests herein
                responded to; and,
                c) The right at any time to revise or supplement any of the responses to the
                specific requests.
        7. Plaintiff has not yet completed her investigation of the facts pertaining to this action,
her discovery, or her preparation for trial, Plaintiff reserves the right to rely on documents or
other evidence which may develop or come to her attention at a later time.
        8. The foregoing general objections and limitations (the "General Objections") are

                                                -2-

PLAINTIFF'S FURTHER AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION
                             OF DOCUMENTS - No. 55
 Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 212 of 274


incorporated by reference into each and every specific response as if fitlly stated therein.

           FURTHER AMENDED RESPONSES) TO DOCUMENT REQUESTS

       REQUEST NO. 55

       All DOCUMENTS that RELATE TO any lawsuits, complaints, charges, grievances, or

other legal or equitable claims made by YOU, or made by others on YOUR behalf, against any

employer, other than this ACTION.

        RESPONSE TO REQUEST NO. 55

       Plaintiff herein incorporates by reference each and every one of the General Objections

set forth above, and plaintiff's response is expressly subject to, and without waiver of, the

foregoing objections.

        Plaintiff further objects that this request is overbroad, undurly burdensome, and

oppressive, and seeks documents that are protected by attorney-client privilege, and/or not

reasonably calculated to lead to the discovery of admissible evidence, and which are protected by
plaintiff's rights of privacy and confidentiality. Subject to and without waiving the foregoing

objections, plaintiff will produce pleadings and discovery requests from the lawsuits that she

identified in plaintiff's second amended response to special interrogatories, (No. 8), that are in

her possession, custody, or control. (Other than confidential settlement agreements, plaintiff has

no other responsive documents, as any other responsive documents were not retained by her

and/or her counsel following the conclusion of those lawsuits).



                                               LAW OFFICES OF MICHAEL T. WELCH



DATED: November 4, 2019                        By:
                                                  Mic ael T. Welch
                                                  Attorney for Plaintiff
                                                  BRENDA PERRY




                                               -3-

PLAINTIFF'S FURTHER AMENDED RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION
                             OF DOCUMENTS - No. 65
       Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 213 of 274


PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

Case Name:              Brenda Perry v. Ash field Healthcare, LLC, et al.
Court No.:              San Mateo County Superior Court Case No. 1801V05717

         I am employed in the City & County of San Francisco, State of California. I am over the age of 18 and not
a party to the within action. My business address is Four Embarcadero Center, 14th Floor, San Francisco, CA
94111.

        On November 4, 2019 I caused to be served the following document(s) on the interested parties as
indicated below:

DOCUMENT(S) SERVED:

        Plaintiffs Further Amended Responses to Defendant Boehringer-Ingelheim Pharmaceutical's Request for
Production of Documents, Set One, No. 55; Document production - Bates P 0117 - P 0176

PARTY(IES) SERVED:

        Ashley Baltazar, Esq.
        Morgan, Lewis & Bockius LLP
        One Market
        Spear Street Tower
        San Francisco, CA 94105

  L./ (By Regular Mail) I am readily familiar with the firm's practice for collection and process of
      correspondence for mailing. Under that practice it would be deposited with the United States Postal
      Service on that same day with postage thereon fully prepaid, in the ordinary course of business.

        (By Federal Express) I personally delivered the above document(s) to the Federal Express Station to be
        delivered on a priority basis on the next business day to the law offices listed above.

        (By Personal Service) I caused such document(s) to be delivered by hand to the office(s) of the
        addressee(s).

        (By Facsimile and U.S. Mail) I sent a true copy of such document(s) via telephone facsimile
        transmission to the fax numbers listed above, and By Regular Mail as noted above.

        (State) I declare under penalty of perjury under the laws of the State of California that the foregoing is
        true and correct.

        (Federal) I declare that I am employed in the office of a member of the Bar of this Court, at whose
        direction the service was made.

        Executed on November 4, 2019 at Monterey, California.


                                                                   A.
                                                           Michael Welch
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 214 of 274




                    Exhibit 20
     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 215 of 274


 1   Michael T. Welch (#122630)
     LAW OFFICES OF MICHAEL T. WELCH
 2   Four Embarcadero Center, le Floor
     San Francisco, California 94111
 3   Telephone:     (415) 426-5691
     Email:         mwelchlaw@gmail.com
 4
 5
 6
     Attorneys for Plaintiff BRENDA PERRY
 7
 8
 9
                         SUPERIOR COURT - STATE OF CALIFORNIA
10
                 COUNTY OF SAN MATEO - UNLIMITED CIVIL JURISDICTION
11
12
13
     BRENDA PERRY, an Individual,              )    CASE NO. 18CIV05717
14                                             )
                               Plaintiff,      )    PLAINTIFF'S SECOND AMENDED
15                                             )    RESPONSES TO SPECIAL
           v.                                  )    INTERROGATORIES, SET ONE
16                                             )
     ASHFIELD HEALTHCARE, LLC, et al.,         )
17                                             )
                               Defendants.     )
18
19
20
21   PROPOUNDING PARTY:        Defendant BOEHRINGER-INGELHEIM PHARMACEUTICALS,
                               INC.
22
     RESPONDING PARTY:         Plaintiff BRENDA PERRY
23
     SET NUMBER:               One
24
           Plaintiff BRENDA PERRY ("PERRY") responds to defendant BOEHRINGER-
25
     INGELHEIM PHARMACEUTICALS, INC.'s Special Interrogatories (Set One) as follows:
26
27
28                                            -1-

     PLAINTIFF'S SECOND AMENDED RESPONSES TO SPECIAL INTERROGATORIES OF DEFENDANT
                       BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.
     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 216 of 274


 1           INTERROGATORY NO. 1
 2           IDENTIFY each individual (except for YOUR attorneys of record) with whom YOU
 3   have COMMUNICATED RELATED TO the subject matter of this ACTION, including the
 4   allegations in YOUR COMPLAINT and/or the damages claimed.
 5          RESPONSE TO INTERROGATORY NO. 1
 6          Tracy Scott; Nate Styles; Lori Elwood.
 7          INTERROGATORY NO. 2
 8          For each individual identified in response to Special Interrogatory No. 1, state the
 9   substance of the COMMUNICATION, including the date the COMMUNICATION occurred.
10          RESPONSE TO INTERROGATORY NO. 2
11          To the best of plaintiff's recollection, the subtance of her communications with Mr.
12   Styles was (1) her demand that he step away from her and remove himself from where he had
13   boxed her in, with his groin area near her face, inside her locker, and (2) her objection and
14   challenge to Mr. Styles' use of off-label marketing and sales methods in a sales call with a
15   physician, and her refusal to engage in such off-label marketing and sales methods to sell BI
16   products. Plaintiff does not recall the date of these communications, but believes that the first
17   occurred in June or July, 2017, and the second occurred in August, 2017.
18          To the best of plaintiff's recollection, the substance of her communications to Tracy Scott
19   was plaintiff's report to her that Nate Styles had engaged in off-label sales/marketing, and
20   instructed plaintiff to do the same. Plaintiff does not recall the date of this communication, but
21   believes it was in August, 2017. To the best of plaintiff's recollection, the substance of her
22   communication with Lori Elwood was that BI had hired another sales representative to assume
23   the same or substantially the same duties and territory as plaintiff had before she was terminated.
24   This communication occurred on or about September 24, 2017.
25          INTERROGATORY NO. 3
26          For each individual identified in response to Special Interrogatory No. 1, IDENTIFY all
27   DOCUMENTS RELATED TO such COMMUNICATION.
28                                                    -2-

     PLAINTIFF'S SECOND AMENDED RESPONSES TO SPECIAL INTERROGATORIES OF DEFENDANT
                       BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.
     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 217 of 274


 1           RESPONSE TO INTERROGATORY NO. 3
 2           Plaintiff has produced the documents that she has that are responsive to this interrogatory.
 3   With respect to the communications with Mr. Styles, those documents are P 0019 - P 0020. With
 4   respect to the communications with Ms. Scott, thoe documents are P 0020 - P 0021. With respec
 5   to Ms. Elwood the documents are P 0022 - P 0023. Plaintiff has no personal knowledge at this
 6   time of other such documents.
 7           INTERROGATORY NO. 4
 8           IDENTIFY each individual whom YOU contend has personal knowledge concerning the
 9   subject matter of this ACTION, including the allegations in YOUR COMPLAINT and/or the
10   damages claimed.
11           RESPONSE TO INTERROGATORY NO. 4
12           Other than plaintiff, plaintiff presently contends that the following individuals have such
13   knowledge: Nate Styles; Tracy Scott.
14           INTERROGATORY NO. 5
15           For each individual identified in response to Interrogatory No. 4 specify the substance of
16   the knowledge allegedly held by that individual.
17           RESPONSE TO INTERROGATORY NO. 5
18           Nate Styles has knowledge of his actions during the inventory of plaintiffs locker, by
19   which he positioned himself closely to plaintiff while she was crouched down in front of her
20   locker, and he blocked her ability to move and invaded her personal space, and he laughed when
21   plaintiff pleaded for him to move away from her. He also has knowledge that he engaged in off-
22   label sales practices with a physician during a sales call with plaintiff, that he instructed plaintiff
23   to also carry out such off-label practices in order to sell BIP's products to her physician
24   customers, and that plaintiff objected to and refused to enage in off-label sales practices as he had
25   instructed her.
26           Tracy Scott also has knowledge that Nate Styles engaged in off-label sales practices for
27   BE, that he instructed plaintiff to also engage in off-label sales practices, and that plaintiff
28                                                     -3-

     PLAINTIFF'S SECOND AMENDED RESPONSES TO SPECIAL INTERROGATORIES OF DEFENDANT
                       BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.
     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 218 of 274


 1   objected to and refused to engage in off-label sales practices as Mr. Styles had instructed her.
 2   Ms. Scott also knows the facts regarding the terminatio of plaintiff.
 3           INTERROGATORY NO. 6
 4          For each individual identified in response to Interrogatory No. 4, IDENTIFY all
 5   DOCUMENTS RELATED TO this individual's knowledge.
 6          RESPONSE TO INTERROGATORY NO. 6
 7          Plaintiff has produced the documents that she has that are responsive to this interrogatory.
 8   (See P 0019 - P 0022).
 9          INTERROGATORY NO. 7
10          IDENTIFY every person or entity to whom YOU provided a job application, resume, or
11   curriculum vitae from April 2017 through the present.
12          RESPONSE TO INTERROGATORY NO. 7
13          Plaintiff is able to identify the following entities: ZipRecruiter; Indeed; Insys
14   Therapeutics; Modern Recruitment Solutions; LS Recruiting; Gecko Hospitality; Lilly
15   Pharmaceutical; Biopharma Health; Aging 2.0, LLC; Medtronic; Surgical Recruiting, LLC;
16   Critique by Kids; Sino Biological US, Inc.; Amgen; Crobo, Inc.; Hamilton Co.; Cybercoders; PV
17   Pharma; Siemens; Cardinal Health; Z&L Properties; Amtec; Ambry Genetics; Gilead Astra
18   Zeneca; Portola Pharmaceuticals; Promoves Health; Novartis; BioMarin; Teva; DepoMed;
19   Abbott; Exela Pharma Sciences; Osmotica Pharmaceuticals; Avion.
20          INTERROGATORY NO. 8
21          Identify each civil, criminal, and/or administrative action to which YOU have been a
22   party during YOUR life. "Identify" for purposes of this interrogatory means to state the name of
23   the matter, the name of the court or agency, the case/matter number assigned by the court or
24   agency, and your role (i.e., whether a plaintiff or defendant).
25          RESPONSE TO INTERROGATORY NO. 8
26          Plaintiff is able to recall and identify the following actions responsive to this
27          interrogatory:
28                                                    -4-

     PLAINTIFF'S SECOND AMENDED RESPONSES TO SPECIAL INTERROGATORIES OF DEFENDANT
                       BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.
     Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 219 of 274


 1           1. Brenda Perry v. VITAS; San Francisco County Superior Court; No. 542332; Plaintiff
 2          2. Brenda Perry v. Atria Senior Living; U.S. District Court, Northern District; No. 14-
 3          CV-04289; Plaintiff.
 4           3. Brenda Perry v. King Pharmaceuticals; San Francisco County Superior Court; No.
 5           506030; Plaintiff.
 6          INTERROGATORY NO. 9
 7          State the ten-digit number of each cellular telephone number YOU have maintained since
 8   YOUR employment with DEFENDANT began to the present date and IDENTIFY the service
 9   provider associated with each such number.
10          RESPONSE TO INTERROGATORY NO. 9
11          (415)730-4934; Verizon
12          INTERROGATORY NO. 10
13          State each mail address from which YOU sent or received e-mail from April 2017
14   through the present.
15          RESPONSE TO INTERROGATORY NO. 10
16          brendadp415@yahoo.com
17          INTERROGATORY NO. 11
18          IDENTIFY each HEALTHCARE PROVIDER from whom YOU received any treatment
19   RELATED TO any physical and/or emotional condition that YOU contend was caused or
20   exacerbated by any alleged conduct of DEFENDANTS.
21          RESPONSE TO INTERROGATORY NO, 11
22          None.
23   DATED: August 16, 2019
                                                    LAW OFFI           F MICHAEL T. WELCH
24
                                                    By:
25                                                   Michael Welch
                                                     Attorneys for Plaintiff
26                                                   BRENDA PERRY
27
28                                                  -5-

     PLAINTIFF'S SECOND AMENDED RESPONSES TO SPECIAL INTERROGATORIES OF DEFENDANT
                       BOEHRINGER-INGELHEIM PHARMACEUTICALS, INC.
             Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 220 of 274



                                      VERIFIC

         Brenda Perry; have read the ffiregoing *Plaintiffs Second Amended Responses to

Defendant's Special Interrogatories, and know the contents thereof, and certify under penalty of

perjury that the same are true of my knowledge, except as to those matters which are stated on

information and belief, and as to those matters I believe them to be true.



Dated: August 16, 2019                                               ,                   .3-.!......),....1.-\
                                                              Brenda Perri
                              Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 221 of 274


                                                                                                        11/14/2019
                          1     MORGAN, LEWIS & BOCKIUS LLP
                                Eric Meckley, BarNo. 168181
                          2     Ashley A. Baltazar, Bar No. 284921
                                One Market
                          3     Spear Street Tower
                                San Francisco, CA 94105-1596
                          4     Tel:    +1.415.442.1 000
                                Fax: +1.415.442.1001
                          5     eric.meckley@morganlewis.com
                                ashley. baltazar@morganlews.com
                          6
                                Attorneys for Defendant
                          7     BOEHRINGER INGELHEIM
                                PHARMACEUTICALS, INC. (erroneously sued as
                          8     "BOEHRINGER-INGELHEIM
                                PHARMACEUTICAL")
                          9

                      10                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      11                                                 COUNTY OF SAN MATEO

                      12

                      13        BRENDA PERRY, and Individual,                        Case No. 18CIV05717

                      14                                   Plaintiff,                REQUEST FOR JUDICIAL NOTICE
                                                                                     IN SUPPORT OF DEFENDANT
                      15                         vs.                                 BOEHRINGER INGELHEIM
                                                                                     PHARMACEUTICALS,INC.'S
                      16       ASHFIELD HEALTH CARE, LLC, a business                 MOTION TO COMPEL:
                               entity; BOEHRINGER-INGELHEIM
                      17       PHARMACEUTICAL, a business entity;                    (1) FURTHER VERIFIED RESPONSE
                               NATE STYLES, an individual; and DOES 1-               TO RFP NO. 55 AND PRODUCTION
                      18       25, inclusive,                                        OF DOCUMENTS;

                      19                                   Defendants.               (2) COMPLIANCE WITH
                                                                                     PLAINTIFF'S RESPONSE TO RFP
                      20                                                             NOS. 11, 14, AND 54; AND
                      21                                                             (3) A PRIVILEGE     LOG.
                      22                                                             Date:         January 14,2020
                                                                                     Time:         9:00 a.m.
                      23                                                             Dept:         1
                                                                                     Courtroom:    4C
                      24
                                                                                     Complaint Filed: October 22, 2018
                      25                                                             Trial Date: None set
                      26

                      27

                      28
MORGAN. LEWIS         &                                                                                         Case No. 18CIV05717
  BOCKIUS LLP
 AlTORNEYSAT    LAW
                                                       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT'S
  SAN   FRA NCISCO                                                       MOTION TO COMPEL
                              DB1/ 109901163.1
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 222 of 274



                                   NOTICE T0 THE COURT, PLAINTIFF, AND ALL ATTORNEYS OF RECORD:
                                   PLEASE TAKE NOTICE                        that pursuant to California             Evidence Code Section 452(d),

                          Defendant Boehringer-Ingelheim Pharmaceuticals,                        Inc. (“‘BIPI” or        “Defendant”)   will,    and hereby

                          does, request that this Court take judicial notice of the following documents in connection with

                          BIPI’s Motion to Compel:

                                   1.       The December             10,   2010 Complaint ﬁled          in the Superior Court of the State           of

                          California in and for the          County 0f San Francisco captioned Brenda Perry                     v.   King

                          Pharmaceuticals          et al.,   Case No. CGC—10-506030, Which                    is   attached hereto as Exhibit A;

                                   2.       The October            23,   2014 Complaint ﬁled        in the Superior        Court of the State of

                    10    California in and for the          County 0f San Francisco captioned Brenda Perry                     v.   Vitas Innovative


                    11    Hospice Care      et al.,    Case No. CGC-14-542332, which                   is   attached hereto as Exhibit B; and

                    12             3.       The July         24,   2017    First   Amended Complaint ﬁled              in the Superior Court       of the

                    13    State of California in          and for the County of San Francisco captioned Brenda Perry                        v.   Atria Senior

                    14    Living, Inc. et   al.,    Case No. CFC-17—558466, Which                 is   attached hereto as Exhibit C.

                    15             California Evidence             Code Section 452(d)         authorizes the Court to take judicial notice of

                    16    “records of (1) any court 0f this state 0r (2) any court 0f record of the United States 0r 0f any state

                    17    of the United States.” Because the aforementioned documents are court records, Defendant

                    18    respectfully requests that the Court take judicial notice 0f each of them.


                    19

                    20

                    21
                          Dated:   November         14,   2019




                                                                                               By
                                                                                                       Eric   Meckley
                                                                                                                      W
                                                                                               MORGAN, LEWIS & BOCKIUS LLP




                    22                                                                                 Ashley A. Baltazar

                    23                                                                                 Attorneys for Defendant
                                                                                                       BOEHRINGER INGELHEIM
                    24                                                                                 PHARMACEUTICALS, INC.
                                                                                                       (erroneously sued as
                    25                                                                                 “BOEHRINGER—INGELHEIM
                                                                                                       PHARMACEUTICAL”)
                    26

                    27

                    28
MORGAN, LEWIS &                                                                            1                                          Case N0. 18CIV05717
  BOCKIUS LLP                                      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAW
  SAN FRANCISCO          DBl/ 109901163.1                            MOTION TO COMPEL
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 223 of 274




                    Exhibit A
          Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page     224 iSSUED
                                                                SUk.a•IDN•ri of 274
                                                                       FILED
                                                                SUPERIOR COURT
                                                            COUNTY OF SAN FRANCISCO
                               COMM          tONITUNCE SET
    1   Brenda Diane Perry                                           2010 DEC 1 0 AM 10:13
        445 Warren Drive #1
    2   San Francisco, CA 94131              3 2011 .960                 CLERK OF THE   C UR T
        Telephone: (415) 664-1946                                  BY;
    3
                                                  23                          DEPUTY    1ERk      EPpEz
    4   Plaintiff
        Brenda Diane Perry
12                      SUPERIOR COURT       F THE STATE OF CALIFORNIA
13                             FOR THE CO         OF SAN FRANCISCO


    1
        BRENDA DIANE PERRY, an individ                   Case Nk         GC -10506 30
                             Plaintiff,                  COMPLAINT BY PLAINTIFF
    2                                                    BRENDA DIANE PERRY FOR
               VS.                                       COMPENSATORY AND PUNI IVE
    3                                                    DAMAGES FOR:
        KING PHARMACEUTICALS a Pharn ceutical )
    4   Corporation; MARK MARTIN, an indi idual; )           1. Gender Related Discrimination
        MIKE SCHILK, an individual, and DO S1    )              /Harassment in Violation of the Fiir
    5   through 100, inclusive,                  )              Employment and Housing Act
                                                 )
    6                         Defendants.        )            .
                                                              Race 2Discrimination
                                                                               i   in Violatio
                                                                                       l of the
                                                 )            Fair Employment And Housing lAct
    7                                            )
                                                 )       3. Sexual Harassment in Violation of the
    8                                            )          Fair Employment And Housing Act
                                                 )
    9                                            )       4. Age Discrimination in Vioiatio4 of the
                                                 )          Fair Employment and Hausa* Act
10                                               )
                                                 )           5. Retaliation in Violation of the
11                                                              Employment and Housing Act
                                                 )
12                                               )
                                                 )       6. Wrongful Termination in Violation of
                                                 )          the Fair Employment and Housiiig Act
13
                                                 )
                                                 )       7. Failure to Take Reasonable Ste s to
14                                                          Prevent Harassment, Reta1iatiot and
                                                 )
                                                 )          Discrimination in the Work Plate in
15                                                          Violation of the Fair Employm nt and
                                                 )
                                                 )          Housing Act
16
                                                 )
                                                             8. Failure to Promote and to Pay fquaI
17                                                              Pay to Females in Violation of
1                                                               California Labor Code Section ßlO
22                     DEMAND FOR A JUtY TRIAL




                                    COMP    BY PLAINTIFF '
      Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 225 of 274




     Plaintiff FABIOLA QLEAS alleges:
 1
 2                                                   PARTIES

 3              1.   This is a Complaint by Plaintiff Brenda Diane Perry (referred to as "Diane" o
 4   "Plaintiff') against her ex-employer, KING PHARMACEUTICALS, INC. a Pharmaceutical
 5   Corporation (referred to as "KING P             CEUTICALS" or
 6   "Defendant"), and management employs, MARK MARTIN ("MARK MARTIN"), and
 7   SCHILK ("MIKE SCHILK"), inclividully (hereinafter collectively referred to as "Defendarts")
 8   for discrimination, harassment, reta1iati4, and California Labor Code violations. Plaintiff s eks
 9   compensatory and punitive damages, an injunctive relief.
10            2.     At all times relevant to tliis Complaint, Plaintiff is and has been an individua
11   residing in the State of California.
12            3.     Plaintiff is informed and believes and on that basis alleges that defendant KlifiG
13   PHARMACEUTICALS, her ex- emplo er, is .a national corporation duly organized and exiting
14   under and by virtue of the laws of the S te of California, where the corporation also condu ts its
15   business within the State of California ¶here Plaintiff worked. KING PHARMACEUTIC                  S
16   INC. Headquarters is located at: 501 Fifth Street Bristol, Tennessee 37620
17            4.     Plaintiff is informed an believes and on that basis alleges that defendant MARK
18   MARTIN, is and has been an individua residing in the County of San Diego, State of CalifOrnia.
19   MARK MARTIN was to be Plaintiff's '[New Regional Business Sales Director at KING
20   PHARMACEUTICALS during the rel ant time periods.
21            5.     Plaintiff is informed and believes and on that basis alleges that defendant MiKE
22   SCHRX, is and has been an individual residing in the County of Contra Costa, State of
23   California. MIKE SCHILK. was Plaintiff's immediate supervisor during the relevant time
24   periods.
25            6.     Plaintiff does not know he true names and capacities, whether individual,
26   corporation or otherwise, of defendant: Does 1-100, and therefore sues them by such fictiti us
27   names.


                                                         3
                                   COMPLAINT BY PLAINTIFF
                                                                                                         1
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 1           7.      Plaintiff is informed and 1Je1ieves and on that basis alleges that each of the Do
 2    defendants is in some manner responsibl for the damages alleged by them in this Complaint
 3           8.      Plaintiff is informed and believes and on that basis alleges that at various tim
 4    alleged in this Complaint, each of the nailed and Doe defendants was the agent and/or empl yee
 5    of each of the remaining co-defendants ad, in doing the actions alleged in this Complaint, sas
 6    acting within the course and scope of said agency, employment and service with advance
 7    knowledge, consent and/or ratification 4each of the remaining defendants. The named and oe
 8    defendants are hereinafter referred to collectively in this Complaint as "Defendants."
 9           9.      The acts committed by KEÑG PHARMACEUTICALS and as described in ths
10    Complaint were duly authorized and diricted by its officers, directors and/or managing age0 s.
11    In addition, KING PHARMACEUTICALS participated in the acts of its employees and age ts as
12    described in this Complaint, and ratifie4 or accepted the benefits of such acts.
13                         FACTS COMMON TO ALL CAUSES OF ACTION
14            10.    Plaintiff restates and inc ,rporates by this reference as if fully set forth herein each
15    and every allegation contained in paragattphs I to 9 of this Complaint.
16            11.      Plaintiff was a long tent, approx. Four (4) years in addition to the approx. two
                                               1
17    (2) to three (3) years added-in from Ela' Pharmaceuticals in which King Pharmaceuticals
18    purchased equaling approximately Seven (7) as an employee of KING PHARMACEUTICALS
19    assigned to Work as a Pharmaceutical bistrict Sales Manager in the State of California. Fol.
                                             I
20    approximately the past seven (7) years, laintiff held the position of Pharmaceutical Distric
                                             1
21    Sales Manager. In or about October 205, inspired by KING PHARMACEUTICALS carer
22    promotional opportunities developed 4d by the prospect of enhancing her career oppo              ies at
23    KING PHARMACEUTICALS, both WIjob title and salary, Plaintiff took part in the incentijve
24    program and advancing her District in     rformance and sales thereby; routinely leading the
25    Region and Nation often times in her Irformance and Sales.
26

27
/52

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                                   COMPLAIlIT BY PLAINTIFF
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        12.    On or about late 2004 Ihr 4h 2007, Plaintiff would often approach MIKE
SCHILK about a promotion and higher 4lary. Each time MIKE SCHILK would refuse me
promotions and higher salaries he would ¿provide others who performed lower throughout th
Region and Nation. Despite Plaintiff's filstrations in MIKE SCHILK,

her manager Failure to Promotion and to Pay Equal Pay to Plaintiff thereby; MIKE SCHILI4d was
in Violation of California Labor Code S‘ction   510 Violating Plaintiff's legal rights as a Fena1e
                                         1
employee. Plaintiff continued to perforrn her job duties in order to continue being a Top
Performer on her job. Unfortunately, in 4007 the last time Plaintiff approached MIKE SCHIiiK
about promoting her and increasing her ialary, MIKE scHnx began to yell at Plaintiff, telLng
                                                  1
Plaintiff that it will never happen. Plain ff ask why and that she is a Top Performer, and has lead
                                                i
his Region and the Nation in Sales so wiry not? MIKE SCHILK replied by yelling "it's not going
                                               I
to happen and don't ask me again."              ,
.                                               t
                                               i
        13.       From about 2004 through 2007 Plaintiff approached MIKE SCHILK to allo4st her
                                              i
to work on Projects within his region arid as opportunities became available throughout the
                                           L'il
company however; MIKE SCHILK woUld refuse Plaintiff the opportunity however; MIKE
                                          li
SCHILK would routinely allow all of 13, aintiff s younger and male co-workers to work on
projects within the region and througho' t the company. Whenever Plaintiff would ask to w rk on
the many projects that became availab4, MIKE SCHILK would not allow Plaintiff the
opportunities. This was Age and Gend4 Discrimination / Harassment in Violation of the F ir
Employment Act.


      14.     In 2007 MARK MARTIN informed GREG KING (Human Resource Manage)

within KING PHARMACEUTICALS              at he wanted to get rid of some of the Black Empl Yees

with no issues and GREG KING (H           Resource Manager) gave him the ok. MARK            RTIN

and GREG KING worked in tandem 4carry out this blatant discriminatory act base on RaLe and


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                             COMPLAT BY PLAINTIFF
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  1
 2    Gender. All of the African American Feniale Employees within the Western United States o

 3    America Employed at KING PHARMAEUTICALS Employment was terminated along wi
 4
      the majority of Men of Color. Because o these there actions, this was Race and Gender relat d
  5
      Discrimination in Violation of the Fair Einployrnent and Housing Act. MARK MARTIN
 6
      communicated to other King Employees that he got rid of the "Black Girls" then, calling me and
 7
  8   the other African Female District Sales Manager by name, and that he got rid of some of the

 9    "Blacks." The Race and Gender Discrimination Acts were reported by me. Also a District S es
10
      Manager KING PHARMACEUTICAL mployee reported the Discrimination to GREG KING
11                                    1
      and EDDY (Two Human Resource Mangers on a three way call. The response by GREG KING
12
13    to the Sales Manager Employee was that" it doesn't matter now, because MARK MARTIN Is no

14    longer with the company." These action S were a clear and deliberate act to be a party to and
15    cover-up Discrimination related to Racd, Gender, Age and Wrongful Termination, Harassment
16                                          k
      and Discrimination, Failure to Take Re , onable Steps to Prevent Harassment, Retaliation, and
17
      Discrimination in the Work Place in Viélation of the Fair Employment and Housing Act.
18
19
             15.    Plaintiff suffered Sexual Oarassment / Gender Discrimination MIKE SCHILK as
20                                            f
      he would often use the word "Bitch" when referring to females. MIKE SCHILK while attending
21
      a Tri-Regional in Los Angeles, Califoritia acted out on stage a sexual act in front of all thos who
22
23    where in attendance of a talent night at ihe Tri-Regional Sales Meeting. MIKE SCHILK

24    encourages one of his male subordinat    to dress-up as a African American Female, and ha mg
25    the male representative place heavy pailding in his Breast area to look like he had Huge Br ast,
26
      and padding his Butt area with heavy p4dding to create a Huge Butt then, had the representative
27
152
                                                        6
                                   COMPLAATT BY PLAINTIFF
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     2   put a wig like item on his head to look Hie an African America female. When the dressing o the

     3   male representative was completed to locti like a Well Endowed African Female, they all got on
     4
         stage as the music played "You Got a Bi Butt," by The Rap Artist -Sr. Lance Sr. Lott as
     5
         SCHILK begin humping in a sexual mot on at the representative's Huge Butt and Squeezing at
     6                                           i
         the Huge Breast of the representative on tage creating a pattern that he was having Sex wit1 a
     7
                                                 1
         will Endowed African American FemaIJL The room was filled with KING PHARMACEU                 AL

     9   employees looking on included DAN NOCall, MIKE SCHILICS boss's boss, and LES
10                                                  1
         POWELL, MIKE SCHILK'S boss. Sonie        I KING EMPLOYEES laughed while others were Ile.r.il
11                                                1
         shock and disbelief that the female emptoyees of KING PHARMACEUTICALS could be o            y
12                                               i

13       subjected to this type of sexual harassm t and discrimination. (This took place in Los Ang les,

14       CA at a Hotel on West Century Blvd). PLAINTIFF was subjected to and suffered Sexual
15       Harassment, Gender Discrimination, Re Discrimination, and the Company Failure to Ta4
16
         Reasonable Steps to Prevent Harassment, and Discrimination in the Work Place in Violation of
17
         the Fair Employment and Housing Act.
18
19             16.     PLAIN1IFF suffered Rae Discrimination to by MIKE SCHILK at a Region

20       Meeting / Christmas gathering in San 4ancisco, California at the Argonaut Hotel on Fishe   I 1   an's
21
         Warf MIKE SCHILK had a recorded iPod song by Rap Artist - Konya West "Gold Digger "to
22
         be played in his suite where the meetin / Christmas gathering took place. MIKE SCHILK
23
         allowed the music to play as the lyrics iLepeated the word "NIGGER," as MIKE SCHILK
24
25       repeatedly sang along with the music and when the song got to the word "Nigger," MIKE

26       SCHILK WOULD place a strong em4ases on the word "NIGGER," and would say "YO ARE
27
'7


                                     COMPLANT BY PLAINTIFF
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                                                IL


 I
 2
      NOT MESSING WITH A BROKE NIG1-ER," as MIKE SCHILK would laugh and look at me
 3                                          ,
      whenever the song got to the word "NIGER.". I got up, left out of the room and went into tie
 4
      bathroom to keep from exploding and tuning to tears somewhat. (This took place in San
 5
 6    Francisco, CA at the Argonaut Hotel on Fisherman's Warf). PLAINTIFF was Harassed and

 7    Discriminated against due to her Race which was in Violation of the Fair Employment and
 8
      Housing Act, Failure to Take Reasonabl Steps to Prevent Harassment, and Discrimination in the
 9
      Work Place in Violation of the Fair EmpIloyment and Housing Act.
10
11          17.     Plaintiff was Threatened aid Intimidated by MIKE SCHILK to not report a co-
12
      worker engaging in unlawfully obtaining funds from KING PHARMACEUTICALS. MIKE
13
      SCHILK called a meeting with his Distiict Managers at The ADAGIO Hotel at 550 Geary Sireet
14
15    in San Francisco, Ca. MIKE SCHILK called his District Sales Managers to a breakfast mee

16    in the hotel. As the PLAINIIIT attendeil the breakfast with at least four of her District Sale
17
      Manager co-workers, one of the District Sales Managers seated at the table expressed concerns
                                            1i
18
      about not having enough financial fundaig to conduct business for their District so, another
19
      District Sales Manager and very close friend of MIKE SCHILK, openly shared how they were
20
21    getting extra money, stating that, they Would get stacks of Taxi receipts and would write in the

22    money amounts on the Taxi Receipts wiat they wanted then, submit them whenever they
23
      extra money and that MIKE would approve the expense reports. Some of the money would be
24
      used for the Manager's District for bus.irMess and some for District Parties and gatherings.
25
26    Manage said "MIKE knows about it," s the other Managers listen and looked on out of

27    disbelief. MIKE SCHILK immediately khreatened all of us seated at the table by saying "N ne of
152

                                                         8
                                   COMPLAINT BY PLAINTIFF '
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     this is to leave this room, you guys unde stand?" Do you guys?" As Mike looked sternly at e
 1
 2   of his District Managers with threatening stares, who were hearing what he allowed the oth

 3   manager to do. The Manager who had iitia1ly expressed financial funding concerns about
 4
     conducting business for their District tithied to MIKE SCHILK and asked, "Can we get mo y
 5                                               1
     this way?" MIKE told  the Manager   to  "Hush."   (This took place at ADAGIO Hotel inside of 'ts
 6                                              (t
 7   Restaurant at our company's breakfast r eeting in San Francisco, CA).

 8
                              FIRS CAUSE OF ACTION
 9                     GENDER DISMINATION/HARASSMENT
              IN VIOLATION OF THE FAIR EMPLOYMENT AND HOUSING ACT
10
11   (Discrimination / Harassment Claim Against KING PHARMACEUTICALS and DO S 1-
                                   100 Against all Defendants)
12
13
            18.     Plaintiff restates and inctirporates by this reference as if fully set forth herein each
14
     and every allegation contained within tliis Complaint.
15
            19.     Defendants' conduct as ;escribed in this complaint constitutes discrimination and
16
     harassment on the basis that Plaintiff is female and was denied promotional opportunities, fair
17
     wages, subjected to females being referk,d to with the use of derogatory names. Defendants
18
     violated the Fair Employment and HouSing Act and other state and federal statutes which
19
     prohibit discrimination in employment, and including the California Constitution and the Civil
20
     Rights Act, as amended.
21
            20.    The discrimination and hkrassment by Defendants created a hostile, intimida ng,
22
     and oppressive work environment for          aintiff, whereby the conditions of her employment ere
23
     adversely affected. Moreover, the har4sment and discrimination impeded Plaintiff's progtess
24
25   and the enjoyment of her employment It KING PHARMACEUTICALS.

26          21.    Plaintiff has exhausted Lr administrative remedies by timely filing charges f

27   discrimination with the Department o !Fair Employment and Housing. The department oíj Fair
                                             1
                                             !•
                                             I.            9
                                  COMPLAINT BY PLAINTIFF
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     Employment and Housing issued to Plaintiff right to sue letters permitting her to file a privat
 2   lawsuit against Defendants.
 3           22.       As a direct and proximat result of Defendants' discrimination and harassmer t,
 4   Plaintiff has suffered and will continue tiç suffer damages in an amount within the jurisdictiola of
 5   this court, the exact amount to be prove4 at trial. Such damages include:
 6                     a.      loss of salary and other valuable employment benefits;
 7                     b.      prejudgment inte st and interest on the sum of damages at the legal r te;
 8                              and
 9                     c.      other consequent0 damages, including damages for shame, humilia
10                             mental anguish and emotional distress caused by the conduct of
11                             Defendants.
12           23.       In addition, Plaintiff is entitled to all Attorneys' fees in prosecuting this laws it,
13   pursuant to Government Code Section 12965 (b). And Plaintiff is entitled to all cost associated
14   with this lawsuit.
15           24        Further, because the wrohgfitl acts against Plaintiff were carried out, authori ed or
16   ratified by Defendants' directors, officels and/or managing agents, acting with malice, oppr ssion
17   or fraud, or were deliberate, willful and in conscious disregard of the probability of causing
18   injury to Plaintiff, as reflected by the aclitions as described earlier in this Complaint. Plainti
19   seeks punitive damages against Defend,ts, in order to deter them from such and similar ccinduct
20   in the fiiture.
21
                                        SECO$D CAUSE OF ACTION
22
                               RACE DISCRIIINATION IN VIOLATION OF
23                            THE FAIR EMEO.JOYMENT AND HOUSING ACT
24                          (Against KING PHiRMACEUTICALS and DOES 1-100)
25
             25.    Plaintiff restates and incorporates by this reference as if fully set forth herein each
26                                            1
     and every allegation contained within this Complaint.
27
             26.       Defendants' conduct toSkards Plaintiff as described in this Complaint violats

                                                            10
                                      COMPLAINT BY PLAINTIFF _
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 I    California's Fair Employment and Ho4ng Act, in that Defendants Failure to Take Reaso ble
 2    Steps to Prevent Harassment, Retaliation and Discrimination in the Work Place in Violatioti of
 3    the Fair Employment and Housing Act, and including the California Constitution and the Civil
 4    Rights Act, as =ended.
 5            27.        Plaintiff has exhausted Ir administrative remedies by timely filing charges Qf
 6    discrimination with the Department of 'air Employment and Housing. The department of kir
 7    Employment and Housing issued to Plamuff right to sue letters permitting her to file a priv te
 8    lawsuit against Defendants.
 9
10            28.    As a direct and proximati result of Defendants' failure to protect Plaintiff fr
11    Race Discrimination, Plaintiff has sustdined and will suffer damages in an amount within
12    jurisdiction of this court, the exact amotint to be proven at trial. Such damages include:
13                       a.      loss of salary ancl, other valuable employment benefits;
14                       b.     prejudgment int      st and interest on the sum of damages at the legal hate;
15                               and
16                       c.      other consequential damages, including damages for shame, humiliation,
17                               mental anguish Ind emotional distress caused by the conduct of
18                               Defendants.
19            29.        In addition, Plaintiff is entitled to all Attorneys' fees in prosecuting this law it,
20    pursuant to Government Code Section t2965 (b). Also, Plaintiff is entitled to all cost pros ute
21    to this lawsuit.
22            30.        Because the wrongful acts against Plaintiff were carried out or ratified by
23    directors, officers and/or managing agents for KING PHARMACEUTICALS, acting with
24    malice, oppression or fraud, or were dejiberate, willful and in conscious disregard of the
25    probability of causing injury to Plaintift as demonstrated by their actions and as described arlier
26    in this Complaint, Plaintiff seeks punitiiie damages against Defendants, in order to deter them
27    from such and similar conduct in the future.
/52
                                                             11
                                       COMPLAINTF BY PLAINTIFF
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 1
 2                                THIRD1, CAUSE OF ACTION
                             SEXUAL RA1tASSMENT IN VIOLATION
 3                       OF THE FAIR E   LOYMENT AND HOUSING ACT
 4         (Discrimination Claim Against I1NG PHARMACEUTICALS and DOES 1-100
                             Harassment bairn against all Defendants)
 5
 6
             31.     Plaintiff restates and incorporates by this reference as if fully set forth herein
 7
     and every allegation contained within this Complaint.
 8
 9                                           I
            32.      Defendants' conduct as +scribed in this complaint constitutes harassment
10
     discrimination in violation of the Fair Einployment and Housing Act and other state and fedral
11
     statutes which prohibit discrimination in employment.
12
            33.     The harassment and discrimination by Defendants created a hostile, intimidating,
13
     and oppressive work environment for Plaintiff, whereby the conditions of her employment Were
14
     adversely affected. Moreover, the haragsment and discrimination impeded Plaintiffs progr. ss
                                              4
15                                          1
     and the enjoyment of her employment KING PHARMACEUTICALS.
16
            34.    KING PHARMACEUTIOALS knew or should have known of the harassmen , the
17
     hostile work environment and discriminatory conduct against Plaintiff, but did nothing to si
                                                                                                p or
18
     prevent the harassment and discriminan.
19
            35.    Defendants' harassment ahd discrimination described in this Complaint violate the
20
     Fair Employment and Housing Act andlother state and federal statutes which prohibit harassment
21
     and discrimination in employment, inclUding the California Constitution and the Civil Rights
22
     Act, as amended.
23                                           1'Ili
            36.    Plaintiff has exhausted he administrative remedies by timely filing charges o
24
     Discrimination with the Department of Fair Employment and Housing. The department o Fair
25
     Employment and Housing issued to Pl4intiff right to sue letters permitting her to file a priv te
26
     lawsuit against Defendants.
27
            37.     As a direct and proxim+ result of Defendants' failure protect Plaintiff front
                                          1
                                                    12
                                   COMPLAIÑT BY PLAINTIFF
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  1   sexual harassment at her place of empi4iment, Plaintiff has sustained and will suffer dama es in
  2   an amount within the jurisdiction of thii court, the exact amount to be proven at trial. Such
  3   damages include:
  4                    a.     loss of salary an other valuable employment benefits;
  5                   b.      prejudgment interli est and interest on the sum of damages at the legal ate;
  6                           and
  7                   c.      other consequential damages, including damages for shame, humilia on,
  8   mental anguish and emotional distress Caused by the conduct of Defendants.
  9             38.   In addition, Plaintiff is Ottitled to all Attorneys' fees in prosecuting this la
10    pursuant to Government Code Section ¡2965 (b).
11              39.  Further, because the wrc4fu1 acts against Plaintiff were carried out, authon ed or
                                                1
12    ratified by Defendants' directors, officei, s and/or managing agents, acting with malice, opp ssion
13    or fraud, or were deliberate, willful andin conscious disregard of the probability of causing
14    injury to Plaintiff, as reflected by the a4ions as described earlier in this Complaint, she seeks
15    punitive damages against Defendants, ih order to deter them from such and similar conduct in the
16    future.
17
18                         FOURTH CAUSE OF ACTION
          AGE DISCRIMINATION IN VIOLATION OF THE FAIR EMPLOYMENT ANID
19                                MOUSING ACT
20                (Against KING PHARMA4EUTICALS, all Defendants and Dose 1-100)
21
                                                I!
22              40.   Plaintiff restates and inc6rporates by this reference as if fully set forth here   each
23    and every allegation contained within +s Complaint.
24              41.   Defendants' adverse actions against Plaintiff as described earlier in the corn laint
25    constitutes unlawful Age Discriminatidn against Plaintiff.
26              42.   Plaintiff has exhausted hi& administrative remedies by timely filing charges cf
27    discrimination with the Department of Fair Employment and Housing. The department of 'air
-)2
                                                          13
                                    COMPLAINT BY PLAINTIFF
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 1   Employment and Housing issued to Plaiiitiff right to sue letters permitting her to file a privat
 2   lawsuit against Defendants.
 3             43.    As a direct and proximat4 result of Defendants' failure to protect Plaintiff from
 4   Age discrimination, Plaintiff has sustaind and will suffer damages in an amount within the
 5   jurisdiction of this court, the exact amott to be proven at trial. Such damages include:
 6                    a,      loss of salary and Élpther valuable employment benefits;
 7                    b.      prejudgment interest and interest on the sum of damages at the legal r te;
 8                            and
 9                    c.      other consequentik damages, including damages for shame, humilia
10                            mental anguish and emotional distress caused by the conduct of
11                            Defendants.
12             44.    In addition, Plaintiff is eititled to all Attorneys' fees in prosecuting this lawsuit,
13   pursuant to Government Code Section 11965 (b). Plaintiff is also entitled to all cost in
14   prosecuting this lawsuit.
15             45.    Further, because the wroitgful acts against Plaintiff were carried out, authori ed or
16   ratified by Defendants' directors, officets and/or managing agents, acting with malice, oppr ssion
17   or fraud, or were deliberate, willful and n conscious disregard of the probability of causing
18   injury to Plaintiff, as reflected by the actions as described earlier in this Complaint, she seeks
19   punitive damages against Defendants, i* order to deter them from such and similar conduct in the
20   future.
21
22                                 FIFT CAUSE OF ACTION
                     RETALIATION IN VIOLATION OF THE FAIR EMPLOYMENT
23                                    AlkD HOUSING ACT
24
25                                  (Against all Defendants and Does 1-100)
26             46.    Plaintiff restates and inc6rporates by this reference as if fully set forth herein each
27   and every allegation contained within this Complaint.


                                               !i         14
                                     COMPLAST BY PLAIN I IF
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                                                     i
  1             47.   Defendants' adverse actidins against Plaintiff as described earlier in the compiJaint
                                                    i,
 2     constitutes unlawful retaliation against I1aintiff.
                                                  i;
 3            48.     Plaintiff has exhausted hGlr administrative remedies by timely filing charges o
                                                  i
i4     discrimination with the Department of lir Employment and Housing. The department of air
                                                  IÍ
 5    Employment and Housing issued to PlaiiiHtiff right to sue letters permitting her to file a priva e
                                                 1
 6    lawsuit against Defendants.                •I
 7              49.   As a direct and proximat result of Defendants' failure protect Plaintiff again .t
 8    retaliation, Plaintiff has sustained and will suffer damages in an amount within the jtuisdicti n of
 9    this court, the exact amount to be proveli at trial. Such damages include:
10                    a.      loss of salary andother valuable employment benefits;
11                    b.      prejudgment inteest and interest on the sum of damages at the legal ritte;
12                            and
13                    c.      other consequentil damages, including damages for shame, humiliation,
14                            mental anguish aid emotional distress caused by the conduct of
15                            Defendants.
16              50.   In addition, Plaintiff is ail titled all Attorneys' fees in prosecuting this lawsuit,
17    pursuant to Government Code Section 12965 (b). Plaintiff is also entitled to all cost associated
18    with prosecuting this lawsuit.
19              51.   Further, because the wr,gfill acts against Plaintiff were carried out, authorized or
20    ratified by Defendants' directors, offices and/or managing agents, acting with malice, oppr ssion
21    or fraud, or were deliberate, willful and in conscious disregard of the probability of causing
22    injury to Plaintiff, as reflected by the actions as described earlier in this Complaint, she see s
23    punitive damages against Defendants, it order to deter them from such and similar conduct in the
24    future.
25
26                                       SIXTH CAUSE OF ACTION
27                                  WRONGFUL TERMINATION
151                            VIOLATION OF THE FAIR EMPLOYMENT
                                                15
                                     COMPLAINT BY PLAINTIFF
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                                                  HOUSING ACT
 1
 2              (Against KING PHARMA&UTICALS, all Defendants and Does 1-100)
 3
 4           52.     Plaintiff restates and incrporates by this reference as if fully set forth herei each
 5   and every allegation contained within     is Complaint.
 6
 7
 8
 9           53.     Plaintiff was discriminad against, harassment and retaliated against as des. "bed
10   in this Complaint. KING PHARMACEiIUT1CALS, Defendants and Does 1-100 failed and
11   refused to take all reasonable steps nec‘sary to prevent harassment, discrimination and
12   retaliation from occurring.
13           54.    KING PHARMACEUTALS, Defendants and Does 1-100 failed or refuses to
                                              1:
14   take appropriate steps to abate or prevent Wrongful Termination in the workplace by failing to
15   effectively train its employees, supervisibrs, and managers regarding, race, gender, age,
16   harassment, wrongful termination and 4iscrimination, by failing to enforce policy against
17   unlawful discrimination due to race, gender, age, retaliation, sexual harassment, wrongful
18   termination and failing to thoroughly investigate complaints of harassment or discrimination,
19   and failing to take prompt and appropriite disciplinary action against perpetrators of harassment,
20   discrimination and wrongful termination. The conduct as described in this Complaint constiiutes
21   a violation of the Fair Employment and k-iousing Act.
22
             55.    Plaintiff has exhausted her administrative remedies by timely filing charges t at
23
     Defendants failed to prevent harassmeni and discrimination in the workplace, with the
24
     Department of Fair Employment and H6using. The department of Fair Employment and
25
     Housing issued to Plaintiff right to sue letters permitting her to file a private lawsuit against
26
     Defendants.
27
12

                                                         16
                                   COMPLAINT BY PLAINTIFF
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  1
 2            56.      As a direct and proximate result of the acts of Defendants, Plaintiff suffered ahd
 3    continues to suffer severe emotional distiess stemming from the harassment, discrimination,
 4    retaliation. Plaintiff seeks general dam es for her severe emotional distress and other
 5    consequential damages in an amount not less than an amount within the jurisdiction of this c urt,
 6    the exact amount to be proven at trial.

 7            57.      In addition, pursuant to Givertiment Code Section 12965(4 Plaintiff is entit
 8    to her attorney's fees in prosecuting this iawsuit
 9            58.      Because the wrongful acte against Plaintiff were carried out, authorized or ratified
10    by KING PHARMACEUTICAL's directors, officers andior managing agents, acting with milice,
11    oppression or fraud, or were deliberate, Willful and in conscious disregard of the probability if
12    causing injury to Plaintiff, as reflected by the actions as described earlier in this Complaint, le
13    seeks punitive damages against Defendants, in order to deter them from such and similar conkluct
14    in the future.
15
16                          SEVEN     CAUSE OF ACTION
                      FAILURE TO TAKE REASONABLE STEPS TO
17          PREVENT HARASSMENT AND DISCRIMINATION IN THE WORK PLACE
              IN VIOLATION OF THE FAIR EMPLOYMENT AND HOUSING ACT
18
                                             (Go/4. Code 12940 (k))
19
               (Against KING PHARMACEiTTICALS, DEFENDANTS and DOES 1-100)
20
21            59.      Plaintiff restates and inco orates by this reference as if fully set forth herein dach
22    and every allegation contained within thie Complaint.
23            60.      Plaintiff was harassed, di riminated, retaliated against and wrongfully term       ted
24    as described in this Complaint. KING P               CEUTICALS, DEFENDANTS and DOES 1-
25    100 failed and refused to take all reason4le steps necessary to prevent harassment,
26    discrimination, retaliated and wrongfully Itermination from occurring.
27
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                                     COMPLAINT [BY PLAINTIFF :•:;••.,
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 1

 2           61.     KING PHARMACEUTIOALS, DEFENDANTS AND DOES 1-100 failed or
 3   refused to take appropriate steps to abate or prevent sexual harassment, gender, race, age
 4   discrimination, and wrongful terminatioA in the workplace by failing to effectively train its
 5   employees, supervisors, and managers reigarding gender, race, age, sexual harassment, wron
 6   termination, retaliation, discrimination at* harassment, by failing to enforce policy against
 7   unlawful gender, race, age, sexual harassinent, wrongful termination, retaliation, discrimina ion
 8   and harassment, failing to thoroughly inVestigate complaints of gender, race, age, sexual
 9   harassment, wrongful termination, retaliation, discrimination and harassment, and failing to
10   prompt and appropriate disciplinary actiOn against perpetrators of gender, race, age, sexual
11   harassment, wrongful termination, retaliation, discrimination and harassment.
12           62.     The conduct as described in this Complaint constitutes a violation of Fair
13   Employment and Housing Act and Goveiunent Code Section 12940(k) and the California
14   Constitution and the Civil Rights Act, as amended.
15           63.     Plaintiff has exhausted her administrative remedies by timely filing charges that
16   Defendants failed to prevent harassment tnd discrimination in the workplace, with the
17   Department of Fair Employment and Hosing. The department of Fair Employment and
18   Housing issued to Plaintiff right to sue letters permitting her to file a private lawsuit against
19   Defendants.
20           64.     As a direct and proximate 'result of the acts of Defendants, the Plaintiff suffer
21   and continues to suffer severe emotional &stress stemming from the harassment, discrimina
22   and retaliation. Plaintiff seeks general darnages for her severe emotional distress and other
23   consequential damages in an amount not !ess than an amount within the jurisdiction of this c urt,
24   the exact amount to be proven at trial.
25           65.     In addition, pursuant to Góvernment Code Section 12965(b), Plaintiff is entiti d
26   all attorney fees in prosecuting this lawsuit. Plaintiff is also entitled to all cost associated to
27   prosecuting this lawsuit.


                                                          18
                                    COMPLAINT 113Y PLAINTIFF
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 2           66.      Because the wrongful act against Plaintiff were carried out, authorized or rat fled
 3   by KING PHARMACEUTICAL's direc ors, officers and/or managing agents, acting with mkice,
 4   oppression or fraud, or were deliberate,          and in conscious disregard of the probability f
 5   causing injury to Plaintiff, as reflected by the actions as described earlier in this Complaint,
 6   seeks punitive damages against Defendaits, in order to deter them from such and similar co duct
 7   in the future.
 8
 9
                          EIGifIIL CAUSE OF ACTION
10    FAILURE TO PROMOTE and to PROVIDE EQUAL PAY TO FEMALES WAGES IN
      VIOLATION OF CALIFORNIA LABOR CODE SECTION 510 AND PENALTIES
11    PURSUANT TO LABOR CODE SECTION 226(a)
12            (Against KING PHARMACEUTICALS, DEFENDANTS and DOES 1-100)
13
             67.      Plaintiff restates and incorporates by this reference as if fully set forth herein ach
14
     and every allegation contained within thi Complaint.
15
             68.      Plaintiff was wrongfully ci,enied promotional opportunities and equal pay as
16
     described in this Complaint. KING PH*MACEUTICALS, DEFENDANTS and DOES 1-100
17
     failed and refused to take all reasonable steps necessary to prevent harassment, discrimination,
18
     from occurring.
19
             69.      KING PHARMACEUTICALS, DEFENDANTS AND DOES 1-100 failed or
20
     refused to take appropriate steps to abate ior prevent discrimination and harassment in the
21
     workplace by failing to effectively train is employees, supervisors, and managers regarding
22
     discrimination and harassment, by failin to enforce policy against discrimination and
23
     harassment, failing to thoroughly investigate complaints of discrimination and harassment, a d
24
     failing to take prompt and appropriate disciplinary action against perpetrators of discrirninati n
25
     and harassment.
26
27


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                                    COMPLAINT BY PLAINTIFF 7.
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 1
 2             70.   In addition, Plaintiff is erititled by statute to recover reasonable attorneys' fee

 3   costs of suit, and interest on the unpaid Amounts pursuant to Labor Code sections 218.5 and
 4   1194.
 5             71.   Further, because the wroigful acts against Plaintiff were carried out, authori d or
 6   ratified by Defendants' directors, office+ and/or managing agents, acting with malice, oppr ssion
 7   or fraud, or were deliberate, willful and in conscious disregard of the probability of causing
 8   injury to Plaintiff, as reflected by the acions as described earlier in this Complaint, she seek
 9   punitive damages against Defendants, iti order to deter them from such and similar conduct in the
10   future.
11
12        WHEREFORE, PLAINTIFF ¿RENDA DIANE PERRY PRAYS FOR JUDGMENT
     AGAINST DEFENDANTS, AND EAR OF THEM, AS FOLLOW
13
               A.    For economic damages aecording to proof;
14
               B.    For general, special and incidental damages and amounts for emotional distress
15
     according to proof;
16
               C.    For punitive damages in n amount appropriate to punish Defendants for their
17
     wrongful conduct and set an example fcir others;
18
               D.    For prejudgment interestand interest on the sum of damages awarded to the
19
     maximum extent permitted by law;
20
               E.    For an injunction against discrimination, retaliation, and Labor Code violati ns in
21
     the future and for restitution and disgorgement of all wages wrongfully retained by Defendits;
22
               F.    For penalties pursuant to California Labor Codes as set forth in this Complailit;
23
               G.    Creation of a Court supeivised policy against discrimination, retaliation, and
24
     Labor Code violations, and a policy ag*ist retaliation against employees who complain of
25
     gender, race, sexual harassment, age di r rimination and wrongful termination;
26
               H.    Imposition of periodic reporting requirements on the Company;
27
               I.    For reasonable attorneys1 fees, court cost and other cost associated with this case

                                                         20
                                   COMPLANT BY PLAINTTFF
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         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 243 of 274
                                     l
                                     l
                                      1
  1    pursuant to Govt. Code Section 129654, Labor Code Sections 218.5, 1194, Code of Civil
                                              I
 2     Procedure § 1021.5, and all and any othr applicable laws and statutes;
 3            J.     For costs of suit herein incurred; and
                                                il
 4            K.     For such other and furthei.I relief as the Court deems proper.
                                                1i[
 5
 6     Dated: December 9, 2010                       Brenda Diane Perry, Plaintiff
 7
                                               .1
 8
 9
10
11           PLAINTIFF BRENDA DIA*PERRY DEMANDS A JURY TRIAL.
12
13     Dated: December 9, 2010                          Brenda Diane Perry, Plaintiff
14
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                                   COMPLAINT BY PLAINTIFF
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                     Exhibit B
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1   Michael T. Welch (#122630)
    LAW OFFICES OF MICHAEL T. WELCH
    Four Embarcadero Center, 39`h Floor

                                                             FILED
    San Francisco, California 94111
    Telephone:     (415)399-1500
    Facsimile:     (415)399-0445                                                               Cast
                                                                             County Superior
                                                             San Francisco
    Attorneys for Plaintiff
    BRENDA DIANE PERRY                                                 OCT       3 2014
                                                                 CLEFI24C(221_r
                                                              BY:                     Neutral*

                         SUPERIOR COURT - STATE OF CALIFORNIA
            COUNTY OF SAN FRANCISCO - UNLIMITED CIVIL JURISDICTION


    BRENDA DIANE PERRY, an Individual,                    CASE
                                                                 AGC-14w542332
                                   Plaintiff,             COMPLAINT FOR EMPLOYMENT
                                                          DISCRIMINATION - AGE, RACE;
           V.                                             FAILURE TO PREVENT
                                                          DISCRIMINATION; RETALIATION;
    VITAS INNOVATIVE HOSPICE CARE, a                      WRONGFUL TERMINATION IN
    business entity; VITAS SOLUTIONS, INC., a             VIOLATION OF PUBLIC POLICY;
    corporation; VITAS HEALTH SERVICES OF                 DEFAMATION
    CALIFORNIA, INC., a California corporation;
    VITAS HEALTHCARE CORPORATION OF
    CALIFORNIA, a corporation; CHEMED
    CORPORATION, a corporation; LISA
    COOPER, an Individual; DOES 1-50,                     Jury Trial Demanded
    inclusive,
                                   Defendants.




           Plaintiff BRENDA DIANE PERRY ("PERRY") alleges the following facts:
            1. Plaintiff PERRY is an individual presently residing in the County of San
    Francisco, in the State of California.
           2. Defendant VITAS INNOVATIVE HOSPICE CARE ("VIHC") is, and at all
    times herein mentioned was, a corporation, which has its principal place of business in
                                                    -1-

                                                 COMPLAINT
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Florida, but which maintains offices and places of business in California, including San
Francisco County.
       3. Defendant VITAS SOLUTIONS, INC. ("VSI") is, and at all times herein
mentioned was, a corporation, which maintains offices and places of business in California,
including San Francisco County.
       4. Defendant VITAS HEALTH SERVICES OF CALIFORNIA ("VHSOC") is, and
at all times herein mentioned was, a California corporation, which has its principal place of
business and headquarters in California.
       5. Defendant VITAS HEALTHCARE CORPORATION OF CALIFORNIA
("VHCOC") is, and at all times herein mentioned was, a corporation, which plaintiff is
informed and believes, and thereon alleges, maintains offices and does business in
California.
       6. Plaintiff is informed and believes, and thereon alleges, that defendant CHEMED
CORPORATION ("CHEMED") is, and at all times herein mentioned was, a corporation,
with its principal place of business in Ohio.
       7. Plaintiff is informed and believes, and thereon alleges, that defendant LISA
COOPER is, and at all times herein mentioned was, an individual residing in the State of
California and in the San Francisco Bay Area.
       8. Plaintiff is ignorant of the true names and capacities of defendants sued herein as
DOES 1 through 20, inclusive, and therefore sues those defendants by such fictitious
names. Plaintiff will amend this complaint to allege their true names and capacities when
they are ascertained. Plaintiff is informed and believes and thereon alleges that each of the
fictitiously named defendants is responsible in some manner for the wrongful conduct
herein alleged, and that Plaintiff's damages as herein alleged were proximately caused by
that conduct.
       9. At all times herein mentioned, each of the defendants discussed above was and
is the agent, servant, representative and/or employee of each of the other defendants, and

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                                            COMPLAINT
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all of the acts alleged to have been done by said defendants were done in the capacity of
and as agent for each of the other defendants. Plaintiff also is informed and believes, and
thereon alleges, that there is a unity of interest, ownership and control, between and among
each of the above defendant business entities VIHC, VSI, VHSOC, VHCOC, CHEMED,
such that the separate personalities and status of each such company no longer exist, and
that if the acts of VSI, and any of the other defendant business entities, are treated as the
acts of each such defendant entity alone an inequitable result will follow, and that any
legally distinct or separate status between or among such defendant corporate entities
should be disregarded, and that each of the other defendant corporate entities, should be
considered, deemed, and held to be the "alter ego" of VSI, and each of the other defendant
corporate entities, and liable for the debts, obligations, and wrongful acts of VSI and each
other in the interests of justice.
                   FACTS COMMON TO ALL CAUSES OF ACTION
        10. Defendants VIHC, VSI, VHSOC, and VHCOC all are related entities that
provide hospice services to patients who are nearing the end of their lives for various
medical reasons and/or from various medical conditions, and for whom curative or
therapeutic medical treatments and/or interventions are not available. Together they
reportedly comprise the largest hospice company in the United States, and they receive the
majority of their funds and revenues from Medicare and/or similar state-paid agencies and
programs, such as MediCal.
        11. Plaintiff PERRY is a 61 year-old African-American woman. Plaintiff was
initially hired by what she understood were two of the defendant entities, VIHC and VSI, in
September, 2012, as a sales representative to identify, develop and/or solicit business for
defendants' hospice services, with the ultimate objective of procuring patients for whom
defendants could provide hospice services and bill appropriate insurers and/or Medicare or
similar government / public agencies and programs.
        12. After accepting employment with defendants, plaintiff soon learned that her

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                                             COMPLAINT
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position and sales opportunities were much less than had been described to her by
defendants. Although defendants had told plaintiff that she was assigned to and had sole
responsibility for the city of San Francisco as her sales territory, plaintiff soon discovered
that defendants had no authorized office in San Francisco, as had been represented to her.
Defendants then moved plaintiff to parts of the South Bay on an ad hoc basis, with no
assigned sales territory.
        13. During this period, while plaintiff was accompanied by her manager, Diane
Simon, in a "ride-along" session for the purpose of observing and giving guidance to
plaintiff in her sales calls, Simon questioned plaintiff about her age. Plaintiff resisted and
attempted to avoid answering this improper inquiry, but Simon continued to press plaintiff
for that information. Plaintiff fmally relented under this persistent questioning and
revealed that she was 59 years old. Simon then expressed surprise, stating that she didn't
realize that plaintiff was that old.
        14. When defendants later returned plaintiff to her territory of San Francisco
(apparently after correcting previous violations that led to the prior closure or withdrawal
of the San Francisco office), plaintiff was subjected to several severe restrictions and
negative changes to her position and territory. Defendants prohibited plaintiff from calling
on many of the hospitals in the San Francisco territory that constituted the main sources of
referrals of hospice-eligible patients and potential business that plaintiff could develop and
procure. Defendants also reassigned a substantial portion of the San Francisco territory and
accounts that had been previously assigned solely to plaintiff to a newly hired female sales
representative, who is white, who was much younger than plaintiff, and who reportedly had
little sales experience compared to plaintiff. These changes severely limited the available
business opportunities to plaintiff, and greatly impaired her ability to meet her sales targets.
        15. Plaintiff also became aware of what appeared to be improprieties in
defendants' business practices, including actions and instructions for procuring patients for
hospice customers. These included falsification of patient records, including falsifying the

                                                  -4-

                                             COMPLAINT
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names of referring physicians of patients for hospice care by the defendant entities. They
also included the direct solicitation of patients for prospective hospice care, and/or their
family members or representatives, as well as pressure to obtain business from patients
who did not meet eligibility requirements either for hospice care and Medicare
reimbursement therefor, or for the classification or level of care for which defendants
desired to bill for Medicare reimbursement.
        16. After plaintiff raised concerns and objections regarding these and other actions
and treatment by defendants that plaintiff considered improper and/or unlawful, and filed a
complaint with the California Department of Fair Employment and Housing, defendants
subjected her to a series of adverse employment actions, including written performance
warnings followed by the termination of her employment, in June, 2014.
                              FIRST CAUSE OF ACTION
                          (Employment Discrimination - Age)
            [Against defendants VIHC, VSI, VHSOC, VHCOC, and CHEMED]
        17. Plaintiff realleges and incorporates by reference, as though fully set forth, the
allegations in paragraphs 1 through 16 of the Complaint.
        18. At all times herein mentioned, defendants employed five or more persons, and
were subject to the provisions of Cal. Gov. Code Sec. 12940, et seq., which prohibit the
defendants from discriminating against any employee on the basis of age.
        19. At all times herein mentioned, plaintiff was a member of a protected class
within the meaning of Gov. Code Sec. 12940, et seq. and 12926(b), et seq., in that she was
over 40 years old. At all material times herein, plaintiff satisfactorily performed her duties
and responsibilities for defendants, except to the extent that she was prevented from doing
so by the wrongful acts of defendants.
        20. Defendants engaged in a pattern of adverse employment actions against
plaintiff, including transferring plaintiff from her position to less desirable and
advantageous roles; reducing plaintiffs sales territory, job responsibilities and authority,
and reassigning substantial portions of her sales territory and accounts to others outside of

                                                  -5-

                                             COMPLAINT
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plaintiff's protected class; excluding her from activities and functions within her group in
which she should have been able to participate; denying her the opportunity to seek
advancement in the company; imposing on her an unwarranted job performance warning
that included the threatened termination of her employment and created a stigma that
materially reduced her future opportunities for advancement, as well as continuation of her
employment; and terminating her employment. Plaintiff is informed and believes, and
thereon alleges, that plaintiff's age was a principal motivating factor in defendants'
decision to engage in these adverse employment actions against plaintiff.
       21. Within the time provided by law, plaintiff filed a complaint with the California
Department of Fair Employment and Housing, in compliance with these sections, and
received and served a right-to-sue letter.
        22. As a direct and proximate result of defendants' willful discrimination against
plaintiff, plaintiff has suffered and continues to suffer damage, including substantial losses
in earnings and other employment benefits, along with extreme and severe mental anguish
and emotional distress. Plaintiff is thereby entitled to general and compensatory damages,
in an amount to be proved at trial, but not less than $1,000,000.
        23. The foregoing acts of defendants were willful, malicious, fraudulent and
oppressive, and plaintiff is therefore entitled to an award of punitive damages.

                            SECOND CAUSE OF ACTION
                                 (Race Discrimination)
           [Against defendants V1HC, VS1, VHSOC, VHCOC, and CHEMED]
        24. Plaintiff realleges and incorporates by reference, as though fully set forth, the
allegations in paragraphs 1 through 23.
        25. At all times herein mentioned, defendants VSI and each of the other defendant
corporations and business entities employed five or more persons and were subject to Cal.
Gov. Code Sec. 12940, et seq., which prohibited them from discriminating against any
employee on the basis of race.
        26. Plaintiff, an African-American female, is a member of a protected class under
                                                 -6-

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the aforestated Government Code sections. At all material times herein mentioned,
plaintiff satisfactorily performed her job duties at defendant VSI, and any other defendant
that acted as her employer.
       27. Plaintiff is informed and believes, and thereon alleges, that the adverse
employment actions and other wrongful conduct directed at plaintiff by VSI and the other
defendant entities constituted disparate treatment and discrimination against plaintiff, and
that plaintiff's gender was a substantial or principal motivating factor in defendant's
wrongful actions against plaintiff. Such discrimination is in violation of Cal. Gov. Code
Sec. 12940, et seq..
       28. As a direct and proximate result of defendants' unlawful discrimination and
related conduct against plaintiff, plaintiff has suffered and will continue to suffer damages,
including, without limitation, lost compensation and severe emotional distress, in an
amount to be proved at trial, but not less than $1 million.
       29. The above-stated acts of defendants were willful, fraudulent, malicious and
oppressive, and plaintiff is therefore entitled to an award of punitive damages against said
defendants.

                              THIRD CAUSE OF ACTION
                           (Failure to Prevent Discrimination)
                 [Against defendants VIHC, VSI, VHSOC, and CHEMED]
       30. Plaintiff realleges and incorporates by reference, as though fully set forth, the
allegations contained in paragraphs 1 through 29 of the Complaint.
       31. Under Gov. Code Sec. 12940(k), defendant VSI and the other corporate
defendants had an affirmative duty to prevent unlawful discrimination against plaintiff and
similarly situated older and African-American employees, including use and enforcement
of reasonable procedures to prevent such discrimination and to take prompt and effective
corrective measures and actions upon notice of any acts of age-related discrimination.
       32. Plaintiff is informed and believes, and thereon alleges, that defendants were on
notice of instances and/or complaints of discriminatory and/or retaliatory conduct within
                                                 -7-

                                            COMPLAINT
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plaintiff's group and the company overall, and under the managing supervisors there, and
that defendant permitted such managers to continue to condone and/or participate in such
unlawful conduct against plaintiff, and other employees in her protected class.
       33. As a direct and proximate result of defendants' failure to prevent such
discriminatory conduct, plaintiff has suffered and continues to suffer damage, including
substantial losses in earnings and other employment benefits, along with severe mental
anguish and emotional distress. Plaintiff is thereby entitled to general and compensatory
damages, as well as an award of attorney's fees as provided by statute, in an amount to be
proved at trial, but not less than $1,000,000.
       34. The foregoing acts of defendants were willful, malicious, fraudulent and
oppressive, and the plaintiff is therefore entitled to an award of punitive damages.
                            FOURTH CAUSE OF ACTION
                                     (Retaliation)
            [Against defendants VIHC, VS1, VHSOC, VHCOC, and CHEMED]
       35. Plaintiff realleges and incorporates by reference, as though fully set forth, the
allegations contained in paragraphs 1 through 34 of the Complaint.
       36. At relevant times herein, plaintiff engaged in one or more protected activities
by reporting to an appropriate manager and/or other personnel of defendant VSI and other
corporate defendants, acts of discriminatory conduct and disparate treatment directed
against her, including discrimination based on her age and/or race, by one or more
managers of defendant VS1, as well as filing a complaint with the Department of Fair
Employment and Housing ("DFEH"), and receiving and serving on defendant HP a right-
to-sue letter issued by the DFEH.
       37. Thereafter, and as a proximate result of plaintiffs above stated protected
activities and conduct, defendant subjected plaintiff to adverse employment actions,
including, without limitation, reduction and diminution in her authority and
responsibilities, unwarranted performance warnings, investigations, suspension, and
termination of her employment.

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       38. Within the time provided by law, plaintiff filed a complaint with the California
Department of Fair Employment and Housing, in compliance with the above sections, and
received and served a right-to-sue letter.
       39. As a direct and proximate result of defendants' acts of retaliation, plaintiff has
suffered damages, including past and future lost income and benefits to which she was or
would have been entitled, and severe emotional distress, anxiety, and anguish, all in an
amount to be proved at trial, but not less than $1,000,000.
       40. The foregoing acts of defendants were willful, malicious and oppressive, and
plaintiff is therefore entitled to an award of punitive damages against defendant HP.
                              FIFTH CAUSE OF ACTION
                  (Wrongful Termination in Violation of Public Policy)
             [Against defendants VIHC, VSI, VHSOC, VHCOC and CHEMED]
       41.   Plaintiff realleges and incorporates by reference as though fully set forth, the
allegations contained in paragraphs 1 through 40 of the Complaint.
       42. At all relevant times herein mentioned, there existed fundamental and
established public policies as to the following matters, as codified by statutes: protection of
employees from discrimination or disparate treatment based on age, set forth in Cal. Gov.
Code Sec. 12940, et seq.; protection of employees from retaliation by an employer for
objecting to or reporting acts of unlawful discrimination, set forth in Cal. Gov. Code Sec.
12940, et seq.; protection of customers from business practices of employers that are
unfair, fraudulent, or unlawful, set forth in Cal. Bus. & Prof. Code Sec. 17200, et seq.;
prohibition of fraudulent alteration of patient medical records, set forth in Cal. Penal Code
Sec. 471.5, et seq.; requirements for eligibility of patients for hospice care paid through
Medicare, and to prevent Medicare fraud, set forth in, inter alia, 42 U.S.C. Sec. 1395, et
seq., and 42 C.F.R. Sec. 418, et seq.; and prohibition of private companies from
fraudulently billing or seeking reimbursement from any agency of the United States
government, set forth in 31 U.S.C. Sec. 3729, et seq.
       43. Defendants have violated the aforestated public policies by taking adverse

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employment actions against plaintiff, including terminating her employment, based on one
or more unlawful grounds, including actions by or reports to defendants as follows: (1)
plaintiff was subjected to discrimination based on her age, and/or race; (2) plaintiff
reported and objected to instances of discrimination and disparate treatment by defendant
against her on the basis of age and/or race; (3) plaintiff reported and objected to what she
reasonably believed were false, misleading, unfair, unlawful and/or fraudulent business
practices regarding customers or prospective customers of defendants, including alteration
of patient medical records; (4) plaintiff declined to engage in unlawful and improper direct
solicitation of prospective customers and patients, and/or their families or representatives,
as defendants directed sales employees to do; (5) plaintiff raised concerns regarding
defendants' efforts to solicit referral sources for prospective hospice patients and customers
that did not meet the required criteria under Medicare eligibility and/or reimbursement
requirements; and (6) plaintiff reported to defendants conduct by other sales employees of
defendants that plaintiff believed constituted fraudulent reimbursements or payments to
them directly or indirectly from Medicare.
       44. As a direct and proximate result of defendants' adverse actions against
plaintiff as above alleged, in violation of the public policies of the State of California,
plaintiff has suffered damages, including past and future lost income and benefits to which
she was entitled in her prior position at defendant VSI and other defendant entities that
purported to employ plaintiff, including front and back pay, bonuses and other benefits, and
damages from severe emotional distress, anxiety and anguish, all in an amount to be
proved at trial, but not less than $1,000,000.
       45.   The foregoing acts of defendants were willful, malicious and oppressive, and
plaintiff is therefore entitled to an award of punitive damages against defendant.
                               SIXTH CAUSE OF ACTION
                                      (Defamation)
                               [Against defendant COOPER]
       46. Plaintiff realleges and incorporates by reference, as though fully set forth, the

                                                 -10-

                                             COMPLAINT
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 1   allegations contained in paragraphs 1 through 45 of the Complaint.
 2               45. Plaintiff is informed and believes, and thereon alleges, that defendant
 3   COOPER published and communicated, in oral form, false and unprivileged statements of
 4   alleged fact regarding plaintiff. Plaintiff is informed and believes, and thereon alleges, that
 5   these false statements included statements that asserted or strongly implied that plaintiff
 6   had failed to perform significant aspects of her job, and/or had violated company rules.
 7               46. Plaintiff is informed and believes, and thereon alleges, that defendant
 8   COOPER communicated these false statements to various persons, including other
 9   employees of VSI, and that she caused such statements or statements of a similar nature to
10   be made to one or more prospective customers of VSI that plaintiff had called upon and/or
11   serviced as part of her job at VSI.
12               47. These false statements regarding plaintiff were of such a nature that they
13   naturally would, and did, injure plaintiff in her occupation, profession, or business, in that,
14   among other things, they stated or implied that plaintiff was not competent or trustworthy
15   to perform her job duties as a sales representative.
16               48. As a direct and proximate result of this defendant's wrongful, false and
17   defamatory statements and their publication to other persons, including employees and/or
18   prospective customers of defendant VSI, plaintiff has suffered damages, including severe
19   emotional distress, and injury to her professional reputation, all in an amount to be proved
20   at trial.
21               49. Plaintiff is informed and believes, and thereon alleges, that the above
22   defamatory statements were made with malice against plaintiff, and were intended to vex,
23   annoy or injure plaintiff, based on anger, hostility, and/or ill will toward plaintiff by
24   defendant COOPER. Plaintiff is informed and believes, and thereon alleges, that such
25   malice stems from and/or is indicated by the fact that plaintiff made complaints and
26   objections, including to VSI and to the California Department of Fair Employment and
27   Housing, that defendant COOPER had engaged in and/or caused discrimination and
28
                                                         -11-

                                                     COMPLAINT
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retaliation against plaintiff, and other wrongful or retaliatory acts which followed from that
by defendant COOPER, including unwarranted disciplinary actions.
       50. The foregoing acts were willful, malicious and oppressive, and plaintiff is
therefore entitled to an award of punitive damages.
       WHEREFORE, plaintiff requests a jury trial, and prays for relief as follows:
        1. For general damages in an amount to be proved at trial, but not less than
        S1,000,000;
        2. For consequential and special damages, in an amount to be proved at trial;
        3. For punitive damages;
        4. For attorney's fees and costs of suit; and
        5. For such other and further relief as the Court may deem just and proper.


                                              LAW OFFICES OF MICHAEL T. WELCH




Dated: October 17, 2014                       By:
                                                 Mich el T. Welch
                                                 Attorney for Plaintiff
                                                 BRENDA DIANE PERRY




                                                -12-

                                            COMPLAINT
Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 257 of 274




                    Exhibit C
             Case
              Case3:19-cv-08408-CRB
                    3:17-cv-04289-MMCDocument 1-11 Filed
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                                                                  Page258  of24
                                                                       18 of  274



            Michael T. Welch (#12263 O)
            Scott Love (#233755)
            LAW OFFICES OF MICHAEL  T. WELCH
                               39‘“           Floor
            Four Embarcadero Center,
            San Francisco, California    941 11                                                                        ELECTRONICALLY
#WN


            Telephone:     (41 5)3 99- 1 500                                                                               FILED
            Facsimile:     (4 1 5)3 99-0445                                                                           Superior Court of CaIifornia
                                                                                                                       County of San [Francis co

            Attorneys for Plaintiff                                                                                   07/ 24/ 2017
            BRENDA PERRY                                                                                               Clerk of the Court
                                                                                                                         szoANID VUEN
                                                                                                                                       Deputy Cler .J

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                                      SUPERIOR COURT - STATE OF CALIFORNIA

                     COUNTY OF SAN FRANCISCO UNLIMITED CIVIL JURISDICTION
                                                                 —


10

11
            BRENDA PERRY, an Individual,                                                  CASE NO. CGC—         I   7-558466
12
                                               Plaintiff,                                     AMENDED COMPLAINT FOR
                                                                                          FIRST
13
                                                                                          WRONGFUL TERMINATION IN
                    v.
                                                                                          VIOLATION 0F PUBLIC POLICY;
14
                                                                                          INTENTIONAL INFLICTION OF
            ATRLA SENIOR LIVING, INC., a corporatio                                       EMOTIONAL DISTRESS
            CHRISTINE YEDICA, an Individual; DOES                    -   Vvvvvvvvvvvvvv




15
            50, inclusive,
i6
                                                   Defendants.
17                                                                                        July Trial   Demanded

18

19

20

21                   Plaintiff   BRENDA PERRY (“PERRY”) alleges the                               following facts:


22                   1.   Plaintiff   PERRY   is   an individual presently residing in the County of San

23           Francisco, in the State of California.

24                   2.   Defendant    ATRIA SENIOR LIVING,                         INC. (“ATRIA”)        is,   and   at all   times


25           herein mentioned was, a corporation, which has                its            principal place of business in Kentucky,


26           but which maintains ofﬁces and places 0f business in California, including San Francisco

27           County.

28
                                                                         -1-


                                                       FIRST   AMENDED COMPLAINT
                               Case
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                                       3.       Defendant      CHRISTINE YEDICA (“YEDICA”)                          is   an individual    who   resides in


                          -


                              the State of California,           'in   a county that       is   presently    unknown     to plaintiff.


                                       4.       Plaintiff is ignorant       of the true names and capacities of defendants sued herein as

                              DOES     1    through 20, inclusive, and therefore                   sues-   those defendants by such ﬁctitious

      ©00‘40\U‘I#LQN>—a




                              name's. Plaintiff willamend this complaint to allege their true                             names and      capacities   When

                                                                                                  alleges that each                                         the
                              they are ascertained. Plaintiff is infmmed and believes and thereon                                                     O_f



                              ﬁctitiously alméd’defendants                 is   responsible in       some manner         for the wrongful conduct


                                                                                                  proximately caused by
                              herein alleged, and that Plaintiff‘s damages as herein alleged were

                              that conduct.


g.-
                                                                            FIRST CAUSE 0F ACTION
                                                            (Wrongful Termination                 in Violation of Public Policy)
y-a                                                          [Against defendant            ATRIA SENIOR LIVING, INC]

                                                 Plaintiff realleges        and incorporates by reference as though                 fully set forth, the
1—-
                                        5.


H                             allegations contained in paragraphs                     I   through 4 0f the Complaint.

ha                                         6.    At   all   relevant times herein mentioned, there existed fundamental and

                                                                                                     statutes: protection of
 w——
                              established public policies as t0 the following matters, as codiﬁed by


                              eldeﬂy persons: from elder abuse, including physical abuse or mental suffering
 v—n
                                                                                                             or neglect,


 t—l
                              by someone having care 0r custody 0f the eiderly person,                             set forth in Cal. Welf.      & Inst.
 Fe                           Code     Sec. 15610, et seq; requirements for reporting of suspected elder abuse, and


  H                           protection of persoﬁs             who     report   it   to regulatory agencies 0r authorities, set forth in Cal.


 N                             Welf.   & Inst. Code Sec.               15630, er seq; protection 0f employees from employer retaliation

 N                             for disclosing, 0r because'the               employer believes that the employee disclosed or may

                                                                   a government agency               if the.   employee has reasonable       dause, to
 N                             disclose, information to


 'N                            believe that the information discloses violation of a statute or regulation, set forth in Cal.

 k)
                               Labor Code Sec. 1102.5; and protection of persons from business practices of companies

  N                            that are unfair, fraudulent, or unlawful, set forth in Cal. Bus.                          & Prof. Code Sec.       17200,     et



  N                            seq.

  N                                        7.    Defendant       ATRIA has            violated the aforestated public policies           by taking adverse

      N
                                                                                                       -2-



                                                                                  FIRST         AMENDED COMPLAINT
                                        Case
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                                                                                                  20 of  274



                                       employment actions against plaintiff, including cessation of her employment, based 0n one

                                       or   more unlawful gounds, including             actions by or repoﬁs to defendant as follows: (1)


                                       plaintiffreported to defendant actual, suspected or perceived instances of‘eider abuse by

                                       managers of defendant;         (2) plaintiff reported       and objected        to defendant regarding


                                       misleading business practices 0f defendant toward or regarding customers                       /   residents,

                        \OOOQQUIAWNH




                                       and/or their families, including, without limitation, misrepresentations and concealment

                                       regarding the conditions and habitability 0f apartments and other facilities and amenities of

                                       senior communities; and (3) piaimiff reported to government agencies actual, suspected or


                                       perceived instances of elder abuse by managers and/or employees 0f defendant                          ATRIA.

                                                8.        As a direct and proximate      result   of defendants’ adverse actions against plaintiff

                                       as above alleged, in violation of the public policies 0f the State of California, plaintiff has

                                       suffered damages, including past and future lost income and beneﬁts to which she                          was

                                       entitled in her prior position at defendant           ATRIA,     including front and back pay, bonuses


                                       and other beneﬁts, and damages from severe emotional                      distress, anxiety   and anguish,      all   in


                                       an amount to be proved at          trial,   but not less than $400,000.


                                                9.        The foregoing   acts     0f defendants were       willful,   malicious and oppressive, and


                                       plaintiff is therefore entitled to          an award of punitive damages against defendant.

                                                                            SECOND CAUSE OF ACTION
                                                                    (Intentional Inﬂiction Of Emotional Distress)
NNNNNNNNNr—dr—dr—‘p—h—r—Hp—Awm




                                                                      [Against defendant CHRISTINE YEDICA}

                                                 10. Plaintiff realleges      and incorporates by reference, as though             fully set forth,    each


                                       of the allegations contained in paragraphs             I   through 9 0f the First      Amended     Complaint.


                                                 1   1.    After plaintiff reported that a prospective resident had been             shown a room that

                                       was    in illegal condition in violation        0f habitability requirements under applicable Statutes

                                       and regulations governing assisted living and senior care                   facilities in Caiifornia,   defendant

                                       YEDICA engaged            in extreme   and outrageous conduct toward               plaintiff, including angrily


                                       confronting plaintiff, making aggressive, menacing and threatening physical gestures, and

                                       screaming threatening Statements that she would                 retaliate against 0r exact retribution          from


                                                                                                      -3-


                                                                                     FIRST   AMENDED COMPLAINT
                 Case
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                                                                           21 of  274



  p—a

                plaintiff,   including harming plaintiff ﬁnancially for reporting misCondlIct by                            YEDICA.

                         12,     The above outrageous conduct by           YEDECA was        outside of and greatly in

                                             ”
                excess of any “nonna             risk or incident of'the   employment relationship between plaintiff

                and   ATRIA and/or YEDIC‘A. YEDICA’S also intended, by that conduct,                                     to cause, or


                recklessly disregarded the probability of causing, severe emotional distress to plaintiff,


\ooosxox-mhwm
                based both on her conduct and by her relationship or claimed relationship of authority or

                apparent authon'ty over plaintiff, and ability to carry out threats of improper retaliatory

                actions against plaintiff.

                         '13..   As a proximate      result of the actions   of YEDICA, plaintiff experienced

                emotional distress, Which became severe and virtually debilitating in bouts during the                                    late


                summer and early autumn of 201 5, and thereby                suffered   damages             in       an amount to be


                determined at       trial.



                         WHEREFORE, plaintiff requests a jury trial, and prays for relief as follows:
                         1..     For general damages in an amount to be proved at             txial,         but not less than


                         $ 1 £00,000;

                         2.      For consequential     and. special   damages, in an amount             to       be proved    at trial;


                         3.      For» punitive   damages;

                         4.      For attorney’s fees and costs of suit; and

                         5.      For such other and further relief as the Court         may deem just and properi

                                                                           LAW OFFICES OF MICHAEL T. WBLCH
                                                                                        1’

                                                                                    11%;?“    '
                                                                                                  I'


                                                                                                       I!




                Dated: Jury 20,2017                                        By:     /:
                                                                             Michael T. 'Welch                   >   >




                                                                             Attorney fer Plaintiff
                                                                             BRENDA PERRY




                                                                             -4-


                                                            FIRST     AMENDED COMPLAINT
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 262 of 274



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                                                                                               Hg.-



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                                                                                                           11/14/2019
                                                                                                                 Drpml-ﬂﬂk




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                         eric.meckley@morganlewis.com
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                         Attorneys for Defendant
                         BOEHRINGER INGELHEIM
                         PHARMACEUTICALS, INC. (erroneously sued as
                         “BOEHRINGER-INGELHEIM
                         PHARMACEUTICAL”)

                    10                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    11                                            COUNTY OF SAN MATEO
                    12

                    13   BRENDA PERRY, and Individual,                           Case No. 18CIV057 1 7

                    14                              Plaintiff,                   DEFENDANT BOEHRINGER
                                                                                 INGELHEIM PHARMACEUTICALS,
                    15                    VS.                                    INC.’S SEPARATE STATEMENT IN
                                                                                 SUPPORT OF MOTION TO COMPEL
                    16   ASHFIELD HEALTHCARE, LLC, a business                    PURSUANT TO C.R.C. 3.1345
                         entity; BOEHRINGER-INGELHEIM
                    17   PHARMACEUTICAL, a business entity;                      Date:                January 14, 2020
                         NATE STYLES,           an individual; and   DOES   1-   Time:                9:00 a.m.
                    18   25, inclusive,                                          Dept:                1

                                                                                 Courtroom:           4C
                    19                              Defendants.

                    20                                                           Complaint Filed: October 22, 2018
                                                                                 Trial Date:   None        Set
                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                                                         Case N0. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                           C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 263 of 274



                                 Pursuant t0 California Rule of Court 3.1345, Defendant                       BOEHRINGER INGELHEIM

                         PHARMACEUTICALS,                INC. submits         this separate statement in        support 0f its motion to compel


                         discovery from Plaintiff.


                             REQUESTS FOR WHICH A FURTHER RESPONSE SHOULD BE COMPELLED
                         Request for Production N0. 55:

                                 A11    DOCUMENTS that RELATE TO any lawsuits, complaints, charges,                              grievances, or

                         other legal or equitable claims         made by YOU,          or   made by others on YOUR behalf,           against any


                         employer, other than this       ACTION.

                                 “The terms       ‘RELATE       TO,’   ‘RELATING TO,’ and ‘RELATED TO’                      shall   mean t0   refer,

                    10
                         relate, constitute, evidence, 0r       reference.”
                    11
                         Plaintiff’s    Second Amended Response                 to   Request for Production N0. 55:
                    12
                                 Plaintiff herein incorporates           by reference each and every one of the General Obj ections                 set

                    13
                         forth above,    and   plaintiff” s   response   is   precisely subj ect to, and without waiver of, the foregoing
                    14
                         obj actions. Plaintiff ﬁthher obj ects that this request               is   overbroad, unduly burdensome, and
                    15
                         oppressive, and seeks documents that are protected                     by   attorney-client privilege, and/or not

                    16
                         reasonably calculated t0 lead t0 the discovery 0f admissible evidence, and which are protected by
                    17
                         plaintiff’ s rights   of privacy and conﬁdentiality.
                    18
                         Reason   WhV the Court Should Compel Further Response t0 Request for Production No. 55:
                    19
                                 C.C.P. section 203 1 .210 provides:
                    20
                                  (a)   The party t0   Whom a demand for inspection,                  copying, testing, 0r sampling has been
                    21
                         directed shall respond separately t0 each item 0r category 0f item                     by any of the   following:
                    22
                                  (1)   A statement that the party Will comply with the particular demand for
                    23           inspection, copying, testing, or sampling               by the      date set for the inspection,
                                 copying, testing, or sampling pursuant t0 paragraph (2) 0f subdivision (c) of
                    24
                                 Section 203 1 .030 and any related activities.
                    25            (2)   A representation that the party lacks the ability to comply With the demand for
                                 inspection, copying, testing, 0r sampling 0f a particular item 0r category 0f item.
                    26            (3)   An obj ection t0 the particular demand for inspection,                 copying, testing, or
                                  sampling.
                    27
                                 Here, as explained more fully below, Plaintiff’s responses to                     RFPs   are incomplete      and
                    28
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                               1                                   Case N0. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO
                             SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                        C.R.C 3.1345
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                         evasive and     fail t0   comply with the C.C.P.’s requirements.

                                   Request for Production N0. 55 seeks “A11                         DOCUMENTS that RELATE TO any lawsuits,
                         complaints, charges, grievances, 0r other legal 0r equitable claims                               made by YOU,                  or   made by

                         others   on   YOUR behalf, against any employer, other than this ACTION.”                                          Plaintiff s latest


                         veriﬁed response t0          this   RFP   does not contain a statement that Plaintiff will comply with the

                         Request or a statement that he                is   unable to comply. Baltazar Decl.               1]    16,   Exh.       15.


                                   Rather than agree to comply With                 this   RFP,      Plaintiff asserts meritless obj ectionsl:


                         “Plaintiff herein incorporates            by reference each and every one of the General Obj ections                                         set forth


                         above, and plaintiff’s response               is   precisely subj ect to, and without waiver 0f, the foregoing

                    10   obj actions. Plaintiff ﬁthher obj ects that this request                     is   overbroad, unduly burdensome, and

                    11   oppressive, and seeks documents that are protected                          by    attorney-client privilege, and/or not


                    12   reasonably calculated t0 lead t0 the discovery 0f admissible evidence, and which are protected by

                    13   plaintiff’ s rights    of privacy and conﬁdentiality.” Baltazar Decl.                        1]   16,   Exh.       15.


                    14             Despite the fact that these obj ections are meritless, Defendant agreed t0 narrow                                             its   request

                    15   to include only the pleadings             and discovery requests and responses propounded                                  in such lawsuits.


                    16   Baltazar Decl.    1]   18,   Exh.   18. Plaintiff,       however, served further amended responses, Which were

                    17   unveriﬁed and did not comport with the Parties’ agreement. See C.C.P.                                         §   203 1 .250 (requiring a

                    18   party to “sign the response under oath”); see also Appleton                            v.   Sup.Ct.,      206 Ca1.App.3d 632, 636

                    19   (1998) (acknowledging that an unveriﬁed response                            is   equivalent t0 n0 response at                   all).    Plaintiff


                    20   ignored BIPI’S repeated efforts t0 meet and confer regarding this response, necessitating this

                    21   motion. Baltazar Decl.          W 18-     1   9.


                    22             The scope of discovery              is   very broad.     A party may obtain discovery 0n any matter
                    23   reasonably calculated t0 lead to the discovery of admissible evidence. See generally Darbee                                                     v.



                    24   Super. CL, 208 Ca1.App.2d 680, 688 (1962).                        The Courts have gone 0n                t0 explain that information


                    25   is   relevant if it might reasonably assist a party in evaluating a case, preparing for                                        trial,   0r

                    26   facilitating settlement.       Stewart        v.   Colonial Western Agency, Inc. 87 Cal.App.4th 1006, 1013

                    27
                         1
                           After a timely motion t0 compel has been ﬁled, the burden is 0n the responding party t0 justify
                    28   any objection or failure t0 answer fully. Weil                     &
                                                                           Brown, Civil Procedure Before Trial, § 8:1 179
MORGAN, LEWIS 8:
                         (citing Coy  v. Super. Ct. ofContra Costa  County, 58 Cal.2d 210, 220-221 (1962)).
  BOCKIUS LLP                                                                                   2                                                  Case N0. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO
                               SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                                         C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 265 of 274



                         (2001); Gonzalez       v.   Super CL, 33 Cal.App.4th 1539, 1546 (1995). As explained more fully

                         below, the documents requested by BIPI are relevant                      t0,    among   other things, Plaintiff s emotional

                         distress    damages and the         ability for   BIPI   t0 assess     and challenge    Plaintiff” s credibility.


                                    In the instant case, Plaintiff claims t0 have suffered from “severe emotional distress” and

                         seeks damages for such distress. See First                 Amended Complaint 1W 27,                 32, 41.    RFP No.        55 seeks

                         documents related       to other lawsuits Plaintiff ﬁled against other employers. Baltazar Decl.                               11
                                                                                                                                                             15.


                         In response t0 Special Interrogatory N0.                 8, Plaintiff   identiﬁed that she ﬁled three other lawsuits

                         prior to her   employment with Ashﬁeld. Baltazar Decl.                     11   20, Exh. 20.    Documents responsive                 t0


                         RFP No.      55,   which include the pleadings, discovery requests and responses, and deposition

                    10   transcripts   from these lawsuits,           likely contain information about the emotional injuries Plaintiff


                    11   claims t0 have experienced at the hands of her prior employers and her treatment for such

                    12   injuries.    Such information         is   directly relevant, especially        where   Plaintiff claims t0          have suffered

                    13   severe emotional distress due t0 Defendants’ actions and seeks t0 recover damages for such

                    14   injuries.    See Wallis      v.   Superior CL, 160 Ca1.App.3d 1109, 1119-20 (1984)                      (to establish        a prima

                    15   facie case for intentional inﬂiction            of emotional      distress, a plaintiff must         show, among other

                    16   things “actual and proximate causation of emotional distress                       by the defendant’s outrageous

                    17   conduct”). In this instance,            if Plaintiff   experienced the same emotional distress                     at the   hands 0f

                    18   her prior employers,         it   calls into question the extent t0       Which Defendants caused her emotional

                    19   distress.    Accordingly, these documents are directly relevant to the issue 0f Plaintiff’ s emotional

                    20   distress    damages.

                    21              Information regarding the credibility of a witness, particularly a party,                          is   directly relevant


                    22   and discoverable       for   impeachment purposes.           Cal. Evid.        Code §§780(c),       780(f), 1101(0).


                    23   Documents responsive              t0 this request will contain information relevant t0 Plaintiff s credibility.


                    24   Plaintiff is the quintessential “serial litigant”            --   she has sued four (4) employers over the span 0f 8

                    25   years for identical causes of action and seeking identical damages.                        RJN 1W       1-3,       EXh. A-C.

                    26   Information from these prior lawsuits certainly serves t0 bolster BIPI’s defenses that whenever

                    27   Plaintiff loses     any job she responds by ﬁling a “shake down” lawsuit                       in   which she        alleges that her


                    28   former employer and supervisors harassed, discriminated, and retaliated against her. Her pattern
MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                               3                                           Case N0. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO
                             SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                                C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 266 of 274



                         0f suing anytime her employment involuntary ends constitutes evidence suggesting her

                         accusations are not credible.

                                      REQUESTS FOR WHICH THE COURT SHOULD COMPEL COMPLIANCE
                                      If the   responding party agrees t0 comply with a C.C.P.                   §   203 1 .010 demand but        fails t0   d0

                         so,   compliance        may be compelled 0n appropriate               motion. C.C.P. § 2031.320. A11 that need to be

                         shown t0       prevail   0n a motion        t0   compel compliance         is   the responding party’s failure t0        comply     as


                         agreed. C.C.P. § 2031.320(a); see Standon C0., Inc.                        v.   Sup. Ct. (Kim), 225 Cal.App.3d 898, 903


                         (1   990).


                         Request for Production N0. 11:

                    10                A11   DOCUMENTS that RELATE TO YOUR scheduled work hours during YOUR
                    11   employment With the              CORPORATE DEFENDANTS.
                    12                “The terms       ‘RELATE        TO,’   ‘RELATING TO,’ and ‘RELATED TO’                         shall   mean t0    refer,


                    13   relate, constitute, evidence, 0r             reference.”

                    14   Plaintiff’s        Second Amended Response Request                    t0   Production No. 112:

                    15                Plaintiff herein incorporates          by reference each and everyone [SIC] 0f the General

                    16   Objections set forth above, and plaintiff s response t0 this request                         is   expressly subj ect    t0,   and

                    17   Without waiver          of,   each 0f those General Obj ections. Plaintiff further obj ects that                    this request is


                    18   unduly vague and ambiguous. Subj ect                   t0   and without waiving the foregoing obj ections,                plaintiff


                    19   Will produce          any documents         in her possession, custody, 0r control that are responsive t0 her


                    20   understanding 0f this request.

                    21   Reason        WhV the Court Should Grant Further Response t0 Request for Production N0.                                          11:

                    22                Plaintiff’ s   response t0 Request for Production N0. 11 included an agreement t0 comply

                    23   with    this request in full.       Despite this agreement, Plaintiff has not produced documents related to

                    24   her scheduled          work hours during her employment. Baltazar Decl.                      1]
                                                                                                                           16.   Accordingly, the Court

                    25   should compel compliance With this request.

                    26   Request for Production N0. 14:

                    27
                         2
                             Plaintiff’ s   unveriﬁed       response and amended response t0 Request for Production N0. 11
                                                           initial
                    28   are identical t0 Plaintiff’ s   Second Amended Response t0 Request for Production N0. 11. In the
MORGAN, LEWIS 8:
                         interest     of avoiding repetition, BIPI does not include these responses herein.
  BOCKIUS LLP                                                                              4                                           Case N0. 18CIV05717
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                            C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 267 of 274



                                    A11   DOCUMENTS that RELATE TO the COMPENSATION that YOU received from the
                         CORPORATE DEFENDANTS,                             including but not limited           t0,   pay statements, time       sheets,


                         COMPENSATION policies, W-2                         forms, income tax returns and other records, whether ﬁled

                         individually 0r jointly with any other                  PERSON during YOUR alleged employment With the
                         CORPORATE DEFENDANTS.
                                    “The terms        ‘RELATE            TO,’   ‘RELATING TO,’ and ‘RELATED TO’                         shall   mean t0   refer,


                         relate, constitute, evidence, 0r reference.”


                                    “The term       ‘COMPENSATION’                  shall   mean damages, wages,            penalties, interest,     and

                         restitution.”


                    10   Plaintiff’s      Second Amended Response Request                         t0   Production N0. 143:

                    11              Plaintiff herein incorporates               by reference each and every one of the General Obj ections                     set


                    12   forth above,       and    plaintiff” s   response t0 this request         is   expressly subj ect      t0,   and without waiver      0f,


                    13   each 0f those General Objections. Plaintiff further obj ects that                            this request violates plaintiff s


                    14   rights   of privacy and conﬁdentiality, and the taxpayer privilege. Subj ect to and Without waiving

                    15   these obj ections, plaintiff will produce any documents (other than privileged income tax returns

                    16   and schedules)       in her possession, custody, or control that are responsive to this request.


                    17   Reason      WhV the Court Should Grant Further Response t0 Request for Production N0.                                              14:

                    18              Plaintiff” s    response to Request for Production N0. 14 included an agreement to comply

                    19   With    this request in full.        Despite this agreement, Plaintiff has produced only a single printout

                    20   from ADP’s portal            that   shows a summary of the pay she received from Ashﬁeld. Baltazar Decl.                                  11



                    21   16.    She has     not,   however, produced copies 0f her wage statements 0r W-ZS, which bear directly

                    22   0n the issue 0f her alleged              lost   wages. Baltazar Decl.          1]
                                                                                                             16.   Accordingly, the Court should

                    23   compel compliance With               this request.


                    24   Request for Production N0. 54:

                    25              A11   DOCUMENTS that RELATE TO any employment YOU obtained from September
                    26   2017     t0 the present including, but not limited t0,                any offer       letters,   and   DOCUMENTS          evidencing

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                             Plaintiff’ s   unveriﬁed     response and amended response t0 Request for Production N0. 14
                                                          initial
                    28   are identical t0 Plaintiff’s  Second Amended Response t0 Request for Production N0. 14. In the
MORGAN, LEWIS 8:
                         interest   of avoiding repetition, BIPI does not include these responses herein.
  BOCKIUS LLP                                                                                 5                                           Case N0. 18CIV05717
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                               C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 268 of 274



                         the   COMPENSATION and beneﬁts YOU received from any employer.
                                    “The terms       ‘RELATE        TO,’    ‘RELATING TO,’ and ‘RELATED TO’                             shall   mean t0   refer,


                         relate, constitute, evidence, 0r           reference.”

                                    “The term      ‘COMPENSATION’               shall   mean damages, wages,                  penalties, interest,   and

                         restitution.”


                         Plaintiff’s    Second Amended Response                  t0   Request for Production N0. 544:

                                    Plaintiff herein incorporates           by reference each and every one 0f the General Obj ections                           set


                         forth above,       and   plaintiff’ s   response to this request            is   expressly subj ect    t0,   and without waiver        0f,


                         each 0f those General Objections. Plaintiff further obj ects that                            this request seeks    documents          that


                    10   are protected       by plaintiff’ s     rights   0f privacy and conﬁdentiality. Subj ect t0 and Without waiver 0f

                    11   the foregoing obj ections, plaintiff Will produce any documents in her possession, custody, 0r

                    12   control that are responsive to this request.


                    13   Reason      WhV the Court Should Grant Further Response t0 Request for Production N0. 54:
                    14              Plaintiff seeks     damages      to   compensate her for              lost   wages. First   Amended Complaint 1W

                    15   27, 37.      However,       “[a] plaintiff has a      duty to mitigate damages and cannot recover losses                         it



                    16   could have avoided through reasonable efforts.” Thrifly-Tel, Inc.                              v.   Bezenek, 46 Cal.App.4th

                    17   1559, 1568 (1996). The doctrine 0f mitigation 0f damages limits the amount of damages

                    18   recoverable. State Dept. ofHealth Services                   v.   Super. Ct. (McGinniS), 31 Cal.4th 1026, 1043

                    19   (2003). Plaintiff’ s efforts to locate work, the               work         obtained, and payments she received in

                    20   exchange for such work are directly relevant t0 Plaintiff s                             efforts t0 mitigate    damages and the

                    21   amount 0f her alleged          lost     wages. See Parker         v.   Twentieth Century-Fox Film Corp, 3 Cal.3d at

                    22   181-182 (1970)(burden            is   0n defendant     t0   show comparable employment was                      available, that


                    23   plaintiff failed to obtain such           employment, and the amount the employee earned 0r might have

                    24   earned). Plaintiff’s response t0 Request for Production                           N0. 54 included an agreement            t0   comply

                    25   With    this request in full.      Despite this agreement, Plaintiff has not produced a single document

                    26   related to    any employment she obtained               after she          stopped providing services to BIPI. Baltazar

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                         4
                             Plaintiff’ s   unveriﬁed     response and amended response t0 Request for Production N0. 54
                                                         initial
                    28   are identical t0 Plaintiff’s  Second Amended Response t0 Request for Production N0. 54. In the
MORGAN, LEWIS 8:
                         interest   of avoiding repetition, BIPI does not include these responses herein.
  BOCKIUS LLP                                                                                   6                                         Case N0. 18CIV05717
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                                               C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 269 of 274



                         Decl.   1]
                                      16.   Such information   is   directly relevant to the issue 0f whether Plaintiff adequately


                         mitigated her damages. Accordingly, the Court should compel compliance with this request.


                         Dated:       November    14,   2019




                                                                                        By
                                                                                             Eric
                                                                                                       W
                                                                                        MORGAN, LEWIS & BOCKIUS LLP



                                                                                                    Meckley
                                                                                             Ashley A. Baltazar

                                                                                             Attorneys for Defendant
                                                                                             BOEHRINGER INGELHEIM
                                                                                             PHARMACEUTICALS, INC.
                                                                                             (erroneously sued as
                                                                                             “BOEHRINGER-INGELHEIM
                                                                                             PHARMACEUTICAL”)
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MORGAN, LEWIS &
  BOCKIUS LLP                                                                       7                                  Case No. 18CIV05717
 ATTORNEYS AT LAW
  SAN FRANCISCO
                             SEPARATE STATEMENT ISO DEFENDANT’S MOTION TO COMPEL PURSUANT TO                               C.R.C 3.1345
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 270 of 274
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                          MORGAN, LEWIS & BOCKIUS LLP
                          Eric Meckley, Bar No. 168 1 81
                          Ashley A. Baltazar, Bar N0. 284921
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                                                                                                   CLERK ﬁF THE SUPERIDH CﬁUHT


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                          Attorneys for Defendant
                          BOEHRINGER INGELHEIM
                          PHARMACEUTICALS, INC. (erroneously sued as
                          “BOEHRINGER-INGELHEIM
                          PHARMACEUTICAL”)

                    10                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    11                                              COUNTY OF SAN MATEO
                    12

                    13    BRENDA PERRY, and Individual,                            Case No. 18CIV05717

                    14                                Plaintiff,                   [PROPOSED] ORDER GRANTING
                                                                                   DEFENDANT BOEHRINGER
                    15                      vs.                                    INGELHEIM PHARMACEUTICALS,
                                                                                   INC.’S MOTION TO COMPEL:
                    16    ASHFIELD HEALTHCARE, LLC, a business
                          entity; BOEHRINGER-INGELHEIM                               FURTHER VERIFIED RESPONSE
                                                                                   (1)
                    17    PHARMACEUTICAL, a business entity;                       TO RFP NO. 55 AND PRODUCTION
                          NATE STYLES,            an individual; and   DOES   1-   OF DOCUMENTS;
                    18    25, inclusive,
                                                                                   (2)PRODUCTION OF DOCUMENTS
                    19                                Defendants.                  IN COMPLIANCE WITH
                                                                                   PLAINTIFF’S RESPONSE TO RFP
                    20                                                             NOS. 11, 14, AND 54; AND

                    21                                                             (3)   A PRIVILEGE LOG
                    22                                                             Date:           January 14, 2020
                                                                                   Time:           9:00 am.
                    23                                                             Courtroom:      Dept. 1, Courtroom             4C

                    24                                                             Complaint Filed: October 22, 2018
                                                                                   Trial Date:   None   set
                    25

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MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                                                       Case No. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO
                                                                        [PROPOSED] ORDER
                         DBl/ 108334850.1
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 271 of 274



                                                                         [PROPOSED]           ORDER
                                    On January   14,   2020, this matter came before the undersigned 0n Defendant Boehringer-

                          Ingelheim Pharmaceuticals, Inc.’s Motion to Compel Further Responses to Requests for

                          Production 0f Documents, Further Documents, and Privilege Log (“Motion t0 Compel”). The

                          Court, after considering      all   papers submitted by the Parties in support 0f and in opposition to

                          BIPI’s Motion to     Compel and argument of counsel, hereby GRANTS Defendant Boehringer

                          Ingelheim Pharmaceuticals, Inc.’s Motion t0 Compel as follows:

                                    Plaintiff is ordered t0 provide a       code compliant response to Request for Production No. 55

                          indicating that she will produce        all   pleadings, discovery requests and responses, and deposition


                    10    transcripts in her possession, custody, or control              and produce    all   such responsive documents n0

                    11    later   than January 20, 2020.


                    12              Plaintiff is further ordered to      produce   all    documents responsive       t0 BIPI’S Requests for


                    13    Production Nos. 11, 14, and 54 n0 later than January 20, 2020.


                    14              Plaintiff is ﬁlrther ordered t0      produce a privilege 10g identifying          all   documents Withheld

                    15    0n the basis of privilege along with sufﬁcient information               for   BIPI    to evaluate the legitimacy    and

                    16    applicability of any asserted privilege(s)         no   later   than January 20, 2020.


                    17              IT IS   SO ORDERED.

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                           Dated:                                                                         Superior Court Judge
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MORGAN, LEWIS 8:
  BOCKIUS LLP                                                                             1                                    Case No. 18CIV057 1 7
 ATTORNEYS AT LAw
   SAN FRANCISCO         DBl/ 108334850.1                                   [PROPOSED] ORDER
                         Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 272 of 274

                                                                                                 11/14/2019
                         MORGAN, LEWIS & BOCKIUS I.I,P
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                         Attorney for Defendant
                         BOEHRINGER INGELHEIM
                         PHARMACEUTICALS, INC, (erroneously sued as
                         BOEHRINGER-INGELHEIM PHARMACEUTICAL,
                         INC.)
                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    10
                                                                   COUNTY OF SAN MATEO


                    12
                         BRENDA PERRY, an Individual,                           Case No. 18CIV05717
                    13
                                                     Plaintiff,                 PROOF OF SERVICE
                    14
                                              vs.
                    15
                         ASHFIELD HEALTHCARE, LLC, a business                   Complaint Filed: October 22, 2018
                    16   entity; BOEHRINGER-INGELHEIM
                         PHARMACEUTICAL, a business entity;
                    17   NATE STYLES, an individual; and DOES 1-
                         25, inclusive,
                    18
                                                     Defendants.
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MONOAAN, I.I IRIS &
  BQCKI US    LLP

   SAN FRAN
                                                                                                         Case No. I 8CIV05717
                         DB1/ 107917001   1                           PROOF OF SERVICE
                       Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 273 of 274



                              I, Robin Onaka, declare;

                               I am a citizen of the United States and employed in San Francisco County, California. I
                       am over the age of eighteen years and not a party to the within entitled action. My business
                       address is One Market, Spear Street Tower, San Francisco, CA 94105-1596. On November 14,
                       2019, I served a copy of the within document(s):

                              1.
                                   INC.S'OTICE
                                 DEFENDANT BOKHRINGER INGELHKIM PHARMACEUTICALS,
                                 OF MOTION AND MOTION TO COMPEL: (1) FURTHER VERIFIED
                       RESPONSE TO RFP NO. 55 AND PRODUCTION OF DOCUMENTS; (2) PRODUCTION
                       OF DOCUMENTS IN COMPLIANCE WITH PLAINTIFF'S RESPONSE TO RFP NOS.
                       11, 14, AND 54; AND (3) A PRIVILEGE LOG;

                              2. DEFENDANT BOEHRINGER INGKLHEIM PHARMACEUTICALS,
                                          INC.S'EMORANDUM
                                     OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                       COMPEL: (1) FURTHER VERIFIED RESPONSE TO RFP NO. 55 AND PRODUCTION
                       OF DOCUMENTS; (2) PRODUCTION OF DOCUMENTS IN COMPLIANCE WITH
                       PLAINTIFF'S RESPONSE TO RFP NOS. 11, 14, AND 54; AND (3) A PRIVILKGF. LOG;
                  10
                             3. DECLARATION OF ASHLEY A, BALTAZAR IN SUPPORT OF DEFENDANT
                       BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.'S MOTION TO COMPEL:
                       (I) FURTHER VERIFIED RESPONSE TO RFP NO. 55 AND PRODUCTION OF
                  12   DOCUMENTS; (2) PRODUCTION OF DOCUMENTS IN COMPLIANCE WITH
                       PLAINTIFF'S RESPONSE TO RFP NOS. 11, 14, AND 54; AND (3) A PRIVILEGE LOG;
                  13
                             4. REQUEST FOR JUDICIAL NOTICE IN SLIPPORT OF DEFENDANT
                  14   BOEHRINGER INGELHKIM PHARMACEUTICALS, INC.'S MOTION TO COMPEL:
                       (1) FURTHER VERIFIED RESPONSE TO RFP NO. 55 AND PRODUCTION OF
                  15   DOCUMENTS; (2) PRODUCTION OF DOCUMENTS IN COMPLIANCE WITH
                       PLAINTIFF'S RESPONSE TO RFP NOS. 11, 14, AND 54; AND (3) A PRIVILEGE LOGI
                  16
                              5. DEFENDANT BOEHRINGER INGKLHEIM PHARMACEUTICALS, INC.'S
                  17   SEPARATE STATEMENT IN SUPPORT OF MOTION TO COMPEL PURSUANT TO
                       C.R.C. 3.1345; and,
                  18
                            6. [PROPOSED] ORDER GRANTING DEFENDANT BOEHRINGER
                  19   INGELHEIM PHARMACEUTICALS, INC.'S MOTION TO COMPEL: (1) FURTHER
                       VERIFIED RESPONSE TO RFP NO. 55 AND PRODUCTION OF DOCUMENTS; (2)
                  20   PRODUCTION OF DOCUMENTS IN COMPLIANCE WITH PLAINTIFF'S RESPONSE
                       TO RFP NOS. 11, 14, AND 54; AND (3) A PRIVILEGE LOG.
                  21

                  22
                                      by transmitting via facsimile the document(s) listed above to the fax number(s) set
                  23                  forth below on this date before 5:00 p.m.

                             jC       by placing the document(s) listed above in a sealed envelope with postage thereon
                  25                  fully prepaid, in the United States mail at San Francisco, California addressed as
                                      set forth below.
                  26
                                      by placing the document(s) listed above in a sealed Federal Express envelope and
                  27                  affixing a pre-paid air bill, and causing the envelope to be delivered to a Federal
                                      Express agent for delivery.
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  aecKIUS LLp
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                                                              PROOF OF SERVICE
                    Case 3:19-cv-08408-CRB Document 1-1 Filed 12/24/19 Page 274 of 274



                                         by causing to be personally delivered the document(s) listed above to the person(s)
                                         at the address(es) set forth below.

                                         by transmitting via e-mail or electronic transmission the document(s) listed above
                                         to the person(s) at the e-mail address(es) set forth below.


                    Michael T. Welch                                       Attorneys for Plaintiff Brenda Perry
                    Law Offices of Michael T. Welch
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                                                                           Attorneys for Defendant
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               10   333 Bush Street, 34th Floor
                    San Francisco, CA 94104
                    Tel: +415.433,1940
               12   Fax: +415. 399. 8490

               13

               14           I am readily familiar with the firm's practice of collection and processing correspondence
                    for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
               15   day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                    motion of the party served, service is presumed invalid if postal cancellation date or postage
               16   meter date is more than one day after date of deposit for mailing in affidavit.
               17         Executed on November 14, 2019, at San Francisco, California. I declare that I am
                    employed in the office of a member of the bar of this couit at whose direction the service was
               18   made.
               19

               20                                                                         Robin Onaka

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                                                                        2                                Case No. HG I 6796893
                    DR 1/ 107917001. 1                           PROOF OF SERVICE
